USCA Case #24-1365    Document #2100970         Filed: 02/17/2025   Page 1 of 214



                                 No. 24-1365


               In the United States Court of Appeals
                for the District of Columbia Circuit

          DOCTORS FOR DRUG POLICY REFORM; BRYON ADINOFF, DR.,

                                                                     Petitioners

                                      v.

    DRUG ENFORCEMENT ADMINISTRATION; ANNE MILGRAM, IN HER OFFICIAL
   CAPACITY AS ADMINISTRATOR OF THE UNITED STATES DRUG ENFORCEMENT
                           ADMINISTRATION,


                                                                    Respondents


    On Petition for Review of Orders of the Drug Enforcement Administration
                        (Oct. 28, 2024 and Nov. 25, 2024)


                        PETITIONERS’ APPENDIX
                             VOLUME 2 OF 6
                           App.498 to App.690


                                    Austin T. Brumbaugh
                                    D.C. Circuit Bar No. 65727
                                    Yetter Coleman LLP
                                    811 Main Street, Suite 4100
                                    Houston, Texas 77002
                                    713-457-3099

                                    Counsel for Petitioners
USCA Case #24-1365    Document #2100970        Filed: 02/17/2025    Page 2 of 214



                           Table of Contents

 DATE         DESCRIPTION                                            PAGE

              Orders and Rulings

                                    Volume 1

 2024-12-06   Order Denying Motion to Stay                           App.1

 2024-10-28   Order Selecting Participants                           App.7

 2024-11-25   Bryon Adinoff, M.D. Rejection Letter                   App.10

 2023-08-29   Recommendation of the Department of Health and App.11
              Human Services to the Drug Enforcement
              Administration

 2024-04-11   Office of Legal Counsel Memorandum Opinion for the App.261
              Attorney General, 48 Op. O.L.C. __

 2024-05-21   Notice of Proposed Rulemaking, 89 FR 44597-01          App.299

 2024-08-29   Notice of Hearing on Proposed Rulemaking, 89 FR App.325
              70148-01

 2024-09-26   Doctors for Drug Policy Reform Request to Participate App.327
              in Hearing

 2024-10-31   Preliminary Order                                      App.333

 2024-11-19   Order re Standing, Scope, and Prehearing Procedures    App.343

 2024-11-21   Order Denying Motion to Intervene                      App.390

 2024-12-04   Prehearing Ruling                                      App.394

 2025-01-13   Order Regarding Village Farms International Hemp for App.404
              Victory and OCO et al.’s Motion for Reconsider




                                      -2-
USCA Case #24-1365    Document #2100970         Filed: 02/17/2025   Page 3 of 214



 DATE         DESCRIPTION                                            PAGE

              Requests to Participate and Agency Responses

 2024-02-28   Association of Federal Narcotics Agents Supporting App.411
              Paper

 2024-06-01   Request by International Academy on the Science and App.415
              Impact of Cannabis

 2024-06-04   Request by Khurshid Khoja (Greenbridge Corporate App.418
              Counsel, P.C.

 2024-06-11   Request by Sage Endoom Cannablisshum                   App.423

 2024-06-13   Request by Aubree Adams                                App.431

 2024-06-15   Request by Heidi Anderson-Swan                         App.432

 2024-06-16   Request by David Heldreth                              App.473

 2024-06-16   Request by National Drug & Alcohol Screening App.443
              Association

 2024-06-16   Request by Panacea Plant Sciences c/o David Heldreth App.460

 2024-06-17   Request by Bryn Spejcher                               App.466

 2024-06-17   Request by Ed Wood                                     App.467

              Volume 2

 2024-06-17   Request by Perkins Coie on behalf of American Trade App.498
              Association for Cannabis and Hemp

 2024-06-17   Request by Smart Approaches to Marijuana               App.500

 2024-06-17   Request by Association of State Criminal Investigative App.504
              Agencies

 2024-06-18   Request by Association of Federal Narcotics Agents     App.507



                                     -3-
USCA Case #24-1365    Document #2100970          Filed: 02/17/2025   Page 4 of 214



 DATE         DESCRIPTION                                             PAGE

 2024-06-18   Request by Cannabis Industry Victims Educating App.508
              Litigators

 2024-06-18   Request by Coalition for Patient Rights                 App.510

 2024-06-19   Request by Bryan Krumm                                  App.526

 2024-06-19   Request by Former DEA Administrators                    App.536

 2024-06-19   Request by Minority Cannabis Business Association       App.538

 2024-06-19   Request by Phillip Drum                                 App.540

 2024-06-19   Request by Tennessee Bureau of Investigation            App.542

 2024-06-19   Request by United Empowerment Party                     App.544

 2024-06-20   Request by Doctors for Drug Policy Reform               App.548

 2024-06-20   Request by Devan Maurice Dupuis and Nicholas App.593
              Barreto

 2024-06-20   Request by Lori Robinson                                App.597

 2024-06-20   Request by National Transportation Safety Board         App.599

 2024-06-20   Request by South Carolina Attorney General and App.601
              Various Other Attorneys General

 2024-06-20   Request by United States Cannabis Coalition             App.604

 2024-06-26   Request by Nicole Ricci                                 App.606

 2024-07-19   Request by University of California San Diego Center App.611
              for Medicinal Cannabis Research

 2024-08-26   Request by Shane Gallichio                              App.612

 2024-08-29   Request by Brian Austin                                 App.613




                                        -4-
USCA Case #24-1365    Document #2100970          Filed: 02/17/2025   Page 5 of 214



 DATE         DESCRIPTION                                             PAGE

 2024-08-29   Request by Cris Ericson                                 App.614

 2024-08-29   Request by Prince Lobel Strategic Advisors              App.623

 2024-08-30   Request by Roneet Lev, MD - HighTruths.com and App.625
              International Academy of Science and Impact of
              Cannabis

 2024-08-30   Supplement by National Transportation Safety Board      App.626

 2024-09-03   Request by International Association of Chiefs of Police App.631

 2024-09-04   Request by Sandra Rapke                                 App.634

 2024-09-06   Request by Community Anti-Drug Coalitions of App.635
              America

 2024-09-07   Request by Mariah Ashley Magnuson                       App.637

 2024-09-09   Request by Kelly Anderson                               App.642

 2024-09-11   Request by Hemp for Victory                             App.643

 2024-09-11   Request by Jim Fricke for The Plant Counsel             App.664

 2024-09-12   Request by Daniel Kyle                                  App.665

 2024-09-12   Request by Grayson Lichtenthaler                        App.667

 2024-09-12   Request by Joshua Taylor                                App.668

 2024-09-12   Request by Justin Taylor                                App.669

 2024-09-12   Request by Wei He, Ph.D.                                App.670

 2024-09-14   Request by Jordan Zito                                  App.673

 2024-09-16   Request by Panacea Plant Sciences c/o David Heldreth App.674

 2024-09-16   Request by David Heldreth                               App.681



                                        -5-
USCA Case #24-1365    Document #2100970         Filed: 02/17/2025   Page 6 of 214



 DATE         DESCRIPTION                                            PAGE

 2024-09-16   Request by Emily Fisher, CEO, Leafwell, Inc.           App.688

 2024-09-17   Request by August Wakat                                App.689

 2024-09-18   Request by American Academy of Child and Adolescent App.690
              Psychiatry

              Volume 3

 2024-09-18   Request by Bryn Spejcher                               App.691

 2024-09-18   Supplement by Phillip Drum                             App.715

 2024-09-20   Request by Cannabis Law PA                             App.720

 2024-09-20   Request by Drug Enforcement Association of Federal App.723
              Narcotics Agents

 2024-09-20   Request by Minorities for Medical Marijuana            App.724

 2024-09-22   Request by Derek Shirley                               App.740

 2024-09-23   Request by Drug Enforcement Association of Federal App.742
              Narcotics Agents

 2024-09-23   Request by Bryan Krumm                                 App.744

 2024-09-23   Request by Pharmacists Cannabis Coalition of App.754
              California

 2024-09-24   Request by The Doc App                                 App.756

 2024-09-25   Supplement by Aubree Adams                             App.758

 2024-09-25   Supplement by Aubree Adams                             App.761

 2024-09-25   Request by Curio Wellness                              App.771

 2024-09-25   Request by Heidi Anderson                              App.775




                                     -6-
USCA Case #24-1365    Document #2100970          Filed: 02/17/2025   Page 7 of 214



 DATE         DESCRIPTION                                             PAGE

 2024-09-25   Request by Veterans Action Council                      App.786

 2024-09-26   Request by Bryon Adinoff, M.D. and Doctors for Drug App.790
              Policy Reform with CV

 2024-09-26   Request by Michael Krawitz                              App.839

 2024-09-26   Request by MedPharm                                     App.841

 2024-09-26   Supplement by University of California San Diego App.902
              Center for Medicinal Cannabis Research

 2024-09-27   Request by Ariana Fleishman                             App.904

 2024-09-27   Request by Cynthia Mateo                                App.905

 2024-09-27   Request by Etienne Fontan                               App.906

 2024-09-27   Request by Ian Patrick Patriarca                        App.909

 2024-09-27   Request by Jessica Garza                                App.910

 2024-09-27   Request by Jonathan Frank                               App.911

 2024-09-27   Request by Rafael Acevedo                               App.912

 2024-09-27   Request by The Commonwealth Project                     App.913

 2024-09-27   Request by Vicente LLP by Timothy D. Swain              App.915

 2024-09-29   Request by Kai Hoffman                                  App.933

 2024-09-29   Request by Kainan Boring                                App.944

 2024-09-29   Request by Keila Castillo                               App.945

 2024-09-29   Request by Kym Silva                                    App.948

 2024-09-29   Request by Lilly Tirado                                 App.949




                                        -7-
USCA Case #24-1365    Document #2100970          Filed: 02/17/2025   Page 8 of 214



 DATE         DESCRIPTION                                             PAGE

 2024-09-30   Request by American Academy of Hospice and App.950
              Palliative Medicine

 2024-09-30   Request by American Psychological Association           App.952

 2024-09-30   Request by Andrew DeAngelo                              App.954

 2024-09-30   Request by Ari Kirshenbaum, PhD                         App.958

              Volume 4

 2024-09-30   Request by Association of American Railroads            App.959

 2024-09-30   Request by BayMedica, LLC and Greenbridge App.960
              Corporate Counsel, P.C.

 2024-09-30   Request by Coalition for Patient Rights                 App.973

 2024-09-30   Request by Coss Marte                                   App.975

 2024-09-30   Request by Compassion Center by Stormy Ray              App.976

 2024-09-30   Request by Dennis Schuller                              App.978

 2024-09-30   Request by Drug Policy Alliance by Cat Packer           App.979

 2024-09-30   Request by Ellen Brown                                  App.982

 2024-09-30   Request by Erin Kirk                                    App.983

 2024-09-30   Request by Esaia Gonzalez                               App.984

 2024-09-30   Request by Green Thumb Industries Inc.                  App.988

 2024-09-30   Request by Jasmine Montoya                              App.1050

 2024-09-30   Request by Jason Greninger                              App.1054

 2024-09-30   Request by Jordan Smith                                 App.1056




                                       -8-
USCA Case #24-1365    Document #2100970          Filed: 02/17/2025   Page 9 of 214



 DATE         DESCRIPTION                                             PAGE

 2024-09-30   Request by Karen O’Keefe                                App.1057

 2024-09-30   Request by Khurshid Khoja and BayMedica                 App.1077

 2024-09-30   Request by Last Prisoner Project                        App.1090

 2024-09-30   Request by Michael Doyle                                App.1096

 2024-09-30   Request by Natalie P. Hartenbaum, MD, MPH               App.1098

 2024-09-30   Request by National Cannabis Industry Association       App.1104

 2024-09-30   Request by National Sheriffs Association                App.1108

 2024-09-30   Request by Nicholas Barreto                             App.1112

 2024-09-30   Request by Nick Richards, GreenspoonMarder              App.1116

 2024-09-30   Request by National Organization for the Reform of App.1120
              Marijuana Laws (NORML)

 2024-09-30   Request by New York Office of Cannabis Management       App.1163

 2024-09-30   Request by Patrick Oglesby                              App.1171

 2024-09-30   Request by Perkins Coie on behalf of American Trade App.1174
              Association for Cannabis and Hemp

 2024-09-30   Request by RTI International                            App.1374

 2024-09-30   Request by Russell Palmer                               App.1374

              Volume 5

 2024-09-30   Request by Sensible Colorado                            App.1380

 2024-09-30   Request by Sisley Research Institute                    App.1424

 2024-09-30   Request by State of Colorado                            App.1427




                                      -9-
USCA Case #24-1365    Document #2100970            Filed: 02/17/2025   Page 10 of 214



  DATE         DESCRIPTION                                               PAGE

  2024-09-30   Request by State of Nebraska                              App.1430

  2024-09-30   Request by Steph Sherer for Americans for Safe Access App.1434
               Foundation

  2024-09-30   Request by Stephen Mandile                                App.1436

  2024-09-30   Request by Students for Sensible Drug Policy              App.1437

  2024-09-30   Supplement by Drug Enforcement Association of App.1440
               Federal Narcotics Agents

  2024-09-30   Request by T. Christopher Wright                          App.1442

  2024-09-30   Supplement by Tennessee Bureau of Investigation           App.1444

  2024-09-30   Request by Training Marbles, Inc.                         App.1447

  2024-09-30   Request by United States Cannabis Coalition               App.1449

  2024-09-30   Request by Village Farms International Inc.               App.1452

  2024-10-08   Request by Walt A. Sanders                                App.1458

  2024-10-09   Request by Jeffrey Faatz                                  App.1460

               Request by Cannabis Bioscience International Holdings App.1461

               Request by Equity Trade Network                           App.1464

               Request by Jahan Marcu                                    App.1466

               Request by Kenneth Finn                                   App.1468

               Request by Michael Rountree                               App.1472

               Request by Patrick Oglesby                                App.1475




                                      - 10 -
USCA Case #24-1365    Document #2100970          Filed: 02/17/2025     Page 11 of 214



  DATE         DESCRIPTION                                               PAGE

               Volume 6

               State of Wisconsin vs Bloom 2020 CPS                      App.1478

               Request by Tim McKibben                                   App.1502

               Request by Shanetha Lewis                                 App.1505



  2024-09-10   Aubree Adams Cure Letter                                  App.1509

  2024-09-10   Bryn Spejcher Cure Letter                                 App.1510

  2024-09-10   Darwin Richardson Cure Letter                             App.1511

  2024-09-10   Tennessee Bureau of Investigation Cure Letter             App.1512

  2024-09-10   Drug Enforcement Association of Federal Narcotics         App.1513
               Agents Cure Letter

  2024-09-10   Heidi Anderson-Swan Cure Letter                           App.1514

  2024-09-10   Khursid Khoja Cure Letter                                 App.1515

  2024-09-10   Lori Robinson Cure Letter                                 App.1516

  2024-09-10   Michael Rountree Cure Letter                              App.1517

  2024-09-10   Minority Cannabis Business Association Cure Letter        App.1518

  2024-09-10   Phillip Drum Cure Letter                                  App.1519

  2024-09-10   University of California San Diego Center for Medical     App.1520
               Cannabis Research Cure Letter

  2024-10-28   American Academy of Child Rejection Letter                App.1521

  2024-10-28   American Academy of Hospice & Palliative Medicine App.1522
               Acceptance Letter



                                      - 11 -
USCA Case #24-1365    Document #2100970            Filed: 02/17/2025   Page 12 of 214



  DATE         DESCRIPTION                                               PAGE

  2024-10-28   Ari Kirshenbaum Acceptance Letter                         App.1523

  2024-10-28   Aubree Adams Rejection Letter                             App.1524

  2024-10-28   BayMedica, LLC Rejection Letter                           App.1525

  2024-10-28   Bryn Spejcher Rejection Letter                            App.1526

  2024-10-28   Cannabis Industry Victims Educating Litigators App.1527
               Acceptance Letter

  2024-10-28   Cannabis Law PA (Attn:          Judith Cassel) Rejection App.1528
               Letter

  2024-10-28   Cannabis Law PA (Attn: Micah Bucy) Rejection Letter App.1529

  2024-10-28   Community Anti-Drug           Coalitions   of    America App.1530
               Acceptance Letter

  2024-10-28   Corey Burchman,       M.D.       (Hemp     for   Victory) App.1531
               Acceptance Letter

  2024-10-28   Curio Wellness Rejection Letter                           App.1532

  2024-10-28   Darinia Douchi, M.D. (Hemp for Victory) Acceptance App.1533
               Letter

  2024-10-28   Drug Enforcement Association of Federal Narcotics App.1534
               Agents Acceptance Letter

  2024-10-28   Ellen Brown Acceptance Letter                             App.1535

  2024-10-28   Erin Kirk Acceptance Letter                               App.1536

  2024-10-28   Full Spectrum Inc. Rejection Letter                       App.1537

  2024-10-28   Heidi Anderson-Swan Rejection Letter                      App.1538

  2024-10-28   International Academy on the Science & Impact of App.1539
               Cannabis Acceptance Letter


                                      - 12 -
USCA Case #24-1365     Document #2100970             Filed: 02/17/2025   Page 13 of 214



  DATE         DESCRIPTION                                                 PAGE

  2024-10-28   International Association        of   Chiefs   of    Police App.1540
               Acceptance Letter

  2024-10-28   Jahan Marcu Rejection Letter                                App.1541

  2024-10-28   Jason Castro Rejection Letter                               App.1542

  2024-10-28   Jeffrey Fatz Rejection Letter                               App.1543

  2024-10-28   John Jones, Cannabis Bioscience International Holdings App.1544
               Acceptance Letter

  2024-10-28   Kenneth Finn, MD Acceptance Letter                          App.1545

  2024-10-28   Natalie Hartenbaum Rejection Letter                         App.1546

  2024-10-28   National Cannabis Industry (Aaron Smith) Acceptance App.1547
               Letter

  2024-10-28   National Cannabis       Industry      (Michelle     Rutter) App.1548
               Acceptance Letter

  2024-10-28   National Drug & Alcohol Screening Association App.1549
               Acceptance Letter

  2024-10-28   National Sheriff’s Association Acceptance Letter            App.1550

  2024-10-28   National Transportation Safety Board Acceptance App.1551
               Letter

  2024-10-28   Pharmacists’ Cannabis Coalition of California Rejection App.1552
               Letter

  2024-10-28   Phil Molloy Rejection Letter                                App.1553

  2024-10-28   Phillip Drum Acceptance Letter                              App.1554

  2024-10-28   Prince Lobel Strategic Rejection Letter                     App.1555

  2024-10-28   Robert Head (Hemp for Victory) Acceptance Letter            App.1556


                                       - 13 -
USCA Case #24-1365    Document #2100970            Filed: 02/17/2025   Page 14 of 214



  DATE         DESCRIPTION                                               PAGE

  2024-10-28   Sandra Rapke Rejection Letter                             App.1557

  2024-10-28   Shanetha Lewis Acceptance Letter                          App.1558

  2024-10-28   Smart Approaches to Marijuana Acceptance Letter           App.1559

  2024-10-28   State of Nebraska Acceptance Letter                       App.1560

  2024-10-28   Synthcon LLC Rejection Letter                             App.1561

  2024-10-28   Tennessee Bureau of Investigation Acceptance Letter       App.1562

  2024-10-28   Teresa Simon Rejection Letter                             App.1563

  2024-10-28   The Commonwealth Project Acceptance Letter                App.1564

  2024-10-28   The Doc App Acceptance Letter                             App.1565

  2024-10-28   Victor Bohm (Hemp for Victory) Acceptance Letter          App.1566

  2024-10-28   Village Farms International Inc. Acceptance Letter        App.1567

  2024-10-28   Wei He Rejection Letter                                   App.1568

  2024-11-25   American Psychological Association Rejection Letter       App.1569

  2024-11-25   American Trade Association for Cannabis Rejection App.1570
               Letter

  2024-11-25   Americans for Safe Access Foundation Rejection Letter App.1571

  2024-11-25   Andrew DeAngelo Rejection Letter                          App.1572

  2024-11-25   Andrew Kline Rejection Letter                             App.1573

  2024-11-25   Ariana Fleishman Rejection Letter                         App.1574

  2024-11-25   Association of American Railroads Rejection Letter        App.1575




                                      - 14 -
USCA Case #24-1365     Document #2100970           Filed: 02/17/2025   Page 15 of 214



  DATE         DESCRIPTION                                               PAGE

  2024-11-25   Association of State Criminal Investigative Agencies App.1576
               Rejection Letter

  2024-11-25   August Wakat Rejection Letter                             App.1577

  2024-11-25   Brian Austin Rejection Letter                             App.1578

  2024-11-25   Bryan Krumm Rejection Letter                              App.1579

  2024-11-25   Bryon Adinoff Rejection Letter                            App.1580

  2024-11-25   Catherine Bloom Rejection Letter                          App.1581

  2024-11-25   Coalition for Patients Rights Rejection Letter            App.1582

  2024-11-25   Con Body Rejection Letter                                 App.1583

  2024-11-25   Cris Ericson Rejection Letter                             App.1584

  2024-11-25   Cynthia Mateo Rejection Letter                            App.1585

  2024-11-25   Daniel Kyle Rejection Letter                              App.1586

  2024-11-25   David Heldreth Jr. Rejection Letter                       App.1587

  2024-11-25   Dennis Schuller Rejection Letter                          App.1588

  2024-11-25   Derek J. Shirley Rejection Letter                         App.1589

  2024-11-25   Devan Maurice Dupuis Rejection Letter                     App.1590

  2024-11-25   Dominique Mendiola Rejection Letter                       App.1591

  2024-11-25   Drug Policy Alliance Rejection Letter                     App.1592

  2024-11-25   Ean Seeb Rejection Letter                                 App.1593

  2024-11-25   Ed Wood Rejection Letter                                  App.1594

  2024-11-25   Emily Fisher Rejection Letter                             App.1595



                                       - 15 -
USCA Case #24-1365     Document #2100970            Filed: 02/17/2025   Page 16 of 214



  DATE         DESCRIPTION                                                PAGE

  2024-11-25   Grayson Lichtenthaler Rejection Letter                     App.1596

  2024-11-25   Greenspoon Marder, LLP Rejection Letter                    App.1597

  2024-11-25   Ian Patrick Patriarca Rejection Letter                     App.1598

  2024-11-25   Jasmine Montoya Rejection Letter                           App.1599

  2024-11-25   Jessica Garza Rejection Letter                             App.1600

  2024-11-25   Jonathan Frank Rejection Letter                            App.1601

  2024-11-25   Jordan Christopher Zito Rejection Letter                   App.1602

  2024-11-25   Jordan Smith Rejection Letter                              App.1603

  2024-11-25   Joseph Garofalo Rejection Letter                           App.1604

  2024-11-25   Joshua Taylor Rejection Letter                             App.1605

  2024-11-25   Julie Monteriro Rejection Letter                           App.1606

  2024-11-25   Justin J. Taylor Rejection Letter                          App.1607

  2024-11-25   Kai Hoffman Rejection Letter                               App.1608

  2024-11-25   Kainan Boring Rejection Letter                             App.1609

  2024-11-25   Keila E. Castillo Rejection Letter                         App.1610

  2024-11-25   Keith G. Freeman Rejection Letter                          App.1611

  2024-11-25   Kym Silva Rejection Letter                                 App.1612

  2024-11-25   Last Prisoner Project Rejection Letter                     App.1613

  2024-11-25   Lilly Tirado Rejection Letter                              App.1614

  2024-11-25   Lori Robinson Rejection Letter                             App.1615

  2024-11-25   Major Cities Chiefs Association Rejection Letter           App.1616


                                       - 16 -
USCA Case #24-1365    Document #2100970            Filed: 02/17/2025   Page 17 of 214



  DATE         DESCRIPTION                                               PAGE

  2024-11-25   Major County Sheriffs of America Rejection Letter         App.1617

  2024-11-25   Mariah Ashley Magnuson Rejection Letter                   App.1618

  2024-11-25   Marijuana Policy Project Rejection Letter                 App.1619

  2024-11-25   Michael Doyle Rejection Letter                            App.1620

  2024-11-25   Michael Krawitz Rejection Letter                          App.1621

  2024-11-25   Michael Rountree Rejection Letter                         App.1622

  2024-11-25   Minorities for Medical Marijuana, Inc. Rejection Letter App.1623

  2024-11-25   Minority Cannabis Business Association Rejection App.1624
               Letter

  2024-11-25   National Alliance of State Drug Enforcement Agencies App.1625
               Rejection Letter

  2024-11-25   National Association of Police Organizations Rejection App.1626
               Letter

  2024-11-25   National District Attorneys Association Rejection App.1627
               Letter

  2024-11-25   National HIDTA Directors Association Rejection App.1628
               Letter

  2024-11-25   National Narcotic Officers’ Associations’ Coalition App.1629
               Rejection Letter

  2024-11-25   National Organization for the Reform of Marijuana App.1630
               Laws (NORML) Rejection Letter

  2024-11-25   New York Office of Cannabis Management Rejection App.1631
               Letter

  2024-11-25   Nicholas Barreto Rejection Letter                         App.1632



                                      - 17 -
USCA Case #24-1365    Document #2100970             Filed: 02/17/2025   Page 18 of 214



  DATE         DESCRIPTION                                                PAGE

  2024-11-25   Nicole Ricci Rejection Letter                              App.1633

  2024-11-25   Patrick Oglesby Rejection Letter                           App.1634

  2024-11-25   Perkins Coie Rejection Letter                              App.1635

  2024-11-25   Perkins Coie on behalf of Green Thumb Industries Inc. App.1636
               Rejection Letter

  2024-11-25   Perkins Coie on behalf of MedPharm Rejection Letter        App.1637

  2024-11-25   Perkins Coie on behalf of MedPharm Rejection Letter        App.1638

  2024-11-25   Perkins Coie on behalf of MedPharm Rejection Letter        App.1639

  2024-11-25   Rafael Acevedo Rejection Letter                            App.1640

  2024-11-25   RTI International Rejection Letter                         App.1641

  2024-11-25   Russell Palmer Rejection Letter                            App.1642

  2024-11-25   Sage Endoom Cannablisshum Rejection Letter                 App.1643

  2024-11-25   San Diego County Rejection Letter                          App.1644

  2024-11-25   Sensible Drug Policy Rejection Letter                      App.1645

  2024-11-25   Sergeants Benevolent Association Rejection Letter          App.1646

  2024-11-25   Shane Gallichio Rejection Letter                           App.1647

  2024-11-25   Shane Pennington Rejection Letter                          App.1648

  2024-11-25   State of Colorado Rejection Letter                         App.1649

  2024-11-25   Stephen J. Mandile Rejection Letter                        App.1650

  2024-11-25   Students for Sensible Drug Policy Rejection Letter         App.1651

  2024-11-25   Suzanne Sisley, M.D. Rejection Letter                      App.1652



                                      - 18 -
USCA Case #24-1365    Document #2100970           Filed: 02/17/2025   Page 19 of 214



  DATE         DESCRIPTION                                              PAGE

  2024-11-25   T. Christopher Wright Rejection Letter                   App.1653

  2024-11-25   The Equity Trade Network Rejection Letter                App.1654

  2024-11-25   The Plant Counsel Rejection Letter                       App.1655

  2024-11-25   The Veterans Action Council Rejection Letter             App.1656

  2024-11-25   Thomas J. Tobin Rejection Letter                         App.1657

  2024-11-25   Training Marbles, Inc. Rejection Letter                  App.1658

  2024-11-25   United Empowerment Party Rejection Letter                App.1659

  2024-11-25   United States Cannabis Coalition Rejection Letter        App.1660

  2024-11-25   Veterans Action Council Rejection Letter                 App.1661

  2024-11-25   Veterans Action Council Rejection Letter                 App.1662

  2024-11-25   Veterans Action Council Rejection Letter                 App.1663

  2024-11-25   Vicente LLP on behalf of Sensible Colorado Rejection App.1664
               Letter

  2024-11-25   Vicente LLP Rejection Letter                             App.1665

               University of California San Diego’s Center for App.1666
               Medicinal Cannabis Rejection Letter

  2024-11-27   Draft letters document listing by Heather E. Achbach     App.1667




                                      - 19 -
USCA Case #24-1365    Document #2100970      Filed: 02/17/2025   Page 20 of 214



 Dated: February 17, 2025         Respectfully submitted,

                                  /s/Austin T. Brumbaugh
                                  Austin T. Brumbaugh
                                  D.C. Circuit Bar No. 65727
                                  Yetter Coleman LLP
                                  811 Main Street, Suite 4100
                                  Houston, Texas 77002
                                  713-457-3099

                                  Attorney for Petitioners




                                   - 20 -
USCA Case #24-1365            Document #2100970                         Filed: 02/17/2025                    Page 21 of 214




                                                                  1201 Thud Avern.;e              iiJ - I 2il6 359 8000
      PeRKINSCOle                                                 Su,te 1.9))                     0 •• 206 359 9JOO
                                                                  3ed!ile. WA9dl01-JO~','             ~1<,n$Coe.com



      June 17, 2024                                                                                      Abdul Kallon
                                                                                            AKallon@peritinscoie.com
                                                                                                 0 , + 1.206.359.3032
                                                                                                 F. + 1.206.359.9000

      Drug Enforcement Administration
      Attn: Hearing Clerk/OALJ
      8701 Morrissette Drive
      Springfield, VA 2215

      Re:      Notice of Appearance

      Dear Sir:

      Please take notice that American Trade Association for Cannabis and Hemp ("ATACH")
      requests to appear in the matter of the Rescheduling of Marijuana, 89 Fed. Reg. 44,597 (the
      " Proposed Rule"), if DEA grants any other interested person' s petition for a hearing.

      (A) ATACH has standing to participate in a hearing if one occurs. A TACH is an "interested
      person" and falls within the CSA ' s zone of interests. Further, ATACH and its members will be
      directly and "adversely affected" or "aggrieved" by the Proposed Rule if finalized. ATACH 's
      status as an ''interested person' is further dc:tailed in the enclosed submission.

      (B) Among other things, ATACH has uniq·ue expertise and would provide invaluable insights
      into: (i) medical research involving marijuana, particularly as it relates to veterans' access; (ii)
      effects on members who are minority-owned and small businesses and whose communities have
      been impacted by the war on drugs; (iii) the=impact of new marijuana-specific DEA controls on
      ATACH' s members; (iv) abuse potential and public health risks of marijuana and (v) the
      practical consequences ofrescheduling acrnss the marijuana supply chain, from seed-to-sale.
      Further detail about the objections or issues on which AT ACH desires to be heard is provided in
      the enclosed submission.

      (C) ATACH represents a coalition of active participants in and around the state-legal cannabis
      industry that are directly and adversely affected by the Proposed Rule. ATACH is thus uniquely
      situated to assist DEA' s administrative decision making if DEA desires a hearing. ATACH and
      its members have extensive knowledge and experience regarding the practical effects of the
      Proposed Rule on tbe state-legal, regulated marijuana marketplace. DEA is actively seeking
      comments related to the practical conseque,nces of rescheduling marijuana_ Proposed Rule at
      44,621. ATACH is particularly well-suited to provide this insight, as it represents a broad
      coalition of interests, including (but not limited to) distributors, seed-to-sale technology
      providers, economic consultants, ingredient and garden care suppliers, financial service
      providers setving the cannabis industry, non-profit researchers, and veterans groups, among




       167742422 I




                                                                                                                App.498
USCA Case #24-1365            Document #2100970                      Filed: 02/17/2025            Page 22 of 214




      Drug Enforcement Administration
      Attn; Hearing Clerk/OALJ
      June I 7, 2024
      Page2


      other voices.. ATACH's positions with regard to tbe particular o~jections or issues are further
      detailed in the enclosed submission.

      All notices to be sent pursuant to this appearance should be addressed to:

               Abdul Kallon
               1201 Third Ave., Ste, 4900
               Seattle, WA 98101

      Respectfully yours,

      Isl AbdulKaUon
      AbdulKaUon

      AK:tjt




      ~"""C..lll'
      167742422.1




                                                                                                    App.499
USCA Case #24-1365          Document #2100970                        Filed: 02/17/2025        Page 23 of 214



                                        Torridon Law PLLC
                                          1155 F Street NW, Suite 750.
                                            Washington, DC 20004
                                                (202) 249-6900
                                          pphilbin@torridonlaw.com




                                                            June 17, 2024

       BY FIRST-CLASS AND FEDEX MAIL

       Drug Enforcement Administration, Attn: Administrator
       Hon. Anne Milgram
       Docket No. DEA-1362
       8701 Morrissette Drive,
       Springfield, Virginia 22152
                              I


      RE:    Request for Hearing on the Proposed Rule Rescheduling Marijuana,
             Docket No. DEA-1362


      Dear Administrator Milgram:

              Smart Approaches to Marijuana (SAM) hereby requests a hearing on the Proposed Rule
      that would reschedule marijuana from Schedule I to Schedule III under the Controlled Substances
      Act. See 89 Fed. Reg. 44,597 (May 21, 2024), Docket No. DEA-1362 ("NPRM"). SAM is a.
      bipartisan alliance of organizations and individuals dedicated to a health-first approach to
      marijuana policy. It is comprised of medical doctors, lawmakers, treatment providers,
      preventionists, teachers, law enforcement officers and others who seek a middle road between
      incarceration and legalization. SAM's mission is to equip policymakers with commonsense
      proposals, based in reputable science, to promote public health and decrease marijuana use and its
      consequences. SAM opposes the removal of cannabis from Schedule I.

              SAM is an interested person who would be adversely affected or aggrieved by the agency's
      action if marijuana were rescheduled. See 21 C.F.R. §§ 1300.0l(b), 1308.44. Moving marijuana
      to Schedule III will negatively affect SAM by reducing restrictions on access to marijuana and
      thereby requiring SAM to divert resources and expend additional funds on new and different lines
      of effort to protect those most at risk-including at-risk youth-from the harms produced by more
      ready access to this psycho-active substance. A sweeping change in the regulatory environment
      would require SAM to divert resources from its current advocacy and informational efforts and
      expend resources on entirely different projects. The NPRM also requests expert testimony that
      SAM is uniquely situated to coordinate and provide to the agency. SAM's interest in this
      proceeding is also directly analogous to the interests of other public interest and professional
      associations whose requests for a hearing on the record during past attempts to reschedule
      marijuana were granted. See, e.g., NORML v. DEA, 559 F.2d 735, 742 (D.C. Cir. 1977) (noting




                                                                                               App.500
USCA Case #24-1365               Document #2100970                             Filed: 02/17/2025                Page 24 of 214



       TORRIDON LAW PLLC
       RE: Request for Hearing in Docket No. DEA-1362
       June 17, 2024
       Page2

       that "NORML and the American Public Health Association" successfully requested a hearing on
       rescheduling cannabis). 1

               As the most significant relaxation of restrictions on a psychoactive substance in the history
       of the CSA, the Proposed Rule deserves full consideration through a hearing on the record. In the
       NPRM, DEA went out of its way to request "additional information" and "expert opinions" on a
       host of complex subjects. SAM requests a hearing to present evidence on the subjects identified
       by DEA, including but not limited to, the following:

           1. Marijuana :S actual or relative potential for abuse.-SAM believes that the assessment of
       marijuana's actual or relative potential for abuse in the Proposed Rule is flawed. At a hearing,
       SAM would present evidence bearing upon several points demonstrating that marijuana has a
       higher actual rate of abuse and higher potential for abuse than acknowledged in the analysis
       presented by HHS. Among other things, SAM would present evidence from the Drug Abuse
       Warning Network (DAWN) related to adverse outcomes from the use of marijuana; evidence from
       the National Survey on Drug Use and Health (NSDUH) bearing upon the development of
       substance use disorder among users of marijuana; and evidence from other relevant studies and
       data sets.

          2. Marijuana :S risk to public health.-The Proposed Rule, relying on HHS 's analysis, asserts
      that marijuana presents a lower public health risk profile in comparison to "most other comparator
      drugs." 89 Fed. Reg. at 44,601. But HHS did not compare marijuana against all Schedule I drugs;
      rather, it compared marijuana to a limited, hand-picked list of other controlled and noncontrolled
      substances (e.g., heroin, alcohol, cocaine). HHS also omitted entirely any comparison with
      Schedule I hallucinogens. At a hearing, SAM would present evidence from expert witnesses to
      provide a more balanced analysis of the public health risks posed by marijuana.

           The Proposed Rule also fails to consider research demonstrating that marijuana plays a causal
       role in the development of psychosis, including schizophrenia, in certain individuals. At the
       hearing, SAM would produce evidence concerning this link.




      1 SAM respectfully notes that administrative law judges (ALJs) at DEA are almost certainly inferior officers under the
      Constitution. As a result, their appointment by the Administrator is inconsistent with the Appointments Clause of
      Article 11. See, e.g., Lucia v. SEC, 585 U.S. 237 (2018). SAM raises this issue to make clear that, by requesting a
      hearing as permitted by 21 U.S.C. § 81 l(a) and 21 C.F.R. § 1308.44, SAM does not consent to a hearing before an
      ALJ who has not been appointed in a manner consistent with the requirements of the Appointments Clause, and SAM
      expressly preserves its right to challenge the outcome of any hearing on the ground that the ALJ was not properly
      appointed.




                                                                                                                   App.501
USCA Case #24-1365            Document #2100970                      Filed: 02/17/2025            Page 25 of 214



       TORRIDON LAW PLLC
       RE: Request for Hearing in Docket No. DEA-1362
       June 17, 2024
       Page 3

               Additionally, HHS elides the significant danger of marijuana-impaired driving by ignoring
       the rate of self-reported impaired driving by users of marijuana (which is far higher than the rate
       of impaired driving among users of other substances, including alcohol). At a hearing, SAM would
       provide evidence on this and related points.

              The Proposed Rule also downplays the unique risks that marijuana poses to youth and
       adolescents. At a hearing, SAM would provide expert testimony showing that cannabis use harms
       adolescent brain development, diminishes learning, and inhibits mental processing speed. This
       evidence is critical because this aspect of the public health risks posed by marijuana appears to
       have been ignored by HHS.

              SAM would also provide evidence related to the health risks of marijuana use during
       pregnancy.

            3. The redefinition of "Currently Accepted Medical Use. "-To change marijuana's
        designation as a Schedule I substance, HHS had to change the standard for determining "currently
        accepted medical use." The new test uses only two factors under which a substance has an
        accepted medical use, namely (i) if licensed healthcare providers have widespread current
        experience with medical use of the drug and (ii) if that medical use has "some credible scientific
        support." Memorandum for the Commissioner, FDA, from the Assistant Secretary for Health,
        HHS, Re: Part 1 Analysis at 1-2 (July 17, 2023) (HHS Memo). Under this new test, HHS
        concluded that marijuana has a currently accepted medical use for "anorexia related to a medical
       condition; nausea and vomiting (e.g., chemotherapy-induced), and pain." Id. at 29. •

              At a hearing, SAM would present testimony showing that marijuana does not satisfy the
      second factor of the new test because there is not credible scientific support that marijuana can be
      used to treat anorexia, chemotherapy-induced vomiting, or pain.

           4. Marijuanas history or pattern of abuse.-HHS found that marijuana has a potential for
       abuse less than the drugs or other substances in schedules I and II, and the DEA requested
       additional evidence related to this point. See, e.g., 89 Fed. Reg. at 44,603 (reque·sting "additional
       data" on marijuana's actual or potential for abuse). At a hearing, SAM would present testimony
       showing that marijuana's history and pattern of abuse is much more like that of Schedule I
       substances than Schedule III substances.




                                                                                                    App.502
USCA Case #24-1365           Document #2100970                      Filed: 02/17/2025     Page 26 of 214



      TORRIDON LAW PLLC
      RE: Request for Hearing in Docket No. DEA-1362
      June 17, 2024
      Page4

             All notices to be sent pursuant to the proceeding should be addressed to:

             Torridon Law PLLC
             Patrick F. Philbin
             1155 F St. NW
             Suite 750
             Washington D.C. 20004




                                                          Respectfully submitted,




                                                          Patrick F. Philbin

                                                          Counsel for Smart Approaches to Marijuana



       cc:   Hearing Clerk/OALJ
             DEA Federal Register Representative/DPW
             Drug Enforcement Administration
             8701 M~rrissette Drive, Springfield, Virginia 22152.




                                                                                            App.503
USCA Case #24-1365                        Document #2100970          Filed: 02/17/2025           Page 27 of 214




                                                                                   ~
                                                                                   ~
                                                                                   ~
           -----·-
         IJfl
         j C/tN.Vl/lC(l/1,/.r,,IYFN.fT/




       June 17, 2024

      Drug Enforcement Administration, Attn: Administrator
      The Honorable Anne Milgram
      Docket No. DEA-1362
      8701 Morrissette Drive,
      Springfield, Virginia 22152

       RE: Request for Hearing on the Proposed Rule Rescheduling Marijuana,
       Docket No. DEA-1362

       Dear Administrator Milgram,

       The undersigned organizations hereby request a hearing on the Proposed Rule rescheduling
       marijuana from Schedule I to Schedule Ill. See 89 Fed. Reg. 44,597 (May 21, 2024), Docket No.
       DEA-1362.

       Our organizations, representing diverse voices within the law enforcement community, have been
       intimately involved in the enforcement and implementation of our nation's drug laws and
       strategies. We understand the need for well thought out and rational policies that seek to keep our
       communities safe and healthy.

       Given that marijuana has been classified as a Schedule I drug since 1970, it is imperative that any
       effort to move marijuana to another regulatory scheme should be given a formal hearing to provide
       it with a careful, unbiased review of the evidence during the rulemaking process. The science and
       the public health consequences of rescheduling should be the most important factors when
       making any decision given the long-term implications.

       All notices to be sent pursuant to the proceeding should be addressed to:

       Association of State Criminal Investigative
       Agencies                                               Drug Enforcement Association of Federal
       C/O: Bureau of Criminal Investigation -                Narcotics Agents
       Virginia State Police                                  P.O. Box 2801
       7700 Midlothian Turnpike                               Ashburn, Virginia 20146.
       North Chesterfield, VA23235




                                                                                                 App.504
USCA Case #24-1365            Document #2100970                       Filed: 02/17/2025           Page 28 of 214




      Major Cities Chiefs Association                         National District Attorneys Association
      PO Box 71690                                            1400 Crystal Drive, Suite 330
      Salt Lake City, UT 84171                                Arlington, VA 22202

      Major County Sheriffs of America                        National HIDTA Directors Association
      P.O. Box 81762                                          C/O: Washington/Baltimore HIDTA
      Rochester, Ml 48308                                     1800 Washington Blvd, Suite 150
                                                              Baltimore, MD 21230
      National Alliance of State Drug Enforcement
      Agencies                                                National Narcotic Officers' Associations'
      P.O. Box 16278                                          Coalition
      Austin, TX 78761                                        455 Massachusetts Avenue NW, Box 112
                                                              Washington, DC 20001
      National Association of Police Organizations
      317 S. Patrick Street                                   Sergeants Benevolent Association NYPD
      Alexandria, VA22314                                     57 Leonard Street
                                                              New York, NY 10013

      Thank you for your consideration.

      Sincerely,




       Drew Evans
       President, Association of State Criminal Investigative Agencies


       7lrI ~ ,✓. ,,{;/4
            ,ll,)
                     •

       Marshal Fisher
       President, Drug Enforcement Association of Federal Narcotics Agents




       Laura Cooper
       Executive Director, Major Cities Chiefs Association




       Megan Noland
       Executive Director, Major County Sheriffs of America




                                                                                                  App.505
USCA Case #24-1365           Document #2100970                      Filed: 02/17/2025   Page 29 of 214




      Donald Payton
      President, National Alliance of State Drug Enforcement Agencies


       //~;Ji~    ;A--
      William J. Johnson, Esq.
      Executive Director, National Association of Police Organizations




      Nelson Bunn
      Executive Director, National District Attorneys Association




      Mike McDaniel
      President, National HIDTA Directors Association




      Eric Brown
      President, National Narcotic Officers' Associations' Coalition




      Vincent J. Vallelong
      President, Sergeants Benevolent Association NYPD


      cc:     Hearing Clerk/OALJ
              DEA Federal Register Representative/DPW
              Drug Enforcement Administration
              8701 Morrissette Drive
              Springfield, Virginia 22152.




                                                                                        App.506
USCA Case #24-1365                Document #2100970                          Filed: 02/17/2025               Page 30 of 214




                                                       AFNA
                                         Association of Federal Narcotics Agenls
                                                        www.afna.org
    I lonorabl~ Ann Milgram Adminisu·ator                                                                   June 18, 2024
    U.S Drug EnforcemcntAdministration
    870 I Morrissette Drive,
    Springfield. Virginia 22152

    RE: Request for Hearing Period on the Proposed Rule Rescheduling Marijuana, Docket No. DEA-1362

    Dear Administrator Milgram,

    As President of D8/\fNA and on behalf of our organiwtion, I respectfully request a hearing on the Proposed Ruic
    announced 0 11 May 2 1, 2024 that would reschedule marijuana from Schedule I to Schedule 111 under the
    Controlled
    Substances Act (CS/\).

    J have attached a copy of DEAFNJ\'S letter to you dated May 6, 2024, indicating our opposition to rescheduling.
    Additionally, [ have attached a position paper authored by two of our members.

    /\s stated in our letter recent communication from the Assistant Sccreta1y for I lcalth and l luman Services (111-lS)
    in support o f rescheduling marijuana is unfounded and in direct contradiction with its own SAMS! IS/\ (Substance
    Abuse and Mental I lcalth Services Administration) evidence-based literature, NSDUH (National Survey on Drug
    Use and Health) reports. and grantee marijuana attestation requirements.

    We arc currently in the throes of1he deadliest drug threat in the history of America with respect to U1e fonta11yl
    crisis. Consideration or such a drastic negative and permanent impact on our nation at this lime is at best bad
    timing, reckless and complcrely disregards c urrent science.

    The first duty of government is to protect our citizens. This is a public safety and public health issue that deserves
    a fonnal hearing. Thank you for your comtnitment lo Drug Enforcement and fo1· your kind consideration of our
    request.

    Sincere[)!                /      .

         ~~~Ltr
              risher
    President
    Drug Enforcement Association of Federal Narcotics Agents
    Marshallfisher@rocketmail.com
    601-832-8449
    www.afna.org




                                                                                                          App.507
USCA Case #24-1365           Document #2100970                   Filed: 02/17/2025          Page 31 of 214




                                         David G. Evans, Esq.
                                             Senior Counsel
                              Cannabis Industry Victims Educating Litigators
                                           203 Main St. # 149
                                          Flemington, NJ 08822
                                              908-963-0254
                                       seniorcounsel@CIVEL.org


     June 18, 2024

     Drug Enforcement Administration
     Attn: Hearing Clerk/OALJ
     8701 Morrissette Drive
     Springfield, Virginia 22152

     Drug Enforcement Administration
     Attn: DEA Federal Register Representative/DPW
     8701 Morrissette Drive
     Springfield, Virginia 22152.

     Subject: Request for Hearing on Docket No. DEA-1362

     Dear Sir/Madam:

      The undersigned David G. Evans hereby requests a hearing in the matter of: Docket No.
      DEA-1362 the rescheduling of marijuana.

     Cannabis Industry Victims Educating Litigators (CIVEL) educates litigators and legislators
     nationally on how to protect the many victims of the marijuana industry. The categories of the
     victims of the marijuana industry that CIVEL seeks to protect include:
            Accident victims.
            Abused elders
            Unborn children and nursing babies
            Children of marijuana users
            Crime victims
            Domestic violence victims
            Drug Dealer Liability Act victims
            Employers
            Environmental victims
            Parents and grandparents
            Marijuana consumers
            Marijuana addicts
            Marijuana intoxicated driving victims
            People who suffer mental health impairment due to marijuana




                                                                                              App.508
USCA Case #24-1365           Document #2100970                    Filed: 02/17/2025   Page 32 of 214




             Property owners
             Se ·ual victims
             Students and schools
             Workers and farm employees in the marijuana industry

     Mr. Evans will testify on the following i sues:

            1. ection 280E f the Internal Revenue Code
            2. There l No Reason to Chang Marijuana's Scheduling Based on the Science or Law
            3. Marijuana Exposures Among Children. Veterans With PTSD, Older Adults
            4. Deadly Interactions Between Marijuana and Prescription Drugs
            5. Marijuana U e Causes Mental JIJness and Violence
            6. CBD as a " Medicine'' - the Wild \aims
            7. Today's Marijuana Is Very Jligh in Potency and Causes Public Health and Safety
     Harms and Addiction
            8. The Department of Justice States That Marijuana Users Are Dangerous
            9. Marijuana lJ e Before, During or after Pregnancy Can Cause erious Medical
     Conditions, Leaming Problems and Birth Defects

      All notices to be sent pursuant to the proceeding should be addr ssed to:

      David G. Evans. Esq.
      1854 Hendersonville Rd
      Ste 205
      Ashe ille, N 28803
      thin kon908@aol .com




      David G. Evans




                                                                                       App.509
USCA Case #24-1365              Document #2100970                       Filed: 02/17/2025            Page 33 of 214


                                                        Coalition for Patient Rights: Administration
                                                                                                 Post Office Box 750865
                                                       Managed By:                               I.AS VEGAS, NV 89136

                                               0 MS0                   www.C0ALITI0NF0RPA1 IEI ' rRIGHTS.org


    June 18, 2024

    To: Drug Enforcement Administration
    Attn: Administrator,
          Hearing Clerk/OALJ, and
          DEA Federal Register Representative/OPW
    8701 Morrissette Drive
    Springfield, Virginia 22152
    Subject: Request for Hearing for Docket No. DEA-1362


    Dear Sir:

    The undersigned hereby requests a hearing in the matter of: Docket No. DEA- 1362

        Coalition For Patient Rights (CPR): Jeff Krajnack - CPR President and Tom
        Lauerman "Farmer Tom" CPR Board of Directors and Director of Patient Safety
        MyCPR.us

        Compassion Center (CC): Jason Greninger - CPR/CC Legislative & Congressional
        Outreach Coordinator Compassion-Center.erg

        Community-Based Clinical Cannabis Evaluation & Research Network
        (CBCCERN) and Center For Incubation and Findings (CIFR): James Creel -
        Executive Administrator CBCCERN.org & CIFR.cc

        Integrative Providers Association (IPA): Julie Monteiro RN, BSK- President and
        Director of Education lntegrativeProviders.org

        Decriminalize Nature (ON): James Garvey - Co-Director and Treasurer and Jennifer
        Gullickson - Co-Director DecrimNatureNV.orq

    CPR Introduction:

    The Coalition for Patient Rights (CPR) is committed to advancing the rights of all patients in
    the pursuit of accessing safe and effective medical cannabis treatments. In light of ongoing
    debates surrounding the federal regulation of cannabis, CPR has carefully considered the
    implications of both decriminalization and rescheduling on many levels, especially in
    relation to patient and civil rights. From the heartbeat of our patients,

             CPR finds that Decriminalization and Descheduling best serves the needs of
                                 our patients, community and the underserved.

        MSOplus: Coalition For Patient Rights Administration               P.O. Box 750865, Las Vegas, NV 89136
     www.COAI ITIONFORPATIENTRIGHTS.org a 501(c)4 Social Welfare Organization www.MyCPf'.us
     Standing up for Patient Rights in legislative and Congressional Forums When The Voice of Industry Gets Too loud!     1




                                                                                                        App.510
USCA Case #24-1365   Document #2100970   Filed: 02/17/2025   Page 34 of 214




                                                                                    J




                                                                          App.511
USCA Case #24-1365               Document #2100970                      Filed: 02/17/2025            Page 35 of 214


                                                        Coalition for Patient Rights: Administration
                                                                                                 Post Office Box 750865
                                                       Managed By:                               LAS VEGAS, NV 89136

                                               0 MSO                   www.C0ALIT10NFORPA IE fRIGH rs.org




   This position was based on current empirical data, that cannabis has been used safely
   throughout history for centuries and that it existed and was legal prior to the creation of
   both the FDA & DEA, in which cannabis should never have been placed on the schedule to
   begin with. In addition, the majority of states, through a patchwork of current state laws, are
   'in favor' of its medical or adult use, in multiple forms deemed legal as a safe treatment
   option that has been beneficial and part of millions of patient's treatment plans. Cannabis is
   in need to be descheduled and decriminalized so that this simple plant can be treated as
   such.

   1. Interest in the proceeding:

   Our interest in this proceeding is driven by our dedication to advocating for the responsible
   use of natural substances, ensuring that regulatory measures reflect current scientific
   understanding, and promoting public health and safety. Our collaboration with other
   organizations amplifies the collective concern and interest in re-evaluating current
   scheduling practices.

   2. Objections or issues to be heard:

   We collectively wish to address several critical objections and issues in this proceeding:

       - Scientific Evidence: The scheduling under Schedules Ill may not accurately reflect the
    risk profiles and therapeutic benefits.

     - Public Health and Safety: The socio-economic and public health impacts of
   criminalizing these substances. including the burden on the legal system, the stigmatization
   of users, and the adverse effects on community health, need thorough examination.

     - Harm Reduction: We advocate for policies that prioritize harm reduction, education,
   and informed consent over punitive measures. Evidence-based approaches can better
   serve public health interests.

   3. Position Regarding the Objections or Issues:

   Our position is that the scheduling of substances should be evaluated based on
   contemporary scientific research and peer reviewed world wide public health data. We
   propose a decriminalization approach that:

     - Provides non-restrictive, full access to treatments.

     - Is less cost impactive to the patient and to the current healthcare system


        MSOplus: Coalition For Patient Rights Administration               P.O. Box 750865, Las Vegas, NV 89136
     www.COALI IONFOR"~TIENT r<IGHTS.org a 501(c)4 Social Welfare Organization www.MyrPR.us
     Standing up for Patient Rights in Legislative and Congressional Forums When The Voice of Industry Gets Too Loud!     2




                                                                                                        App.512
USCA Case #24-1365   Document #2100970   Filed: 02/17/2025   Page 36 of 214




                                                              App.513
USCA Case #24-1365              Document #2100970                       Filed: 02/17/2025            Page 37 of 214


                                                        Coalition for Patient Rights: Administration
                                                                                                 Post Office Box 750865
                                                       Managed By:                               LAS VEGAS, NV 89136

                                               t.9MSC:>                www.COALITIONFORPATIENTRIGHTS.org




      - Removes Legal Penalties: Minimizes unnecessary legal penalties that
    disproportionately affect marginalized communities.

     - Promotes Education and Safety: Emphasizes public education on the safe use and
    harm reduction strategies.



    We respectfully request the opportunity to present our case and provide evidence
    supporting our position during the hearing. We believe that a thorough, science-based
    review is essential for fair and effective regulatory policies. Our organization, along with our
    collaborators, is prepared to contribute detailed research, expert testimony, and community
    impact statements to inform this proceeding.

    Thank you for considering our request. We look forward to your response and the
    opportunity to participate in this important review process.



    Respectfully yours,



    /s/ Jason Greninger
    CPR Legislative & Congressional Outreach Coordinator




         Compassion
         Center
                                  um                                       e        Decriminalize
                                                                                    Nature
                                                                                    Nevada
                                                                                                           El
        MSOplus: C oalitio n For Pat ient Rights Administration            P.O. Box 750865, Las Vegas, NV 891 36
     www.COALITIONFORP TIENTRIGHTS.org a 501(c)4 s ocial Welfare organization www.MyCPR.us
     Standing up for Patient Rights in legislative and Congressional Forums When The Voice of Industry Gets Too Loud!     3




                                                                                                        App.514
USCA Case #24-1365   Document #2100970   Filed: 02/17/2025   Page 38 of 214




                                                              App.515
USCA Case #24-1365           Document #2100970                    Filed: 02/17/2025            Page 39 of 214

                                                 Coalition for Patient Rights: Administration
                                                                                       Post Office Box 750865
                                                                            Managed By: LAS VEGAS, NV 89136

                                                 C-YMSOwww.C



                   POSITION STATEMENT:
       Decriminalization vs. Descheduling of Cannabis


      Section I: Introduction

     The Coalition for Patient Rights (CPR) is committed to advancing the rights of all patients in the
     pursuit of accessing safe and effective medical cannabis treatments. In light of ongoing debates
     surrounding the federal regulation of cannabis, CPR has carefully considered the implications of
     both decriminalization and rescheduling on many levels, especlally in relation to patient and civil
     rights. From the heartbeat of our patients.


             CPR finds that Decriminalization and Descheduling best serves
                the needs of our patients. community and the underserved.

     This position was based on current empirical data, that cannabis has been used safely throughout
     history for centuries and that it existed and was legal prior to the creation of both the FDA & DEA,
     in which cannabis should never have been placed on the schedule to begin with. In addition, the
     majority of states, through a patchwork of current state laws, are 'in favor' of its medical or adult
     use, in multiple forms deemed legal as a safe treatment option that has been beneficial and part
     of millions of patient's treatment plans. Cannabis is in need to be descheduled and decriminalized
     so that this simple plant can be treated as such.




      Section II: Definitions
      Unless the context requires otherwise, the following definitions shall apply:

      (a) "Medicinal Cannabis'' and/or "Medical Marijuana" and/or "Medical Cannabis" means any such
          form of cannabis or a cannabis product used in compliance with state laws, and marijuana is to
          be properly addressed as "Medicinal Cannabis" when referring to its medicinal use, qualities
          and/or beneficial compounds used in the treatment of any illness and/or medical condition
          and/or relieving pain not well addressed by existing FDA approved remedies and/or treatment
          options.




                                                                                                  App.516
USCA Case #24-1365            Document #2100970                     Filed: 02/17/2025            Page 40 of 214




     (b) "Decriminalization" refers to the elimination or reduction of criminal penalties associated with
         the possession or use of cannabis, often resulting in civil fines or alternative measures rather
         than criminal charges.

     (c) "Rescheduling" means rescheduling of marijuana (cannabis) in the U.S. DEA Drug Scheduling
         would involve the reclassification of cannabis under the Controlled Substances Act (CSA),
         typically shifting it from its current Schedule I status to a lower schedule, such as Schedule II,
          Ill, or VI.

     (d) "Descheduling" refers to the process of eliminating the marijuana (cannabis) plant from a long
         list of controlled substances outlined in the Controlled Substances Act of 1970 (CSA) and any
         subsequent legislative measures derived from or associated with this original law. In essence,
         descheduling entails removing the legal classification of marijuana as a controlled substance,
         thereby altering its regulatory status and potentially allowing for different legal frameworks on
         a state-level regarding its production, distribution, possession and/or use. This action would
         signify a significant shift in drug policy. potentially leading to changes in how the marijuana
         (cannabis) plant is being regulated and perceived within the legal system.

     (e) "Schedule VI" refers to states and governments who have added a new schedule, Schedule VI,
       to their Controlled Substances Act (CSA), which legally categorizes the Cannabis plant(s) and
        tetrahydrocannabinol (THC) below other related substances that have a low(er) potential for
       abuse relative to substances listed in Schedules I, 11, 111, IV and V and have currently accepted
       medical uses in the United States. Substances in a CSA Schedule VI also have a tower risk of
     dependence and/or addiction compared to those in the Schedules I through V. Examples of some
       of the substances included in CSA Schedule VI are marijuana and tetrahydrocannabinol that is
        not derived from hemp. and only in a growing body of states like Virginia and North Carolina.
      These substances are subject to regulations regarding the growing, manufacturing, distribution,
               prescription, and use to prevent abuse and diversion, but are still a Schedule VI.

     (f) "GRAS Designation" is defined as "Generally Recognized as Safe", a designation granted by the
          Food and Drug Administration (FDA) for substances having been adequately shown to be safe
          under the conditions of its intended use and considered safe for human consumption based
          on scientific evidence. Food products are classified as GRAS, and under this designation may
          enhance product safety and quality assurance, providing consumers and cannabis patients
          with assurances of standardized potency and purity.

      (g) "Section 280E" refers to the Internal Revenue Code that is currently prohibiting legal cannabis
        businesses from deducting ordinary business expenses from their federal taxes, resulting in
       significant financial burdens. Rescheduling or Descheduling cannabis could alleviate these tax
       burdens, enabling businesses to reinvest in research, development, and patient care initiatives.




                                                                                                   App.517
USCA Case #24-1365              Document #2100970                           Filed: 02/17/2025                Page 41 of 214




               MSOplus: Coalition For Patient Rights Administration • P.O. Box 750865, las Vegas, NV 89136
       WWW. •                        A 1-              S.org a 501(c)4 Social Welfare Organization WWW.        '·   R.us
       Standing up for Patient Rights in Legislative and Congressional Forums When The Voice of Industry Gets Too Loud! 2




      Section Ill: Considerations
      Several key arguments based on the legal principles, public policy considerations and many other
      practical implications support descheduling cannabis altogether as opposed to just rescheduling
      It. The following considerations were made:
      Constitutional considerations: The Controlled Substances Act (CSA) is a federal
      regulatory framework that affects interstate commerce, individual liberties, and states'
      rights, as well as scheduling the controlled substances for identification and regulation.
      Cannabis is completely freed from the CSA's purview by descheduling, ending federal
      prohibition and reestablishing individual and states' rights to regulate accordingly.



      State Sovereignty and Federalism: The CSA framework does not fully respect states' rights
      and sovereignty when cannabis is moved to a lower schedule, it just perpetuates the ongoing
      contradictions. Conflicts between state and federal law are perpetuated by states that have
      decided to legalize cannabis for medical or recreational uses. States would be able to
      regulate cannabis as they see fit without interference from the federal government if it were
      descheduled.



       Public Health and Access to Medicine: If cannabis is rescheduled, significant regulatory
       barriers may still be present, making it more difficult for patients in need or for researchers
       to conduct research and obtain medical cannabis for legitimate purposes. These obstacles
       are removed when cannabis is descheduled, allowing for more extensive research,
       development, and access to cannabis-based medications for patients.




                                                                                                               App.518
USCA Case #24-1365           Document #2100970                    Filed: 02/17/2025           Page 42 of 214

     Current Status Marginalization and Racial Disparities: Cannabis' current Schedule I
     status has had a disproportionately negative impact on marginalized communities, resulting
     in mass incarcerations and the continuation of racial disparities in the criminal justice
     system . Placing cannabis into yet another schedule will not solve the marginallzation and
     racial disparities, the legal recreational market will continue profiting making billions of
     dollars while the incarcerated sit idol- unjustly awaiting their release. Descheduling cannabis
     promotes social justice and equity while acknowledging the War on Drugs' failure and
     allowing the acquittal of prior cannabis-related convictions.



     Financial Opportunities and Business Development: Federal banking laws, regulations,
     financing difficulties, and ongoing tax issues will also Impact the cannabis industry if the
     industryis rescheduled . Access to regular banking solutions, investment opportunities, and
     interstate business are all made possible by the descheduling of cannabis, wh ich also
     promotes business growth and career development.



     International Consequences: It may be difficult to implement global drug policy if the
     cannabis plant remains to be rescheduled within the CSA framework. in violation of several
     international drug treaties and conventions. The United States would be leading the way in
     reforming foreign substance treaties by advancing proof-based drug policies worldwide ,
     descheduling cannabis.




                                                                                                App.519
USCA Case #24-1365                Document #2100970                           Filed: 02/17/2025                Page 43 of 214




                MSOplus: Coalition For Patient Rights Administration • P.O. Box 750865, Las Vegas, NV 89136
       WWW.            I I               I    T I         .org a 501(c)4 Social Welfare Organization WWW.        ..,P   ,US
        Standing up for Patient Rights in Legislative and Congressional Forums When The Voice of Industry Gets Too Loud I 3




      Section VI: Options




      Decriminalization: Decriminalization would also remove federal restrictions, allowing for broader
      research (opening ii up beyond universities), development, and free distribution of other medical
      cannabis products without incrimination. This would enhance patient access to diverse treatment
      options, eliminate the drive for black market products and facilitate innovation in medical cannabis
      therapies. Most importantly, it would reduce the risk of legal consequences for the patients using
      cannabis for medical purposes and would be less likely to incriminate patients with archaic DUID
      laws that are only based on speculation.

      In addition, cannabis regulations may not currently address the regulatory challenges related to
      product safety, quality control, and standardized dosing, potentially impacting patient safety and
      efficacy. Current access to cannabis now provides risks both in the legal and illicit markets for the
      patient populations. Decriminalization would allow those current state laws to continue as their
      constituents voted in to be, providing ease of access to consumers. Imagine the ability to buy
      'hemp' sprouts at the local grocers and/or farmers' markets next to the alfalfa sprouts and
      tomatoes. Ultimately, this option would ''Free the Leaf' once and for all.

      Rescheduling: Rescheduling cannabis to Schedule Ill, IV or V, or creating a new Schedule VI
      could facilitate research and development of medical cannabis products, leading to improved
      patient access and safer products. However, restrictive regulations and barriers to access may
      persist, limiting patient autonomy and choice in addition to creating monopolies for those in power
      to set up regulations that benefit only those at the state and federal level, causing further division
      in equity and access.

      GRAS Designation: GRAS designation of marijuana (cannabis) could enhance product safety
      and quality assurance, providing patients with assurances of standardized potency and purity.




                                                                                                                 App.520
USCA Case #24-1365                Document #2100970                           Filed: 02/17/2025                Page 44 of 214



    Section V: Challenges and Questions
    Despite the potential benefits of descheduling, several challenges and unanswered questions
    remain:

    Research Gaps: What additional research Is needed to fully understand the medical benefits and
    risks of cannabis?

    Regulatory Framework: How can regulatory frameworks be established to ensure product safety
    and quality control, while leading towards consistency and standardized dosing?

    Healthcare Integration: How can medical cannabis be integrated into mainstream healthcare
    practices to ensure comprehensive patient care?



              MSOplus: Coalition For Patient Rights Administration• P.O. Box 750865, Las Vegas, NV 89136
      www.C      .~u 11     FUR"> ' IE -        Gt , ....org a501(c)4Socia1We1fare 0rganizationwww. ,.             .us
      Standing up for Patient Rights in legislative and Congressional Forums When The Voice of Industry Gets Too Loud! 4



                                                         ~
                                                           ""'°
    Equity and Access: How can disparities in access to medical cannabis treatment be addressed,
    particularly among marginalized communities?



    Section VI : Facts
    Polls consistently show that a clear majority of the public now supports marijuana legalization. For
    example, a Pew Research Center poll released in November 2022 found that approximately 88%
    (percent) of Americans agreed that marijuana should be legal for medical or recreational use, with
    nearly 60 percent supporting legalization for both medical and recreational use. A majority of our
    medical professionals accept the medical use of marijuana and support removing marijuana from
    schedule I, so what are we waiting on as an organized society formed in service to the people?


    In a letter from 12 senators to our U.S. attorney general and to the U.S. DEA, it was stressed that
    "88% percent of Americans are now in support of legalizing marijuana"*, and that any continued
    placement within the CSA "would not resolve the worst harms of the current system". Thus. the
    DEA should deschedule marijuana altogether. Marijuana's placement in the CSA has had a
    devastating impact on our communities and is increasingly out of step with state law and public
    opinion. We thank these Senators for reiterating that our patients should be properly served and
    empowered without criminal categories for cannabis.

    The World Health Organization (WHO), the American Academy of Family Physicians (AAFP) and
    the American Nurses Association (ANA) have all recognized the legitimate medical uses of the
    cannabis plant (marijuana). The United Stales can persuasively argue that the decriminalization of
    marijuana is activity consistent with its treaty obligations of the ''Single Convention on Narcotic
    Drugs of 1961" and that descheduling makes sense given the current research and knowledge.




                                                                                                                  App.521
USCA Case #24-1365                Document #2100970                          Filed: 02/17/2025                Page 45 of 214
      Research has found that marijuana legalization may reduce violent international drug trafficking.
      By definition, the criminalization of cannabis will continue until it is completely removed from the
      CSA, and so the World Health Organization finds that patients and communities around the world
      are best served by decriminalization and descheduling given the potential legal ramifications.

      Alcohol is not on the CSA, though many treatments and drugs contain alcohol. According to a
      statement made in congress, there were 140 thousand alcohol related deaths in 2022, and there
      were 500 deaths from tylenol, Cannabis had zero lethality reported. Now, we cannot pretend it is
      zero, as cannabis can be lethal if it contradicts treatment, but accidents from impairment are hard
      to track. With that; empirical data still indicates fruits or vegetables kill more people per year than
      the cannabis plant. This data shouts out to anyone who might still be confused. that cannabis is
      generally regarded as safe, and therefore should be classified as GRAS, but not scheduled at all.

      If cannabis were in Schedule 111, sharing joints would become as criminal as sharing ketamine or
      codeine. Decriminalization and descheduling of the cannabis plant creates a socially positive impact
      on patients, veterans, communities, and the underserved, without which, for them to receive a gift of
      cannabis is two crimes. This further weaponizes a legal system and a plant meant to improve lives.

                MSOplus: Coalition For Patient Rights Administration - P.O. Box 750865, las Vegas, NV 89136
        WWW.CU/      u-,o or p,. T c:           R!Gl-'TS.org a 501(c)4 Social Welfare Organization WWW. y ~t'l'-\ .us
        Standing up for Patient Rights in legislative and Congressional Forums When The Voice of Industry Gels Too loud! 5




      Archeology has proven that cannabis sativa has been a top choice for animal feed for over 2000
      years. In the past it has been demanded by our government, even subsidized. For generations
      before prohibition, we received cannabinoids in our dairy and meat. From this we can conclude
      that for those generations, we viewed the cannabis sativa plant as GRAS.

      All Mammals have an endogenous cannabinoid system (ECS) that manages and balances their
      homeostasis and other body systems. Since our bodies naturally manufacture two (2) of these
      endogenous cannabinoids, Anandamide (AEA) and 2-Arachidonoylglycerol (2-AG), they act as
      keys that interact with our locks, or receptors, on our cells and organs. The cannabis sativa plant
      has over 144 known phyto-cannabinoids that mimic our endogenous cannabinoids and each of
      their functionalities. While there are other plants in the Cannabaceae that contain cannabinoids,
      no other plant is known to have as much symbiosis with our cellular equilibriums as the Cannabis
      Saliva plant. Equilibriums controlling appetite, sleep, depression, anxiety, inflammation, and pain.
      Based on these connections with our endogenous cannabinoid system, taking into account peer
      reviewed research of known mechanisms of action for cannabinoids regarding healing, CPR feels
      that decriminalization and descheduling of Cannabis Sativa for our animal and food sources may
      be beneficial to our health; a benefit for the entire community, improving wellness, strengthening
      the community as a whole, thus creating less health interventions, unnecessary burden and costs.

      Minus one demonized molecule, ~nnabis becomes hemp, and is currently sold throughout much
      of the US, because it is considered (without designation) GRAS. Search "hemp" at Amazon.com
      for proof: See for yourself. We represent that our patients are not criminals - for seeking relief. On
      August 7, 1765, George Washington noted that he "began to separate the male from the female
      hemp ... rather too late." Female cannabis saliva flowers are for smoking and medicine, not rope.




                                                                                                                App.522
USCA Case #24-1365                        Document #2100970                              Filed: 02/17/2025                       Page 46 of 214
    Do you get the impression that George Washington regarded Cannabis female flowers to be
    GRAS, perhaps even medicinal, and that he was not committing a criminal act?



     Conclusion:



      In conclusion, arguing in favor of descheduling cannabis over re-rescheduling makes a
      strong case based on social justice , economic opportunities, international drug policy
      reform, states' rights, constitutional principles, and public health considerations. Cannabis
      regulation at the federal and international levels can now be more equitable, just, and
      sustainable thanks to a robust framework descheduling the cannabis plant, which also
      eliminates federal prohibition.



     The Coalition for Patient Rights (CPR) advocates for a patient-centered approach to (medical)
     cannabis policy reform that prioritizes safe access, product safety, and even patient autonomy.
     While both decriminalization and rescheduling may offer incremental improvements , descheduling
     offers the most promising pathway to advancing patient rights and improving healthcare outcomes
     as a result. CPR calls for continued dialogue and collaboration to address the complex challenges
     and opportunities surrounding medical cannabis regulation , however, leans toward descheduling.


                MSOplus : Coalition For Patient Rights Administration - P.O. Box 750865, Las Vegas, NV 89136
       WWW.           LI I      I                   I   T      .org a 501(c)4 Social Welfare Organlzation WWW.                         .US
       Standing up for Patient Rights in Legislative and Congressional Forums When The Voice of Industry Gels Too Loud! 6




     Sources:



         1. Pew Research Center. "Americans Overwhelmingly Say Marijuana Should Be Legal For Medical or Recreational
             Use," Ted Van Green, November 22 , 2022,
               111~... I ,,,.. µr,, f .. n ~ 1 11 d ·cJ ... ,f ...

              .,, ,c «I- 1-rP,.,redtior,al-1.,5~,
         2. Bloomberg Law. "Moving Marijuana to Schedule Ill Would Aid Access to Legal Care: Andrew Kline and
              Shane Pennington. October 25, 2023. 21 U.S.C. 841. 844
              h tps /r1ew<. blc rr,b rgl w ·omr,1s-li1 N•vve     ,r,\l 1r,q r .lfll ,ana-to   cl'e:dul -111-wr ukJ-a1d-atc0 s~ -I -1,:; a1-c-1ra
         3.
              tittps r»1.h&du ,rgreform ..irg ·•1c:µon
         4. Warren .senate.gov, "Letter to DEA on descheduling man)uana ." 12 Senators, January 29. 2024,
             tittv• twww warren.SPnaw .0ov/i1110,med1a'doc':20.2<1 O1 29"/. ,!flltil1&r%,Wto J0OE::1\ 0~ 2 ori '" 1desche, i.,h 1q
             %2,Jm ,nI, r , r•
         5. Economic Journal, "Is Legal Pot Crippling Mexican Drug Trafficking Organizations? The Effect of Medical
              Marijuana Laws on US Crime; · Evelina Gavrilova, Takuma Kamada and Floris Zoutman, November 16,
              2017, https:/ldol.org/10 .1111/ecoj.12521: Center for American Progress. "Rethinking Federal Marijuana
              Polley," Ed Chung . Maritza Perez and Lea Hunter, May 1, 2018.


         6. "Debate Over Rescheduling vs. De-Scheduling Cannabis"




                                                                                                                                    App.523
USCA Case #24-1365               Document #2100970                           Filed: 02/17/2025                Page 47 of 214
               hltps 1/cofclv.org/debate-over-rescheduling-vs-de-schedul,ng-cannabts/
          7. Controlled Substances Act (CSA)
               hllps llwww.dea.gov/drug-informat,on/csa#·-·texl=The%20Controlled%20Substances%20Acr%20
          8. Food and Drug Administration (FDA) hllps·/lwww.fda.gov/
          9. Drug Enforcement Act (DEA) hl1ps llwww.dea.gov/drug-informallon/
          10. Internal Revenue Code Section 280E
          11. Schedule 6 Foundation.A simple and elegant political solution for American Cannabis.https l/schedule6.org/


      Coalition for Patient Rights (CPR)
      VOX POPULI: A Voice for The People
      www.CoafitionforPatientRights.org
      FB: Coalition For Patient Rights
      FB Group: Coalition For Patient Rights
      Twitter: @CPROrganization
      Email: coal1tion@coalitionforPat1entRights.org
      President: Jeff Krajnak@mycpr.us
      CPR Toll Free: (844)842-8687

      About CPR: National Voice of Patient Advocacy
      Coalition for Patient Rights provides a voice for the people, Vox Populi, aiming to improve the healthcare of
      the Nation by highlighting system failures, lobbying and advocating for regulatory change, treatment
      education, environmentally friendly policies, and safeguarding new technology.




                MSOplus: Coalition For Patient Rights Administration • P.O. Box 750865, Las Vegas, NV 89136
        www.COALITIONFORPATIENTRIGHTS.org a 501(c)4 Social Welfare Organization www.MyCPR.us
        Standing up for Patient Rights in Legislative and Congressional Forums When The Voice of Industry Gets Too LoudI 7




                                                                                                                App.524
USCA Case #24-1365                 Document #2100970                           Filed: 02/17/2025                Page 48 of 214




        Scheduk                                     Dcfini11on                                         Ex.-mple,




     Position Statement Submitted to:
     Cannabis Compliance Board I Zoom Meeting: 02/09/2024 at 1PM (PST) Comments by the
     public may be emailed to CACmeetings@ccb.nv.gov by 5:00 p.m. the day before the scheduled
     meeting and include the commenter's full name. Content may be redacted due to inappropriate
     language. All written public comments shall, in their entirety, be included as part of the public
     record.




               MSOplus: Coalition For Patient Rights Administration - P.O. Box 750865, Las Vegas, NV 89136
       www.COALITIO FO PATI                  TR GHTS.org a so11cJ4 social Welfare organization www. yCPR.us
       Standing up for Patient Rights in Legislative and Congressional Forums When The Voice of Industry Gets Too Loud! 8




                                                                                                                  App.525
          USCA Case #24-1365        Document #2100970                  Filed: 02/17/2025           Page 49 of 214




                  6/19/24

                  To: Drug Enforcement Administration,
                      Attn: Hearing Clerk/OALJ
                      8701 Morrissette Drive,
                      Springfield, VA 22152

                  From: Rev. Bryan A. Krumm, CNP
                       733 Monroe St. NE
                       Albuquerque, NM 87110
                       (505) 414-8120

                  Re: Request for Hearing



                        Pursuant to 21 CFR § 1316.47: I, Rev. Bryan Krumm, CNP, hereby request a

                  hearing in the matter of: [Docket No. DEA-1362; A.G. Order No. 5931-2024]

                  Schedules of Controlled Substances: Rescheduling of Marijuana



                        On December 8, 2020, I filed a Rescheduling Petition for Cannabis with the

                  DEA, requesting that Cannabis be removed from Schedule 1 of the Controlled

                  Substances Act. This was 6 days after Cannabis had been removed from the most

                  restrictive status of the Single Convention Treaty. Because I never received a

                  response from the DEA, I re-filed the petition with the current administration on

                  July 14, 2021. DEA acknowledged receipt of the petition on July 21, 2021 and

                  stated "your petition is currently under review". After waiting for over a year, I

                  sent a letter requesting the status of my rescheduling petition and on September 23,
App.526
          USCA Case #24-1365         Document #2100970                   Filed: 02/17/2025            Page 50 of 214




                  2022 DEA responded to me claiming that they they must first request a review by

                  the FDA before acting on my rescheduling petition.



                        Because the DEA has a long history of unreasonable delays regarding

                  rescheduling petitions, I filed a complaint with the Court of Appeals for the DC

                  Circuit, asking the court to intervene in order to protect the health, safety and

                  welfare of American Citizens. Unfortunately my complaint was dismissed because

                  I filed more than 30 days after DEA's response. I was forced to wait for the FDA

                  to complete a review that should have begun nearly 2 years earlier. Fortunately, on

                  October 6, 2022, President Joseph Biden released a statement asking the Secretary

                  of Health and Attorney General an expedited review of how Cannabis was

                  scheduled under federal law, and on August 29, 2023 lffiS officially notified DEA

                  that Cannabis should be moved to Schedule 3 of the CSA.



                        When it became clear that DEA was again delaying action these

                  rescheduling petitions, even after FDA and 1-IlIS recommended that Cannabis be

                  moved to Schedule 3, on February 2, 2024 I filed a petition for Writ of Mandamus

                  asking the Court of Appeals to order DEA to fulfill it's legal obligation to

                  reschedule Cannabis. Although the Court denied my request April 19, 2024, on

                  April 30, 2024 the DEA announced that the Attorney General had ordered them to

                  move Cannabis to Schedule 3 of the CSA.

                                                              2
App.527
          USCA Case #24-1365        Document #2100970                  Filed: 02/17/2025          Page 51 of 214




                        This is not my first experience with DEA's use of delay as a tactic to prevent

                  access to Medical Cannabis. On December 17, 2009, I filed a rescheduling

                  petition requesting that Cannabis be removed from control under the Controlled

                  Substances Act and that control of Cannabis be placed under control of the States.

                  After nearly 7 years of delay, on August 12, 2016, the DEA that petition (Federal

                  RegisterNol. 81, No. 156/Friday, August 12, 2016/Proposed Rules 53767 - 53844).

                  DEA has still not fully complied with the recommendations from HHS from that

                  petition.



                         For decades the DEA has blocked the Medical Cannabis research they

                  require in order to demonstrate "accepted medical use in the United States".

                  Evidence of the ongoing efforts by the DEA to prevent relevant Medical Cannabis

                  research is found in the DEA's own "Denial of Petition to Initiate Proceedings to

                  Reschedule Marijuana". The FDA admitted that "notably, it is beyond the scope of

                  this review to determine whether these data demonstrate that marijuana has a

                  currently accepted medical use in the United States" However, The FDA did

                  report that the eleven studies evaluated in their review showed positive signals that

                  marijuana may produce a desirable therapeutic outcome and has been shown to

                  help chronic neuropathic pain, increase appetite in HIV, reduce spasticity in

                  Multiple Sclerosis, produce bronchodilation in asthma, and reduce intraoccular

                                                            3
App.528
          USCA Case #24-1365          Document #2100970                Filed: 02/17/2025           Page 52 of 214




                  pressure in glaucoma. (Federal RegisterNol. 81, No. 156/Friday, August 12, 2016,

                  53792).



                        In his May 20, 2015 letter titled FDA Recommendations On The Scheduling

                  Of Marijuana Under The Controlled Substances Act, to Karen De Salvo (Acting

                  Assistant Secretary for Health), Stephen Ostroff (Acting Commissioner of Food

                  and Drugs) discussed 5 distinct areas of the federal regulatory system that have

                  blocked efficient and scientifically rigorous research with marijuana and its

                  constituents.

                        1. DEA has refused registration of additional cultivators of Cannabis for

                        research.

                        2. PHS review is required for Cannabis research but not for other Schedule 1

                        substances.

                        3. DEA review of all research with Schedule 1 substances and registration

                        requirements restrict research.

                        4. Certain Cannabis constituents have never been properly evaluated by

                         HHS to determine if they should remain in Schedule 1.

                         5. DOJ/DEA and HHS need to reassess the legal and regulatory framework

                         as applied to 1) assessment of abuse liability and 2) the assessment of

                         currently accepted medical use for drugs that have not been approved by the

                         FDA.

                                                            4
App.529
          USCA Case #24-1365         Document #2100970                  Filed: 02/17/2025          Page 53 of 214




                        Karen DeSalvo further substantiated the futility of the administrative process

                  in her June 3, 2015 letter to Chuck Rosenberg, when she stated "Concerns have

                  been raised about whether the existing federal regulatory system is flexible enough

                  to respond to increased interest in research into the potential therapeutic uses of

                  marijuana and marijuana derived drugs." (Federal RegisterNol. 81, No. 156/

                  Friday, August 12, 2016/Proposed Rules, 53768)



                         On December 2, 2020, the United States recommended that Cannabis be

                  removed from the most restrictive status of the Single Convention Treaty and

                  stated that Cannabis has proven medical value, declaring that "the legitimate use of

                  a Cannabis preparation has been established through scientific research, and

                  Cannabis no longer meets the criterion for placement in Schedule IV of the Single

                  Convention". (Commission on Narcotic Drugs Reconvened sixty-third session

                  Vienna, 2-4 December 2020. Statements following the voting on the WHO

                  scheduling recommendations on cannabis and cannabis-related substances, p12)



                         The DEA has noted that Section 811 (d)( 1) provides that where a drug is

                  subject to control under the Single Convention, the DEA administrator (by

                  delegation from the Attorney General) must "issue an order controlling such drug

                  under the schedule he deems most appropriate to carry out such treaty obligations,

                                                             5
App.530
          USCA Case #24-1365          Document #2100970                    Filed: 02/17/2025          Page 54 of 214




                  without regard to the findings required by [21 U.S.C. 811 (a) or 812 (b)] and

                  without regard to the procedures prescribed by [21 U.S.C 811 (a) and

                  (b)] ........ DEA need not consider the findings of sections 811 (a) or 8 l 2(b) that

                  have no bearing on that final determination, and DEA likewise need not follow the

                  procedures prescribed by sections 81 l{a) and (b) with respect to such irrelevant

                  findings" Federal RegisterNol. 81, No. 156/ Friday, August 12, 2016, Page

                  53767-53768.



                        Therefore, based the medical and scientific findings of the FDA, the DEA is

                  required to at least move Cannabis to a schedule 3 of the CSA. However, medical

                  and scientific findings of the FDA are not required to determine that Cannabis

                  should be removed from control under the CSA and regulated like alcohol and

                  tobacco, in order to protect the health, safety and welfare of the American People.

                  The safety of Cannabis was previously considered by the DEA. "In The Matter of

                  Marijuana Rescheduling", DEA Docket No. 86-22, September 6, 1988, resulted in

                  a finding that, "Marijuana, in its natural form, is one of the safest therapeutically

                  active substances known to man." Id. at pages 58-59. "The evidence in this record

                  clearly shows that marijuana has been accepted as capable of relieving the distress

                  of great numbers of very ill people, and doing so with safety under medical

                  supervision. It would be unreasonable, arbitrary, and capricious for the DEA to



                                                               6
App.531
          USCA Case #24-1365         Document #2100970                   Filed: 02/17/2025          Page 55 of 214




                  continue to stand between those sufferers and the benefits of this substance in light

                  of the evidence in this record." Id. At page 68



                        In comprehensive reviews conducted by the Federal Government on the use

                  of smoked Cannabis, experts have consistently concluded that smoked Cannabis is

                  safe and effective for medical use. "The evidence is perfectly clear that smoking is

                  an outstanding route of administration ... .it's a very safe drug and therefore it would

                  be perfectly safe medically to let the patient determine their own dose through the

                  smoking route". See National Institutes of Health. Transcript of the NIH Workshop

                  on the Medical Utility of Marijuana. Tab B, Deliberations of the Ad Hoc Group of

                  Experts; February 19&20, 1997. (Ace-Federal Reporters, Inc., Cr66002.0) See also

                  Joy, Janet E., Stanley J., Watson, and John A. Benson, Jr., (eds) Marijuana as

                  Medicine: Assessing the Science Base,. (National Academy Press 1999). "Until a

                  nonsmoked rapid-onset cannabinoid drug delivery system becomes available, we

                  acknowledge that there is no clear alternative for people suffering from chronic

                  conditions that might be relieved by smoking marijuana, such as pain or AIDS

                  wasting".



                         Under the CSA, the Attorney General has the authority to reschedule a drug

                  if he finds that it does not meet the criteria for the schedule to which it has been

                  assigned. 21 U.S.C. 81l(a) 16 (2); see also Alliance for Cannabis Therapeutics v.

                                                              7
App.532
          USCA Case #24-1365        Document #2100970                  Filed: 02/17/2025           Page 56 of 214




                  DEA, 15 F.3d 1131, 1133 (D.C. Cir.1994); Kuromiya v. United States, 37

                  F.Supp.2d 717,722 (E.D. Pa.1999) ("There are provisions by which the Attorney

                  General may change the designation of a particular controlled substance, either to

                  move it up, down, or off of the schedules.") (citing 21 U.S.C. 811 ). The Attorney

                  General has delegated this authority to the Administrator of the DEA

                  (" Administrator"). See Alliance for Cannabis Therapeutics, 15 F.3d at 1133.



                        Cannabis is an ancient drug, not a new drug. It has been safely used as a

                  medication for thousands of years and there has never been a death due to any

                  toxic effects. Comprehensive study of legal medical Cannabis users in the Federal

                  IND found only mild changes in pulmonary function associated with long term

                  heavy use. No functionally significant attributable sequelae were noted in any

                  other physiological system examined in the study, which included: MRI scans of

                  the brain, pulmonary function tests, chest X-ray, neuropsychological tests,

                  hormone and immunological assays, electroencephalography, P300 testing, history,

                  and neurological clinical examination. (Russo et.al. 2002, "Chronic Cannabis Use

                  in the Compassionate Investigational New Drug Program: An Examination of

                  Benefits and Adverse Effects of Legal Clinical Cannabis") (see http://acmed.org/

                  data/pdf/2002-01-1.pdt). There is no legitimate rationale either medically,

                  scientifically, ethically or legally, not to exempt cannabis from control under the

                   CSA and regulate it like alcohol and tobacco.

                                                            8
App.533
          USCA Case #24-1365         Document #2100970                  Filed: 02/17/2025          Page 57 of 214




                        Cannabis has been accepted as having medical use by 46 States. Cannabis

                  has also been legalized for recreational use by 24 States because it is safer than

                  either alcohol or tobacco, both of which are exempted from control under the CSA.

                  In order to protect the health, safety and welfare of the Citizens of these States and

                  every State:



                  I. Any rules implemented to regulate cannabis in schedule 3 of the CSA must not

                      interfere with rights of the States to implement programs regarding medical

                      and recreational Cannabis for their citizens.

                  2. In order to protect the health, safety and welfare of all US citizens, medical

                      patients from all States must be allowed to have protected access to Cannabis

                      without undue restrictions being implemented.

                  3. Regulations must be developed to allow legitimate Cannabis businesses and

                      their employees access to banking.

                  4. Due to the broad range of therapeutic applications, research into the

                      therapeutic use of Cannabis must be encouraged and appropriately funded.

                  5. In order to ensure that Medical Cannabis Patients have affordable access to

                      needed medication, insurance companies should be required to cover the cost

                       of Cannabis prescriptions with reasonable or zero co-pays, commensurate with

                       other medications within their formularies.

                                                             9
App.534
          USCA Case #24-1365        Document #2100970                   Filed: 02/17/2025           Page 58 of 214




                  6. In order to ensure these rules can be implemented properly, the Attorney

                      General and DEA should exempt Cannabis from control under the CSA and

                      allow it to be regulated by the States like alcohol and tobacco rather than

                      moving Cannabis into Schedule 3, which could potentially limit medical

                      access to Cannabis and cause harm to millions of Americans.



                  All notices to be sent pursuant to the proceeding should be sent to :

                  Rev. Bryan A. Krumm, CNP
                  733 Monroe St. NE
                  Albuquerque, NM 87110
                  (505) 414-8120


                  Respectfully yours,

                   ~ K r \ J M""'                CJJ..f


                  Submitted this 19'th day of June, 2024 by USPS priority mail




                                                            10
App.535
USCA Case #24-1365          Document #2100970                Filed: 02/17/2025        Page 59 of 214



                                                         June 19, 2024

   The Honorable Anne Milgram
   Administrator
   Drug Enforcement Administration
   Docket No. DEA-1362
   8701 Morrissette Drive
   Springfield, Virginia 22152
   (571) 362-3249
   nprm@dea.gov

   RE:    Request for Hearing Period on the Proposed Rule Rescheduling Marijuana,
          Docket No. DEA-1362

   Dear Administrator Milgram:

   As your predecessors and knowing the importance of the issue at hand, we respectfully
   request a hearing on the Proposed Rule announced on May 21, 2024, that would
   reschedule marijuana from Schedule I to Schedule III under the Controlled Substances
   Act (CSA). Given the magnitude of the impact of the proposed rule and considering we
   face an unprecedent drug overdose crisis in this country, we write to emphasize that a
   hearing on this rulemaking is in the public interest.

   First, changing marijuana to Schedule III is likely the most consequential rulemaking
   DEA has ever attempted. Apart from the merits of rescheduling marijuana, it is
   undeniable that the decision has national and international significance. The rule
   proposes to change the definition of currently accepted medical use, as well as change the
   way the federal government implements our international treaty obligations under the
   Single Convention. It would be the most significant relaxation of narcotics restrictions
   in the history of the CSA. Such a sweeping change should be undertaken only on a robust
   administrative record. That is why Congress required that such decisions be made on the
   record and with opportunity for a hearing. It is hard to imagine a rule more appropriate
   for formal process than a proposal to loosen federal restrictions on marijuana.

   Second, a hearing would enhance DEA’s evaluation of the important sociological and
   scientific issues at stake. As DEA made clear in the Proposed Rule, additional data and
   rigorous scientific analysis is needed to determine whether marijuana is appropriately
   placed into Schedule III. Sifting through the competing claims about marijuana’s
   pharmacological effects, potential for abuse, and implications for public safety, are best
   done at a hearing. It would allow outside experts to offer their view of the latest evidence
   and be subjected to cross-examination. It would allow local leaders, law enforcement
   groups, and other advocacy organizations to speak to the complexity of this issue.




                                                                                        App.536
USCA Case #24-1365          Document #2100970               Filed: 02/17/2025       Page 60 of 214



   Third, it is important to assess how this major change in drug policy could impact the
   ongoing and devastating drug abuse crisis facing this country. As the 2024 National
   Drug Threat Assessment highlighted, the United States is battling the deadliest drug threat
   it has ever faced, one that is fueled by fentanyl.

   We appreciate the complexity of this issue and how it relates to the mission of DEA and
   believe that a public hearing on this proposal would enhance transparency, integrity, and
   public confidence in this process, regardless of what final resolution is reached.

   Sincerely,

   The Honorable Peter B. Bensinger              The Honorable Asa Hutchinson
   DEA Administrator 1976-1981                   DEA Administrator 2001-2003;
                                                 Department of Homeland Security,
   The Honorable John C. Lawn                    Under Secretary for Border and
   DEA Administrator 1985-1990                   Transportation Security 2003-2005

   The Honorable Robert C. Bonner                The Honorable Karen P. Tandy
   DEA Administrator 1990-1993;                  DEA Administrator 2003-2007
   Commissioner, United States Customs
   Service 2001-2003; Commissioner,              The Honorable Michele M. Leonhart
   United States Customs and Border              DEA Administrator 2010-2015;
   Protection 2003-2005                          DEA Acting Administrator 2007-2010

   The Honorable Donnie R. Marshall              The Honorable Robert Patterson
   DEA Administrator 1999-2001                   DEA Acting Administrator 2017-2018

                                                 The Honorable Timothy J. Shea
                                                 DEA Acting Administrator 2020-2021

   (All signature concurrences are on file)


   CC:    Hearing Clerk/OALJ
          DEA Federal Register Representative/DPW
          Drug Enforcement Administration
          8701 Morrissette Drive
          Springfield, Virginia 22152




                                                                                      App.537
USCA Case #24-1365           Document #2100970                      Filed: 02/17/2025             Page 61 of 214




        June 19, 2024
        Drug Enforcement Administration
        Attn: Hearing Clerk/OALJ
        8701 Morrissette Drive
        Springfield, Virginia 22152

        Subject: Request for Hearin.g

        Dear Sir:

        The undersigned Minority Cannabis Business Association (MCBA) hereby requests a hearing in
        the matter of: 21 CFR Part 1308; Docket No. DEA-1362; A.G. Order No. 5931-2024; Schedules
        of Controlled Substances, Rescheduling of Marijuana; ACTION: Notice of proposed rulemaklng.

        The undersigned MCBA has facilitated and collaborated with multiple national and state-based
        organizations and associations since early 2022 to form an Equity Policy Roundtable,
        conducting ongoing discussions and producing solution-oriented work products, with the
        mission of providing sensible and workable regulatory solutions regarding cannabis regulation in
        multiple states. This Roundtable has a deep collective understanding of these systems and their
        Impact on patients, businesses, youth, and the community at large, particularly In relation to the
        way in which rules and regulations are implemented on a practical level.

        We are requesting a public hearing to evaluate the interplay and ihter-jurisdictional relationship
        between state-level medical programs and a new Schedule 3 regulatory framework. Our request
        is with the purpose of addressing these matters so that medical programs can be enhanced and
        research on efficacy can be properly expanded in the advent of the rescheduling of cannabis.
        We are able to provide information and testimony as to the impact of u,ese considerations.
        particularly regarding the following of the eight factors under consideration, as set forth in 21
        U.S.C. 811(c) and laid out in the DEA Rescheduling Draft Docket: 1) The drug's actual or
        relative potential for abuse; 3) The state of current scientific knowledge regarding the drug or
        other substance; 4) Its history and current pattern of abuse; 5) The scope, duration, and
        significance of abuse; 6) What, if any, risk there is to the public health;

         It is our position that without proper evaluation and understanding of the interplay and
         inter-jurisdictional relationship between statE?level medical programs and a new Schedule 3
         regulatory framework, the impact on public health has negative potential and that undesired
         outcomes of rescheduling would be likely.

         All notices to be sent pursuant to the proceeding should be addressed to:




                                                                                                    App.538
USCA Case #24-1365             Document #2100970                     Filed: 02/17/2025                Page 62 of 214




        Minority Cannabis Busi'ness Association
        ATTN: Mike Lomuto
        1300 I St NW. STE 400 E,
        Washington, DC 20005

        Respectfully yours,
        Mikelomuto
        Board Chair
        Minority Cannabis Business Association

        Co-Signed by Fellow Leaders of the Equity Policy Roundtable


         Eric Fosler                                      Frederika McClary Easley
         Minorities for Medical Marijuana                 MCBA Vice President
         Nalional Policy Director for Cannabis and Hemp   Executive Director of Cannabis Impact Fund
                                                          Council for Federal Cannabis Regulation (CFCR) DEi &
                                                             Access to Capital committee co-chair and secretary

         Adrian Adams, EdD                                Mary Jane Oatman
         M4MM NYS Director                                Indigenous Cannabis Industry Association,
         CEO Ontogen Botanicals CBD                       Executive Director

         Scheril Murray Powell, Esq.                      Colleen Malread Hughe•
         Cannabis and Agricultural Attorney               NYC NORML, Deputy Director
         ASTM 037 Executive Committee Member              President, TRAEHNY Partnership & Development Corp
         Cannabis HR Council, Founder/CEO

         Tavian Crosland                                  Sephida Artis-MIiis
         Social Equity Empowerment Network                United Empowerment Party
                                                          President & Co-Founder

         Marte Slaugh
         CEO or iComply, LLC




                                                                                                       App.539
USCA Case #24-1365           Document #2100970                        Filed: 02/17/2025                 Page 63 of 214




         June 19, 2024


         Drug Enforcement Administration
         Attn; Hearing Clerk/OALJ
         8701 Morrissette Drive
         Springfield, Virginia 22152


         Drug Enforcement Administration
         Attn: DEA Federal Register Representative/DPW
         8701 Morrissette Drive
         Springfield, Virginia 22152


         Subject: Request for Hearing on Docket No. DEA-1362


         Dear Sir/Madam:


         The undersigned Phillip A Drum, PhannD hereby requests a hearing in the matter of Docket No.
         DEA-1362 the rescheduling of marijuana.


         PhiJlip A Drum, PharmD is a 38-year California licensed pharmacist who has spoken on, written
         on and performed research on marijuana and driving. He has spoken as a content expert to
         multiple safe driving programs, including California Highway Patrol (CHP) Drug Recognition
         Experts (DRE) Trainers and was appointed by Governor Gavin Newsom to a 3-year state-wide
         CHP Impaired Driving Task Force required by California Senate Bill 94. A report with 3 1
         recommendations was generated and sent to the California Legislature in January 2021.


         Dr Drum is wflling to testify on the following topics as they related to marijuana/cannabis:
             1. Marijuana/cannabis claims as a medicine,
             2. Impact of marijuana/cannabis on driving,
             3. Monitoring for marijuana/cannabis impaired driving,
             4. Social and environment impacts of cannabis legalization,
             5. Pharmacokinetics and pharmacodynamicsofTHC and its metabolites, and




                                                                                                         App.540
USCA Case #24-1365            Document #2100970                        Filed: 02/17/2025   Page 64 of 214




            6. Drug-drug interactions with THC and CBD.
         All notices to be sent pursuant to the proceeding should be addressed to:


         Phillip A Drum, PhannD
         789 Condor Dr
         Martinez, CA 94553




        ~:/1__,(f.,~
         Phillip A Drum, Phann D




                                                                                            App.541
USCA Case #24-1365            Document #2100970                                  Filed: 02/17/2025       Page 65 of 214



                                TENNESSEE BUREAU OF INVESTIGATION
                                         90 l R.S. Gass Boulevard
                                      Nashville, Tennessee 37216-2639
                                                (615) 744-4000
                                            Facsimile (615) 744-4500
                                            TDD 1615) 744-4001
            BILL LEE                                                                         DAVII> 8 . RAUSCH
            Oo•emor                                                                              Director



      June 19, 2024

      Filed via the Federal eRulemaking Portal
      Drug Enforcement Administration
      Attn: Administrator
      870 I Morrissette Drive
      Springfield, VA 22152

      Subject: Request for Hearing in Docket No. DEA-1362, ''Schedules of Controlled Substances:
      Rescheduling of Marijuana"

      Dear Administrator Milgram:

      1n accordance with 21 C.F.R. sections l308.44(a) and 1316.47(a), the undersigned, David Rausch,
      Director of the Tennessee Bureau offnvestigation (TB!), hereby requests a public hearing on TBl's
      behalf in the matter of: Docket No. DEA-1362; A.G. Order No, 5931-2024 Schedules of
      Controlled Substances: Rescheduling of Marijuana. The Proposed Rule at issue, 89 Fed. Reg.
      44,597 (May 2 1, 2024), would reschedule marijuana from a Schedule 1 drug to a Schedule III drug
      under the Controlled Substances Act, 2 1 U.S.C. § 80 I, et seq.

      TB! joins other groups in strongly opposing the Department of Justice's (DOJ) proposal to
      reschedule marijuana from Schedule I to Schedule Jll . As the chief law enforcement agency in
      Tennessee with s ignificant responsibility for combating illicit and dangerous drug use, TBI has an
      important interest in this proceeding. A central concern is DOJ's apparent lack ofadherence to the
      established Eight Factor Analysis fot evaluating the scientific and medical basis of such a
      rescheduling. Any rescheduling should be based on comprehensive scientific research, which it
      appears the Proposed Rule lacks. Aside from the deviation in the rescheduling process, TBI has
      concerns about the criminal justice, public-health, and social consequences of increased prevalence
      ofrnanjuana that rescheduling would inevitably produce in our State. These consequences, which
      have played out in other States after legalization in some fonn, include: the heightened risk
      associated with the use of genetically modified and synthetically manipulated marijuana; the lack
      of necessary regulatory, pham1aceutical, medical, scientific, and enforcement infrastructure to
      manage the reschedule; and the inability to regulate marijuana production and prevent organized
      crime from exploiting the market, among other problems.




                                                AtlAIJ
                                                 ,. '
                                                           MiAa
                                                         ........._. @)
                                                                 '-
                                                            '-:'i .:   ◄►
                                                                            ,.




                                      INTERNATIONALLY ACCREDITED SINCE 1994




                                                                                                           App.542
USCA Case #24-1365             Document #2100970                       Filed: 02/17/2025          Page 66 of 214



                                TENNESSEE BUREAU OF INVESTIGATION
                                       901 R.S. Gass Boulevard
                                    Nashville, Tennessee 37216-2639
                                              (615) 744-4000
                                         Facsimile (615) 744-4500
                                          TDD (6l5) 744-4001
            BILL LEE                                                                  DAVID 8. RAUSCH
            Governor                                                                      Director



      In short, TBI has ex.tensive experience with investigating drug-related offenses and believes
      rescheduling marijuana as currently proposed is not in the best interest of public health and safety
      and sets a dangerous precedent for future drug approvals. TBI would appreciate the opportunity
      to share and substantiate these concerns at a public hearing on the Proposed Rule.

      All notices to be sent pursuant to tbe proceeding should be addressed to:

             Director David Rausch

             901 R.S. Gass Blvd.

             Nashville, TN 372 16

      Respectfully yours,



      Cc:

      Drug Enforcement Administration
      Attn: Hearing Clerk/OALJ
      870 I Morrissette Drive
      Springfield, VA 22 152

      Drug Enforcement Administration
      Attn: DEA Federal Register Representative/DPW
      870 I Morrissette Drive
      Springfield, Virginia 22152




                                                           ~
                                                -.. .
                                      INTERNATIONALLY ACCREDITED SINCE 1994




                                                                                                    App.543
USCA Case #24-1365          Document #2100970                Filed: 02/17/2025        Page 67 of 214




      United Empowerment Party

      Sephida Artis-Mills

      639 Russell Ave. Ste. 101
      Meadville, PA 16335
      Sephida@unitedempowermentparty.org
      (757)-663-3447


      June 19, 2024

      Drug Enforcement Administration

      ATTN: DEA Federal Register Representative/DPW
      8701 Morrissette Drive
      Springfield, VA 22152

      Subject: Formal Request for Administrative Hearing on the Rescheduling of
      Cannabis

      Dear Sir/Madam,

      I am writing to you on behalf of the United Empowerment Party to formally request an
      administrative hearing regarding the proposal to reschedule cannabis to a Schedule Ill
      controlled substance under the Controlled Substances Act (CSA). The United
      Em.power~ent Party (UEP) is a federally recognized political party dedicated to first
      uniting the cannabis industry to protect small businesses along the supply chain from
      being pushed out by large corporations, excessive taxes and other regulatory conditions
      that make access limited to those who are economically disadvantaged.

      We believe that rescheduling cannabis to a Schedule Ill is not only insufficient but also
      counterproductive. Instead, we urge the Drug Enforcement Administration (DEA) to
      consider a full deschedule of cannabis. The following points highlight the compelling
      reasons and benefits for descheduling cannabis entirely.




                                                                                        App.544
USCA Case #24-1365                                  Document #2100970                                        Filed: 02/17/2025                  Page 68 of 214




      1. Medical Benefits and Public Health

      Numerous studies have demonstrated the therapeutic benefits of cannabis for a variety
      of medical conditions, including chronic pain, epilepsy, m~ltiple sclerosis, reduction of
      potential organ rejection in transplant patients, and cancer-related symptoms. Our own
      Federal government's National lnstiutes of Health (NIH) not only has thousands of
      articles on cannabis and its health effects on its websites, it is also funding cannabis
      research.

      A full deschedule will facilitate more comprehensive and unbiased research and allow
      healthcare providers to prescribe cannabis based on scientific evidence rather than
      legal restrictions. This will lead to improved patient outcomes that contribute to a better
      quality of life and a greater understanding of the plant's medical properties.

      2. Economic Advantages
      Descheduling cannabis will significantly benefit the economy. It will create new jobs,
      generate additional tax revenue, and reduce the costs associated with enforcing
      cannabis prohibition. The cannabis industry has already shown a profound economic
      impact in states where it is legal, contributing to economic growth, creation of jobs,
      development of new careers and community development. The number of full-time
      cannabis jobs is projected to grow to almost 800,000 by 2028, representing an
      annualized growth rate of 15% .fSou:wJ!ijfJS'lllftan,--en:!:::f!!Udut.Uo, l ''2 'r~~~1~•lll.tfllr""~zu-i,10i-:!j'@lil~ll~r-11,✓nln,,~•1o~ioier.J.""lll)
      This is faster than the approximately 3-4% annual employment growth rate projected for
      the US economy as a whole from 2020-2028.
      (soUreie~ h11ps /fwwiN.bl&.gov/aptJbflnltl20,Sla1hc.le/labor•Torce,p,ofec.l101\ti•.O,.:l::02A,hlrt1)




       Here are ~ome key statistics:


             •      There are 440,445 full-time equivalent jobs supported by ·tegal cannabis.
             •       The US cannabis industry is expected to reach almost $40 billion in 2024.
             •       Cannabis will add $115.2 billion to the economy in 2024.

      The first quarter of 2024 generated over $208 in tax revenue across legal states. A
      nationwide deschedule would amplify these positive effects.




                                                                                                                                                   App.545
USCA Case #24-1365         Document #2100970                 Filed: 02/17/2025         Page 69 of 214




      A big problem with rescheduling is trying to align the 38 state-legal cannabis
      programs with the current DEA infrastructure for administering Schedule Ill
      drugs. There is clearly no federal plan in place at this juncture on how to manage this
      process, and it potentially puts at risk one of the few sectors of our economy with strong
      growth prospects. As each state tries to determine whether parts or all of their current
      protocols and participants are nullified, rescheduling will have a negative impact on
      small businesses and jobs nationwide. As a nation, we should be supporting the growth
      of this industry, not slowing it down.

      3. Criminal Justice Reform

      The current classification of cannabis as a Schedule I controlled substance has led to
      the criminalization of millions of Americans, disproportionately affecting communities of
      color. Descheduling cannabis willreduce the number of non-violent offenders in the
      criminal justice system, alleviate prison overcrowding, and redirect law enforcement
      resources to more pressing public safety issues. It will also address the racial disparities
      in drug enforcement that came as a direct result of the war on drugs.

      Rescheduling does nothing to reduce the harm caused by the overpolicing of cannabis.

      4. Regulatory Consistency

      Rescheduling cannabis to a Schedule Ill would still impose significant regulatory
      burdens and inconsistencies. By fully descheduling cannabis. the federal government
      will allow states to regulate it in a manner similar to alcohol and tobacco. This can
      provide a clear and consistent regulatory framework, facilitating interstate commerce
      and ensuring product safety and quality through uniform standards and regulations.

      5. International Perspective

      Several countries, including Canada and Uruguay, have fully legalized cannabis, setting
      a global precedent. The United States should lead by example and align its policies with
      these progressive international standards. Descheduling cannabis will enhance the
      United States' standing in global drug policy and promote international cooperation on
      cannabis regulation and research.

      6. Social Justice and Equity Empowerment

      Descheduling cannabis will pave the way for social equity programs that address the
      harms caused by decades of prohibition. These programs can provide opportunities for
      those disproportionately impacted and harmed by cannabis criminalization, including
      expungement of criminal records and support for minority-owned businesses in the
      cannabis industry. It will foster a more just and equitable society.




                                                                                         App.546
USCA Case #24-1365          Document #2100970                Filed: 02/17/2025       Page 70 of 214




      Conclusion

      In conclusion, rescheduling cannabis to a Schedule Ill falls short of addressing the harm
      done by the criminalization of cannabis and amplifying comprehensive benefits that
      descheduling offers, to include normalizing the medicinal use of cannabis. Descheduling
      cannabis is a necessary step to harness its medical, economic, and social benefits fully.
      It would promote scientific research, stimulate economic growth, advance criminal
      justice reform , ensure regulatory consistency, align with international standards, and
      foster equity empowerment.



      I respectfully request an administrative hearing on this matter and implore the DEA to
      consider the overwhelming evidence supporting the full deschedule of cannabis. I am
      available to provide further information and participate in discussions to advance this
      crucial issue.

      Thank you sincerely for your attention to this important matter.



      Sincerely,

      Sephida Artis~Mills

      President & Co-Founder

      United Empowerment Party




                                                                                       App.547
USCA Case #24-1365             Document #2100970                        Filed: 02/17/2025              Page 71 of 214




                                                                                              June 20, 2024


         Drug Enforcement Administration
         Attn: Hearing Clerk/OALJ
         870 I Morrissette Drive
         Springfield, VA 22152.
         Subject: Request for Hearing

         Dear Sir or Madam :

               On behalf of Doctors for Drug Policy Refonn (the "'Organization''), the undersigned Bryon
         Adinoff, M.D., hereby requests a hearing in the matter of "Schedules of Controlled Substances:
         Rescheduling of Marijuana" (89 Ped. Reg. 44597) or to participate in same.

            I.      Introduction

                  Doctors for Drug Policy Reform, or D4DPR (formerly known as Doctors for Cannabis
          Regulation) supports removing cannabis in all its fonns from the Controlled Substances Act. In
         the context of the proposed rule, however, it is the Organization's position that the medical,
         scientific, and other evidence supports a Schedule V (alternatively, schedule IV) classification for
         ''marijuana," "marijuana extract," and ''naturally derived delta-9-tetrohydrocannabinols" and
         requests a hearing or to participate in same in support of its position.

                 First, the Organi.zation agrees that marijuana has a currently ac-cepted medical use in
         treatment in the United States and should be removed from Schedule I. As the premier organization
         of health professionals and scientists specifically organized to provide expert evidence related to
         the responsible regulation of cannabis the Organization is best positioned to present additional
         evidence to support that assessment and to contextualize evidence and argument to the contrary.

                 Second, whiJe the Organization agrees with HHS that marijuana should be removed from
         Schedule I, it contends that the evidence, properly considered, supports a classification below
         Schedule III. Relative to substances in Schedule III and Schedule IV, marijuana has a low potential
         for abuse and lower psychological/physical dependence. 1 In support of its position, the
         Organization intends to present testimony from two of its members with relevant ex-pert-ise, Drs .
         Bryon Adinoff and David Nathan, and whose CVs/bios are attached. The HHS analysis failed to
         fully and properly evaluate the relative abuse potential and psychological/physical dependence of
         marijuana abuse compared to Schedule 111 , IV, and V drugs, even though the statute requires this
         analysis and prior scheduling actions involving other drugs have done it too. At the requested
         hearing, the Organization intends to provide testimony and evidence on this matter to assist the
         agency in its final determination.


                The Organization notes that "abuse," "dependence," and marijuana terms in the statute.
         The use of statutory tenns herein indicates no agreement on the propriety of their use in other
         contexts. For example, "drug abuse" is no longer a diagnosis in DSM-V and therefore, abuse
         should not be used by medical professionals.




                                                                                                         App.548
USCA Case #24-1365             Document #2100970                          Filed: 02/17/2025               Page 72 of 214




                                                                                                 June 20, 2024


                 The Organization also seeks to offer testimony on the issue of the meaning and application
         of the statutory term "abuse," particularly as it relates to cannabis use. Both FDA and DEA in tbe
         past have applied a definition of "drug abuse" as the intentional, non-therapeutic use of a drug
         product or substance, even once, to achieve a desired psychological or physiological effect. ' 2
         Accordingly, "abuse potential" abuse potential refers to "the likelihood that abuse will occur with
         a particular drug product or substance with CNS activity."

                  These definitions, however, are not generally accepted by the medical profession. Rather,
         drug or substance abuse, as used in the statute, should be understood to capture use or excessive
         use of a drug in a way that is harmful or detrimental to self, society, or both. 3 This difference is
         particularly important in assessing the research and epide111iological evidence. A drug like cannabis
         that is widely available is often used without a prescription but not in a way that is harmful. Indeed,
         there is currently no way to "prescribe" cannabis, so all cannabis use is used without a prescription.

                  The Administrative Procedure Act provides "as the orderly conduct of public business
         permits, an interested person may appear before an agency or its responsible employees for the
         presentation, adjustment, or determination of an issue, request, or controversy in a proceeding,
         whether interlocutory, summary, or otherwise, or in connection with an agency function." 5 U.S.C.
         § 555{b). It similarly provides that the "agency as a matter of policy shall provide for the exclusion
         of irrelevant. immaterial , or unduly repetitious evidence.'' 5 U.S.C. § 556.

                  Because the Organization would adversely affected by the proposed rule, has concrete
         interests that differ from other potential participants, intends to provide non-cumulative evidence
         to assist the agency' s final determination, and is well-suited to cross-examine evidence put forward
         by industry and rescheduling opponents alike, it requests a rulemaking hearing or to participate in
         same in support of its position.4




                See, for example, hu ps://www.fda.gov/media/ I 167 39/download.

                 The legislative history and agency precedent indicates that a determination that "potential
         for abuse" should not "be determined on the basis of isolated or occasional nontherapeutic
         purposes,'' but rather "there must exist a substantial potential for the occurrence of significant
         diversions from legitimate channels, significant use by individuals contrary to professional advice,
         or substantial capability of creating hazards to the health of the user or the safety of the
         community.' 76 Fed. Reg. 77330 at 3 36. Based on this definition, not all cannabis use, whether
         medicinal or recreational, would constitute abuse.

         4       See Animal Legal De/en e Fund, Inc. v. Vi/sack, 237 F. Supp. 3d 15, 22-23 (D-D.C.2017)
         (citing Nichols v. Bd. of Trustees ofAsbestos Workers Local 24 Pension Plan, 835 F.2d 881, 896-
         97 (D.C. Cir. 1987)).
                                                           2




                                                                                                            App.549
USCA Case #24-1365              Document #2100970                         Filed: 02/17/2025                Page 73 of 214




                                                                                                 June 20, 2024


             U.        Interests of the person in the proceeding.

                 The Organization is a 50l(c)(3) non-profit organization that serves as a global voice for
         licensed health professionals and scientists advocating for evidence-based drug policies and best
         practices that advance public health, reduce stigma, and minimize harm. Its website is located at
         https://www.d4dpr.org/.

                 In 2015, Dr. David Nathan founded the Organization as Doctors for Cannabis Regulation
         to bridge the gap between the policy of prohibition and the unregulated legalization of cannabis.
         The Organization has been dedicated to that mission ever since. Since that time, it has served as
         the premier national physicians' association committed to the responsible regulation of cannabis
         in the United States and abroad. a global advocate, and represents the voices of over 400 physicians
         and licensed medical practitioners, in support of evidence-based cannabis regulation and
         legalization. The Organization is comprised of doctors, nurses, pharmacists- many if not nearly
         all of whom are registrants.

                 The Organization is frequently called upon to provide expert testimony in significant
         legislative and administrative contexts unaffiliated with the cannabis industry. It provided
         testimony for the first-ever Congressional subcommittee hearing on cannabis legalization and on
         dozens state-level initiatives and bills pertaining to medical and adult-use cannabis. The
         Organization frequently collaborates with other advocacy groups lo educate the public, including
         on rescheduling. The Organization is not affiliated with the cannabis industry.

                As noted on its website, the Organization also offers curriculums on cannabis education,
         each of which has been carefully vetted by our D4DPR Board and Experts.

                 The Organization and its members not only have a particularized interest and are affected
         by the proposed rule, but are in the best position to provide relevant, material, and not unduly
         repetitious evidence sought by the agency.

             Ill.      Objections or issues concerning which the person desires to be heard.
                As an organization of health care professionals and scientists formed years ago to bridge
         the gap between the policy of prohibition and the unregulated legalization of cannabis, the
         Organization is generally interested in participating a hearing central to its longstanding mission.
         The Organization's participation will ensure that the evidence presented by both industry and
         rescheduling opponents alike are placed in the proper medical and scientific context.

                In addition to general participation, as to specific and particularized issues of interest to the
         Organization, the Organization wishes to be heard on the following two issues.

                    a. Physical and psychological dependence relati11e to Schedule Ill, IV, and V
                       compounds and relative potential for abuse. The HHS recommendation states that
                       marijuana was compared to contTOlled substances in schedule Ill (ketamine) and
                       schedule IV (benzodiazepines, zolpidem, and tramadol), as well as to other schedule fl

                                                            3




                                                                                                             App.550
USCA Case #24-1365             Document #2100970                        Filed: 02/17/2025              Page 74 of 214




                                                                                              June 20, 2024


                     substances (fentanyl and hydrocodone). Without much additional explanation, the
                     recommendation states that it "evaluated the totality of the available data and have
                     concluded that it supports the placement of marijuana in Schedule III." It is unclear,
                     however, whether and how HHS perfonned a relative potential for abuse and
                     dependence analysis compared to Schedule Ill and IV substances.

                  b. The meaning of "abuse" / "abuse potential" and its application to marijuana.
                     Historically, FDA and/or DEA has defined ''drug abuse" as the intentional, non-
                     therapeutic use of a drug product or substance even once, to achieve a desired
                     psychological or physiological effect." But thjs definition or concept is not generally
                     accepted in the medical community, and what constitutes abuse with a culturally
                     available and sanctioned substance cannot be based on whether, on occasion, an
                     individual consumes the substance on their own initiative rather than based on medical
                     advice. Just like few would consider having a glass of wine with dinner to be alcohol
                     abuse, few medical professionals would seriously consider smoking marijuana once a
                     week on Friday to relax after work to be "abuse." The definition of "abuse" and "abuse
                     potential" is important because it undergirds the HHS findings with respect to
                     marijuana's "potential for abuse." Properly considered, marijuana does not have a
                     "potential for abuse" any greater than drugs in the benzodiazepine class (Schedule IV) ,

            IV.      Brief Statement on the Issues.

                  a. Physical and psychological dependence relative to Schedule Ill, IV, and V
                     compounds and relative potential for abuse. The HHS recommendation does not
                     appear to do a meaningful comparative analysis in assessing scheduling factor three,
                     even though the statute demands that in determining a final scheduling placement
                     among Schedules Ill, IV, or V, the agency must compare physical and psychological
                     dependence among them. 5 Notably, both agencies have done this analysis in the past.
                     For example, the agency concluded in 2013 that Lorcaserin should be placed in
                     Schedule IV (78 Fed. Reg. 26701), based on an abuse potential study comparing
                     lorcaserin to zolpidem (Schedule IV) and ketamine (Schedule Ill). The agency
                     concluded in 2005 that pregabalin warranted Schedule V placement because



                For example, Schedule Ill, factor 3 (21 U.S.C. § 812(b)(3)(C)) is "Abuse of the drug or
         other substance may lead to moderate or low physical dependence or high psychological
         dependence," while Schedule IV, factor 4 (21 U.S.C. § 812(b){4)(C)) is "Abuse of the drug or other
         substance may lead to limited physical dependence or psychological dependence re/alive to 1he
         drugs or other substances in schedule ill.' To determine whether a drug properly is placed in
         Schedule Ill or IV, it is therefore necessary to consider the relative dependence of the substance
         compared to other substances in Schedule Ill. The same can be said of Schedules IV and V.
                                                          4




                                                                                                         App.551
USCA Case #24-1365           Document #2100970                        Filed: 02/17/2025              Page 75 of 214




                                                                                            June 20, 2024


                   "withdrawal effects of pregabalin are less severe than with other substances currently
                   controlled in Schedule IV." (70 Ped. Reg. 43633.)

                   The HHS analysis on relative abuse potential , reproduced below, is hard to understand:

                       [Tjhe rank order of these substances regarding harms does no/ consistently align
                       with the relative scheduling placement of these drugs in the CSA due to lhe
                       pharmacological differences between various classes of drugs.

                       There are a number of confounding factors !hat likely influence the adverse
                       outcomes measured in various epidemiological databases and account for the rank
                       ordering of the drugs evaluated on these measures. For example, each substance
                       has associated with it a different population that abuse that substance, a different
                       prevalence of abuse, and a different proflie of severe adverse outcomes in a setting
                       of nonmedical use and abuse. Thus, it is challenging to reconcile the ranking of
                       relative harms associated with the comparators used in this evaluation when the
                       rankings differ across various epidemiological databases, and when these rankings
                       often do not align with the scheduling placement of these comparators under the
                       CSA. To address these cltallenges, we evaluated the totality of the available data
                       a11d have concluded that it supports the placement of marijuana in Schedule Ill.

                   The Organization does not believe this analysis is sufficient, and it intends to provide
                   detailed testimony from two witnesses on the low physical and psychological
                   dependence of cannabis relative to Schedule lll and IV substances.6 In particular, the
                   analysis does not properly compare cannabis to the benzodiazepine class in Schedule
                   IV, and it is well documented that benzodiaiepine abuse results in significant
                   physiological and psychological dependence. The proposed rule similarly recognizes
                   that the public health risk of benzodiazepines is substantially greater than the risk
                   presented by cannabis. The evidence will show that compared to benzodiazepines,
                   abuse of marijuana leads to limited physical dependence or psychological dependence
                   relative to the drugs or other substances in schedule IV.

                b. The meaning of "abuse" / "abuse potential" and its application to marijuana.
                   Marijuana, like most drugs. can be "abused." But what constitutes "abuse" in the
                   context of a culturally available and state-regulated substance cannot be based simply
                   on whether, on occasion, an individual consumes the substance on their own initiative
                   rather than based on medical advice, without any harm to the individual. Few would
                   consider a glass of wine with dinner to be alcohol "abuse." Likewise, occasional
                   marijuana consumption that presents no individual or societal hann is not "abuse." The


         6      One witness has recognized expertise in addiction and substance use disorders. The other
         has expertise in cannabis policy and psychiatry.
                                                        5




                                                                                                       App.552
USCA Case #24-1365           Document #2100970                        Filed: 02/17/2025             Page 76 of 214




                                                                                           June 20, 2024


                   proposed rule recognizes that "the vast majority of individuals who use marijuana are
                   doing so in a manner that does not lead to dangerous outcomes to themselves or others."
                   None of that is "abuse," and ln assessing prevalence as part of a potential for abuse
                   assessment, DEA should neither include medical uses of marijuana nor non-
                   problematic non-medical uses.

         All notices to be sent pursuant to the proceeding should be addressed to:

         Bryon Adinoff
         &12 S Gaylord St
         Denver, CO 80209

         David L. Nathan, MD, DFAPA
         Princeton Psychiatry & Consulting, LLC
         601 Ewing Street, Suite C-10
         Princeton, NJ 08540

         and

         Matthew C. Zorn
         Yetter Coleman LLP
         &11 Main Street, Ste. 4 100
         Houston, TX 77002
         mzorn@yettercoleman.com


                                                            Respectfully yours.




                                                               /           I
                                                                           I




                                                            Bryon Adinoff, M.D.
                                                            President, Doctors for Drug Policy Reform




                                                        6




                                                                                                      App.553
USCA Case #24-1365            Document #2100970                         Filed: 02/17/2025              Page 77 of 214




       Curricu!UID Vitae
       Bryon H. Adinoff

                                             CURRICULUM VITAE                . , .... !

                                                                                 ' * 'y


       Name:                           Bryon Adinoff, M.D.

       Email:                          adinoff@adinoffaddictionpsychiatry.com
                                       bryon.adinoff@CUAnschutz.edu
                                       edltor@theajdaa.com
                                       adinoff@d4dpr.org

       Website:                        www.adinoffaddlctionpsychlatry.com
                                       https://som.ucdenver.edu/Profiles/Faculty/Profile/27480

       Twitter:                        @BryonAdinoff
                                       @editor_AJDAA

       Education:
       1983-1986     Medical Staff Fellow, Laboratory of Clinical Studies, DMsion of Intramural Clinical and
                     Biological Research, National Institute on Alcohol Abuse and Alcoholism, Bethesda, MD
       1979-1983     Psychiatry Residency, Tulane University Affiliated Hospitals, New Orleans, LA
       1975-1979     M.O. - College of Human Medicine, Michigan State University, East Lansing, Michigan
       197M974       B.G.S. - University of Michigan, Ann Arbor, Michigan

       Faculty Appointments:
       2019-        Clinical Professor, Department of Psychiatry, University of Colorado Anschutz Medical
                    Center
       2017-2019    Adjoint Professor, Department of Psychiatry, University or Colorado Anschutz Medical
                    Center
       2009-2018    Graduate Faculty, Rehabilitation Counseling Psychology Program, UT Southwestern
                    Medical Center
       2006-2018    Tenure, Department or Psychiatry, UT Southwestern Medical Center
       2005-2018    Adjunct Professor of Brain Imaging Research, School of Behavioral and Brain Sciences,
                    University of Texas at Dallas
       2000-2018    Member, Clinical Psychology Graduate Program, UT Southwestern Graduate School of
                    Biomedical Sciences
       1998-2018    Professor, Department of Psychiatry, UT Southwestern Medical Center
       1998-2018    Clinical Associate Professor, Department of Family Practice, University of North Texas
                    Health Science Center at Fort Worth
       1995-2018    Distinguished Professor in Alcohol and Drug Abuse Research, Department of
                    Psychiatry, University of Texas Southwestern Medical Center at Dallas
       1995~1998    Associate Professor, Department of Psychiatry, UT Southwestern Medical Center
       1992-1995    Associate Professor, Department of Psychiatry and Behavioral Sciences, Medical
                    University of South Carolina, Charleston, SC
       1988-1992    Assistant Professor, Department of Psychiatry and Behavioral Sciences, Medical
                    University of South Carolina, Charleston, SC
       1985-1988    Adjunct Assistant Professor, Department of Psychiatry, George Washington University,
                    Washington, DC

        Hospital Appointments:
        2014-201 8   Attending Staff, UT Southwestern Medical Center, Dallas, TX




                                                                                                         App.554
USCA Case #24-1365             Document #2100970                          Filed: 02/17/2025               Page 78 of 214




       Curriculum Vitae                                                                          Page l
       Bryon R. Adinoff

       1997-:2018     Attending Staff, Parkland Medical Center, Dallas, TX
       1995--:2018    Attending Staff, VA Medical Center, Dallas, TX
       1994-'1995     Attending Staff, Medical University of South Carolina, Charleston, SC
       1988-'1995     Attending Staff, VA Medical Center, Char1eston, SC
       1986-1988      Senior Staff Fellow, Laboratory of Clinical Studies, DICBR, Natlonal Institute on Alcohol
                      Abuse and Alcoholism, Bethesda, MD
       1983-1986      Ward Administrator, Alcohol Unit, Clinical Center, National Institute of Health, Bethesda,
                      MD
       1982-'1983     Part-time Staff, East Louisiana State Hospital, Jackson, LA
       1982-·1983     Part-time Staff, New Orleans Adolescent Hospital, New Orleans, LA
       1981-1983      Part-time Staff, Charity Hospital, New Orleans, LA
       1980-'1983     Part-time Staff, Veterans Administration Hospital, New Orleans, LA

       Admll~latratlve Appointments:
       2013-:2.018   Director of Research, Mental Health, VA North Texas Health care System
       2005-:2018    Chief, Division on Addictions, University of Texas Southwestern Medical Center at
                     Dallas
       1995-:2005    Director, Clinical Center for Addictive Diseases, University of Texas Southwestern
                     Medical Center at Dallas
       1997-:2005    Medical Director, Substance Abuse Team, Mental Health, VA North Texas Health Care
                     System, Dallas
       1996-1997     Member, Transition for Mental Health, VA Medical Center Dallas, TX
       1995-1997     Chair, Substance Abuse Subcouncil for VISN #17 Mental Health Advisory Council
       1995-1997     Director, Chemical Addiction Program, VA Medical Center, Dallas, TX
       1992-1995     Director, Substance Abuse Treatment Center, VA Medical Center, Charleston, SC
       1988-,1992    Medical Director, Substance Abuse Treatment Center, VA Medical Center, Charleston,
                     SC
       1986-1988     Chief, Unit of Outpatient Studies, Laboratory of Clinical Studies, DICBR, National
                     Institute on Alcohol Abuse and Alcoholism, Bethesda, MD
       1986          Acting Chief, Section of Clinical Science, Laboratory of Clinical Studies, DICBR,
                     National Institute on Alcohol Abuse and Alcoholism, Bethesda, MD

        Other' Positions:
        1975          Research Assistant, Ed Domino, M.D., Department of Phamiacology, Lafayette Clinic,
                      Detroit Ml
        1973-1974     Counselor, Drug Help, Ann Arbor, Ml
        1972-1973     Research Assistant, James Woods, Pti.D., Department of Pharmacology, University of
                      Michigan, Ann Arbor, Ml

        Boant Certification:
        2014              Addiction Psychiatry, Recertified
        Dec. :31, 2003    Addiction Psychiatry, Recertified
        March, 1993       Addiction Psychiatry #013
        November, 1985 American Board of Psychiatry and Neurology #27234
        1979              FLEX

        Llcen,aure
        2015-                 Colorado (#OR.0055904)
        1996 -2018            Texas (#J9942)
        1989 - 1995           South Carolina (#14229)




                                                                                                             App.555
USCA Case #24-1365              Document #2100970                      Filed: 02/17/2025             Page 79 of 214




       Cwriculwn Vitae                                                                       Page3
       Bryon H. Adinoff

       1985 • 1988          Wash.ington, OC (#15002)
       1983 • 1988          Maryland (#030259)
       1979 • 1983          Louisiana (AA-93-82627)

       Professional Societies
       American College of Neuropsychophannacology, Fellow
       American Psychiatric Association, Distinguished Life Fellow
       American Association of Addiction PsychiatTy. Founding Member, Distinguished Fellow
       Doctors for Cannabis Regulation. Founding Member, President

       Administrative
       2022-         President, International Society of Addiction Journal Editors (ISAJE)
       2020-2022     Vice-President, International Society of Addiction Journal Editors (ISAJE)
       2018-         Member, Legislative Committee, Colorado Psychiatric Society
       2018          Member, Diversion Prevention and Awareness Task Force, Parkland Memorial Hospitai
       2018-         Board of Directors, International Society of Addiction Journal Editors (ISAJE)
       2015-2017     Ethics Committee, American College on Neuropsychopharmacology
       2015-2018     Co-chair, New Investigators Award Committee, VA North Texas Health Care System
       2015-2017     Member (Alternate), Research and Development Committee, VA North Texas Health
                     Care System
       2014-2018     Chair, Committee on Practitioner Peer Review Assistance (COPPRA), Combined
                     Parkland Memorial Hospital - UT Southwestern Medical Center
       2014-2017     Member. Opioid Safety Initiative, VISN17, Veterans Hospital Administration
       2013-2018     Chair, Mental Health Research Committee, VA North Texas Health Care System
       2012-2013     Member, Chair's Subcommittee on the Advising System, Department of Psychiatry,
                     UTSW
       2012-2017     Chair. Substance Use Disorder Leadership Council, VISN17, Veterans Hospital
                     Administration
       2010-2018     Co-director, Region VIII, American Academy of Addiction Psychiatry
       2012          Member. Program Committee, Research Society on Alcoholism
       2010-2014     Vice-chair, Committee on Practitioner Peer Review Assistance (COPPRA), Combined
                     Parkland Memorial Hospital - UT Southwestern Medical Center
       2011-2013     Coordinator for UT Southwestern Medical Center, Metroplex Day
       2010-2017     Treasurer, Executive Board, Texas Research Society on Alcoholism

       2010-2011     Member, Psychiatric Research Education Program Mentor Committee, Department of
                     Psychiatry, UT Southwestern
       2008-2011     Member, Human Research Committee, American College on
                     Neuropsychophannacology
        2007-2009    Chair, Research Development Committee, NIDA Clinical Trials Network
        2006-2018    Member, Accreditation and Promotion Committee, Department of Psychiatry, UT
                     Southwestern
        2006-2016    Member, Executive Committee, Department of Psychiatry, UT Southwestern
        2005-2007    Member, Research Development Committee, NIDA Clinical Trials Network

        2002-2004    Member, Public Policy Section, American Association of Addiction Psychiatry
        2001-2018    Chair, Cliniclan's Promotion Board, Mental Health Service, VA North Texas Health Care
                     System
        1998-2001    Member, Task Force on Addictive Disorders, Texas Society of Psychiatric Physicians




                                                                                                       App.556
USCA Case #24-1365           Document #2100970                        Filed: 02/17/2025              Page 80 of 214




       Curriculwn Vitae                                                                      Page4
       Bryoa H. Adiaoff

       1999-2011    Member, Committee on Practitioner Peer Review and Rehabilitation (COPPRA).
                    Combined Parkland Memorial Hospital - UT Southwestern Medical Center
       1997-2018    Chair. Addiction Council, VA North Texas Health Care System
       1997-2000    Member, Continuity of Care Committee, VA North Texas Health System
       1994         Member, Substance Abuse Program Guide Task Force, VA Central Office
       1994-1995    Member, Institutional Review Board for Human Research, Medical University of South
                    Carolina, Charleston, SC
       1994-1995    Member, Pharmacy and Therapeutics Committee. VA Medical Center. Charleston, SC
       1992-1995    Medical Review Officer, VA Medical Center Charleston, SC
       1991-1993    Chairman. Medical Record Review Committee, VA Medical Center. Charleston, SC
       1991-1995    Member, Substance Abuse Executive Committee, Department of Psychiatry and
                    Behavioral Sciences, Medical University of South Carolina
       1990-1993    Member. Strategic Planning Committee, VA Medical Center, Charleston, SC
       1989-1993    Member, Drug Utilization Review Committee. VA Medical Center, Charteston, SC
       1989-1994    Alternate Member, Institutional Review Board for Human Research, Medical University
                    of South Carolina
       1989-199,1   Member, Medical Record Review Committee, Charleston VA Medical Center
       1986-1988    Chairman. Institute Clinical Research Subpanel, Laboratory of Clinical Studies. DICBR.
                    National Institute on Alcohol and Alcoholism
        1986-1988   Member, Human Research Review Panel, Clinical Center, National Institutes of Health
        1986-1988   Member, Quality Assurance Coordinators, Clinical Care, National Institutes of Health

       Grant Reviews
       Reviewer, Grant Award Opportunity, Institute of Cannabis Research (ICR). Colorado State University
            Pueblo, 2021
       Member, Scientific Advisory Committee, Medical Marijuana Research Grant Program, Colorado Department o1
            Public Health and Environment, 2018
       Member, "Center of Excellence" Grant Program (P-50), (ZDA1 NXR-8), NIDA (2015)
       Member. Special Emphasis Panel/Scientific Review Group for Specialized Alcohol Research Centers.
            (ZAA1 P50), NIAAA (2013)
       Chair, Comprehensive Research Center Review (GG-57 P60), NIAAA (2013)
       Member, Center Review (GG-58 PSO). NIAAA (2013)
       Ad-hoc reviewer (ZRG1) EMNR (2012)
       Temporary Member, (ZRG1), NIDA (2011)
       Chair, I/Start Special Emphasis Panel (ZDA1). NIDA (2009, 2010, 2012, 2013, 2014, 2015)
       Temporary Member, Neurobiology A Integrated Review Group, Office of Research and Development,
            Department of Veterans Affairs (2010)
       Chair, Neurobiology/Therapy Alcohol and Drug Abuse Panel (PR093916), Peer Reviewed Medical Research
            Program (PRMRP), US Army Medical Research and Materiel Command, Department of Defense (2009)
       Temporary Member, Neurobiology 2 Integrated Review Group, Office of Research and Development,
            Department of Veterans Affairs (2009)
       Member, I/Start Review (ZDA1). NIDA (2008)
       Member, Special Emphasis Panel (ZAA1), Center for Scientific Review. NIAAA (2007)
       Member, Research Center Review Committee, Department of Veterans Affairs (2006)
       Chair, Special Emphasis Panel. Biochemical Research Review Suboommittee (ZAA1 CC). Center for
             Scientific Review, NIAAA (2005)
       Member, Clinical and Treatment Subcommittee (AA3). Center for Scientific Review, NIAAA (2004-
             2008)
       Consultant. Training and Career Development Suboommittee, NIDA (2002)
       Member, Site Review. National Center for Research Resources. NIH (2000)




                                                                                                        App.557
USCA Case #24-1365              Document #2100970                          Filed: 02/17/2025                Page 81 of 214




       Curriculum Vitae                                                                            PageS
       Bryon H. Adinoff

       Member, NIDA Special Emphasis Panel, Medication Development Panel (1999)
       Member, Site Review, Alcohol Research Center, NIAAA (1998)
       Member, Research Advisory Group, Department of Veteran Affairs ( 1993-1995)
       Consu1ltant, Fellowship Programs in Substance Abuse Treatment, Department of Veteran Affairs ( 1994)

       Edlto1'1al Activities
       2012-         Editor-in-Chief, The American Journal of Drug and Alcohol Abuse
       2007-:2011    Editorial Board, The American Journal of Drug and Alcohol Abuse

       Journal Reviews
       Editoriial Advisory Board, Sci-Mat
       Advisor, Handbook of Psychiatric Measures and Outcomes, APA
       Tenth Special Report to the U.S. Congress on Alcohol and Health, NIAAA Addiction
       Consu1ltant, WHO, Guidelines for Psychosocially Assisted Pharmacotherapy of Opioid Dependence
       Guest Field Editor, International Journal on Neuropsychopharmacology
       Alcohol and Alcoholism
       Alcoholism: Clinical and Experimental Therapeutics
       Alcohol Health & Research World
       Ameri,can Journal of Psychiatry
       Ameri,can Journal of Addictions
       Ameri,can Journal of Cardiology
       Archi\l'es of General Psychiatry
       Biolog~cal Psychiatry
       CNS Drugs
       Drug and Alcohol Dependence
       Drugs, Habits, and Social Polley
       Harvard Review of Psychiatry
       Hormones and Behavior
        JAMA
        JAMA Network Open
        Journ:al of Clinical Psychiatry
        Joum,al of Clinical Psychopharmacology
        The J1:>umal of Critical Illness
        Joum,al of Substance Abuse Treatment
        Medical Toxicology
        Neuro,lmage
        Neuro,psychopharmacology
        Pham1acology, Biochemistry, and Behavior
        Psychiatry Research
        Psychoneuroendocrinology
        Psyc~1opharmacology

        Grant:a
        2017--2018     Consultant. National Institute on Alcohol Abuse and Alcoholism. R43. Aware (A
                       wearable awareness with real-time exposure): Rapid Wearable Alcohol Diagnostics.
                       $250,000. (Pl: Sriram Muthukumar)
        2013-2016      Principal Investigator, National Institute on Drug Abuse. R21 . "Lidocaine infusion as a
                       treatment for cocaine relapse and craving." $275,000.
        2012-2015      Co-Investigator, National Institute on Drug Abuse. KOS. •cardiovascular risks of
                       prescription amphetamine use in a national veterans study.' $450,000 (Pl: Arthur




                                                                                                              App.558
USCA Case #24-1365           Document #2100970                          Filed: 02/17/2025              Page 82 of 214




       Curriculum Vitae                                                                       Pa_ge6
       Bryon H. Adinoff

                    Westover)
       2012-2014    Principal Investigator, National Institute of Arthritis and Muskoloskeletal and Skin
                    Diseases (NIAMS). R21 . "Striatal dopamine release in response to ultraviolet light in
                    compulsive tanner." $230,000.
       2013--2017   Co-investigator, National Institute on Drug Abuse. R01. Genetic and environmental
                    modulators of the brain's response to marijuana cues. $1,865,000 (Pl: Francesca
                    Filbey).
       2011-2012    Co-investigator, University of North Texas. "Exercise intervention for
                    psychoneuroendocrine comorbidities and relapse prevention In women reoovering from
                    substance abuse." (Pl: Vingren)
       2012-2013    Co-investigator, National Institute on Drug Abuse. R03. "Independent Component
                    Analysis Based Support Vector Machine Classification Method: Application to functional
                    MRI data from cocaine-addicted patients." $100,000 (Pl: Mutlu Mete)
       2012-2014    Co-Investigator, American Heart Association, "Cardiovascular Risks of Prescription
                    Amphetamine Use in Adults". $70,000 (Pl: Arthur Westover)
       2010-2012    Co-investigator, National Institute on Drug Abuse, U10 "Clinical Trials Network: Texas
                    Node." $1,000,000
       2009-201 2   Co-investigator, Department of Veteran Affairs, Merit Review. "Extinction of Fear
                    Memories with Glucocorticoids in Veterans with PTSD." $745,550 (Pl: Alina Suris)
       2007-201 2   Principal Investigator, National Institute on Drug Abuse, R01 "lmpulsivity, Neural
                    Deficits, and Cocaine Relapse." $1 ,000,000.
       2007-2012    Principal Investigator, Integrative Neuroscience Initiative on Alcoholism-East, National
                    Institute on Alcohol Abuse and Alcoholism. U01 "Stress, HPA Axis Dysfunction, and
                    Relapse in Alcoholism." $1,150,000
       2006-2010    Principal Investigator, Department of Veteran Affairs, Merit Review. "Trauma, Stress,
                    and Persistence of HPA Axis Oysregulation in Alcoholism,· $600,000
       2005-2010    Principal Investigator, National Institute on Drug Abuse, U10 "Clinical Trials Network;
                    Texas Node." $3,550,000
       2005-2007    Co-Investigator, National Institute on Alcohol Abuse and Alcoholism. R01 . Naltrexone
                    for Bipolar Disorder and Alcohol Dependence." $275,000 (Pl: Brown)
       2005-2007    Co-Investigator, National Association for Research of Schizophrenia and Depression
                    (NARSAD), Young Investigator Award "Memory Reconsolidation Interference in PTSD."
                    $120,000 (Pl: Alina Suris)                                •
       2005         Principal Investigator, Department of Veterans Affairs, Career Development
                    Enhancement Award, "Functional Magnetic Resonance Imaging (fMRI) in Uie Addictive
                    Disorders; $80,000.
       2004-2009    Principal Investigator, National Institute on Drug Abuse, R25 "Psychiatrist Research
                    Education & Training In Drug Abuse." $1 ,400,000
       2004-2009    Co-investigator, National Institute on Mental Health, R01 ·stress and Risk for Substance
                    Abuse in Adolescents" $1,250,000 (Pl: Uma Rao)
        2004-2009    Co-investigator, National Institute on Mental Health, R01 "Neuronal Risk Markers for
                     Nicotine Dependence in Youth" $1,250,000 (Pl: Uma Rao)
        2003-2005    Principal Investigator, Integrative Neuroscience Initiative on Alcoholism-East, National
                     Institute on Alcohol Abuse and Alcoholism. U01 "fMRI of Stress, HPA Axis, and Limbic
                     Function In Alcoholism." $100,000
        2003-2006    Principal Investigator, National Institute on Drug Abuse, R01 "Limbic Sensitivity in
                     Cocaine Addiction." (competitive renewal) $750,000
        2001-2007    Co-investigator, National Institute on Mental Health, R01 "Risk for Substance Abuse in
                     Depressed Adolescents• $1,500,000 (Pl: Uma Rao)




                                                                                                          App.559
USCA Case #24-1365            Document #2100970                        Filed: 02/17/2025              Page 83 of 214




       Curriculum Vitae                                                                     Page7
       Bryon H. Adinoff

       1999-2004    Co-Investigator, National Institute on Drug Abuse, R01 "Cocaine and Sympathetic
                    Nervous Activity in Humans." $880,000
       1999-2000    Principal Investigator, National lnstiMe on Drug Abuse, "Learned Helplessness Model
                    of Cocaine Withdrawal", $40,000
       1998-2003    Principal Investigator, National Institute on Alcohol Abuse and Alcoholism, R01
                    "Pharmacologic Dissection of the HPA Axis in Alcoholism.· $755,000
       1998-2003    Director, Nancy Hogan Boyd Dual Diagnosis Fellowship Program, $120,000
       1998-2001    Principal Investigator, National Institute on Drug Abuse, R01 "Limbic Sensitivity in
                    Cocaine Addiction." $675,000
       1996-2001    Participating Investigator, VA Cooperative Study, "Naltrexone in the Treatment of
                    Alcoholism". $150,964
       1998-2003     Co-Investigator, Department of Veterans Affairs, Merit Review "In Vivo Neurochemistry
                    of Stress: Alcohol and Learned Helplessness." $179,000 (Pl: Fred Petty)
       1995-1997    Principal Investigator, National Institute on Drug Abuse, R21 "Limbic Sensitivity in
                    Cocaine Addiction." $104,000
       199~1995     Principal Investigator, MUSC University Research Committee, "Pituitary-Adrenal Axis
                    Disturbances in Alcoholism.• $12,000
       1992-1997    Co-Investigator, National Institute on Drug Abuse, "Carbamazepine Treatment in
                    Cocaine Abusers," $349,712 (Pl: Kathleen Brady)
       1993-1994    Co-Investigator, Kabi Pharmacia, "Usefulness of carbohydrate deficient transferrin in
                    monitoring alcohol dependent patients during treatment and/or detoxification." $70,000
                    (Pl: Ray Anton)
       1989-1994    On-Site Coordinator, National Institute on Alcohol Abuse and Alcoholism, "Project
                    MATCH: Matching Alcoholics to Client Heterogeneity," $375,385
       1988-1991    Principal Investigator, Upjohn, "Double-Blind Drug Study of Ethanol Withdrawal
                    Syndrome," $60,000

       Teaching/Education
       2017, 2018,2021,2022
                    Invited Mentor, American Psychiatric Association Research Colloquium, (May 21, 20171
                    San Diego, CA; May 6, 2018, New York City, NY; May 2, 2021, Virtual; May 22, 2022,
                    NewOr1eans)
       2016-2017    Addiction Lectures for MS1-MS2 Class, UT Southwestern Medical Center
       2014-2018    Co-director, Dallas Addiction Leadership Training (DALT) Fellowship (VA
                    Interdisciplinary Advanced FeDowship in Addiction Treatment), VA North Texas Health
                    Care System
       2007         Course Director. AAAP Review Course in Addiction Psychiatry, Coronado, CA,
                    December 1-2. 2007.
       2006         Course Director, AAAP Update in Addiction Psychiatry, Ft. Worth, TX, September 29-
                    30, 2006.
       2005         Course Director, AAAP Update in Addiction Psychiatry, San Francisco, CA, February
                    11-13, 2005, and Atlanta, GA, February 25-27, 2005
       2003         Course Co-Director, AAAP Review Course in Addiction Psychiatry, Denver, CO.
                    January 18-19, 2003
       2002         Course Director, Annual Addiction Update, NOVA 2002. Dallas, TX. February 22-23,
                    2002.
       2002         Course Co-Director, AAAP Review Course in Addiction Psychiatry, Kansas City, MO.
                    February 2-3, 2002.
       2001         Course Co-Director, Annual Addictlon Update, NOVA 2001. Dallas, TX. February 14-
                    15, 2001 .




                                                                                                        App.560
USCA Case #24-1365             Document #2100970                        Filed: 02/17/2025              Page 84 of 214




       Curriculum Vitae                                                                       Page 8
       Bcyon H. Adinotf

       2000          Course Co-Director, Annual Addiction Update, NOVA 2000. Dallas, TX. February 4-5,
                     2000
       2000-2018     Associate Director, Addiction Psychiatry Fellowship, UT Southwestern Medical Center
       1997-2000     Director, Addiction Psychiatry Fellowship, UT Southwestem Medical Center
       1995 -1999    Supervisor, Interdisciplinary Substance Abuse Fellowship Research Project, Dallas
                     VAMC
       1993          Physician Planner, Regional Medical Education Center, Department of Veterans Affairs
       1992-2007     Clinical. supervision of psychiatry residents and medical students
       1992-2003     Psychotherapy supervision of psychiatry residents
       1992-1993     Supervision of clinical case conferences and inservices for clinical staff and trainees,
                     Substance Abuse Treatment Center, VA Medical Center
        1992         Participation in Regional Medical Education Center courses, Veterans Administration
        1988-1995    Participation in Substance Abuse Seminar Series, psychiatry residents, Medical Univ
                     South Carolina
        1988-1993    Participation in Interviewing Skills Course, 1st year medical students, Medical Univ.
                     South Carolina
        1988-1993    Participation in Psychiatry Lecture Series, 3rd year medical students, Medical Univ
                     South Carolina
        1988-1995    Primary supervision of Substance Abuse fellows, psychiatry house staff, and medical
                     students at Substance Abuse Treatment Center, VA Medical Center

        Honors and Awards
        2021        Distinguished Life Fellow, American Psychiatric Association
        2017        Distinguished Fellow, American Academy of Addiction Psychiatry {FAAAP)
        2012        American CoNege of Neuropsychopharmacology, Fellow
        2005        Dr. Kenneth Z. Altshuler Medical Leadership Award, Turtle Creek Manor
        2004        American College of Neuropsychopharmacology, Full Member
        2002        Alpha Omega Alpha Honor Medical Society
                    Elected Alumnus, College of Human Medicine, Michigan State University
        1999-2000   PGY-1 Outstanding Teacher of the Year, Psychiatry Residents' Organization
                    Southwestern Medical School
        1997        GEICO Public Service Award for the Prevention and Treatment of Substance Abuse
        1996-       "Crusader for Prevention", Medical/Health Department; Coalition '96, For Prevention of
                    Substance Abuse; Greater Dallas Council on Alcohol and Drug Abuse
        t991-1992   Psychiatry Golden Apple Award, Psychiatry Clerkship, Medical University of South
                    Carolif!a
        1983-1986   NIAAA Fellowship

        Non-profit
        2023-         President, Doctors for Drug Policy Reform {04DPR)
        2021-         Advisory Council, Kansas Cannabis Coalition
        2021-2023     President, Doctors for Cannabis Regulation (DFCR)
        2019-2021     Executive Vice President, Doctors for Cannabis Regulation {DFCR)
        2018-         Treasurer, Doctors for Cannabis Regulation {DFCR)
        2018-         Board of Directors. Doctors for Cannabis Regulation {OFCR)
        2017-2018     Co-chair, State Regulatory Committee, Doctors for Cannabis Regulation (DFCR)
        2017-         Colorado State Representative, Doctors for Cannabis Regulation {DFCR)
        2013-2015     Member, Board of Directors, Mothers Against Teen Violence, Dallas, TX
        1998          Moderator and Leadership Panel, Faces of Addiction: A Community Forum. Dallas, TX.
        1998          Grand Award Judge, 49th International Science & Engineering Fair, Ft. Worth, TX




                                                                                                         App.561
USCA Case #24-1365             Document #2100970                         Filed: 02/17/2025              Page 85 of 214




       Curriculum Vitae                                                                       Page9
       BryonH. Adinoff

       1997          Member, Dual Diagnosis Task Force, Dallas, TX
       1996-2001     Executive Board of Directors. Greater Dallas Council on Alcohol and Drug Abuse
       1996-2001     Chair, Clinical Subcommittee, Greater Dallas Council on Alcohol and Drug Abuse
       1995-1997     Scientific Advisor, Chemical Awareness Resources and Education, Park Cities, TX

       Outside Interests
       Bass Guitar. R/E Authority blues band; Jennifer Rose Band
       Advocate Circle. Museum of Contemporary Art, Denver (2021)
       Contemporary Collectors Circle, Denver Museum of Art (2019-)
       Directors Council, Ft. Worth Museum of Modem Art (2005-2018)
       Docent, Ft. Worth Museum of Modem Art (2005-2018)

       Peer-Reviewed Articles and Reviews
       1.   Domino EF, Gahagan S, Adlnoff 8, Kovacic B. Effects of various neuroleptics on rabbit
            hyperthermia induced by DMT and d-amphetamine. Arch Int Pharmacodyn Ther 226:30-7,
            March, 1977.
       2.   Schwartz B, Winstead D, Adlnoff 8 : Circumscribed visual processing in schizophrenics. Biol
            Psychiatry 18:1311-1320, 1983.
       3.   Zadina J, Kastin A, Coy D, Adlnoff B: Developmental, behavioral, and opiate receptor changes
            after prenatal or postnatal B-endorphin; CRF, or Tyr-MIF-1. Psychoneuroendocrinology
            10:367-383, 1985.
       4.   Adlnoff B, Majchrowicz E, Martin PR, Linnoila M: The benzodiazepine antagonist RO 15-1788
            does not antagonize the ethanol withdrawal system. Biol Psychiatry 21:643-649, 1986.
       5.   Johnson JJ, Adinoff B, Bisserbe JC, Martin PR. Rio D, Rohrbaugh JW, Zubovic E, Eckardt M:
            Assessment of alcoholism-related organic brain syndromes with positron emission tomography.
            Alcohol Clln Exp Res 10:237-239, 1986.
       6.   Martin PR, Adlnoff8, Weingartner H, Mukherjee AB, Eckardt MS: Alcoholic organic brain
            disease: Nosology and pathophysiologic mechanisms. Prog Neuropsychopharmacol Biol
            Psychiatry 10:147-164, 1986.
       7.   Rohrbaugh JW, Stapleton JM, Parasuram R, Zubovic EA. Frowein HW, Varner JL, Adinoff B,
            Lane EA, Eckardt MJ, Llnnoila M: Dose-related effects of ethanol on visual sustained attention
            and event-related potentials. ~ 4:293-300, 1987.
       8.   Adlnoff 8 : Hypothalamic-pituitary-adrenal axis functioning in recently abstinent alcoholics. In:
            M. Linnoila, moderator. Alcohol withdrawal and noradrenergic function. Ann of Intern Med
            107:875-889, 1987.
       9.   Roy A, Adinoff B, Roehrich L, Lamparski D. Custer R, Lorenz V, Barbaccia M, Guidotti A,
            Costa E, Unnoila M: Pathological gambling: A psychobiological study. Arch Gen Psychiatry
            45:369-373, 1988.
       10. Roy A. Adinoff B, Llnnoila M: Acting-out in normal volunteers: Negative correlation with 5-HIAA
            levels. Psychiatry Res 24:187-194, 1988.
       11. Adlnoff 8 , Bone GHA, Linnoila M: Acute ethanol poisoning and the ethanol withdrawal
            syndrome. Med Toxicol 3:172-196, 1988.
       12. Linnoila M, Oliver J. Adinoff 8 , Potter WZ: High correlations of norepinephrine. dopamine. and
            epinephrine and their major metabolite excretion rates. Arch Gen Psychiatry 45:701-704, 1988.
       13. Rohrbaugh JW, Stapleton JM, Parasuram R, Frowein HW, Adlnoff 8 , Varner JL, Lane EA,
            Eckardt MJ, Linnoila M: Alcohol intoxication reduces visual sustained attention.
            Psychooharmacol 96:442-446, 1988.
       14. George OT, Nutt DJ, Walker WV, Porges SW, Adlnoff 8 , Linnoila M: Sodium lactate and
            hyperventilation substantially attenuate vagal tone in normal volunteers: a possible mechanism
            of panic provocation? Arch Gen Psychiatry 46:153-156, 1988.




                                                                                                          App.562
USCA Case #24-1365              Document #2100970                         Filed: 02/17/2025               Page 86 of 214




       Curriculum Vitae                                                                         Page 10
       Bryon H. Adinoff

       15.    Nutt DJ, Adlnoff B, Ravitz B, George DT, Flowers D, Eckardt M, Bone GHA, Martin PR.
              Linnoila M: CSF studies in alcoholics and violent offenders. Aust Drug Alcohol Rev 7:105-108,
              1988.
       16.    Martin PR, Adlnoff B, Eckardt MJ, Stapleton JM, Bone GHA, Rubinow DR, Lane EA, Linnoila M:
              Effective pharmacotherapy of alcohol amnestic disorder with fluvoxamine: preliminary findings.
              Arch Gen Psychiatry 46:617-621, 1989.
       17.    Roy A, DeJong D, Ferraro T, Adlnoff B, Gold P, Rubinow D, Linnoila M: CSF GABA and
              neuropeptides in pathological gamblers and normal controls. Psychiatry Res 30:137-144, 1989.
       18.    Roy A, Lamparski J, De Jong B, Adinoff B, Ravitz D, George T, Nutt D, Linnoila M:
              Cerebrospinal fluid monoamine metabolites in alcoholic patients who attempt suicide. Acta
              Psychlafr Scand 81:58-61, 1990.
       19.    Adlnoff B, Martin PR, Bone GHA, Eckardt MJ, Roehrich L, George DT, Moss H, Eskay R,
              Linnoila M, Gold PW: Hypothalamic-pituitary-adrenal axis functioning and cerebrospinal fluid
              CRH and ACTH in alcoholics following recent and long term abstinence. Arch Gen Psychiatry
              47:325-330, 1990.
       20.    Roy A, DeJong J, Adinoff B, Linnoila M: CSF galanin in alcoholics, gamblers, and normal
              controls: A negative report. Biol Psychiatry 15:923-926, 1990.
       21 .   Roy A, DeJong J, Adlnoff B, Barbaccia M, Costa E, Guidotti A, Linnoila M: CSF diazepam-
              bindlng inhibitor in alcoholics and normal controls. Psychiatry Res 31 :261-266, 1990.
       22.    Brady K, Anton R, Ballenger JC, Lydlard RB, Adinoff B, Selander J: Cocaine abuse among
              schizophrenic patients. Arn J Psychiatry 147:1164-1167, 1990.
       23.    Roy A, DeJong J, Ferroro T, Adinoff B, Ravitz B, Linnoila M: CSF GABA in alcoholics and
              controls. Am J Psychiatry 147:1294-1296, 1990.
       24.    George DT, Adlnoff 8, Ravitz B, Nutt DJ, DeJong J, Berrettini W., Mefford IN, Costa E, Linnoila
              M: A cerebrospinal fluid study of the pathophysiology of panic disorder assoclated with
              alcoholics. Acta Psychiatr Scand 82:1-7, 1990.
       25.    Roy A, Berrettini W, DeJong J, Adlnoff B, Ravitz B, Linnoila M: CSF neuropeptide Y in
              alcoholics and normal controls. Psychiatry Res 33:215-219, 1990.
       26.    Roy A, Bissette G, Nemeroff C, DeJong J, Ravitz B, Adinoff B, Linnoila M: CSF TRH in
              alcoholics and normal controls. Biol Psychiatry 28:767-72, 1990.
       27.    Roy A, DeJong J, Ferraro T, Adlnoff B, Gold P, Rubinow D, Linnoila M: CSF somatostatin,
              CRH, and ACTH in alcoholics and controls. Acta Psychiatrica Scandinavica. 83:44-48, 1990.
       28.    Thevos AK, Johnston AL, Latham PK, Randall CL, Adlnoff B, Malcolm R: Symptoms of anxiety
              in inpatient alcoholics with and without OSM-111-R anxiety disorders. Alcohol Clip Exp Res
              15:102-105, 1991.
       29.    Roy A, De Jong J, Lamparski D, Adlnoff B, George T, Moore V, Garnett D, Kerich M, Llnnoila M:
              Mental disorders among alcoholics: Relationship to age of onset and cerebrospinal fluid
              neuropeptides. Arch Gen Psychiatry 48:423-427, 1991.
       30.    Limson R. Goldman 0 , Roy A, Lamparski 0, Ravitz B, Adinoff B, Linnoila M: Personality and
              cerebrospinal fluid monoamine metabolites in alcoholics. Arch Gen Psychiatry 48:437-441, 1991 .
       31.    Adlnoff B , Martin PR, Eckardt MJ, Bone GAH, Gold PW, Linnoila M: Pituitary.adrenal responses
              to oCRH and central neuropeptide levels in alcoholic amnestic disorder. Biol Psychiatry 29: 1153-
              1155, 1991.
       32.    Adlnoff B , Risher-Flowers D, De Jong J, Ravitz B, Bone GHA, Nutt DJ, Roehrich L, Martin PR,
              Linnoila M: Disturbances of hypothalamic-pituitary-adrenal axis functioning during the ethanol
              withdrawal syndrome in six men. Am J Psychiatry 148:1023-1025, 1991.
       33.    Adlnoff 8 , Nemeroff CB, Bissette G, Martin PR, Linnoila M: Inverse relationship between CSF
              TRH concentrations and the TSH response to TRH in abstinent alcoholics. Arn J Psychiatry
               148:1586-1588, 1991.




                                                                                                            App.563
USCA Case #24-1365                Document #2100970                         Filed: 02/17/2025                Page 87 of 214




       Curriculum Vitae                                                                            Page II
       Bryon H. Adinoff

       34.     Hoy A, Adlnoff B, DeJong J, Linnolla M: Cerebrosplnal fluid variables among alcoholics lack
               s:easonal variation. Acta Psychiatr Scand 84:579-582, 1991.
       35.     "dlnoff B, Mefford I, Waxman R, Linnoila M: Vagal tone decreases following Intravenous
               diazepam. Psychiatry Res 41:89-97, 1992
       36.     Martin PR, Rio D, Adlnoff B, Johnson JL, Bissert>e J, Rawlings RR, Rohrbaugh JW, Stapleton
               JIM, Eckardt MJ: Regional cerebral metabolism in chronic organic mental disorders associated
               with alcoholism. J Neuropsychiatry Oin Neurosci 4:159-167, 1992
       37.     ,~dinoff B: Long-term therapy with benzodiazepines despite alcohol dependence disorder:
               Seven case reports. Am J Addictions 1~288-293, 1992
       38.     ,~dlnoff 8: Double-blind study of alprazolam, diazepam, clonldine, and placebo in the alcohol
               withdrawal syndrome. Alcohol Clin Exp Res 18:873-878, 1994
       39.     ,~dlnoff B: The alcohol withdrawal syndrome: Neurobiology of treatment and toxicity. ~
               f~ddictions 3:277-288, 1994
       40.     "dinoff B, O'Neill HK, Ballenger JC: Alcohol withdrawal and limbic kindling: A hypothesis of
               relapse. Am J Addictions. 4:5-17, 1995
       41.     Martin P, Adlnoff B, Lane E, Stapleton J, Bone G, Weingartner H, Linnoila M, Eckardt M:
               Fluvoxamine treatment of alcoholic amnestic disorder. Eur Neuropsychopharmacol 5:27-33,
               11995
       42.     "dl noff B, Kramer G, Petty, F: Levels of gamma-aminobutyric acid in cerebrosplnal fluid and
               plasma during alcohol withdrawal. Psychiatry Res 59:137-144, 1995
       43.     Brady KT, Sonne S, Randall CL, AdlnoffB, Malcolm R: Features of cocaine dependence will)
               c:oncurrent alcohol abuse. Drug Alcohol Depeod 39:69-71 , 1995
       44.     Adinoff B, Anton R. Linnoila M, Guidotti A, Nemeroff C, Bissette G: Cerebrospinal fluid
               c:oncentrations of corticotrophin-releasing hormone (CRH) and diazepam-binding inhibitor (DBI)
               during alcohol withdrawal and abstinence. Neuropsychopharmacology. 15:288-295, 1996
       45.     "dinoff B, Kiser, JMC, Martin PR, Linnoila, M: Response of dehydroepiandrosterone to CRH
               stimulation in alcohol dependent subjects. Biol Psychiatry. 40:1305-1307, 1996
       46.     Adinoff B, Pols B: Dexamethasone in the treatment of the alcohol withdrawal syndrome. Am J
               prug Alcohol Abuse 23:615-622, 1997
       47.     J)etty F, Kramer GL, Davis LL, Fulton M, Adlnoff B: Plasma g aminobutyric acid (GABA)
               predicts outcome in patients with alcohol dependence. Prog Neuropsychopharmacol Biol
               psychiatry 21 :809-816, 1997
       48.      Middaugh LD, McGroatry KK, Groseclose CH, Adinoff B. Cocaine discrimination: Relationship
               t.o local anesthetics and monoamine uptake inhibitors in C57BU6 mice. Psychopharmacology
                ·136:44-49, 1998
       49.     AdinoffB, Brady K, Sonne S, Mirabella RF, Kellner CH. Cocaine-lil<e effects of intravenous
                procaine in cocaine addicts. Addict Biol 3:189-196, 1998
        50.     Dohoney K, Adinoff B. Treatment approaches for the continuum of alcohol-related disorders.
               l ~ 5:3444, 1998
        51 .    Adlnoff B, Dohoney K, Blondell RD. Brief intervention for alcohol problems in pri'mary care:
                Introduction. JCOM 5:63, 1998
        52.     ,,dlnoff B, lranmanesh A, Veldhuis J, Fisher L Disturbances of the stress response during
                i~lcohol withdrawal and abstinence: The· role of the hypothalamic-pituitary-adrenal axis. Alcohol
                J-!ealth Res World 22:72, 1998
        53.     1:;1aassen C, Adinoff B. Alcohol withdrawal syndrome: Guidelines for management. CNS
                j)rugs. 12:279-291, 1999.
        54.     Pavis LL, Ryan W, Adlnoff B, Petty F. Comprehensive review of the psychiatric uses of
                11alproate. J Clin Psychopharm. 20:1S-17S, 2000.
        55.     J'dlnoff B, Devous MD, Best S, George MS, Alexander D, Payne K. Limbic responsiveness
                liollowing IV procaine in cocaine addiction. Am J Psychiatry 158:390-398, 2001,




                                                                                                               App.564
USCA Case #24-1365             Document #2100970                        Filed: 02/17/2025               Page 88 of 214




       Curriculum Vitae                                                                       Page 12
       Bryon H. Adinoff

       56.    Brown ES, Suppes T, Adlnoff B, Thomas NR. Drug abuse and bipolar disorder: comorbidity or
              misdiagnosis? J Affective Disorders. 65:105-115, 2001.
       57.    Krystal JH, Cramer JA, Krol WF, Kirk GF, Rosenheck R, VA Naltrexone Cooperative Study 425
             Group (B Adlnoff). Nattrexone in the treatment of alcohol dependence. N Engl J Med 345: 1734-
             9, 2001.
       58.   Adinoff B, Devous MD Sr, Best S, Alexander D, Payne K, Williams M. Dose-response measures
             of rCBF and subjective changes following procaine in healthy female volunteers. Psy Research:
              Neuroimaging. 114:123-135, 2002.
       59.    Giilaspy JA, Wright AR, Campbell C, Stokes S, Adlnoff B. Group alliance and cohesion as
              predictors of drug and alcohol abuse treatment. Psychother Res 12:214-229, 2002
       60.    Cahill MA, Adlnoff B, Hosig H, Muller K, Pulliam C. Motivation fur treatment preceding and
             following a substance abuse program. Addictive Behaviors. 28:67-79, 2003.
       61.   Adlnoff B, Devous MD Sr, Best SE, Chandler P, Alexander D, Payne JK, Harris T, Williams M.
              Gender difference in limbic responsiveness, by SPECT, in healthy subjects. Neurolmage 18:607-
              706, 2003
       62.   Adinoff B, Devous MD Sr, Best SE, Harris TS, Chandler P, Frock S, Williams M. Regional
              cerebral blood flow in female cocaine-addicted subjects following limbic activation. Drug Alcohol
              Depend 7:255-268, 2003.
       63.    Adinoff B, Devous MD Sr, Cooper DB, Best SE, Chandler P, Harris TS, Cervin CA, Cullum CM.
              Resting regional cerebral blood flow and Gambling Task performance in cocaine-dependent
              subjects and healthy comparison subjects. Am J Psychiatry 160:1892-1894, 2003
       64.   Adinoff B, Ruether K, Krebaum S, lranmanesh A, Williams MJ. Increased salivary cortisol
              concentrations during chronic alcohol intoxication in a naturalistic cllnfcal sample of men. Alcohol
              Clin Exp Res 27:1420-1427, 2003
       65.    Adlnoff B. Neurobiological processes in drug reward and addiction. Harv Rev Psychiatry.
              1:2:305-320, 2004. (PMC1920543)
       66.    Adinoff B, Krebaum SR, Chandler PA, Ye W, Brown MB, Williams MJ. Dissection of
              hypothalamic-pituitary-adrenal pathology in one-month abstinent alcohol-dependent men: 1.
              Adrenocortical and pituitary glucocorticoid responsiveness. Alcohol Clin Exp Res 29:517-527,
              2005. (PMC2584970)
       67.    Adinoff B, Krebaum SR, Chandler PA, Ye W, Brown MB, Williams MJ. Dissection of
              hypothalamic-pituitary-adrenal pathology in one-month abstinent alcohol-dependent men: 2.
              Response to oCRH and naloxone. Alcohol Clin Exp Res 29:528-537, 2005. (PMC2584970)
       68.    Adinoff B, Junghanns K, Kiefer F, Krishnan-Sarin S. Suppression of the HPA axis stress-
              response: Implications for relapse. Alcohol Clin Exp Res 29:1351-1355, 2005. (PMC2584966)
       69.    Adlnoff B, Williams MJ, Best SE, Harris TS, Chandler P, Devous MD Sr. Sex differences in medial and
              lateral orbitofrontal cortex hypoperfusion in cocaine-addicted subjects. Gender Med 3:206-222, 2006.
       70.   'Field C, Duncan J, Washington K, Adinoff B. Association of baseline characteristics and
              motivation to change among patients seeking treatment for substance dependence. Drug Alcohol
              Q!m. 91 :77-84, 2007.
       71.    Adlnoff B, Rilling LM, Williams MJ, Schreffler E, Schepis TS, Rosvall T, Rao U. lmpulsivity,
              neural deficits, and the addictions: The •oops" factor in relapse. J Addict Dis. 26:25-39, 2007.
       72.    Schepis T , Adinoff B, Rao U. Neurobiological processes in adolescent addictive disorders. Am J
              Addictions. 17:16-23, 2008. (PMC2274940)
       73.    Porcu P. O'Buckley TK, Morrow AL, Adlnoff B. Differential hypothalamic-pituitary-adrenal
              activation of the neuroactive steroids pregnenolone sulfate and deoxycorticosterone in healthy
              controls and alcohol-dependent subjects. Psychoneuroendocrinology. 33:214-226, 2008.
              (PMC2262103)




                                                                                                         App.565
USCA Case #24-1365               Document #2100970                          Filed: 02/17/2025               Page 89 of 214




       Curriculwn Vitae                                                                           Page 13
       Biyon H. Adinoff

       74.     Hardin E, Adlnoff B. Family histOI)' of alcoholism does not influence adrenocortical
               tiyporesponsiveness in abstinent alcohol-dependent men. Am J Drug Alcohol Abuse. 34:151-
               1160, 2008.
       75.     "dlnoff B. Divided doses for methadone maintenance (editorial). Am J Psychiatry. 165:303-305,
               ~ioo8
       76.     \ !Villiams M, Adinoff 8 . The role of acetylcholine in cocaine addiction.
               t~europsychopharrnacology. 33:1779-1797, 2008. (PMC2667818)
       77.     F=ield CA, Adlnoff B, Harris TB, Ball SA. Carroll KM. Construct, concurrent and predictive validity
               c>f the URICA: Data from two multi-site clinical trials. Drug Alcohol Dep. 101:115-23, 2009.
       78.     "dlnoff B, Devous MD Sr, Cooper DC, Best SE, Harris TS, Willia.ms M. Neural response to
               llidocaine in healthy subjects. Psychiatry Res: Neuroimaging. 173:135-142, 2009. (PMC2771760)
       79.     Brown ES, Carmody T J, Schmitz JM, Caetano R, Adinoff B, Swann AC, Rush AJ. A randomized,
               double-blind, placebo-controlled pilot study of naltrexone In outpatients with bipolar disorder and
               alcohol dependence. Alcohol Clin Exp Res. 33:1863-9, 2009.
       80.     Drown ES, Tirado T, Minhajuddin A, Hillhouse M, Adlnoff B, Ling W, Doraimani G, Thomas C.
               J~sociation of race and ethnicity with withdrawal symptoms, attrition, opioid use and side-effects
               during buprenorphine therapy. J Elhn Subst Abuse 9:106-114, 2010. (PMC3176716)
       81 .    "dlnoff B, Talmadge C, Williams MJ, Schreffler E, Jackley PK, Krebaum SR. nme to Relapse
               (luestionnaire (TRQ): A measure of sudden relapse in substance dependence. Am J Drug
               Ncohol Abuse, 36:140-149, 2010. (PMC3600377)
       82.     "dinoff B. Devous MD Sr. Williams MJ, Best SE, Hanis TS, Minhajuddin A, Zielinski T, Cullum
               M . Altered neural cholinergic receptor systems in cocaine-addicted subjects. Neuropsychopharrn.
               ~15:1485-1499, 2010. (PMC3055466)
       83.     "dinoff 8, Best SE, Ye W, Williams MJ, lranmanesh A. Adrenocortical and pituitary
               ~1lucocorticoid feedback in abstinent alcohol-dependent women. Alcohol Clin Exp Res. 34:915-
               l !4, 2010. ePub 2010 Mar 10.
       84.     t<ourosh AS, Harrington CR, Adinoff B. Tanning as a behavioral addiction. Am J Drug Alcohol
               ~\buse. 36:284-90, 2010. Epub 2010 June 15.
       85.     Walker NR, Rosvall T, Field CA, Allen S, McDonald D, Salim Z, Ridley N, Adlnoff B.
                Disseminating contingency management to increase attendance in two community substance
               abuse treatment centers: Lessons learned. J Subst Abuse Treat. 39:202-9, 2010. ePub 2010 Jul
               3. (PMC2937094)
       86.      j:,uris A, North C. Adinoff B, Powell CM, Greene RW. Effects of exogenous glucocorticoid on
               combat-related PTSD symptoms. Annals of Clinical Psychiatry. 22:274-9, 2010.
       87.      Schepis T, Rao U, Adlnoff B. The limbio-hypothalamic-pituitary-adre('lal axis and the
               development of alcohol use disorders in youth. Alcohol Clin Exp Res. 35:1-11, 2011 . ePub 2011
                ,Ian 11. (PMC3074933)
       88.      Harrington CR, Beswick TC, Leitenberger J, Minhajuddin A, Jacobe HT, Adlnoff B. Addictive-like
                behaviors to ultraviolet light in frequent lndOOf tanners. Clin Exp Dermatol. 36:33-8, 2011. ePub
                !2010 June 7.
        89.     Harrington CR, Beswick TC, Graves M,. Jacobe HT, Harris TS, Kourosh S, Devous MD. Adlnoff B.
               11\ctivation of mesoslriatal reward pathway with exposure to ultraviolet radiation (UVR) vs. sham UVR in
                1'requent tanner: a pilot study. Addict Biol. 17:680-6, 2012. ePub 2011 April 11.
        90.      l3ogenschutz MP, Donovan OM, Adlnoff B, Crandall C, Forcehimes AA. Lindblad R, Mandler RN, Oden
                1'-1, Pert HI, Walker NR. Design of NIDA CTN protocol-0047: screening, motivational assessment, referral,
                ~~nd treatment in emergency departments (SMART-ED). Am J Drug Alcohol Abuse. 37:417-25, 2011.
                (PMC3168577)
        91 .    Tamm L. Adlnoff B, Nakonezny PA, Winhusen T, Riggs PD. Attention-deficit/hyperactivity disorder
                t,ubtypes in adolescents with comorbid substance-use disorder. Am J Drug Alcohol Abuse. 38:93-100,
                :2012. Epub 2011 Aug 11. (PMC3441182)




                                                                                                              App.566
USCA Case #24-1365             Document #2100970                        Filed: 02/17/2025               Page 90 of 214




       Curriculum Vitae                                                                       Page 14
       Bryon H. Adinoff

       92.   Bobb OS Jr, Adlnoff B, Huang H. Laken SJ, McClintock SM. Rubia K. Husain MM, Mapes, KS,
             Tamminga C, Cullum CM, Gopinath K, Trivedi MH, Kozel FA. Neural correlates of successful response
             Inhibition In unmedicated patients with late life depression. Am J of Geriatric Psychiatry, 20:1057-69,
             2012. Epub 2011 Oct 15.
       93. Meng D, Wu TC, Rao U, North CS. Xiao H, Javors MA, Adlnoff B. Serum NPY and BNDF response to a
             behavioral stressor in alcohol-dependent and healthy control participants. Psychopharmacology. 218:59-
             67, 2011. ePub 2011 Jul 28. (PMC4024439)
       94. Thomas S, Baoon AK, Sinha R, Uhart M, Adlnoff B. Clinical laboratory stressors used to study alcohol-
             stress relationships. Alcohol Research: Current Reviews. 34, 459-467, 2012.
       95. Subramanlam GA. Warden D, Minhajuddin A, Fishman M, Stitzer M, Adlnoff B, Trivedi M, Potter J,
             Weiss R, Poole SA, Woody GE. Predictors of abstinence: NIDA Clinical Trials Network
             buprenorphine/naloxone treatment trial in opioid dependent youth. J Am Acad Child Adolesc Psychiatry.
             50:1120-8, 2011 . ePub 2011 Oct 26.
       96. Liu P, Uh J, Devous MO, Adlnoff B, Lu H. Comparison of relative CBF maps using pseudo-continuous
             ASL and SPECT. Biomedicine. 25:779-786, 2012. Epub 2011 Dec 6. (PMC3298573)
       97. Winhusen T, Stitzer M, Woody G, Brigham G, Kropp F, Ghitza U, Lindblad R, Adlnoff B, Green C,
             Sharma G, Somoza E. Design considerations for a study to evaluate the impact of smoking cessation
             treatment on stimulant use outcomes in stimulant-dependent individuals. Contemp Clin Trials. 33:197-
             205, 2012. ePub 2011 Oct 8. (PMC3253873)
       98. Adlnoff B, Braud J, Devoos MO, Harris TS. Caudolateral orbitofrontal regional cerebral blood
             flow is decreased in abstinent cocaine-addicted subjects in two separate cohorts. Addict Biol.
              17:1001-12, 2012. ePub 2012 Nov 29. (PMC 3487402)
       99. Yang H, Spence JS, Devous MO, Briggs RW. Goyal A, Xiao H, Yadav H, Adinoff B. Striatal-
             limbic activation is associated with intensity of anticipatory anxiety. Psychiatry Res: Neuroimaglng
             204:123-131 . 2012. ePub 2012 Nov 6. (PMC3562596)
       100. Donovan OM, Bogenshultz MP, Perl H, Forcehimes A, Adlnoff B, Mandler R, Oden N, Walker
              NR. Study design to examine the potential role of assessment reactivity in the screening,
              motivational assessment, referral and treatment in emergency departments (SMART,ED)
              Protocol. Addict Sci Clin Pract. 7:16, 2012. (PMC3599426);
       101 . Winhusen T, Brady K, Stitzer M, Woody, G, Lindblad R, Kropp F, Brigham G, Liu D, Sparenborg
              S, Sharma G, VanVeldhuisen P, Adlnoff B, Somoza E. Evaluation of buspirone for relapse-
              prevention in adults with cocaine dependence: An efficacy trial conducted ln the real world.
              Contemp Clin Trials. 33:993-1002, 2012. ePub 2012 May 19. (PMC3408816)
       102. Winhusen TM, Somoza EC, Lewis OF, Kropp FB, Horigian VE, Adinoff B. Frontal systems
              deficits in stimulant-dependent patients: Evidence of pre-illness dysfunction and relationship to
              treatment response. Drug Alcohol Dep. 127:94-100, 2013. ePub 2012 Jul 6. (PMC3470826)
       103. Westover AN, Nakonezny PA, Winhusen TM, Adinoff B, Vongpatanasin W. Risk of
              methylphenidate-induced prehypertension in norrnotensive adult smokers with attention deficit
              hyperactivity disorder. J Clin Hvpertens. 15:124-32, 2013. ePub 2012 Dec 14. (PMC3556994)
       104. Winhusen TM, Lewis D, Adlnoff B, Brigham G, Kropp F, Donovan OM, Seamans CL, Hodgkins
              CC, DiCenzo JC, Botero CL, Jones OR, Somoza E. lmpulsivity is associated with treatment non-
              completion in cocaine- and methamphetamine-dependent patients but differs in nature as a
              function of stimulant-dependence diagnosis. J Subs! Abuse Treat 44:541-7, 2013. ePub 2013
              Jan 7. (PMC3602401)
       105. Adlnoff B, Conley RR, Taylor SF, Chezem LL Protecting confidentiality in human research. Am J
               Psvchiatry. 170:466-470, 2013.
       106. Burdick BV, Adlnoff B. A proposal to evaluate mechanistic efficacy of hallucinogens in addiction
               treatment. Am J Drug Alcohol Abuse. 39:291-7, 2013. ePub 2013 Aug 22.




                                                                                                          App.567
USCA Case #24-1365              Document #2100970                          Filed: 02/17/2025                Page 91 of 214




       Curriculum Vitae                                                                           Page 15
       Bryon H. Adinoff

       107. North CS, Adinoff 8, Pollio DE, Kinge S, Downs DL, Pfefferbaum B. Alcohol use disorders and
             drinking among survivors of the 9/11 attacks on the Wor1d Trade Center in New York City. Compr
             Psychiatry. 54(7):962-9, 2013. ePub 2013 May 1.
       108. Yang H, Devous MD, Briggs RW, Spence JS, X'iao H, Adlnoff B. Altered neural processing of
             threat in alcohol-dependent men. Alcohol Clin Exp Res. 37(12):2029-38, 2013. ePub 2013 Jul 24.
             (PMC4038904)
       109. Winhusen TM, Adinoff B, Lewis OF, Brigham GS, Gardin JG, Sonne SC, Theobald J, Ghltza U.
             A tale of two stimulants: mentholated cigarettes may play a role in cocaine, but not
             methamphetamine, dependence. Drug Alcohol Dep. 133(3):845-51, 2013. ePub 2013 Sept
             11.(PMC3889716)
       110. McHugh MJ, Demers CH, Braud J, Briggs RW, Adinoff 8 , Stein EA. Striatal-insula cirC1.1its in
             coca.ine addiction: Implications for impulsivity and relapse risk. Am J Drug Alcohol Abuse.
             39(6):424-32, 2013. ePub 2013 Nov 7.
       111 . Denton WH, Adlnoff B, Lewis OF, Walker NR, Winhusen T. Family discord is associated with
             Increased substance use for pregnant substance users. Subst Use Misuse. 49(3):326-32, 2014.
             ePub 2013 Oct 9. (PMC4109678)
       112. Eames SF, BusineHe MS, Suris A, Walker NR, Rao U, North CS, Xiao H, Adlnoff B. Stress
             moderates the effect of childhood trauma and adversity on recent drinking in treatment-seeking
             alcohol-dependent men. J Consult Clin Psycho!. 82:441-447, 2014. ePub 2014 Mar 17.
             (PMC4059595)
       113. Adlnoff B, Oevous MD, Williams MJ, Hanis TS, MS, Best SE, Dong H, Tanya Zielinski T.
             Differences in regional cerebral blood flow response to a 5HT3 antagonist in earty- and late-onset
             cocaine-dependent subjects. Addition Biol. 19(2):250-61, 2014. ePub 2014 Mar. (PMC3643993)
       114. Walker NR. Maxwell JC, Adlnoff B, Carmody T, Coton CE, Tirado CF. Characteristics of Mexican
             and Mexican American adolescents in treatment fOf "Cheese• heroin use. J of Ethnicity in Sub
             Abuse. 13(3):258-272, 2014. ePub 2014 Aug 30. (PMC4151481)
       115. McHugh MJ, Demers CH, Salmeron BJ, Oevous MD, Stein EA, Adlnoff B. Cortico-amygdala
              coupling as a marker of earty relapse risk in cocaine-addicted individuals. Fron Psychiatry. ePub
             2014 Feb 27. (PMC3936467)
       116. Yang H, Spence JS, Briggs RW, Rao U, North CS, Devous MD, Xiao H, Adinoff B. Interaction
             between earty life stress and alcohol dependence on neural stress reactivity. Addict Biol.
              20(3):523-33. 2014. Epub 2014 Mar 7.
       117. Liu P, Lu H, Filbey F, Tamminga C, Cao Y, Adinoff B. MRI Assessment of cerebral oxygen
              flletabolism in cocaine-addicted Individuals: Hypoactivity and dose dependence. NMR in
              Biomedicine. 27(6):726-732, 2014. ePub 2014 Apr 22. (PMC4084967)
       118. Liu P, Lu H, Filbey F, Pinkham A, McAdams C, Adlnoff B, Daliparthi V, Cao Y. Automatic and
              reproducible positioning of phase-contrast MRI for the quantif1cation of global cerebral blood flow.
              PLOS ONE. ePub 2014 May 2. (PMC4008483)
       119. Akgiin D. Sakoglu 0, Mete M , J. Esquivel J, Adlnoff B. GPU-accelerated dynamic functional
              connectivity analysis for functional MRI data using OpenCL. Electro/Information Technology
              {EITI, 2014 IEEE lntemational Conference. 255-260, 2014.
       120. Brown ES, Davila D, Nakamura A, Carmody T, Rush J , Lo A, Holmes T, Adlnoff B, Caetano R.
              Swann A, Sunderajan P, Bret M . A randomized, double-blind, placebo-controlled trial of
              quetiapine in patients with bipolar disorder, mixed or depressed phase, and alcohol dependence.
              Alcohol Clin Exp Res. 38(7):2113-2118, 2014. ePub 2014 Jun 27. (PMC4107121)
       121. Peng S, Dumas J, Park D, Liu P, Filbey F. McAdams C, Pinkham A, Adlnoff B, Zhang R, Lu H.
              Age-related increase ofresting metabolic rate In the human brain. Neurolmage. 98:176-183,
              ,2014. ePub 2014 May 6. (PMC4099257)




                                                                                                              App.568
USCA Case #24-1365             Document #2100970                         Filed: 02/17/2025               Page 92 of 214




       Curriculum Vitae                                                                        Page 16
       Bryon H. Adinoff

       122. l.oBue C, Cullum M, Braud J, Walker R, Winhusen T. Sunderajan P, Adlnoff B. Optimal
            neurocognitive, personality and behavioral measures for assessing impulslvity in cocaine
            clependence. Am J Drug Alcohol Abuse. 40(6):455-462, 2014. ePub 2014 Aug 1. (PMC4448965)
       123. ,,dlnoff B, Gu H, Merrick C, McHugh M, Jeon-Slaughter H, Lu H, Yang Y, Stein EA. Basal
            hippocampal activity and its functional connectiVity predicts cocaine relapse. Biol Psychiatry.
            7'8(7):496-504, 2015. ePub 2015 Jan 30. (PMC5671769)
       124. ~,kgi.inD, Sak~lu 0, EsquivelJ, Adlnoff B, Mete M. GPU accelerated dynamic functional
            c:onnectivlty analysis for functional MRI data. Comput Med Imaging Graph. 43:53-63, 2015. ePub
            ~!015 Mar 7.
       125. Westover AN, Nakonezny PA, Barlow CE, Vongpatanasln W, Adlnoff B, Brown ES, Mortensen
            EM, Halm EA, DeFina LF. Exercise outcomes in prevalent users of stimulant medications. J
            f>sychiatr Res. 64:32-9, 2015. ePub 2015 Mar 21. (PMC4437621)
       126. Brown ES, Todd JP, Hu LT, M. Schmitz JM, Carmody TJ, Nakamura A, Sunderajan P, Rush AJ,
            "dlnoff B, Bret ME, Holmes T, Lo A. A randomized, double-blind, placebo-controlled, tJial of
            dticoline in bipolar disorder and cocaine dependence. Am J Psychiatry. 172(10):1014-1021,
            ~1015. ePub 2015 May 22. (PMC3442350)
       127. Westover AN, Kashner TM, Winhusen TM, Golden RM. Nakonezny PA, Adinoff B, Henley SS. A
            !:ystematic approach to subgroup analyses in a smoking cessation trial. Am J Drug Alcohol
            N>use. 41(6):498-507, 2015. ePub 2015 June 11. (PMC4817346)
       128. "dlnoff B, Carmody T, Walker R, Donovan D, Brigham G, Winhusen T. Decision-making
            processes as predictors of relapse and subsequent use in stimulant dependent patients, Am J
            prug Alcohol Abuse. ePub 2016 Jan 8. (PMC4817850)
       129. Wilcox CE, Pommy JM, Adinoff B. Neural circuitry of impaired emotion regulation in substance
            use disorders. Am J Psychiatry ePub 2015 Sept 30. (PMC4979988).
       130. Brodrick J, Brodrick C, Adlnoff B. Legal regimes surrounding naloxone access: considerations
            for prescribers. Am J Drug Alcohol Abuse. 42(2):117-128, 2016. ePub 2016 Jan 25.
       131. Felton S. Adinoff B, Jeon-Slaughter H, Jacobe H. The significant health threat from tanning bed
            use as a self-treatment for psoriasis (letter). J Am Acad Dermatol. 74(5):1015-7, 2016. (PMC
            4834431)
       132. ,~dinoff B, Harris TS, Gu H, Stein EA. Posterior hippocampal regional cerebral bk>od flow
            predicts abstinence: a replication study. Addict Biol ePub 2016 Jan 11. (PMC4940334)
       133. Westover AN, Nakonezny PA, Barlow CE, Adlnoff B, Brown ES, Halm EA, Vongpatanasin W,
             DeFina LF. Heart rate recovery and systolic blood pressure recovery after maxima! exercise in
             prevalent users of stimulant medications. J Clin Psychopharmacol. 36(3):295-7, 2016. ePub 2016
             Mar 17. (PMC4836964)
       134. Aubert PM, Seibyl JP, Price Jl, Harris TS, Filbey FM, Jacobe H, Devous MD, Adlnoff B.
             IJopamine efflux in response to ultraviolet radiation in addicted sunbed users. Psychiatry Res.
             :30(251 ):7-14, 2016. ePub 2016 Apr 7. (PMC5241090)
       135. Mete M, Sakoglu U, Spence JS, Devous MD, Harris TS, Adinoff B. Successful classification of
             cocaine dependence using brain imaging: a machine learning approach. BMC Bioinformatics.
             '17(Suppl 13):357, 2016. (PMC5073995)
       136. Hobinson SM, Adlnoff B. The classification of substance use disorders: Historical, contextual,
             and conceptual considerations. Behavioral Sciences. 18:6(3), 2016. (PMC5039518)
       137. Westover AN, Nakonezny PA, Adlnoff B, Brown ES. Halm EA Impact of stimulant medication
             use on heart rate and systolic blood pressure during submaxlma1 exercise treadmill testing in
             13dolescents. J Child Adolesc Psychopharmacol. 26:889-899, 2016. ePub 2016 Sep 14.
             (PMC5178007)
       138. McHugh M, Hong G, Yang Y, Adinoff B, Stein EA. Executive control network connectivity
             i,trength protects against relapse to cocaine use. Addict Biol. 22(6):1790-1801 , 2017. ePub 2016
             1Sep7.




                                                                                                           App.569
USCA Case #24-1365             Document #2100970                          Filed: 02/17/2025               Page 93 of 214




       Curriculum Vitae                                                                         Page 17
       Bryon H. Adinoff

       139. Adlnoff B, Leonard OS, Price JL, Javors MA, Walker R, Brown ES, Xiao H. Rao U.
             Adrenocortical Sensitivity, Moderated by Ongoing Stress, Predicts Drinking Intensity In Alcohol-
             Dependent Men. Psychoneuroendoqinology. 5:67-76; 2016. ePub 2016 Oct 11. (PMC5272781)
       140. Geng X, Yuzheng H, Gu H, Salmeron BJ, Adlnoff B, Stein EA, Yang Y. Salience and default
             mode network dysregulation in chronic cocaine users predict treatment outcome. Brain.
             140:1513-1524, 2017. ePub 2017 Feb 20.
       141 . Kandil E, Melikman E, Adlnoff B. Lldocaine infusion: A promising therapeutic approach for
             chronic pain. J Anesth Clln Res. 8:697, 2017. ePub: 2017 Jan 8
       142. Suris AM, Mullens K, Holliday R, Adinoff B, North CS. Facilitating fear-based memory extinction
             with dexamethasone: A randomized controlled trial in male veterans with combat-related PTSDw
             Psychiatry: Interpersonal and Biological Processes. 80:339-410, 2017.
       143. Nakonezny PA, Denton WH, Westover AN, Adlnoff B. Family discord after completion of an
             outpatient community treatment program predicts greater substance use during follow-up. Subst
             Use Misuse. 52(12):1624-1633. ePub 2017 May 30.
       144. Naglich AC, Adlnoff B, Brown ES. Pharmacological treatment of bipolar disorder with oomorbld
             alcohol use disorder. CNS Drugs. 31:665-674, 2017. ePub 2017 Jul 1.
       145. Robinson SM, Adlnoff B. The mixed message behind "Medication-Assisted Treatment• for
             substance use disorder. Am J Drug Alcohol Abuse. 44:147-150, 2018. ePub 2017 Sept 18.
       146. Westover AN, Nakonezny PA. Halm EA, Adinoff B. Risk of amphetamine use disorder and
             mortality among incident users of prescribed stimulant medications in the Veterans
             Administration. Addiction. 113:857-867. ePub 2017 Dec 8.
       147. Naglich AC, Lin A, Wakhlu S, Adinoff B. Systematic review of combined pharmacotherapy for the
             treatment of alcohol use disorder in patients without oomorbid conditions. CNS Drugs. 32:13-31,
             2018. ePub 2017 Dec 22.
       148. Ketcherside A. Filbey FM, Aubert PM, Seibyl JP, Price JL, Adlnoff B. Brain intrinsic network
             connectivity in Individuals with frequent tanning behavior. Am J Drug Alcohol Abuse. ePub 2018
             May 1:1-10.
       149. Naglich A, Van Enkevort E, Adinoff B, Brown ES. Association of biological markers of alcohol
             consumption and self-reported drinking with hippocampal volume in a population-based sample of
             adults. Alcohol Alcohol. ePub 2018 Jun 21 .
       150. Fiore V, Ognibene D, Adinoff B, Gu X. A multilevel computational characterization of
             endophenotypes in addiction. eNeuro. 5:1-16, 2018.
       151 . Price JL, Frazier IR, Lewis B, Walker R, Javors MA, Nixon SJ, Adinoff B. Differences In pituitary-
             adrenal reactivity in Black and White men with and without alcohol use disorder.
             Psychoneuroendocrinology. 100 :180-189, 2019. Epub Oct 9, 2019.
       152. Sakoglu U, Mete M, Esquivel J, Rubia K, Briggs R, Adlnoff B. Classification of cocaine-
             dependent participants with dynamic functional connectivity from functional magnetic resonance
             imaging data. J Neuro Res. 97:790-803, 2019. ePub Apr 7, 2019.
       153. Naglich AC, Brown ES, Adlnoff B. Systematic review of preclinical, clinical, and post-marketing
             evidence of bupropion misuse potential. Am J Drug Alcohol Abuse. 45:341-354. ePub Jan 2,
             2019. doi:10.1080/00952990.2018.1545023
       164. Naglich A, Bozeman S, Brown ES, Adlnoff B. Effect of selective serotonin reuptake inhibitors on
             healthcare utilization in patients with Post-Traumatic Stress Disorder and Alcohol Use Disorder.
             Alcohol Alcoholism. ePub 2019 Jun 11.
       155. Adlnoff B, Reiman A. Implementing social justice in the transition from illicit to legal cannabis.
             Am J Drug Alcol)ol Abuse. 45(6):547-500. 54:428-434. ePub 2019 Oct 21.
       156. Wilcox C, Adlnoff B, Clifford J, Ling J, Wilkiewitz K, Mayer A, Boggs K, Eck M, Bogenschutz M.
              Brain activation and subjective anxiety during an anticipatory anxiety task is related to clinical
              outcome during prazosin treatment for alcohol use disorder. Neurolmage: Clinical. ePub 2020 Jan
              10.




                                                                                                            App.570
USCA Case #24-1365             Document #2100970                         Filed: 02/17/2025               Page 94 of 214




       Curriculum Vitae                                                                        Page 18
       Bryon H. Adinoff

       157. Zhang A, Price JL, Leonard D, North CS, Suris A, Javors MA. Adinoff B. Alcohol use disorder
            masks the effects of childhood adversity, lifetime trauma, and chronic stress on hypothalamic-
            pituitary-adrenal axis reactivity. Alcohol CHn Exp Res. 44:1192-1203, 2020. ePub 2020 Jun 3.
       158. Becker JS, Price JL, Leonard D, Suris A, Kandii E, Shaw M, Kroener S, Brown ES, Adlnoff B .
            The efficacy of lidocaine in disrupting cocaine cue-induced memory reconsolidation. Drug and
            Alcohol Dependence. ePub 2020 May 12. 10.1016/j.drugalcdep.2020.108062
       159. Yu JC, Fiore VG, Briggs RW, Braud J, Rubia K, Adinoff B, Gu X. An insula-driven network
            computes decision uncertainty and promotes abstinence in chronic cocaine users. Eur J Neurosci
            52:4953-4936. ePub 2020 Aug 19. 10.1111/ejn.14917
       160. Zhai T, Salmeron BJ, Gu Hong, Adinoff B, Stein EA, Yang Y. Functional connectivity of
            dorsolaterai prefrontal cortex predicts cocaine relapse: Implications for neuromodulation
            treatment. Brain Communications. ePub 2021 June 2. 10. 1093/braincommslfcab120
       161. Price JL, Bruce M, Adlnoff B. Addressing structural racism in psychiatry with steps to Improve
            psychophysiologic research. JAMA Psychiatry epub 2021 Oct 6.
            10.1001/jamapsychiatry.2021.2663
       162. Elliott MD, Adinoff B. Implications of adult use cannabis legalization for adolescent use,
            perceptions, health, and consequences. Adolescent Psychiatry. 11(2):129-146, 2021.
       163. Bahji A, Acion L, Laslett A, Adinoff B. Exclusion of the non-English speaking world from the
            scientific literature: recommendations for change in addiction publishing. Nordic Studies on
            Alcohol and Drugs (Nordisk Alkohol Nark) ePub June 20, 2022
       164. Portillo C, Adlnoff B, Spencer CT, Field CA. The association of allostasis with alcohol use: a
            case-control study in males with and without alcohol use disorder. Alcohol. 112:9-16, 2023. ePub
            July 14, 2023. 10.1016/j.alcohol.2023.07.001

       Letters-
       1. Martin PR, Adlnoff B, Eckardt MJ, Stapleton JM, Bone GAH, Lane EA, Linnolla M, Rubinow DR:
          Memory improvement In Korsakoffs disease with ftuvoxamine. Arch Gen Psychiatry 47:978-979,
          1990
       2. Adlnoff B: Alcohol and addictions. Am J Psychiatry 149:1118, 1992
       3. Adlnoff B, Martin PR, Eckardt MJ, Linnoila M: Role of DHEA and DHEA-S in Alzheimer's disease.
          Am J Psychiatry 150:1432-1433, 1993
       4. Fisher L. Adinoff B. Itching to understand the phenomenon of craving in addiction. Southem Med
          Journal 91 :217, 1998
       5. Adlnoff B. Persistent delirium following cessation of heavy alcohol consumption: Diagnostic and
          tr~atment implications. Am J Psychiatry 155:1638, 1998
       6. Adinoff B, Devous MD. Scientifically unfounded claims in diagnosing and treating patients. Am J
          Psychiatry. 167:598, 2010. Response to Dr. Amen. Am J Psychiatry.167:1225-1226, 2010
       7. Robinson SM, Adlnoff B. Response to "Medication for addiction treatment (MAT). Am J Drug
          Alcohol Abuse. 8:1-9, 2018. ePub 2018 Feb 5.

        Non Peer-Reviewed Articles, Reviews, Book Reviews, Commentaries
        1. Risher-Flowers D, Adlnoff B, Ravitz B, Bone GHA, Martin PR, Nutt D, Linnoila M . Circadian
           rhythms of cortisol during alcohol withdrawal. Adv Alcohol Subst Abuse 7:37-41 , 1988
        2. Stapleton JM, Eckardt MJ, Martin P, Adlnoff B, Roehrich, Bone G, Rubinow D, Linnoila M.
           Treatment of alcoholic organic brain syndrome with the serotonin reuptake inhibitor fluvoxamine: a
           preliminary study. Adv Alcohol Subst Abuse 7:47-51 , 1988.
        3. Rohrbaugh JW, Stapleton JM, Frowein HW, Adlnoff B, Varner JL, Lane EA, Eckardt MJ, Linnoila
           M. Acute effects of ethanol on motor performance and movement-related brain potentials. Adv
           Alcohol Subst Abuse 7:53-57, 1988.




                                                                                                           App.571
USCA Case #24-1365             Document #2100970                        Filed: 02/17/2025                 Page 95 of 214




       Curriculum Vitae                                                                        Page 19
       Bryon H. Adinoff

       4. Adlnoff B. Clinical approach to the treatment of alcohol Intoxication and withdrawal. Primary
          Psychiatry. 2:21-24, 1995
       5. Adlnoff B: Treatment issues in the alcohol withdrawal syndrome. Science Matters 2:17-20, 1992.
       6. Adlnoff B, Devous MO, Best S, George MS, Alexander 0 , Payne K. "SPECT following Intravenous
           Procaine in Cocaine Addiction." Advancing from the Ventral Striatum to the Extended Amygdala:
           Implications for Neuropsychlatry and Drug Abuse. Ann NY Academy of Sciences. 877:807-810.
           1999.
       7. Nace E, Adinoff B, Westermeyer JJ. "Dual Diagnosis". Psychiatric Update (on Tape). October,
           1999.
       8. Adinoff B (Book Review): Brain Imaging in Substance Abuse: Research, Clinical and Forensic
           Applications. Ed. MJ Kaufman, Humana Press, 2001. In Am J Addictions. 10:197-199, 2001 .
       9. Chandler P, Adlnoff B. Addiction Medicine. Dallas Medical JoumaI. 88(7):236-241, 200.
       10. Schepis TS, Adlnoff B, Rao U. Reward, reinforcement and relapse: The neurobiology of addiction.
           Child and Adolescent Psychopharmacology News 9(7):5-8, 2005.
       11. Adinoff B (Book Review): Understanding addiction as self medication: Finding hope behind the
           pain, Edward J. Khantzian EJ, Albanese MJ M.O. Rowman and Llttlef181d, 2008. In Am J
           Psychiatry. 166:1301-1302, 2009
       12. Adinoff B (Editorial): Should we be targeting potential addictive behaviors in tanning addiction?
           Neuropsychiatry. 2(1 ): 1-4, 2012.
       13. Adlnoff B (Commentary). The costs of prohibition. Am J Drug .Alcohol Abuse. 42:621-623, 2016.
           ePub 2016 Oct 10.
       14. Nathan ON, Elders J, Adlnoff B. 21 11 Century Reefer Madness. Psychiatric Times. 36:1; 201 9
       15. Adinoff B, Nathan ON. Opinion: Why pot legalization failed In New York State - and how it will
           eventually pass. uPolitics.com Oct 7, 2019.
       16. Cooper ZD, Adlnoff B. Necessity of addressing motivations for cannabis use to guide research.
           Am J Drug Alcohol Abuse. 45(6):547-550. ePub 2019 Nov 22.
       17. Adlnoff B, Cooper ZD. Cannabis legalization: progress in harm reduction approaches for
           substance use and misuse. Am J Drug Alcohol. Abuse. 45(6):707-712. ePub 2019 Nov 22.

       Edited Books
       1. Adlnoff B, Stein ES (eds). Neurolmaging in Addiction. Wiley-Blackwell. 2011 .

       Book Chapters
       1. Nutt DJ, Adinoff B, Linnoila M. Benzodlazepines in treatment of alcoholism. Recent
          Developments in Alcoholism Vol. 7. Ed. Galanter M. Plenum Publishing Corporation. 1989, pp.
          283-313.
       2. Adinoff B, Scannell S, Fisher LA. Dohoney K. Inpatient Treatment. Sourcebook on Substance
          Abuse: Epidemiology. Assessment. and Treatment. Eds. Ott PJ, Tarter RE, Ammerman RT. Allyn
          and Bacon Publisher. 1999, pp. 373-388.
       3. Ottomanelli L, Adinoff B. Substance abuse and personality disorders: The impact of the clusters
          on course, prevalence, and treatment. Substance Abuse in the Mentally and Physically Disabled..
          Eds. Hubbard JR. Martin PR. Marcel Dekker, Inc.. New York 2001.. pp. 103-131
       4. Rilling, L. M., Adlnoff, 8 . Cognitive dysfunction in cocaine abuse: Evidence for impairments in
          impulse control and decision-making. in Cocaine and Heroin Abuse Research. Ed. Pizzoli LA.
          Nova Science Publishers, Inc. Hauppauge, NY 2007, pp.81-95; Psychology of Decision Making.
          Ed. Ganison PM. Nova Science Publishers, Inc. Hauppauge. NY 2008, pp. 107-121: Men and
          Addictions: New Research. Ed. Katlin U . Nova Science Publishers, Inc. Hauppauge, NY 2009, pp.
          103-117.
       5. Adlnoff B, Rilling LM, Williams MJ, Schreffler E. Schepis TS, Rosvall T, Rao U. lmpulsivity, Neural
          deficits, and the addictions: The "Oops• factor in relapse. Dual Disorders: Nosology. Diagnosis, &




                                                                                                           App.572
USCA Case #24-1365              Document #2100970                           Filed: 02/17/2025               Page 96 of 214




       Curriculum Vitae                                                                            Page20
       Bryon H. AdinotI

           Treatment Confusion - Chicken or Egg? Ed. Gold MS. The Haworth Medical Press. Binghamton,
           NY. 2007, pp. 25-39.
       6. Best SE, Adlnoff B. Reward and addiction. Textbook of Pain and Chemical Dependency. Eds.
           Smith H, Passik SJ. Oxford University Press, Inc. 2008, pp. 49-57
       7. Adlnoff B, Mazzarulli A, Devous MD. Addictive disorders. Functional Cerebral SPECT and
           PET Imaging, 4" edition. Eds. Van Heertum RL. Tlkofsky RS, Masanori IM. Lippincott,
           Williams, & Wilkins. 2010, pp. 201-217.
       8. Adlnoff B, Harrington C. Neuroimaging In Behavioral Addictions. Neuroimaglng in Addiction.
           Eds. Adlnoff 8 , Stein ES. Wiley-Blackwell. 2011 . pp. 263-286.
       9. Chung PH, Ross JD, Wakhlu S, Adlnoff B. Neurobiologlcal Bases of Addiction Treatment.
           Treating Substance Abuse, 3rd edition. Eds. Walters ST & Rotgers F. Guilford Publications, Inc.
           2011 .
       10. Wilcox CM, Adinoff B. Using Neuroimaging to Improve Emotion Regulation Treatments for
           Substance Use Disorders. Neuroimaging and Psychosocial Addiction Treatment An Integrative
           Guide for Researchers and Clinicians. Eds. Feldstein Ewing SW, Wrtkiewitz K, Filbey FM.
           Palgrave McMillan, 2015
       11. Gu X, Adinoff B. A computational psychiatry approach toward addiction. In The Cognitive
           Neurosciences. Sixth Edition. Eds: Poeppel D, Mangun GR, Gazzaniga MS. Science. 2020

       Invited Lectures
       "Basic science of addiction." Review Course, American Medical Society on Alcoholism and Other Drvg
            Dependencies. New YOfk, NY. September 20, 1986.
       "Hypothalamie>-pituitary-adrenal axis function in recently abstinent alcoholics.· Clinical Steff Conference
            on Alcohol Withdrawal and Noradrenergic Function. Clinical Center, National Institutes of Health.
            January 14, 1987.
       "Treatment of the ethanol withdrawal syndrome." Crownsville Hospital Center. Crownsville, MD. April
            16, 1988.
       "Evaluation, pathophysiology, and treatment of the ethanol withdrawal syndrome." Grand Rounds,
            Department of Psychiatry and Behavioral Sciences, Medical University of South Carolina.
            Charleston, SC. January 15, 1989.
       "Long-term consequences of ethanol withdrawal." Grand Rounds, Department of Psychiatry, Duke
            University. Durham, NC. December 14, 1989.
       •evaluation and treatment of the ethanol withdrawal syndrome." Olmstead State Hospital. North
            Carolina. December 14, 1989.
       •Alcohol withdrawal: Does it matter?" Grand Rounds, Department of Psychiatry, Case Western
            University. January 24, 1992.
       "DSM-111-R and ICD-9 classification of substance abuse disorders." Regional Medical Education
            Center, Veterans Administrations. Fayetteville, NC, July 15; Clarksburg, WV, August 18; Wilkes
            Barre, PA. September 23, 1992.
       "Etiology, diagnosis, and assessment of alcoholism." Regional Medical Education Center, Veterans
            Administrations. Fayetteville, NC, July 15; Clarksburg, WV, August 18; Wilkes Barre, PA.
            September 23, 1992.
       "Pharmacology of psychoactive substances." South Csrolina School of Alcohol and Other Drug
            Studies. July 27, 1992.
       "Alcohol - Clinical Pharmacology." American Academy of Psychiatrists on Alcoholism and Addictions
            Review Course in Addiction Psychiatry. Washington, DC. September 10, 1994.
       •Alcohol - Clinical Aspects.• American Academy of Psychiatrists on Alcoholism and Addictions Review
            Course in Addiction Psychiatry. Washington, DC. September 10, 1994.
       "Ideas for the Future in Substance Abuse." Dallas VAMC Psychiatry Service Mental Health
            Conference. Dallas, TX. March 16, 1995.




                                                                                                               App.573
USCA Case #24-1365            Document #2100970                        Filed: 02/17/2025             Page 97 of 214




       Curriculum Vitae                                                                     Page21
       Bryon H. Adinoff

       "Naltrexone and Alcoholism." Dallas VAMC Psychiatry Service Mental Health Conference. Dallas, TX,
            August 17, 1995.Adinoff 8. 'Drug Effects on the Brain: Does the Brain Ever Recover?" Dallas
            VAMC Mental Health Services. Dallas, TX. May 09, 1996.
       "Drug Effects on the Brain: Does the Brain Ever Recover?" North Texas Nurses Society on
            Addictions. Dallas, TX. May 09, 1996.
       "Interventions for Cocaine Craving." The Second Gulf Coast Conference on the Treatment of Addictive
            Disorder. Gulfport, MS. July 12, 1996.
       •Advances in Alcoholism Treatment· Timberlawn Psychiatric Hospital, Dallas, TX. July 23, 1996
       "Chemical Dependency and Bipolar Disorder." Depressive and Manic Depressive Association, Dallas,
            TX. September 19, 1996
       "Disruption of HPA Axis functioning In Alcohol withdrawal and abstinence: Hormonal excess or
            deficiency." Grand Rounds. Department of Endocrinology, University of Texas Southwestern
            Medical Center. January 10, 1996.
       "Identification and Intervention in Substance Abuse." Internal Medicine Fall 1996, Loews Coronada
            Bay Resort. October 1, 1996
       "New Approaches to Alcoholism." Fifth Annual Science of Family Medicine: A Review Course.
            Southwestern Medical School. Dallas, TX. March 6, 1998.
       "Dual Diagnosis and Cocaine Addiction." Grand Rounds. Terrell State Hospital, Terrell, TX. November
            7, 1996.
       · sensitization and Cocaine Addiction: Neuroimaging Studies.• 1997 Department of Pharmacology and
             Toxicology Seminar Series. The University of Texas Medical Branch at Galveston, Galveston, TX.
            April 4. 1997.
       "Alcoholism and Chemical Dependency." lntemal Medicine Lecture Series. Southwestern Medical
            School. Dallas, TX. April 23 and April 30, 1998.
       •craving and Addiction." The Third Gulf Coast Conference on the Treatment of Addictive Disorder.
            Gulfport, MS. August 1, 1997; July 24, 1998.
       "The Biology of Craving." 4111 Annual Institute of Alcohol and Drug Studies. Austin, TX. August 4,
             1998
       •outpatient Alcohol Detox: Standards and Guidelines." Grand Rounds, Dallas VA Medical Center.
            August 27, 1998.
       "Naltrexone Efficacy for Alcoholism and the HPA Axis: Mechanism of Action?" Seattle VA Medical
            Center. December 7, 1998
       "Biology of Craving." Grand Rounds. Dallas VA Medical Center, February 4, 1999
       "Biology of Craving." Annual Addiction Update, NOVA '99. UT Southwestern Medical Center, Dallas,
            TX. February 5, 1999
       Treatment Trends. (Moderator). Annual Addiction Update, NOVA '99. UT Southwestern Medical
            Center, Dallas, TX. February 6. 1999
       "Naltrexone Update." Grand Rounds. Dallas VA Medical Center. May 20, 1999.
       •Biology of Addiction." Presbyterian Hospital of Dallas. Dallas, TX. June 11, 1999.
        •Addiction Update.• Sixth Annual Science of Family Medicine: A Review Course. UT Southwestern
             Medical Center. Dallas, TX. June 11, 1999.
         ·overview of Substance Abuse." Lubbock Area Dual Diagnosis Project. Lubbock, TX. July 6, 1999.
        "The Biology of Addiction." 4rt Annual Institute of Alcohol and Drug Studies. Austin, TX. July 27,
             1999.
         "HPA Axis Disturbances During Alcohol Withdrawal and Abstinence." Grand Rounds. Medicine
             Service. Salem VA Medical Center. Salem, VA. Sept. 3, 1999.
        "New Research on Alcoholism." Addiction Psychiatry Review Course. St. Louis, MS. Sept. 15, 1999.
        "Depression: Beyond Stereotype and Stigma." Projects in Knowledge. Dallas, TX. Oct. 2, 1999.
         'Update in Addiction." Grand Rounds. Terrell State Hospital. Terrell, TX. February 3, 2000




                                                                                                        App.574
USCA Case #24-1365            Document #2100970                       Filed: 02/17/2025              Page 98 of 214




       Curriculum Vitae                                                                     Page23
       Bcyon H. Adinoff

       "Translating Drug Abuse Research Into Practice: The NIDA Clinical Trials Network - ihe Texas
            Node.· GrandRounds. UniversityofTexasSouthwestemMedicalCenter. Dallas, TX. Oct.11,
            2007.
       "Trauma and Aloohollsm: The Stress Hormone Link?" Grand Rounds. Department of Psychiatry,
            University of New Mexioo. Oct. 24, 2008.
       "Trauma, Stress, Alcohol, Genes and HPA Axis Disruptions: Is There An Additive Link?" Distinguished
            Speaker Seminar, Department of Clinical Sciences, UT Southwestem Medical Center, Dallas, TX.
            Feb. 12, 2008.
       "lmpulsivlty: What Is It, Who Has It, and What To Do About It." 2009 Update in Psychiatry: Common
            Challenges In Psychopharmacology. Medical University of South Carolina, Charleston, SC. May
            30, 2009.
       "lmplllsivity in the Addictive Disorders: The •oops· Factor in Relapse." Grand Rounds. Department of
            Psychiatry, Vanderbilt University, Nashville, TN. Jan. 7, 2010.
       "The Re-wired Addicted Brain: Why It's Hard to Stop Using Nicotine, Alcohol and Other Drugs• Grand
            Rounds. Methodist Hospital Center, Dallas, TX. Feb. 4, 2010.
       "Trauma, Alcoholism, and Stress-Hormone Disruptions." Grand Rounds. John Peter Smith Hospital,
            Ft. Worth, TX. March 26, 2010
       "Translational Studies in Addicted Subjects: An Exploration of Non-dopaminergic Systems.• Seminar,
            Department of Pharmacology and Neuroscience. University of North Texas Health Science
            Center. Ft. Worth, TX. March 30, 2010
       "Drug Use Without Craving: Impulsive Relapse in Addiction.• Grand Rounds, Department of
            Neuropsychiatry and Behavioral Science, Texas Tech University Health Science Center. Lubbock,
            TX. March 29, 2011.
       "Shared Cortical-Limbic-,Striatal Disruptions in Human Imaging Studies of Addiction." UTD 2012
            Neuroscience Research Conference. Dallas, TX. April 13, 2012.
       "Clinical and Neurobiological Aspects of Impulsive Relapse." Continuing Educational (CE) program.
            Hazeldon Foundation. Center City, MN. July 18, 2012.
       "Neuroimaging in Addiction: Common Threads." Grand Rounds. Seton Medical Center. Austin, TX.
            Aug. 14, 2012.
       "Neuroimaging in the Investigation and Assessment of Substance Use Disorders." Texas Society of
            Psychiatric Physicians 56111 Annual Convention. Galveston, TX. Nov. 10, 2012.
       "Cravings, Memories, and Addiction: A Critical Role for the Hippocampus?" Grand Rounds. Center for
            BrainHealth, University of Texas at Dallas. May 1, 2013.
       "Does Stress Really Make You Drink? The Biological Connection." Grand Rounds. Department of
            Psychiatry, UT Southwestern Medical Center. Dallas, TX. May S, 2013.
       "DSM-5: Substance Use Disorders." Continuing Education Symposium. Department of Psychiatry, UT
            Southwestern Medical Center. Dallas, TX. July 20, 2013.
       "DSM-5: Substance Use Disorders." VA North Texas Health Care System. Dallas, TX. July 26, 2013.
            August 9, 2013.
       "Use of Certificate of Confidentiality (COC)." Research Matters. UT Southwestern Medical Center.
            Dallas, TX. April 2, 2014.
       "Does Stress Make You Drink?" Grand Rounds. Mental Health, VA North Texas Health Care System.
            Dallas, TX. July 17, 2014.
       "What More is Needed to Prove UV Radiation is Rewarding and Addictive." Grand Rounds. Department
            of Dermatology, UT Southwestern Medical Center. August 14, 2014.
       "What We're Learning About the Neuroscience of Addiction". Reinvesting in Justice: What Comes
            Next? Center for Court Innovation. Dallas, TX. November 12, 2015
       "Pharmaootherapy for Alcohol Use Disorders" Symposium on Medication as an adjunct versus
            monotherapy for the treatment of substance use disorders. Texas Research Society on
            Alcoholism, Dallas, TX. February 19, 2016.




                                                                                                       App.575
USCA Case #24-1365             Document #2100970                          Filed: 02/17/2025               Page 99 of 214




       Curriculum Vitae                                                                         Page 25
       Bryon.H. Adinoff

       Adlnoff B, Devous MD, Sr., Best SM, George MS, Alexander D, Payne KJ. "Orbitofrontal dysfunction in
           cocaine addiction: SPECT following IV procaine.· Symposium on Addiction as a Disease of the
           Orbitofrontal Cortex. 39111 ACNP Annual Meeting, San Juan, Puerto Rico. December 11, 2000.
       Adinoff B (Chair), Porrino L, Anton R, London E. Symposium on The orbitofrontal cortex and the
           addictions: Neuroimaging studies. Thirty-fourth Annual Winter Conference on Brain Research.
           Steamboat Springs, CO. January 20-27, 2001.
       Adinoff B. (Co-Chair). Symposium on What the General Psychiatrist Needs to Know about Addiction
           Psychiatry. American Psychiatric Association 2003 Annual Meeting, May 20, 2003. San
           Francisco, CA
       Adlnoff B., "Neuroscience of addictions• in Symposium on What the General Psychiatrist Needs to
           Know about Addiction Psychiatry. American Psychiatric Association 2003 Annual Meeting, May
           20, 2003. San Francisco, CA
       Adinoff B. (Chair). Symposium on Stress-Axis Reactivity to Pharmacologic Challenges: Defining the
           Disruption in the Drinkers and the Kids. 26th Annual Meeting of the Research Society on
           Alcoholism. June 22, 2003. Ft. Lauderdale, FL.
       Adinoff, B. "HPA axis sensitivity in abstinent alcohol dependent subjects: Isolation of axis pathology".
           Symposium on Stress-Axis Reactivity to Pharmacologic Challenges: Defining the Disruption in the
           Drinkers and the Kids. 26th Annual Meeting of the Research Society on Alcoholism. June 22,
           2003. Ft. Lauderdale, FL.
       Adinoff B (Chair). Symposium on Sex Differences in tfie Addicted Brain: Neuroimaging Studies of
           Cocaine- and Alcohol-Dependent Men and Women. College on Problems on Drug Dependence
           Sixty-fifth Annual Scientific Meeting, Bal Harbour, FL. June 16, 2003.
       Adinoff B. (Chair). "Differing limbic sensitivity to a pharmacologic stimulus in cocaine-.addicted men
           and women·. Symposium on Sex Differences in the Addicted Brain: Neuroimaglng Studies of
           Cocaine- and Alcohol-Dependent Men and Women. College on Problems on Drug Dependence
           Sixty-fifth Annual Scientific Meeting, Bal Harbour, FL. June 16, 2003.
       Adinoff B (Co-Chair). Symposium on Neuroimaging the Contrast: Cocaine Addicted Men vs, Women.
           American College or Neuropsychopharmacology 42nd Annual Meeting. San Juan, Puerto Rico.
           Dec. 10, 2003.
       Adinoff B.. Devous M., Best SE., Harris TS. ·sex differences in limbic rCBF following both a saline and
           procaine stimulus in cocaine-addicted subjects". Symposium on Neuroimaging the Contrast:
           Cocaine Addicted Men vs. Women. American College of Neuro:psychopharmacology 42nd
           Annual Meeting. San Juan, Puerto Rico. Dec. 10, 2003.
       Adinoff B. (Chair). Symposium on Suppression of the HPA Axis Stress-Response: Implications for
           Relapse. 12111 Wortd Congress on Biomedical Alcohol Research (ISBRA). Heidelberg/Mannheim,
           Germany. Oct. 1, 2004.
       Adinoff B. Krebaum S, Chandler P, Ve W. Brown MB, Williams M.J. "Blunted adrenocortical
           responsiveness in abstinent alcohol-dependent men•. Symposium on Suppression of the HPA
           Axis Stress-Response: Implications for Relapse. 12111 Wortd Corigress on Biomedical Alcohol
           Research (ISBRA). Heidelberg/Mannheim, Germany. Oct. 1, 2004.
       Adinoff B. "lmpulsivity and Relapse." Symposium on Addiction and Psychiatry: Co-Occurring or Dual
           Diagnosis. 36111 Annual Medical-Scientific Conferenoe. American Society of Addiction Medicine.
           Dallas, TX. April 16, 2005.
       Adinoff B, Morrow AL, Williams MJ, Chandler PA. "oCRF stimulation of plasma deoxycorticosterone
           levels in abstinent alcohol-dependent subjects." Symposium on Are Neurosteroid Responses to
           Stress or Alcohol Withdraws/ Related to Alcohol Drinking - In Mouse, Rats, Monkeys or Man? 291"
           Annual Meeting of the Research Society on Alcoholism. Baltimore, MD. June 27, 2006
       Adlnoff B (chair): Symposium on The Yin to the Dopaminergic Yang: Cholinergic Mechanisms in
            Cocaine Addiction. 40th Annual Winter Conference on Brain Research. Snowmass, Colorado,
           February 1, 2007.




                                                                                                            App.576
USCA Case #24-1365             Document #2100970                         Filed: 02/17/2025                Page 100 of 214




        Curriculum Vitae                                                                        Page 26
        Bryon H. Adinoff

        Adlnoff B (chair): Symposium on Assessing Stress in Alcoholics using Clinical Laboratory Paradigms.
             Research Society on Alcoholism, Chicago, IL. July 9, 2007.
        Adlnoff B. "It's not a perfect world: A clinical researcher's perspective." Symposium on Translating
             Research: Basic and Clinical Dialogues. Research Society on Alcoholism, Chicago, IL. July 9,
             2007.
        Sinha R, Wu H, Goeders NE, Adlnoff B, Weiss F. Symposium on Organizing a Special Interest Group
             on Stress and Addiction. College on Problems on Drug Dependence Seventieth Annual Scientific
             Meeting. San Juan, Puerto Rico. June 15, 2008.
        Adinoff B. "Limbic disruptions identified by chollnerglc probes in cocaine-addicted subjects."
             Symposium on The Acetylcholine System as Therapeutic In Drug Dependence. College on
             Problems on Drug Dependence 71 st Annual. Scientific Meeting. Reno, Nevada. June 23, 2009.
        Adinoff B. "Results from naturalistic and epidemiologic studies." Workshop on Is the Emperor
             Underdressed? Controversial Evidence that Alcohol induces Drinking. Research Society on
             Alcoholism, San Antonio, TX. June 28, 2010.
        Adinoff B. "Limbic disruptions identified by cholinergic probes in cocaine-addicted subjects."
             Symposium on Cholinergic Mechanisms in Stimulant Dependence. Translational Psychiatry 1•1
             Annual Scientific Meeting. Hall, Austria. July 10, 2010.
        Adinoff B, Taylor S, Conley R, Chezum L. "The certificate of confidentiality: Is the hassle worth it?"
             Symposium on Negotiating the Path to Approval: Finding Solutions to Common /RB Issues. ACNP
             49"' Annual Meeting. Miami, FL. Dec 8, 2010.
        Denton W, Winhusen T, Lewis D, Walker NR, Adinoff B. "Family discord is associated with increased
             substance use for pregnant substance users." International Association for Relationship Research
             Mini-Conference on Heatth, Emotions and Relationships. Tucson, AZ.. October 20-22, 2011.
        Adinoff B. (Chair) Symposium on Stress, Arousal and Alcohol Interactions: Clinical Studies in High-Risk
             Adolescents, Heanhy Adults and Alcohol-Dependent Subjects. Alcoholism and stress: A
             framework for future treatment strategies. Volterra. Italy. May 5, 2011.
        Adinoff B, Yang H, Rao U, North CS, Xiao H, Business MS. "Unraveling the risks: Stress, trauma and
             alcohol effects upon biologic stress response systems and prospective relapse in alcohol
             dependent subjects". Symposium on Stress, Arousal and Alcohol Interactions: Clinical Studies in
             High-Risk Adolescents, Healthy Aduns and Alcohol-Dependent Subjects. Alcoholism and Stress: A
             Framework for Future Treatment Strategies. Volterra, Italy. May 5, 2011 .
        Adinoff B. "Stress, trauma and alcohol effects upon biological stress response systems and prospective
             relapse in alcohol dependent subjects." Symposium on Clinical Translational Research Linking the
             Neurobiology of Dysregulated Stress/Anxiety Systems to Alcohol Use Disorders. Research Society
             oi:, Alcoholism. San Francisco, CA. July 26, 2012.
        Adinoff B. "Striatal-limbic suppression during anticipatory anxiety in alcohol-dependent men''.
             Symposium on Applying Translational Research and Imaging to Treatment Strategies in
             Alcoholism. American College on Neuropsychopharmacology 51 st Annual Meeting. Hollywood, FL
             December 3, 2012.
        Price JL, Leonard D, Adinoff B. HPAAxis Dysfunction and Stress Implications in Relapse Severity.
             Symposium presented at the 2-f'I> Annual Scientific Meeting of the Texas Research Society on
             Alcoholism. San Antonio, TX. February 21 , 2014.
        Adinoff B. Discussant. Symposium on Functionally relevant brain anerations in poly-substance abusers:
             Differences to mono-substance abusers, study challenges and research promises. Research
             Society on Alcoholism. San Antonio, TX. June 21, 2015
        Lewis B, Price JL, Adinoff B, Nixon SJ. "Exploring heterogeneity in the stress-alcohol diathesis across
            the lifespan." Organizer: Dr. Sara Jo Nixon. 4lh Annual International Congress on Alcoholism and
            Stress, Volterra, Italy (May 9-12, 2017)
        Price JL, Frazier tR, Javers MA. Walker R, Nixon SJ, Adinoff B. Differences in HPA Function Between
            Black and White alcohok:lependent men. Organizer: Awards Committee. Symposium presented at




                                                                                                            App.577
USCA Case #24-1365             Document #2100970                         Filed: 02/17/2025                Page 101 of 214




        Curriculum Vitae                                                                        Page 27
        Bryon H. Adinoff

           the 4(/1' Annual Meeting of the Research Society on Alcoholism (RSA), Denver, CO. June 24-28,
           2017.
        Adinoff B. Discussant. Symposium on Drug Addiction Treatment with Classic Hallucinogens. CPDD
           80th Annual Scientific Meeting, San Diego, CA. June 11, 2018.
        Adinoff B. Chair and Discussant. Symposium on A New Era of Treating Substance Use Disorders with
           Psychedelics. AAAP Annual Meeting and Scientific Symposium. Bonita Springs, FL. December 6,
           2018.
        Adinoff B. Chair. Symposium on Medical Cannabis from a Neuroscience Perspective: How Did We Get
           Here and Where Should We Go? American College on Neuropsychopharmacology 57•1 Annual
           Meeting. Hollywood, FL. December 12, 2018.
        Adinoff B. Maximizing the benefits and minimizing the hanns of cannabis regulation. Symposium on
           Perspective on the Impact on Adolescents and Emerging Adults of Marijuana's Changing Legal
           Status and Access. Chair: Theodore Petti. 66"' Annual Meeting of the American Academy of Child
           and Adolescent Psychiatry. Chicago, IL. Oct 19, 2019.
        Adinoff B. Chair. Symposium on The Racial Origins and Impact of the War on Drugs: How Do We
           Heal? MAP Annual Meeting and Scientific Symposium. Virtual. December 12, 2021 .
        Adinoff B. The role of addiction psychiatrists in righting the wrongs of the drug war. Symposium on The
           Racial Origins and Impact of the War on Drugs: How Do We Heal? AAAP Annual Meeting and
           Scientific Symposium. Virtual. December 12. 2021 .
        Adlnoff B. Chair. Symposium on Treating Substance Use Disorders with Classical Psychedelics.
           American Psychiatric Association Annual Meeting. New Or1eans, LA, May 24, 2022.
        Adlnoff B. Panel on Cannabis Law Reform leading the way towards more effective drug control and the
           attainment of the Sustainable Development Goals. United Nations 66°' Commission on Narcotic
           Drugs (CND). Vienna, Austria. March 15, 2023.
        Adinoff B. Chair. Symposium on The Racist Origins and Impact of the War on Drugs. CPDD 85th
           Annual Scientific Meeting, Denver, CO. June 20, 2023.
        Adinoff B. The. role of addiction researchers in righting the wrongs of the drug war. Symposium on The
           Racist Origins and Impact of the War on Drugs. CPOO 85th Annual Scientific Meeting, Denver, CO.
           June 20, 2023.

        Other Presentations
        Heath RG, Franklin D, Adinoff B, Rubin W. · eomparison of schizophrenics with and without cerebellar
            vermal atrophy." Society of Biological Psychiatry, Boston, MA, May 18, 1980.
        Adinoff B, Majchrowicz E, Marlin PR, Paul SM, Linnoila M. "The benzodiazepine antagonist Ro15-
            1788 does not antagonize ethanol withdrawal syndrome." Society of Biological Psychiatry, Dallas,
            TX, 1985.
        Adinoff B, Martin PR, Bone GHA, Linnoila M, Gold P'N. "Response to corticotropin releasing factor in
            alcoholics one and three weeks following cessation of drinking.• American Psychiatric Association
            139th Annual Meeting, Washington, DC, May 13, 1986.
        Adinoff B, Rohrbaugh JW, Stapleton JM, Parasuraman R, Frowein HW, Varner JL, Lane EA, Eckardt
            MJ, Linnolla M. "Alcohol intoxication reduces visual sustained attention." American College of
            Neuropsychopharmacology, Washington, DC, December 11, 1986.
        Adlnoff B, Dave JR, Roehrich L, Martin PR, George T, Eskay R. Linnoila M. •eorticotrophin-releasing
            hormone binding sites on RBCs In alcoholics, children at risk, and normal controls." Collegium
            International Neuro,.Psychopharmacologlcum, San Juan, Puerto Rico, December 17. 1986.
        Stapleton JM, Eckardt P, AdinoffB, Roehrich L, Bone G, Rubinow D, Mefford I, Linnoila M. "Treatment
            of alcoholic organic brain syndrome with the serotonin reuptake inhibitor, ftuvoxamine:
            Relationships between neurochemical and neuropsychologlcal responses." Research Society on
            Alcoholism/Committee on Problems of Drug Dependence, Philadelphia, 1987.




                                                                                                            App.578
USCA Case #24-1365             Document #2100970                         Filed: 02/17/2025                Page 102 of 214




        Curriculwn Vitae                                                                        Page 29
        Bryon H. Adinoff

        Adlnoff B. 'SPECT following IV procaine in cocaine addiction.· Thirty-first Annual Winter Conference
             on Brain Research. Snowbird, Utah, January 26, 1998.
        Adinoff B, Devous MD, Best S, George MS, Alexander D, Payne K. "SPECT following intravenous
             procaine in cocaine addiction." Advancing from the Ventral Striatum to the Extended Amygdala:
             Implications for Neuropsychiatry and Drug Abuse. NYAS Conference, Oct. 19, 1998.
        Adinoff B. "Recovery of the Hypothalamic-pituitary-adrenal axis with abstinence." 1999 Scientific
             Meeting of the Research Society on Alcoholism. Santa Barbara, CA. June 27, 1999.
        Colwell K, Edens JF, Willoughby FW, Adinoff B, Houser L. "Assessing motivation to change among
             substance abusers.• 108" Annual Conference of the American Psychological Association.
             Washington, DC. August, 2000.
        Adinoff B, Krebaum S, Chandler PA, Veldhuis JD, lranmanesh A. "Dissection of HPA axis
             disturbances in abstinent alcohol dependent subjects." 5°11" Annual Convention of the Society of
             Biological Psychiatry, Philadelphia, PA. Ma7 18, 2002.
        Krebaum SR, Jackley PK, Adinoff B. "The Impulsive Relapse Questionnaire: A measure of
             automaticity in substance dependence." 64111 Annual Scientific Meeting of the College on
             Problems of Drug Dependence. Quebec City, Canada. June 10, 2002
        Adinoff B, Devous MD Sr, Cooper DB, Best SE, Chandler P, Harris T, Cervin CA, Cullum M.
             "Relationship between rCBF (by SPECT) and gambling task performance in cocaine addicted
             subjects and controls." 64111 Annual Scientific Meeting of the College on Problems of Drug
             Dependence. Quebec City, Canada. June 12, 2002.
        Krebaum SR, Jackley PK, Adinoff B. "The Impulsive Relapse Questionnaire: Development and
             validation." 2002 Scientific Meeting of the Research Society on Alcoholism and the 11 a, Congress
             of the International Society for Biomedical Research on Alcoholism. San Francisco, CA. June 29,
             2002.
        Jackley PK, Krebaum SR, Adinoff B. "The Impulsive Relapse Questionnaire (IRQ): A measure of
             automaticity in substance dependence." ACNP 41• Annual Meeting, Dec. 10, 2002
        Adinoff B, Devous MD Sr., Best SE, Chandler P, Harris TS, Williams M. "Pharmacologic limbic
             activation in abstinent cocaine-dependent subjects." ACNP 41 •1 Annual Meeting, Dec. 10, 2002
        Adinoff B, Devous MD Sr, Williams MJ, Best SE, Zielinski T, Harris TS, Schreffler ER. "Differences in
             rCBF Response between Abstinent Cocaine-addicted Subjects and Healthy Controls to the 5HT3
             Antagonist, Ondansetron.• American College of Neuropsychopharmacology 43rd Annual Meeting.
             San Juan, Puerto Rico. Dec. 13, 2004.
        Adinoff B, Williams MJ, Best SE, Zielinski T, Harris TS, Schreffler ER, Devous MD Sr. "Cholinergic
             receptor systems in cocaine-addicted subjects: Alterations regional cerebral blood flow."
             American College of Neuropsychopharmacology, 44th Annual Meeting. Waikoloa, Hawaii. Dec.
              12, 2005.
        Adinoff B. "HPA Axis Dysregulation in Alcoholism and the Clinical Trials Network: Texas Node." Texas
             Research Society on Alcoholism, 16111 Annual Scientific Meeting. Texas A&M University System
              HSC, College Station, Tx. February 16, 2006.
        Schreffler E, Adinoff B, Briggs R, Goyal A, Coleman A, Cheshkov S, Modhia S, Harris T, Devous MD
             Sr. •stress, the HPA axis, and fMRI in alcoholism: Preliminary studies." Texas Research Society
             on Alcoholism, Texas A&M University, College Station, TX. February 17, 2006.
        Adinoff, B, Williams MJ, Best SE, Zieklinski T. Harris T, Schreffler E, Devous MD. "Cholinergic receptor
              systems in cocaine-addicted subjects: Alterations in regional cerebral blood flow." 68111 Annual
              Scientific Meeting of the College on Problems of Drug Dependence. Phoenix, AZ. June 18, 2006.
        Williams MJ, Chandler PA, Best SE, Ye W, Brown MD, Adinoff B. "Dissection of hypothalamlc-pituitary-
              adrenal axis pathology in 1-month-abstinent alcohol-dependent women: adrenocortical and
              pituitary glucocorticoid responsiveness.· 29a, Annual Meeting of the Research Society on
             Alcoholism. Baltimore, MD. June 26, 2006
        Field CA, Duncan J, Washington K, Adinoff B. "Association of baseline characteristics and motivation




                                                                                                            App.579
USCA Case #24-1365              Document #2100970                          Filed: 02/17/2025                Page 103 of 214




        Curriculum Vitae                                                                          Page 31
        Bryon H. Adinoff

        Meng Y, Rao U, Xiao H. North CS, Adinoff B. Neuropeptide Y (NPY) and Brain-Derived Neurotrophic
             Factor (BDNF) responsivity after acute stress in alcohol-dependent and control subjects. Research
             Society on Alcoholism, 33nd Annual Meeting. San Antonio, CA. June 2010.
        Leachman LL, Fielding SK, Shalvoy AM, Walker NR, Minhajuddin A, North CS, Rao U, Xiao H, Adinoff
             B. Relationship of self-reported childhood trauma to personality cllaracteristics in alcohol-
             dependent men. Research Society on Alcoholism, 33nd Annual Meeting. San Antonio, CA. June
             2010.
        Shalvoy AM, LL Leachman, Fielding SK, Walker NR, Minhajuddin A. North CS, Rao U, Xiao H, Adinoff
             B. Antisocial personality characteristics and alcohol use as a predictor for cortisol reactivity to a
             behavioral stressor. Research Society on Alcoholism, 33nd Annual Meeting. San Antonio, CA. June
             2010.
        Braud J, Devous MD. Harris TS, Adinoff B. Relationship of impulsive personality traits and orbitofrontal
             rCBF in cocaine-addicted and healthy control subjects. College on Problems of Drug Dependence.
             Scottsdale, AZ.. June 13, 2010.
        Adinoff B. Harrington CR. Beswick TC, Graves M. Jacobs HT, Devous MD, Harris TS. Increased
             striatal activation in compulsive indoor tanners upon exposure to ultraviolet light compared to sham
             light. CoUege on Problems of Drug Dependence. Scottsdale, AZ.. June 17, 2010.
        Adinoff B, Harrington C, Devous M, Jacobe H, Harris T. Increased striatal activation in compulsive
             indoor tanners upon exposure to ultraviolet light compared to sham light. American College of
             Neuropsychopharmacology. Miami, FL December 7, 2010.
        Liu P, Uh J, Devous MO, Adinoff B, Lu H. SPECT validation of pseudo-continuous arterial spin labeling
             MRI. International Society for Magnetic Resonance in Medicine, 19"' Annual Meeting. Montreal,
             Canada. May 2011 .
        Denton WH, Winhusen T. Walker NR, Adinoff BH. Family discord is associated With increased
             substance use for pre.g nant substance users. International Association for Relationship Research
             Mini-Conference on Health, Emotions, and Relationships. Tucson, AZ.. October 2011 .
        Braud J, Harris TS, Devous MO, Spence JS, Briggs R, Walker NR, Cullum M, Adinoff B. Neural
             alterations during decision-making in oocaine-addicted subjects. Metroplex Days. Dallas, TX.
             February 2012.
        Adlnoff B. Neuroimaging In addiction: Common threads. Texas Research Society on Alcoholism. 22nd
             Annual Scientific Meeting. Texas A&M University System HSC, College Station, TX. February 24,
             2012.
        Winhusen T, Lewis D, Adinoff B, Brigham G, Kropp F, Donovan 0 , Somoza E. Failure to look before
             leaping: The Barratt Impulsiveness Scale predicts treatment completion in cocaine-and
             methamphetamine-dependent patients. College on Problems of Drug Dependence. Palm Springs,
              CA. June 11, 2012.
        Mete M, Adinoff B, Devous MD, Spence JS. A machine learning approach for patient classification in
              cocaine addiction via SPECT images. College on Problems of Drug Dependence. Palm Springs,
              CA. June 11, 2012.
        Adi noff B, Devous MD, Williams MJ, Harris TS, Best SE, Dong H. Zielinski TA. Differences in regional
              cerebral blood flow response to a 5HT3 antagonist in early-and late-onset cocaine dependence.
              College on Problems of Drug Dependence. Palm Springs, CA. June 14, 2012.
        McHugh M, Gu H, Yang Y, Braud J, Devous M, Briggs R, Walker NR, Adinoff B , Stein E. Resting state
             network dynamics predict relapse in cocaine-dependent individuals. American College on
              Neuropsychopharmacology 51 51 Annual Meeting. Hollywood, Fl. December 4, 2012.
        Gu H. McHugh M, Yang Y, Shope C, Braud J, Devous M, Briggs R, Walker NR, Cullum M, Stein E,
              Adinoff B. Resting regional cerebral blood flow to predict relapse in cocaine dependent individuals.
              American College on Neuropsychopharmacology 51°' Annual Meeting. Hollywood, FL December
              4, 2012.




                                                                                                               App.580
USCA Case #24-1365             Document #2100970                          Filed: 02/17/2025                Page 104 of 214




        Curriculum Vitae                                                                         Page 32
        Bryon H. Adinoff

        Liu P, Adinoff B, Tamminga CA, Filbey F, Lu H. Impact of cocaine use on brain metabolism:
             Hypoactivity, dose dependence, and relationship to cognitive ability. Proceedings of the 21st
             Annual Meeting of ISMRM, Salt Lake City, Utah, USA. April 25, 2013. p.738.
        Merrick C, Adinoff B, Gu H, McHugh M, Devous MD, Briggs R, Sunderajan P, Yang Y, Stein EA
            Localized functionally connected neural predictors of relapse in cocaine dependence. Texas
            Research Society on Alcoholism 371'1 Annual Meeting. San Antonio, TX. February 21, 2014.
        Merrick C. Adlnoff B, Gu H, McHugh M, Devous MD, Briggs R, Sunderajan P. Yang Y, Stein EA.
            Localized functionally connected neural predictors of relapse in cocaine dependence. Behavior,
            Biology and Chemistry. San Antonio, TX. March 14-16, 2014.
        Vingren JL, Adinoff B, Duplanty AA, Budnar RG, Luk HY, Xiao H, Hill OW. Muscle glucocorticoid
             receptors and long-term alcohol abuse: Preliminary findings. 1311, Biennial Advances in Skeletal
             Muscle Biology in Health and Disease Conference, Gainesville, Florida. March 2014.
        Akgun D, Sakoglu M, Mete M, Esquivel J, Adinoff B. GPU-accelerated dynamic functional connectivity
             analysis for functional MRI data using open CL. IEEE International Conference. Milwaukee, WI.
             June 2014.
        Adinoff B, Gu H, Merrick C, McHugh M, Devous M, Yang Y, Stein E. Localized and functionally
             connected neural predictors of relapse in cocaine dependence. College on Problems of Drug
             Dependence. San Juan, Puerto Rico. June 18, 2014.
        Price JL, Leonard D, Rao U, Walker R, Javors M, Xiao H, Adinoff B (2014). Ongoing stress moderates
            pituitary-adrenal reactivity in predicting post-treatment drinking severity. Poster presented at the
            371" Annual Meeting of the Research Society of Alcoholism (RSA), Bellevue, WA (June 21 -25,
            2014) and Behavior, Biology, and Chemistry, San Antonio, TX (March 14-16, 2014).
        Adinoff B, Aubert PM, Harris TS, Filbey FM, Devous MD, Price JL, Jacobe HM, Seibyl J. Dopamine
            efflux in response to ultraviolet radiation in addicted sunbed users. American College on
            Neuropsychopharmacology 53"' Annual Conference. Phoenix, AZ. Dec 9, 2014,
        Rice J, Spence J, Rubia K, Harris TS, Briggs R, Devous M, Adinoff B. The anterior salience network
             and impulsivity in cocaine-dependent individuals. 12th Annual AMA Research Symposium-
             Medical Student Section. Dallas, TX. November 7, 2014.
        Wilcox CE, Ling JM, Pommy JM, Adinoff B, Bigelow RC, Mayer AR, Bogenschullz MP. Prazosin
            decreases striatal bold response to conditioned stress stimulus in alcohol use disorder. Research
            Society on Alcoholism. San Antonio, TX. June 23, 2015.
        Adinoff B, Spence J, Gu H, Rice J, Rubia K, Yang Y, Briggs R, Walker R, Stein EA. Disrupted
            relationship of conscientiousness to BOLD activation during error monitoring and resting state
            functional connectivity in cocaine-dependent and healthy control subjects. American College on
            Neuropsychopharmaco/ogy 54111 Annual Conference. Hollywood, FL Dec. 8, 2015
        Sparks H, Morrow L, Javors, M, Adinoff B. Dexamethasone suppressed neurosteroid predicts post-
            treatment drinking in alcohol-dependent men. Texas Research Society on Alcoholism, Dallas, TX.
            February 19, 2016.
        Kepinski I, Gu H, Blackledge S, Yang Y, Stein EA, Adinoff B. Amygdala and NEO impulsiveness (N5)
            in cocaine use disorders. Texas Research Society on Alcoholism, Dallas, TX. February 19, 2016.
        Blackledge S, Kepinski I, Yang H, Adinoff B. Effects of neurotlcism and alcohol dependence on
            neuronal reactivity during uncertain heat threat: Implications for the default mode and executive
            control networks. Texas Research Society on Alcoholism, Dallas, lX. February 19, 2016.
        Wright R, Adinoff B. Bupropion misuse: A systematic review. UT Southwestern Medical Center. May
            25,2016
        Adinoff B, Blackledge S, Keplnski I, Gu H, Yang Y, Stein EA. Amygdala volume, resting state functional
            connectivity, and NEO Impulsiveness (NS) in cocaine use disorder. American College on
            Neuropsychopharmacology 5511, Annual Conference. Hollywood, CA. Dec. 6, 2016.
        Becker JE., Price JL, Kandil E, Shaw MA, Suris A, Kroener S, Brown ES, Adinoff 8. Efficacy of
            lidocaine in disrupting cocaine-cue induced memory reconsolidation. Behavior, Biology, and




                                                                                                             App.581
USCA Case #24-1365              Document #2100970                         Filed: 02/17/2025                Page 105 of 214




       Curriculum Vitae                                                                          Page 33
       Bryon H. Adinoff

            Chemistry: Translational Research in Addiction Conference, San Antonio, TX. March 4, 2017
        Price JL, Acevedo S, Javors MA. Walker R, Nixon SJ, Adinoff B. CRHR1 genotype differentially
            moderates HPA axis in healthy controls and alcohol-dependent men. 40" Annual Meeting of the
            Research Society on Alcoholism (RSA), Denver, CO. June 2-t.28, 2017.
        Price JL, Frazier IR, Javors MA, Walker R, Nixon SJ, Adinoff 8 . Differences in HPA function between
            Black and White alcohol-dependent men. Poster presented at the University of Florida College of
            Medicine Celebration of Research, Gainesville, FL (February 27, 2017), the 4111 Annual International
            Congress on Alcoholism and Stress, Volterra, Italy (May 9-12, 2017), and the 40111 Annual Meeting
            of the Research Society on Alcoholism (RSA), Denver, CO (June 24-28, 2017). Finalist for the
            Enoch Gordis Research Award.
        Westover A, Adinoff B, Halm E, Nakonezny P. Risk of stimulant use disorder and mortality among
            Incident users in the Veterans Administration. College on Problems in Drug Dependence 79th
            Annual Scientific Conference. Montreal, Canada. June 22, 2017.
        Yu J-C, Fiore VF, Spence JS, Briggs RW, Braud J, Adinoff B, Gu X. Multiple system dysfunction in
            addiction: evidence from model-based fMRI. 47th annual meeting of Society for Neuroscience,
            Washington, DC. November, 2017.
        Sakoglu U, De Leon J, Huerta C, Galla M, M MuUu, Adinoff B. Classification of cocaine addiction using
            Hilbert-Curve Ordering of fMRI activations. International Society for Magnetic Resonance in
            Medicine (ISMRM) Workshop on Machine Learning. Pacific Grove, CA. March 1-t.18, 2018.
        Becker JE, Price JL, David Leonard D, Suris A, Kandil E, Meredith Shaw M, Sven Kroener S, Brown
            ES, Adinoff B. The Efficacy of Lidocaine in Dlsruptlng Cocaine Cue-Induced Memory
            Reconsolidation." CPDD 80th Annual Scientific Meeting, San Diego, CA. June 14, 2018.

        Community Presentations:
        "The Neurobiology of Drug and Alcohol Addiction." In Mitigation - How to Explain Behavior, The
              Center for American and International Law. Plano, TX. April 30, 2005.
        "Whal We're Leaming About the Neuroscience of Addiction". Reinvesting in Justice: What Comes
              Next? Center for Court Innovation. Dallas, TX. November 12, 2015.
        Speaker, Panel on "Cops, Docs, and Clergy- War on Drugs Program." Republican Liberty Caucus of
             Texas Convention. Austin, TX. February 12, 2016.
        Speaker, Panel on "Cops, Docs, and Clergy- War on Drugs Program." Huston-TIiiotson University.
             Austin, TX. February 12, 2016.
        Speaker, Panel on Medical Marijuana, Pro Athletes Pro Cannabis, Ft. Worth, TX. April 21, 2017.
        Speaker, Panel on •cannabis and Chronic Traumatic Encephalopathy," Southwest Cannabis
             Conference and Expo, Ft. Worth, TX. April 22, 2017.
        Speaker, Veterans Cannabis Forum, American Legion Post 453, Dallas, TX. May 26, 2018
        Speaker, Panel on "Medical Cannabis: What does the research tell us?" Texas Man7uana Policy
             Conference, Austin, TX. August 11, 2018.
        Speaker, Panel on "PTSD, Pain and Cannabis." Online Texas Veteran Cannabis Conference. Oct 17,
             2020.
        Speaker, Panel on "Texas Veterans: Service-Related Injuries and Cannabis Treatment.• Texas
             Marijuana Policy Conference 2020 (Virtual). Nov 11, 2020.
        Speaker, Panel on "Remembering the Patients." Yes We Cannabis Rhode Island. Facebook Live
             Stream. March 14, 2022.
        Speaker, Panel on "Brittney Griner's Imprisonment In the Context of Cannabis Prohibition in the US &
             Russia." Doctors for Cannabis Regulation webinar. Sept 14, 2022.
        Speaker, ~ on "Understanding the medical science behind substance misuse, addiction, and
             recovery." Denver City Council. Denver, CO. Feb 1, 2023.
         Interview (virtual), VAC Roundtable #51 . Veterans Action Council. Feb 3, 2023.




                                                                                                             App.582
USCA Case #24-1365           Document #2100970                       Filed: 02/17/2025               Page 106 of 214




        Curriculum Vitae                                                                   Page 34
        Bryon H. Adinotf

        Speaker, Panel on "Cannabis Law Refonn Leading the Way Towards MOl'e Effective Drug Control and
           the Attainment of the [UN] Sustainable Development Goals.* Chair: Myrtle Clark. UN Commission
           on Narcotic Drugs (CND) #66. Vienna, Austria. March 15, 2023.
        Podcasts
           • Psychedelic Science 2023: Doctors for Cannabis Regulation. Cannabis Radio.com. July 11,
               2023
           • Psychedelica Lex with Gary Smith (Part 1, 2, 3). Nov 27, 2020
                   o Part 1
                   o Part 2
                   o Part 3




                                                                                                       App.583
USCA Case #24-1365            Document #2100970                                 Filed: 02/17/2025                     Page 107 of 214




                                          DAVID L. NATHAN, MD, DFAPA
                                                 601 Ewing Street, Suite C-10
                                                 Princeton, New Jersey 08S40
                                                     www.nathanmd.com
                                                     mail@nathanmd.com
                                                     Phone: 609-688-0400                                      N
                                                      Fax: 609-688-0401
                                                                                                              •..,,          >    V



         PLACE OF BIRTH
                                                                                                              ::::r    ·~ , ~::- 1::_~

                                                                                                              N
                                                                                                               w
         Philadelphia, Pennsylvania                                                                            f'v



         EDUCATION

         1994         MD, University of Pennsylvania Schoo! of Medicine, Philadelphia, PA
         1990         AB in biology, magna cum Jaude, Princeton University, Princeton, NJ

         POSTGRADUATE TRAINING

         1994-1998    Resident, Psychiatry, McLean Hospital, Harvard Medical School, Belmont, MA

         ACADEMJC APPOINTMENTS

         2010-        Clinical Associate Professor, Department of Psychiatry, Rutgers Robert Wood Johnson
                      Medical School {RWJMS), Piscataway, NJ
         2000-2010    Clinical Assistant Professor, Department of Psychiatry, RWJMS, Piscataway, NJ
         2000-        Community Fellow, Mathey College, Princeton University, Princeton, NJ
         1999-2000    Clinical Instructor, Department of Psychiatry, RWJMS, Piscataway, NJ
         1994-1998    Clinical Fellow, Psychiatry, Harvard Medical School, Boston, MA

         HOSPITAL APPOINTMENTS

         2008-        Chairman, Continuing Medical Education Committee, Penn Medicine Princeton Health
                      (PMPH, fonnerly Princeton HealthCare System [PHCS]), Princeton, NJ
         2022-        Senior Attending Staff, PMPH. Princeton, NJ
         2000-2022    Active/Attending Staff, PMPH. Princeton, NJ
         1998-2000    Associate Staff, PHCS, Princeton, NJ
         1998-1999    Courtesy Attending Staff, Carrier Foundation, Belle Mead, NJ

          EMPLOYMENT HISTORY

          2018-2020   ChiefMedical Advisor, 4Fronl Ventures. Provided information and guidance on evidence-
                      based cannabis science and medicine to company leadership and employees at a multistate
                      cannabis cultivator and retailer. Wrote educational materials for physicians, patients, staff and




                                                                                                                        App.584
USCA Case #24-1365            Document #2100970                              Filed: 02/17/2025                   Page 108 of 214




         David L. Nathan, MD, DFAPA                                                                              2


                      the public. Identified and recruited experts in lhe scientific community and wrote and edited
                      content for state license applications.
         2016-        Consultant, Princeton Psychiatry and Consulting, LLC, Princeton, NJ. Serve as an expert
                      medical con.sultant on drug policy-related topics for government, businesses, investors,
                      education companies and policy groups. Speak at cannabis-related conferences and other
                      events. Design cannabis labeling and packaging. Assist with regulatory compliance and
                      medical issues with completion of state license applications.
         2008,.       Director ofContinuing Medical Ed11Catio11, PMPH (formerly PHCS), Princeton, NJ. Provide
                      all leadership and supervision i.n connection wilh the offering, communication and
                      management of educational programs to physicians on the PMPH Medical Staff; while
                      meeting all guidelines and standards of the Accreditation Council for Continuing Medical
                      Education and the American Medical Association.
         1999-        Director ofProfessional Education, Department of Psychiatry, PMPH (formerly PHCS),
                      Princeton, NJ. Organize grand rounds and moderate case conferences for psychiatrists,
                      psychologists, nurses and social workers.
         I 998-       Prillate Practice Psychiatrist. Princeton Psychiatry and Consulting, LLC, Princeton, NJ.
                      Provide outpatient psychiatric care to adults in the community, using the modalities of
                      psychotherapy and psychophannacology.
         1998-1999    Consult-Liaison Psychiatrist, The Medical Center at Princeton, Princeton, NJ. Completed all
                      routine psychiatric consultations on medical and surgical floors. Served as liaison to medical
                      and nursing staff.
          1998-1999   Evaluating Psychiatrist, Princeton House Behavioral Health, Princeton, NJ. Assessed and
                      monitored patients in the geriatric, substance abuse and general adult partial hospital programs
                      of Princeton Rouse.

         UCENSUU AND CERTIFICATION

         1999-        American Board of Psychiatry and Neurology - Board Certification in Psychiatry
         2022-        Pennsylvania Board of Registration in Medicine - inactive license
         2016-2022    Pennsylvania Board of Registration in Medicine - active license
         l998-        New Jersey State Board of Medical Examiners - full license
          l996-1998   Massachusetts Board of Registration in Medicine - full license
         1992-1995    United States Medical Licensing Examination - Steps I, 2 and 3

         AWARDS AND HONORS

         2022         NJ.com: 22 People and Places to watch in the NJ Cannabis Space in 2022
         2021         Insider NJ: Top 100 influential voices in the cannabis debate (insidemj.com)
         2021         NJ.com: 21 People and Places to watch in the NJ Cannabis Space in 2021
         2019         lnsider NJ: Top I 00 influential voices in the cannabis debate (insidemj.com)
         2018         Honorary Board ofICANNA: International lnstitute for CaMabinoids, Slovenia
         2012         Distinguished Fellow of the American Psychiatric Association (DF APA)
         2010         Fellow of the American Psychiatric.Association (FAPA)
         2007         Odesser Award for Outstanding Contribution to Judaic Nwnismatics and Exonumia
         1990         High honors in biology, Princeton University




                                                                                                                     App.585
USCA Case #24-1365            Document #2100970                             Filed: 02/17/2025                Page 109 of 214




         David L. Nathan, MD, DPAPA                                                                          3


         1990         Sigma Xi Science Honor Society, selected by members ofPrin.ceton's faculty
         1990         Charles M. Can.non Memorial Prize for best thesis presentation, Princeton University
                      Department ofBiology

         PROFESSIONAL SOCIETIES AND PATJENT ADVOCACY G'ROUPS

         2023-        Co-founder and Past President, Doctors for Drug Policy Reform (D4DPR)
         2021-2023    Founder and Past Presldenl, Doctors for Cannabis Regulation (DFCR)
         2021-        Founding board member, NJ-NORML
         2015-2021    Foruuler and Board President, Doctors for Cannabis Regulation (DFCR)
         201A-        Founding steering committee member, New Jersey United for Marijuana Refonn
         2012-        Distinguished Fellow, American Psychiatric Association (APA)
         2008-        Member, Medical Society of New Jersey (MSNJ)
         2003-        Physician Advisor, New Jersey State Chapter of the Depression and Bipolar Support
                             Alliance (DBSA-NJ)
          1998-       Professional Member, National Alliance for the Mentally Ill (NAM!)
          1998-       Member, New Jersey Psychiatric Association (NJPA)
         2020         Steering committee member, NI CAN 2020, a cannabis legalization campaign
         20L0-2012    Fellow,AJ>A
         1994-2010    General Member, AJ>A
         1994-1998    Member, Massachus~ Psychiatric Society (MPS)

         SELF REPORT OF TEACHING

         2008-        Director ofContinuing Medical Education, Penn Medicine Princeton Health, Princeton, NJ.
                      Provide leadership and supervision in connection with the offering, communication and
                      management of educational programs to physicians on the PMPH Medical Staff, while
                      meeting all guidelines and standards of the Accreditation Council for Continuing Medical
                      Education and the American Medical Association.
         2004-        Director ofProfessional Education, Department of Psychiatry, Penn Medicine Princeton
                      Health. Organize grand rounds and moderate case conferences for psychiatrists, nurses and
                      social workers. Supervise a second monthly grand rounds run by a psychologist.
          2003-2005   Member, Medical Advisory Board of the Princeton Fitness & Wellness Center.
          1999-2004   CME Course DireclQr for Psychiatry, Department of Psychiatry, Medical Center at Princeton.
                      Organized grand rounds for the department of psychiatry and c.reated a case conference for
                      psychiatrists.
          1999-2008   Member, CME Committee, Princeton HealthCare System.
          2007-2012   Member, Ethics Consultation Subcommittee oftbe Biomedical Ethics Committee, Princeton
                      HealthCare System.
          1999-2012   Member, Biomedical Ethics Committee, Princeton HealthCare System.
          1998-1999   Clinfr:al Instructor, The Medical Center at Princeton, Robert Wood Johnson Medical School.
                      Teaching third and fourth year medical students completing their psychiatry rotations on the
                      Consult-Liaison Service at the Medical Center at Princeton,




                                                                                                                 App.586
USCA Case #24-1365             Document #2100970                             Filed: 02/17/2025                 Page 110 of 214




         David L. Nathlln, MD, DFAPA                                                                           4

         1997-1998    ChiefResident, Bipolar and Psychotic Disorders Program, McLean Hospital. Supervised
                      sixteen second year residents .from the MGH/McLean Residency Program. Organized weekly
                      case conferences with visiting consultants on the inpatient unit. Created and organized weekly
                      outpatient clinic for four third year residents, including monthly case conferences.
         1997-1998    Preceptor, Core Clerkship in Psychiatry, Harvard Medical School. Supervised third and fourth
                      year medical students completing their psychiatry rotations at McLean Hospital.
         1995-1998    Tutor, Psychopathology & Introduction to Clinical Psychiatry, Harvard Medical School.
                      Semester-long course for second year medical students to learn about psychiatric interviewing
                      and the mental status examination.
         1993-1994    Coordinator, 1994 Penn Med Ed Software Project, University of Pennsylvania School of
                      Medicine. Conceived and facilitated work on programs in human development, embryology
                      and endocrine pbysioiogy by medical students and faculty.
         1992-1993    Founder and coordinator, 1993 Penn Med Ed Software Project, University of Pennsylvania
                      School of Medicine. Selected and supervised eight medical students to complete five computer
                      programs.
         l 991-1992   Conceived and designed Hi.stological Anatomy Review Program; selected and supervised eight
                      medical students' completion of this and Gross Anatomy Review Program.
         1992         Exhibitor, Sytnposium: Ccmputers in Health Care Education, Health Sciences Library
                      Consortiwn & Thomas Jefferson University, Philadelphia, PA.
         1992         Exhibitor, Symposium: Computers in Medical Education, University of Pennsylvania,
                      Philadelphia, PA.
         I 991        Conceived, de.~igned and illustrated Gross Anatomy Review Program, an animated computer
                      dissection and tutorial.

         SELECTED PUBLICATIONS

         Editorial Boards:
         2021-         Member, Editorial Board, Medical Cannabinoid Journal
         2020-         Member, Editorial Board, Oi,,nabis Science and Technology
         2019-2023 Member, Editorial Board, American Journal ofEndocannabinoid Medicine

         Jo:umal Articles:
         Nathan, D.L., Oepen, G., Havens, L. and McCIWlg, E.D, "Two Views of a Delusion," Harvard Rev
              Psychiatry 1998; 6: 97-104.
         Nathan, D.L. "A 'New' Proto-Cuneiform Tablet." Cuneiform Digital Library Bulletin 2003:4. March 2003.
         Nathan, D.L. Review of The Midnight Disease. American Journal ofPsychiatry. October 2004; 161: I 937-
               1938,
         Nathan, D.L. "A Hebrew Letter oo the New World's First Coins?" The Shekel, January-February 2006.
         Nathan, D.L. and Crafton, D. "The Making and Remaking of Gertie." Animation 8:1. March 2013. pp. 23-46.
         Nathan, D.L. ''That swnmer evening, iong ago, a-sitting on a gate." The Knight Letter. January 2014. pp. 23-
               26.
         Nathan, DL., Elde!S, J., □ark, H.W. 'rrhc Physicians' Case for Marijuana Legalization." American Journal
               ofPublic Helllth 107:11. November 2017. pp. 1746-1747.
         Nathan, D.L. "Setting the Standard for Cannabis Labeling: Introducing the Universal Cannabis Product
               Symbol and the Univenal Cannabis Information Label." Cannabis Science and Technology 3:6,
               August 2020. Pp. 44-52.




                                                                                                                   App.587
USCA Case #24-1365             Document #2100970                             Filed: 02/17/2025                 Page 111 of 214




         David L. Nathan, MD, DFAl'A


         Nathan, D.L. and Nathan, E. "Why All Legalized U.S. Jurisdictions Should (and Probably Will) Adopt the
              International Intoxicating Cannabis Product Symbol (IICPS)." Cannabis Science and Technology 5: 11
              November 2021.
         Nathan, D.L. "Creating a Symbol of Best Practices in Cannabis Regulatory Standards." Cannabis & Tech
              Today 5:3, March 2024.

         News/Magazine Articles and Interviews:
          "Find ways to work through those holiday or winter blues." Princeton Packet. December 18, 1998. p. 23A.
         "Depression Guide: You're Not Alone." Barron's. September 3, 2001. pp. 34-35.
         "Try to remember the kind of September...• Princeton Packet. September 2 I, 200 I.
         "Shedding Light - And Darkness." Barron 's. March 4, 2002.
         "Trouble at the Office." Barron 1s. September 4, 2006. p. 36.
         "This is Your Brain on Money." Barron's. September 3, 2007. p. 40.
         "A Doctor's Case for Legal Pot." Wall StreetJourna/. January 15, 2010. p. 21.
         ''Matter Over Mind: Psychiatrists and their Pills." Barron's. July 5, 2010. p. 33.
         "Is It High Time? Fresh looks at.marij'uana." Barron's. March 7, 2011. pp. 30-31.
         ''Why Marijuana Should Be Legal for Adults." CNN.com. January 9, 2013. Featured Op-Ed.
         "Calls to Legalize Pot Are Gaining America's Support." CNN.com. January 16, 2013. Featured Op-Ed.
         ''.How to Regulate Pot When It's Legal." CNN.com. August 26, 2013. Featured Op-Ed.
         "Fighting Marijuana.. . Or Reality?" CNN.com. September 11, 2013. Featured Op-Ed.
         "W)lere It All Began: Research sparks quest to find Princeton's Unkno~ Player." Princeton Alumni
                Weekly. October 22, 2014. p. 15.
          Dozens of articles and interviews since 2015 on cannabis legalization and general drug policy refonn in a
                variety of media outlets, including CNN, The New York limes, ESPN, Washington Post. Denver Post,
                San Francisco Chronicle. Las Vegas Review-Journal, Providence Journal, The Guardian, Huffinglo~
                Post, MedPage Today, MD Magazine, Leajly. The Cannabist, NBC 4 New York, NBC 3 Las Vegas,
                CBS 3 Philadelphia, Fox 29 Philadelphia, NJTVNews, WKXW 101.5 PM Trenton, KFNX 1100 AM
                Phoenix, WIP 1210 AM Philadelphia and other outlets.

         Books and Other Monographs:
          Web Repair in Several Species ofOrb Weaving Spiders [Senior Thesis]. Princeton, NJ: Princeton University,
               1990. 67 pp.
          The Book ofNathan: Memoirs ofa Nineteenth Century Romanian Immigrant. Princeton, NJ, 2006. 128 pp.

          Medical Education Software:
          Creator, Designer and Illustrator, Gross Anatomy Review Program, a computerized dissection, atlas, review,
               and self-test, University of Pennsylvania School of Medicine, 1991-3.
          Creator and Designer, Histological Anatomy Review Program, a computerized atlas, review, and.self-test,
               University of Pennsylvania School of Medicine, 1992-3.
          Creator, Designer and Animator, Basic Embryology Review Program, an animated atlas and review of
               prenatal development, University ofPennsylvania School ofMedicine, 1994.
          Creator and Designer, Human Development Along a Conti/lUl4m, a review of human psychological and
               physiological development along a continuum, University of Pennsylvania School of Medicine, 1994.




                                                                                                                   App.588
USCA Case #24-1365             Document #2100970                             Filed: 02/17/2025                 Page 112 of 214




         David L. Nathan, MO, DFAPA                                                                            6


         Creator and Designer, Advanced Teaching Too/for Introductory Endocrinology, a review of
              endocrinological physiology, pathology, and pathophysiology, University of Pennsylvania School of
              Medicine, 1994,

         Film/Theater:
         Executive Producer, Gertie, a reconstruction of Winsor McCay' s 1914 vaudeville stage perfo[l11anoe and
         restoration of his animated film. Creator and animator for the Gertie Project beginning in 2003, and one of
         thtee scholars who served as executive producers. World premiere at the Annecy Film Festival, France, June
         16, 2018.

         Other Publications:
         Graphics Editor, American Journal ofEthics and Medicine, 1990-1991.
         Theme Editor, Scope, the University of Pennsylvania School of Medicine's Annual, 1994.
         Editor, Poor David's Almanac for the Year 2006, application for the Palm OS, December 2005.
         Editor, Poor David's Almanac for the Year 2007, application for the Palm OS, December 2006.
         Editor, Poor David's Almanac for the Year 2008, application for the Palm OS, December 2007.

         SELECTED PRESENTATIONS

         Lectures and Seminars:
         "Management of Psychosis." Lecture to residents, Robert Wood Johnson Medical School, December 171
               1998.
         "Update oo Antidepressants.., Grand Rounds, Department of Medicine, Medical Center al Princeton,
               F.ebruary 2, 1999.
         "Two Views of a Delusion." Paper Presentation, l Department of Psychiatry, Medical University of Warsaw,
               Poland, July 6, 1999.
         "Management oftbe Paranoid Patient." Lecture to residents, Robert Wood Johnson Medical School, October
                14, 1999.
         "Psychiatric Emergencies." Lecture to residents, Medical Center al Princeton, August 25, 1999/July 25,
               2001.
         "Acute Psychosis." Lecture to residents, Medical Center at Princeton, Several years since Jufy 12, 2000.
         "Trauma and Psychiatry after September 11 111." Lecture to faculty fellows at Princeton University, November
                28, 2001.
         "Aslc the Doctor." Seminars with members ofDBSA New Jersey, periodically since 2003.
         "Alcoholism." Lecture to residents, Medical Center at Princeton, February 5, 2003.
         "Origins of Animation.'"Lecture to faculty fellows at Princeton University, February 25, 2003.
         "Depression in Adults." Grand Rounds, Department of Medicine, University Medical Center at Princeton,
                June IS, 2004.
         "Introduction to Psychiatry.'' Lecture to public at Princeton Fitness and Wellness Center, November IS,
                2004.
         "Meteorites: Science or Cosmic Vandalism?" Lecture to faculty fellows at Princeton University, February 9,
                2005.
         ;.A Psychiatrist's Perspective on Depression." Lecture at symposium Mental Illness as a Spiritual Journey.
                Princeton Theological Seminary, April 18, 2006.
         "America's History in Coins." Lecture to faculty fellows at Princeton University, October 17, 2006.




                                                                                                                   App.589
USCA Case #24-1365             Document #2100970                             Filed: 02/17/2025                  Page 113 of 214




         David t. Nalhan, MD, DFAPA                                                                            7


         "Art and Science of Psychiatric Diagnosis."
                I. Grand Rounds, Department of Psychiatry, UMDNJ Camden, October 30, 2007.
                2. Lecture to Princeton Independent Consultants at Nassau Club, October 20, 2008.
                3. Grand Rounds, Department of Psychially, Princeton House, January 14, 2009.
                4. Lecture to faculty fellows at Princeton University, April 22, 2009.
                5. Keynote Address at DBSA NJ Annual Conference, May 8, 2010.
                6. Grand Rounds, Department of Medicine, University Medical Center at Princeton, December 14,
                    2010,
         "Cannabis." Lecture to faculty fellows at Princeton University, November 17,.2010.
         "New Directions New Jersey: A Public Safety and Health Approach to Drug Policy." Panel Discussion for
                Drug Policy Alliance, March I9, 201 I.
         ''2011 Update on Psychiatric Medications." Lecture to lay public at NAMI Mercer Harvest of Hope
                Conference, October I, 201 I.
         "2011 Update on Psychotropics." Grand Rounds, Department of Medicine, University Medical Center at
                Princeton, February 21, 2012.
         "2012 Update on Psychiatric Medications." Lecture to Jay public at NAMl Mercer Harvest of Hope
                Conference, October 6, 2012.
          "Ethics, Medicine, and Mental Health TreatmenL" Lecture, Princeton Theological Seminary, October 8,
                2012.
         "Bill to Tax and Regulate Marijuana Like Alcohol." Press Conference, Pennsylvania State C;y>itol, February
                11, 2013.
         " Marijuana and Legalization: What Clinicians Need to Know." Grand Rounds, Depar1rnent of Psychiatry,
                Princeton House, April 8, 2013.
           "2013 Update on Psychiatric Medications." Lecture to lay public atNAMI Mercer Harvest of Hope
                Conference, October 5, 2013.
         "Marijuana and Legalization: What Clinicians Need to Know." Grand Rounds at McCosh Infirmary,
                Princeton University. November 5, 2013.
          "So You 're Thinking about Medical School." Lecture to Princeton University pre-meds. November 6, 20 I3.
          "Stressed or-Sick: Distinguishing Psychiatric Disorders from Everyday Problems." Lecture lo faculty fellows
                at Princeton University, November 20, 2013.
          "A Doctor's Perspective on Marijuana Legalization." Lecture at Windrows, Plainsboro, NJ, Maroh 5, 2014.
          "Schizophrenia." Lecture to NAM! Mercer, April 15, 2014.
          "Medications for Anxiety and Depression.'' Lecture to staff at Longyearbyen Sykehuset, Longyearbyen,
                Svalbard, August 21, 2014.
          Dozens oflcctures and seminars since 20 IS on cannabis legalization and regulation in a variety ofsettings,
                including the International Drug Policy Reform Conference, Policy Committee of the Medical Society
                of New Jersey, CannMed 2017 at Harvard Medical School, Princeton University, Rider University
                symposium on cannabis policy, Rutgers University symposium on cannabis policy, Southwest
                Cannabis Conference, Cannabis Business Executives Conference and other venues.

         Testimony jn State Legislatures:
         Testimony on marijuana legalization; Senate Judiciary Committee, New Jeney State Legislature, Trenton,
               NJ, November 16, 2015.




                                                                                                                   App.590
USCA Case #24-1365            Document #2100970                           Filed: 02/17/2025                Page 114 of 214




         DaViid L Nathan, MD, DFAPA                                                                        8


         Testimony on An Act Concerning the Regulation and Taxation of the Retail Sale and Cultivation of
                Marijuana (HB 5314); Public Health Committee, CoaaecticutGeneral Assembly, Hartford, CT,
                March 7, 2017.
         Testimony on Cannabis Regulation, Control and Taxation Act (H 5555); House Judiciary Committee, State
                ofRhodelslutd General AHembly, Providence, RI, April 11, 2017.
         Written testimony on the Delaware Marijuana Control Act (HB 11 0); House Revenue and Finance
                Committee, Delaware General Assembly, May 10, 2017.
         Testimony on Cannabis Legalization Bill (S 2195); New Jeney State Legislature, Trenton, NJ, June 19,
                2017.
         Testimony on Cannabis Regulation and Taxation Act (SB 316, HB 2353); llllnois General Assembly,
                Chicago, IL, January 22, 2018.
         Testimony on marijuana legalization; Oversight, Refonn and Federal Relations Committee, New Jersey
                State Legislature, Trenton, NJ, March 5, 2018.
         Testimony on the reclassification of marijuana; New Jeney Division of Consumer Affairs, Trenton, NJ,
                April 24, 2018.
         Testimony on cannabis legalization; Joint Standing Committees on Codes, Health, Governmental Operations.
                and Alcoholism and Drug Abuse, New York State Assembly, New York, NY, October 16, 2018.
         Tesltimony on An Act Relating to the Regulation of Cannabis (S 54); Senate Judiciary Committee, Vermont
                General Assembly, January 31, 2019.
         Written Testimony on New Jersey Cannabis Regulatory and Expungement Aid Modernization Act (S 2703 /
                A 4497); Senate Judiciary Commiltee and Assembly Judiciary Committee, New Jeney State
                Legislature, Trenton, NJ, March 18, 2019.
         Tes1timony on marijuana legalization, House Finance Committee; Pennsylvania General Assembly,
                Harrisburg, PA, June 10, 2019.
         Tesitimooy on An Act Relating to the Regulation of Cannabis (S 54); House Health Care Committee,
                Vermont General Assembly, January 24, 2020.
         Written Testimony on An Act Concerning the Adult Use of Cannabis (SB 16); Judiciary Committee,
                Connecticut General Assembly, Hartfo rd, CT, March 3, 2020.
         Tes1tirnooy oo enabling legislation for marijuana legalization; Assembly Oversight, Refonn and Federal
                Relations Committee, New Jersey State Legislature, Trenton, NJ, November 9, 2020.
         Tes1timooy on the New Jersey Cannabis Regulatory, Enforcement Assistance, and Marketplace
                Modernization Act (A21); Assembly Appropriations Committee, New Jersey State Legislature,
                Trenton, NJ, November 19, 2020.
         Tcs'timony on the prevention of non-medical underage cannabis use; Senate Judiciary Committee, New
                Jersey Slate Legislature, Trenton, NJ, February 15, 2021.
         Tes•timony on cannabis legalization (HB 150); House Health & Human Development Committee, Delaware
                General Assembly, March 24, 2021.
         Testimony on marijuana regulation (HB 305); House Health & Human Development Committee, Delaware
                General Assembly, January 26, 2022.
         Testimony supporting cannabis labeling requirements (LD2147); Joint Standing Committee of Veterans and
                Legal Affairs, Maine State Legislature, January 24, 2024
         Testimony on cannabis regulation (SB 3335, HD!); House Committee on Consumer Protection and
                Commerce, Hawai'l Stale Legislature, March 18-20, 2024.




                                                                                                               App.591
USCA Case #24-1365             Document #2100970                           Filed: 02/17/2025                Page 115 of 214




         David L. Nathan. MD, DFAPA                                                                         IJ


         Testimony fa United States Congress:
         Testimony on marijuana legalization. "Marijuana Laws in America: Racial Justice and the Need for
               Reform." Subcommittee on Crime, Terrorism and Homeland Security; US House Judiciary
               Committee. Untted States House ofRepresentadva, Washington, DC, July IO, 2019.

                                                                                     Date Prepared: April 30, 2024




                                                                                                                 App.592
USCA Case #24-1365           Document #2100970              Filed: 02/17/2025        Page 116 of 214




        Devan Maurice Dupuis & Nicholas Barreto
        62 Washington street A 1O
        Haverhill, MA, 01832
        devandupuis@gmail.com
        (781 -351-3166}

        June,20,2024

        Drug Enforcement Administration
        Attn: Administrator
        8701 Morrissette Drive
        Springfield, Virginia 22152

        Subject: Request for Hearing and Waiver -

        Document Type: Proposed Rule
        Document Citation: 89 FR 44597
        Page: 44597-44622 (26 pages)
        CFR: 21 CFR 1308
        Agency/Docket Numbers: Docket No. DEA-1362
        A.G. Order No.: 5931-2024
        Document Number: 2024-11137

        To Whom It May Concern,

        We are writing to formally request a hearing and submit a waiver in connection
        with the regulatory proceedings referenced above. We assert our position on the
        matters of fact and law as outlined below and seek the opportunity to present our
        case before the appropriate authorities.

        Statement of Position;

        - Matters of Fact:

        - The proposed rescheduling of cannabis from Schedule I to Schedule Ill does
        not adequately address the systemic issues and historical injustices associated
        with Its classification.




                                                                                          App.593
USCA Case #24-1365        Document #2100970               Filed: 02/17/2025         Page 117 of 214




        - The continued scheduling of cannabis, even at Schedule Ill, unfairly benefits
      pham,aceutical companies, limiting access for patients and the general public
      who could benefit from its therapeutic properties.

        - The LaGuardia Committee Report (1944) concluded that marijuana is not
      addictive. does not lead to the use of harder drugs, and poses no significant
      social danger. This report challenges the stigma associated with cannabis use.
      This study indicated that cannabis does not meet the criteria for Schedule I or
      even Schedule Ill substances, citing its medical benefits and low potential for
      abuse.


        - The Shafer Commission Report (1972) recommended the decriminalization of
      personal cannabis use, highlighting the disproportionately harsh penalties
      imposed under current laws. This study indicated that cannabis does not meet
      the criteria for Schedule I or even Schedule Ill substances, citing its medical
      benefits and low potential for abuse.


        - The Medical College of Virginia Study (1974) found that THC, a component of
      cannabis, could shrink tumors and effectively combat cancer cells. This
      groundbreaking research underscores the potential therapeutic benefits of
      cannabis.

        - The Institute of Medicine (IOM) Report (1982) emphasized the need for
      further research into cannabis's medical uses and its potential therapeutic
      benefits, advocating for a more scientific approach to cannabis policy.


        - DEA Administrative Law Judge Francis Young's Ruling (1988) concluded that
      "Marijuana, in its natural form, is one of the safest therapeutically active
      substances known to man," recommending its reclassification to facilitate medical
      use. This ruling challenges the current classification of cannabis as a Schedule I
      substance.


        - The Institute of Medicine Report (1999) acknowledged the medical benefits of
      cannabis and advocated for continued research to explore its therapeutic
      potential.




                                                                                      App.594
USCA Case #24-1365         Document #2100970              Filed: 02/17/2025      Page 118 of 214




        - The World Health Organization (WHO) Recommendations (2019) suggested
      the international rescheduling of cannabis and its derivatives due to medical
      benefits and lower risk profiles compared to other Schedule I substances,
      highlighting global recognition of cannabis's medicinal value.

        - Nixon Administration: In the 1970s, President Richard Nixon commissioned
      studies on cannabis, including the Medical College of Virginia Study, which found
      promising medical uses for THC. Despite these findings, Nixon dismissed the
      research and escalated the War on Drugs, perpetuating misinformation about
      cannabis.

         - Reagan Administration: During the 1980s, the Reagan administration ignored
      recommendations from the Institute of Medicine and other scientific bodies
      advocating for further research into cannabis's medical benefits. Policies during
      this era reinforced strict anti-cannabis laws and hindered scientific progress.

      2. Matters of Law:

        - These historical and scientific findings challenge the basis for current
      cannabis scheduling under the Controlled Substances Act (21 CFR 1308). The
      evidence presented supports the argument for reconsidering the scheduling of
      cannabis to reflect its therapeutic potential and societal impact accurately.

      We believe that a hearing is necessary to ensure a fair and thorough examination
      of these issues. We respectfully request that the DEA schedule a hearing at the
      earliest convenience to address these matters.

      For informational purposes, We are also sending courtesy copies of this request
      for hearing and waiver to the following addresses:

      1. Drug Enforcement Administration
        Attn: Hearing Clerk/OALJ
        8701 Morrissette Drive
        Springfield, Virginia 22152

      2 . Drug Enforcement Administration
         Attn: DEA Federal Register Representative/DPW




                                                                                    App.595
USCA Case #24-1365        Document #2100970               Filed: 02/17/2025      Page 119 of 214




       8701 Morrissette Drive
       Springfield, Virginia 22152

      Thank you for your attention to this request. We look forward to your response
      and the opportunity to present our case.

      Sincerely,

      Nicholas Barreto and Devan Dupuis




                                                                                       App.596
USCA Case #24-1365         Document #2100970                   Filed: 02/17/2025           Page 120 of 214




         6-20-2024


         Drug Enforcement Administration, Attn : Hearing Clerk/OAW
         8701 Morrissette Drive
         Springfield, Virginia 22152

         Subject: Request for Hearing

         Dear Sir:

         The undersigned, Lori Robinson, hereby requests a hearing in the matter of : Docket No.
         DEA-136. Transferring marijuana from Schedule I of the controlled Substances Act
         ("CSA") to Schedule Ill of the CSA. I am writing to register my opposition to the
         recommendation to move marijuana from Schedule 1 to Schedule Ill of the Controlled
         Substances Act.

         My name is Lori Robinson, and I have a particular interest in rescheduling marijuana
         because of the egregious harm it has caused my family in 2009 when my oldest son,
         Shane Ryan Robinson, began using medicinal marijuana for what he believed would
         provide pain relief (as he was intolerant of prescription pain medication after surgery
         following a wakeboarding accident) but instead suffered a psychotic break from using
         THC marijuana, As a direct result of the detrimental brain assault to my always healthy,
         vibrant and accomplished son from THC marijuana which triggered cannabis-induced-
         psychosis ending in Shane's unfathomable suicide in 2012, I began networking with
          physicians, neuroscientists, and pharmacologists after finding many other parents
          across the country who had also suffered similar tragedies with their teens and young
          adult children from this drug, in 2016, I formed one of the first parent activist
          organizations Moms Strong, to educate about marijuana harms. I believe, as do the
          many parents who I've networked over the years since, our children are the canaries in
          the coal mine.

         In 1996, CA became the first state in the nat1on to approve by popular vote medical
         mar1juana which allowed the marijuana industry to circumvent the FDA regulatory
         process how all other bona fide medicines are approved. For a drug to be approved by
         the FDA, it must be proven in clinical trials to be safe, effective for its intended use,
         and manufactured with uniform quality and potency. This has not been proven
         with smoked. vaped or edlble forms of THC marijuana. Currently, states are
         regulating non-FDA-approved-cannabis products with no safety warnings!!
         And our children. teens and young adults. are particularly vulnerable to addiction
         and mental health disorders at this age.




                                                                                              App.597
USCA Case #24-1365           Document #2100970                     Filed: 02/17/2025        Page 121 of 214




       The Moms Strong community strongly argues 21 st century marijuana and all its
       byproducts are not hannless. yet many Americans believe this falsehood . Our children
       and our families are suffering unimaginable horrors caused by this drug. There is
       abundant scientific evidence. besides the sad, personal stories found on the website,
       the reality is marijuana is a potent and addictive substance with the potential to cause
       significant. irreparable hann. A new study published in the journal Psychological
       Medicine has found that teens who use cannabis are at an elevenfold higher risk of
       deve!oplng a psychotic dfsorder compared to those who do not use the drug. This study
       underscores the potential mental health risks associated with cannabis use among
       adolescents.

       As a grandmother to a one-year-old grandson, I remain terrified at the soaring number
       of pediatric THC poisonings throughout the country. A study published Jan 2023 in the
       journal Amer Academy of Pediatrics highlights the increasing frequency and potential
       for acute toxicity of pediatric cannabis ingestions associated with widespread
       legalization. Seventy percent of the cases in this study were reported to have central
       nervous system depression wnich In some cases required intubation as the child's
       breathing stopped.

       Please allow American families harmed by marijuana to be heard and represented ln
       considering the risks of rescheduling marijuana. Our communities are naTve and
       completely unaware about cannabis-use-disorders (cannabis-induced-psychosis,
       cannabis-induced-schizophrenia, cannabinoid hyperemesis syndrome), cannabis
       associated cardiovascular events. Cannabis is the most common illicit substance
       detected in suicide victims' toxicology tests. The American Trucking Associations group
       opposes federal effort to reclassify marijuana due to considerable negative
       consequences for highway and safety-sensitive industries

       I encourage you to follow the science and public health evidence on this issue and keep
       marijuana in Schedule I.

       All notice to be sent pursuant to the proceeding should be addressed to:
       Lori Robinson M.S. ,R.O.
       638 Lindero Canyon Rd, -#403
       Oak Park, CA 91377

       You_r~ truly,     ,
           ~rw~~
       Founder, Parent. Grandparent, Advocate

                                               Moms Strong
                              638 Lindero Canyon Rd. #403 Oak. Park. CA 91377
                                Momsstrong.org momsstronginfo a .llmail.com
                                               805-300-2447




                                                                                                  App.598
USCA Case #24-1365             Document #2100970                    Filed: 02/17/2025            Page 122 of 214




          National Transportation Safety Board
         Office of the Chair
         Washiogl:on, DC 20594



         June 20, 2024


         The Hoinorable Anne Milgram
         Admini:strator
         Drug Enforcement Administration                                                        N
                                                                                                CT\
         8701 Morrissette Dr.
         Springfield, VA 22152

          Re: Docket Number DEA-1362


          Dear Administrator Milgram:

                As chair of the National Transportation Safety Board (NTSB ), I am aware that the
          US Druig Enforcement Administration (DEA) has received one or more hearing
          requests that include transportation safety topics pertaining to the DEA's notice of
          proposed rulemaking, "Schedules of Controlled Substances: Rescheduling of
          Marijuana," published at 89 Federal Register 44597 on May 21, 2024.

                 lihe NTSB will provide formal comments on the DEA-proposed rule next
          month. I write now to express my support for an in-person hearing1 to examine the
          facts ar11d expert opinions regarding the effects of the proposed re!scheduling action
          on tran:sportation safety. If you decide to hold such a hearing, as I hope you will, I will
          support NTSB participation, and anticipate filing a written notice o,f intent to
          participate pursuant to 21 Code of Federal Regulations (CFR) 130B.44(b).

                  I am deeply concerned that the proposed rule would preve•nt testing
          transpc,rtation employees in safety-sensitive positions (under 49 CFR Part 40) and air
          traffic controllers (under federal workplace-drug testing procedur,es) for marijuana
          use. CUirrently, such testing is authorized for only Schedule I and II controlled
          substances. More broadly, the complex transportation safety implications of
          marijua1na rescheduling have a potential to affect everyone who initeracts with
          transpe>rtation systems and infrastructure, from vehicle operators ,ind passengers to
          pedestrians and bystanders.




          71082




                                                                                                        App.599
USCA Case #24-1365        Document #2100970                     Filed: 02/17/2025           Page 123 of 214




                                                    2


               Thank you for considering the vital public health Issue of transportation safety
         as you i~valuate hearing requests.

         Sincerely,


                 ~
          Jennifer Homendy
          Chair

          cc: Hearing Clerk/OALJ
              DEA

             DE)\ Federal Register Representative/DPW
             DEt1




                                                                                                  App.600
  USCA Case #24-1365                      Document #2100970                            Filed: 02/17/2025                  Page 124 of 214
                                                                          ~'ITO




                                                                        souni
ALAN WILSON
ATTORNEY GENERAL


                                                                    June 20, 2024

           Filed via the Federal eRulemaking Portal

           Drug Enforcement Administration
           Attn: Administrator
           8701 Morrissette Drive
           Springfield, VA 22152

           RE: Docket No. DEA-1362, “Schedules of Controlled Substances: Rescheduling of
           Marijuana”

           Dear Administrator Milgram:

           We, the undersigned state Attorneys General, write in support of requests for a public hearing 1
           on the Proposed Rule, 89 Fed. Reg. 44,597 (May 21, 2024), which would reschedule marijuana
           from a Schedule I drug to a Schedule III drug under the Controlled Substances Act, 21 U.S.C.
           § 801, et seq. (“CSA”). Considering the potential impacts of the Proposed Rule, a public hearing
           is in the public interest, and therefore in the interest of our states.

           First, rescheduling marijuana as a Schedule III drug is likely the most consequential rulemaking
           DEA has ever undertaken. The Proposed Rule carries both national and international
           ramifications. It would change the definition of currently accepted medical use and would alter
           the way the federal government implements international treaty obligations under the United
           Nations’ Single Convention on Narcotic Drugs. The Proposed Rule also represents the most
           significant relaxation of narcotics restrictions in the history of the CSA. Such sweeping changes
           cannot properly be made in the absence of a robust administrative record. That’s why
           Congress required such decisions to be made on the record with an opportunity for a public
           hearing.

           Second, a hearing would aid DEA’s evaluation of the important sociological and scientific
           issues at stake in any major shift in drug classification. As DEA made clear in the Proposed

           1 See, e.g., NATIONAL DRUG AND ALCOHOL SCREENING ASSOCIATION, Comment on
           Proposed Rule 89 Fed. Reg. 44,597, DEA-2024-0059-20317 (Jun. 17, 2024).

                                                                            1

      REMBERT C. DENNIS BUILDING   ●   POST OFFICE BOX 11549   ●   COLUMBIA, SC 29211-1549   ●   TELEPHONE 803-734-3970   ●   FACSIMILE 803-253-6283




                                                                                                                               App.601
  USCA Case #24-1365                     Document #2100970                             Filed: 02/17/2025                Page 125 of 214
     Rule, additional data and rigorous scientific analysis is needed to determine whether marijuana
     may be appropriately assigned to Schedule III. A hearing is needed to sort through competing
     claims about marijuana’s pharmacological effects, potential for abuse, and impacts on public
     safety. Such a hearing would allow outside experts to present their views on the most current
     evidence on those topics, and their presentations would be subject to cross-examination. It
     would also allow local leaders, law enforcement groups, and advocacy organizations to speak
     on the complexity of this issue.

     Reclassifying any drug from Schedule I to Schedule III is a significant change. Especially
     considering how politically fraught the topics of marijuana use and legalization have become,
     a dramatic change in the classification of marijuana should not be done lightly or without
     sufficient public input. DEA should hold a public hearing on the Proposed Rule.

     Respectfully,



     Alan Wilson                                                            Brenna Bird
     Attorney General of South Carolina                                     Attorney General of Iowa




     Steve Marshall                                                         Kris Kobach
     Attorney General of Alabama                                            Attorney General of Kansas


     ;:ey-                                                                  }sti~
     Tim Griffin                                                            Liz Murrill
     Attorney General of Arkansas                                           Attorney General of Louisiana


      01 J) K.~                                                             ~
     Raúl Labrador                                                          Lynn Fitch
     Attorney General of Idaho                                              Attorney General of Mississippi



     C::r?«                                                                 (li__it -
     Todd Rokita                                                            Austin Knudsen
     Attorney General of Indiana                                            Attorney General of Montana

                                                                      2
REMBERT C. DENNIS BUILDING   ●   POST OFFICE BOX 11549   ●   COLUMBIA, SC 29211-1549   ●   TELEPHONE 803-734-3970   ●   FACSIMILE 803-253-6283




                                                                                                                            App.602
  USCA Case #24-1365                     Document #2100970                             Filed: 02/17/2025                Page 126 of 214



     Mike Hilgers                                                           Bridget Hill
     Attorney General of Nebraska                                           Attorney General of Wyoming




     John M. Formella
     Attorney General of New Hampshire




     Drew Wrigley
     Attorney General of North Dakota




     Gentner Drummond
     Attorney General of Oklahoma



     Marty Jackley
     Attorney General of South Dakota




     Ken Paxton
     Attorney General of Texas




     Sean Reyes
     Attorney General of Utah




                                                                      3
REMBERT C. DENNIS BUILDING   ●   POST OFFICE BOX 11549   ●   COLUMBIA, SC 29211-1549   ●   TELEPHONE 803-734-3970   ●   FACSIMILE 803-253-6283




                                                                                                                            App.603
USCA Case #24-1365            Document #2100970                       Filed: 02/17/2025             Page 127 of 214




                                                                                          l    United

                                                                                      A        States
                                                                                               Cannabis
                                                                                               Coalition
         United States Cannabis Coalition
         PO Box329
         Marietta, OK 73448



         June 20, 2024



         Drug Enforcement Agency
         8701 Morrissette Dr1ve
         Springfield, Virginia 22152


         Re: Docket No. DEA-1362 (courtesy copy)

         Attn: Attn: Hearing Clerk/OAU,



         l am writing to formally request a meeting and public hearing with the Drug Enforcement
         Administration to discuss the current re-scheduling of cannabis under the Controlled
         Substances Act. The scientific evidence and shifting societal attitudes strongly indicate that
         cannabis's current Schedule I classification is no longer tenable.



         However, I want to caution against the possibility of cannabis simply being rescheduled to
         Schedule Ill. While this would represent an improvement over the status quo, in many ways it
         could be just as problematic, if not worse, than the current paradigm.



         Schedule Ill substances are still considered to have an accepted medical use, but also a
         moderate to low potential for abuse and physical/psychological dependence. This would subject
         cannabis to a complex web of regulatory requirements and restrictions that could severely limit
         patient access and the development of a legitimate, regulated industry.



         Rescheduling cannabis to Schedule Ill could also perpetuate many of the same law enforcement
         and criminal justice issues that we've seen with the current Schedule I status. Police could still
         use the presence of cannabis as probable cause for searches and arrest~. Individuals could face
         felony charges for possessing or distributing amounts that exceed arbitrary thresholds.




                                                                                                          App.604
USCA Case #24-1365           Document #2100970                      Filed: 02/17/2025               Page 128 of 214




                                                                                             United

                                                                                     A       States
                                                                                             Cannabis
                                                                                             Coalition


         In contrast, the only reasonable path forward is the full de-scheduling of cannabis from the
         Controlled Substances Act altogether. This is the approach taken by both the Democ.rat-
         sponsored Marijuana Opportunity Reinvestment and Expungement Act (H.R.3617) and the
         Republican-sponsored Common Sense Cannabis Reform for Veterans, Small Businesses, and
         Medical Professionals Act (H.R.1017)



         De-scheduling would allow states to regulate cannabis as the people they represent see fit per
         the 10th Amendment of the U.S. Constitution; moreover, it would remove the current barriers t o
         research, medical use, and the development of a legitimate, safe industry. It would also
         eliminate the racially disparate enforcement and criminaliiation that has defined the failed
         " War on Drugs."



         I believe a thorough, evidence-based review by the DEA would inevitably lead to this
         conclusion. That is why I am once again formally requesting an in-person meeting, as well as a
         public hearing where medical experts, patients, and other stakeholders can provide testimony
         on this critical issue.



         The health and well-being of the American people are at stake. I look forward to working
         constructively with the DEA to chart a new, sensible path forward on cannabis policy. Please let
          me know how I can assist in this process.



         Sincerely,

          Patrick H Moore

          Director

          United States Cannabis Coalition




                                                                                                        App.605
USCA Case #24-1365           Document #2100970                      Filed: 02/17/2025             Page 129 of 214




                                                                                NV Small Farma Ltd

                                                                                        728 Broadway
                                                                                  Kingston . NY 12401

                                                                                 Tel 212 -460 -8643
                                                                             www.nysmallfarma.org




       Drug Enforcement Administration
       Attn: Administrator
       8701 Morrissette Drive
       Springfield, Virginia 22152

                 Re: Request to be considered to testify at hearing for Docket No. DEA-1362 •
                 Rescheduling of Marijuana

        Dear Drug Enforcement Administrator:

        My name is Nkole Ricci . I am the president of New York Small Farma Ltd . ("NYSF'') is a New
        York (NY) not for profit and 501(c}(3) educational organization headquartered in Ulster County,
        NY and focused on regenerative production of adult-use cannabis. We host science-based
        education programs for the NY community, the consumer, and the industry stakeholders on the
        importance and benefit of an adult use cannabis production program that has a low carbon
        footprint, is consciously grown within the ecological limits of this planet and is grounded in
        opportunity for all. NYSF was founded in 2019 and our mission Is to foster a socially just,
        environmentally regenerative, and economically inclusive cannabis community. NY state is the
        largest consumer population of adult use cannabis in the world and its prohibition laws were
        among the most racist in the country.

        Background on NYSF

        From its inception, NYSF has worked to ensure the future of NY cannabis is environmentally and
        economically sustainable. We were instrumental in procuring the environmental provisions: to
        improve climate resiliency and protect the environment into the intent of Marihuana
        Regulation and Ta,cation Act (MRTA). now the NY Cannabis Law. NYSF was also instrumental in
        securing provisions in the MRTA calling for cannabis cultivation practices to be guided by
         regenerative practices and standards as well as expanding the definition of distressed farmer.
        We were an instrumental part of a coalition of activist who worked to ensure the law was
         rooted in social justice and incorporated a provisions specifically to redress communities
        disproportionately impacted by the racist implementation of prohibition laws and policies.

        During the drafting of the regulations that now govern the implementation of NY's Cannabis
        Law, the organization worked closely with regulators to ensure the law's focus on environment
        and justice were carried forward in the rules that govern homegrow and licensed cannabis


        No. OEA-1362 -Rescheduling of Marijuana                                                         1




                                                                                                        App.606
USCA Case #24-1365            Document #2100970                        Filed: 02/17/2025            Page 130 of 214




       production. For the past three years the organfzation llas been coordlnatlng and deOvering
       education and outreach to community and industry stakeholders on the new regulations and
       facilitated public comment into the process. Through our work we have cultivated expertise in
       NY regulations, compliance, and market trends. Our educational events include, we hosting
       classes, workshops, and webinars to prepare and educate the public on what was written in the
       MRTA and the regulations and how those provisions affect each stakeholder. Our classes and
       w ebinars are consistently attended by hundreds of participants. Concurrently we have worked
       with regulators to provide science-based approach to cannabis production. We served as a
       State Technical Partner during licensing and post licensing. We advocate for policies and
       regulations that further the provisions of the MRTA, such as those that favor and support social
        and economic equity applicants and licensees; encourage an end to the Illicit market by
       providing fair pathways for traditional market growers and operators; and improve climate
       resilience. Our stakeholders include cannabis consumers, industry members, traditional market
        growers, like-minded organizations, and government officials.

        Our main focus in assisting small businesses and in particular small, craft cultivators launch and
        maintain successful, low carbon operations. Part of the focus on the MRTA was to revitalize
        NY's agricultural sector. The U.S. has seen a decline in food production and agricultural land
        with an increase in relying on importing food to feed Americans. We host an annual farmers
        forum which provides science-based education to current cannabis farmers with a focus on the
        small, family run farm. We hosted the first licensed cannabis farmers forum and regenerative
        cannabis conference in the state.

        We partnered with the Office of Cannabis Management (OCM) to develop clear pathways for
        traditional market growers (illicit growers) into the regulated market. Through our
        collaboration, the Cannabis Compliance Training and Mentorship (CCTM) p(ogram was
        developed. NYSF provided the basis for the curriculum for that program and organized
        meetings between traditional market entrepreneurs who were also social and economic equity
        and OCM. In addition to working within the industry, NYSF also provides general consumers
        without any cannabis business background, classes and webinars to assist them in learning
        about cannabis, home cultivation, and what opportunities exist for entrepreneurs and
        workforce in the new industry.


        Presently, NYSF works wlth a network of current and future cannabis cultivators and
        microbusiness owners who represent social and economic equity and legacy operators. We
        assist our network of licensed farmers in setting up and sustaining regenerative, small-scale,
        low carbon footprint operations as well as baseline assessments for transitioning fa rms to fully
        regenerative. We also assist these operations in developing and implementing environmental
        sustainability plans as well as community development plans. We also run an industry Incubator
        for Ulster County and were recently awarded a state grant to assist the industry in maintaining
        complaint production operations.




                                                                                                             2




                                                                                                        App.607
USCA Case #24-1365             Document #2100970                         Filed: 02/17/2025              Page 131 of 214




                                                                                    NY small Farma Ltd

                                                                                             728 Broadway
                                                                                       Kingston, NY 12401

                                                                                      Tel. 212 460 8643
                                                                                  www.nysmallfarma.org


       Our science-based approach to plant education involves working with several of NY educational
       institutions on plant research. Through partnership with Columbia University and Adult Use
       Conditional Cultivators (AUCC) farmers, NYSF is currently engaged in research on sustainable
       cannabis production, that will look at the chemical composition of cannabinoids grown under
       different light conditions and a separate study to look at cannabinoid and terpene conditions at
       different intervals postharvest. NYSF ls also working with SUNY schools to develop a curriculum
       that will provide SUNY student with access to plants in the field and workforce training videos
       for cultivation, harvest, and post-harvest education series. Due to on-farm partnerships with
       several AUCCs, these studies are currently underway for this grow season.

        Our future plans involve obtaining a research and development license from the OCM for a
        NYSF owned and operated incubator focused on community-based economic development,
        The incubator will serve as a resource to provide land access and business assistance to
        traditional growers and equity applicants/licensees seeking microbusiness, tier 1 and tier 2
        licenses. In addition to cultivation knowledge and land access, NYSF Incubator Program will
        provide.small cannabis farmers and equity licensess with resources, mentors, and one- on-one
        training to develop their techniques and business skills to run successful regenerative-based
        micro, craft., and small farm enterprises. The mission of the incubator is to foster a socially just,
        environmentally regenerative, and economically inclusive cannabis community by supporting
        equity entrepreneurs, experienced cultivators, and researchers launch regenerative
        farms/studies rooted in community development.

        NYSF envisions a dotted corridor of microbusiness farms throughout the Hudson River Valley
        region that draws tourists from within NY, the U.S., and internationally to the area to visit these
        farms and the towns where they are located. Many upstate areas are economically depressed.
        Under the current regulations, mictobusinesses are permitted to be vertically integrated, and
        host onsite consumption operations. If well planned and structured, these farms stand to not
        only attract visitors from all over but create a network of ancillary and support businesses
        providing many depressed areas with a new industry, economic development, and tax revenue
        opportunities that cannot be found elsewhere.

        The economy from these farms and the supportive business in the area has the potential to be
        quite vast and contribute not only to NY's economy but that of the country as a whole.

        Ensuring not only that these farms are established but thrive is an essential role of the NYSF
        programming. The alternative to multiple small-owned farms are large-corporate scale
        monocrop cannabis farms. History has shown that an abundance of micro-sized and small-scale
        farms not only employ more workers overtime, but they also create a multiplier effect in the



         No. DEA-1362 -Rescheduling of Marijuana                                                                3




                                                                                                            App.608
USCA Case #24-1365            Document #2100970                        Filed: 02/17/2025             Page 132 of 214




       economy opening up opportunities for ancillary and support businesses for agriculture and
       tourism. Research has also shown that dollars earned by smaller operators stay in the
       community. In contrast larger, corporate operations tend to leach profits to out of state back to
       their headquarters. Multiple smaller operations create a more stable community-based
       economy. If several farms fail, the community can absorb this loss whereas when big box,
       corporate operations close, they displace large numbers of workers all at once, decimating
       entire towns and communities. Further, indoor operations, which are typically how corporate
       grows are cultivated, have a significant impact on carbon emissions and the NY energy grids.

        NYSF Position on Rescheduling:

        We concur with the findings that marijuana is eligible f.or rescheduling and maintain that it's
        listing as a Schedule I was inaccurate and not in accord with the requirements of a Schedule I
        drug. While we are in accord with the finding that there are multiple currently acceptable
        applications of marijuana medically, and there is credible scientific and medical support and
        experience prescribing marijuana as medication, we do not agree with the assessment that
        marijuana poses the level of addiction either psychologically or physiologically that a Schedule
        Ill listing is required to meet. Further there is a preponderance of literature documentl ng that
        most past research studies conducted on marijuana were specifically organized to prove
        negative attributes versus objectively assess its healing properties. More modern research
        conducted post state legalization has provided a more robust and accurate depiction of the
        medicative properties of the plant. We further note that it is in fact a plant. While one can
        process the flower and other parts of the plant to create value added products or other types of
         products and medicine, it is most often consumed in its natural and unaltered state as a plant
         flower and not a medicine made in a laboratory.

        We urge you not to reclassify marijuana as a Schedule Ill, which will include additional controls
        that may conflict with safe and successful state programs, including personal cultivation. In
        addition, placing marijuana in such a category will make it difficult for small businesses to
        compete with large corporations that make up the U.S. big pharmaceutical companies. In
        addition, any reclassification would require adjustments to federal policies in order to make
        marijuana readily available for research studies, in particularly by small organizations such as
        NYSF. It would be more appropriate to DEschedule marijuana and turn the regulation of the
        plant ovef to states until the federal government is poised to adopt federal legalization. Most
        importantly, the federal government should immediately decriminalize marijuana and adjust
        tax and banking laws that would enable safer and more prosperous state programs. As it stands
        small businesses struggle under banking and insurance policies that are weighted against them
        due to the inappropriate classification of this plant at the federal level.

        If the will of the federal body is not yet to fully deschedule this plant, at minimum do not take it
        from one wrong classification to another. A more appropriate scheduling would be at a
        Schedule IV or V. Ultimately, we would like to see the sanctity of the Classification of Substance
        Act remain intact by ensuring all classifications are science based and reasonable and not
        guided by political fears. Wherever the federal government lands on classification and


                                                                                                           4




                                                                                                         App.609
USCA Case #24-1365            Document #2100970                       Filed: 02/17/2025             Page 133 of 214




                                                                                  NY Small Farm a Ltd

                                                                                          728 Broadway
                                                                                    Kingston, NY 12401

                                                                                   Tel, 212· 460-8643
                                                                               www.nysmallfarma.org


       criminalizati,on of this plant, it should not interfere with State programs in anyway and it should
       not create a scenario that made conditions favorable to corporations and burdensome to small
       businesses. Such a scenario would be to the detriment of the citizens of this nation and only
       give rise and renewed energy to an illicit market.

        We would welcome the opportunity t o present our findings and positions at a hearing and
        thank you for your work and needed attention to this issue.

        Respectfully,

        Nicole

        Nicole Ricci, President

                 CC: DEA, Federal Register Representative




         No. DEA-1362 -Rescheduling of Marijuana                                                             5




                                                                                                         App.610
USCA Case #24-1365             Document #2100970                         Filed: 02/17/2025        Page 134 of 214




      CENTER FOR MEDIONAL CANNABIS RESEARCH
      Director: Igor Grant, MD
      Co-Directors : J Hampton Atkinson, MD; Thomas D Marcotte, PhD

      UC San Diego
      220 Dickinson Street, Suite B I San Diego, CA 921031 www.cmcr.ucsd.edu I 619.543.5024




             July 19, 2024

             Drug Enforcement Administration
             Attn: Administrator
             8701 Morrissette Drive
             Springfield, VA 22152

             Re: Docket No. DEA-1362

             To Whom It May Concern:

             By way of background, the Center for Medicinal Cannabis Research (CMCR) has been at the
             forefront of advancing science and policy relating to the potential clinical benefits and limitations
             of cannabis and cannabinoids as medicine for 24 years. Funded by the California State
             Legislature in the year 2000, the CMCR initiated the first therapeutic studies using smoked
             cannabis in over 20 years, and completed key studies regarding the short-term benefits of
             cannabis for the treatment of neuropathic pain and spasticity. Over the ensuing years the CMCR
             has conducted numerous Federally compliant (DEA, FDA) clinical trials, funded by the National
             Institutes of Health, the State of California, and philanthropy. In addition to medicinal studies, the
             CMCR has completed high profile studies regarding the public safety impacts of cannabis use on
             driving, including close, novel collaborations with law enforcement.

             As Director of the CMCR, I request the opportunity to express at a hearing my concerns regarding
             the limitations of the proposed rescheduling with respect to facilitating and advancing research
             on the possible positive, and negative, effects of cannabis on medical and psychiatric symptoms,
             as well as public safety. This includes the ability to perfonn medical research on the types of
             cannabis products that people are actually using. This limitation in our view continues to pose a
             significant public health challenge to people in the United States because they are denied access
             accurate information on benefits and risks of these products.

             Sincerely,


             lg~:.M~
             Mary Gilman Marston Distinguished Professor
             Director Center for Medicinal Cannabis Research (CMCR)
             UC San Diego, Department of Psychiatry


             cc:

              DEA, Attn: Hearing Clerk/OALJ, 8701 Morrissette Dr, Springfield, VA 22152

              DEA, Attn: DEA Federal Register Rep/DPW, 8701 Morrissette Dr, Springfield, VA 22152




                                                                                                      App.611
USCA Case #24-1365             Document #2100970                  Filed: 02/17/2025          Page 135 of 214



         Outlook


   [EXTERNAL] Written Notice of Participation in the December 2nd Public Hearing on Descheduling
   Cannabis

    From Platinum Toast.:;shanildo44@gmail.com >
    Date Mon 8/26/2024 5:25 PM
    To   NPRM .:;NPRM@dea.gov>




   Shane Gallichio

   Lafayette, NJ 07848

   08/26/2024

   Drug Enforcement Administration
   Attn: Public Affairs Office
   600-700 Army Navy Drive
   Arlington, VA 20537

   Dear Sir/Madam,

   Written Notice of Participation in the December 2nd Public Hearing on Descheduling Cannabis

   I am writing to formally notify the Drug Enforcement Administration (DEA) of my intention to
   participate in the upcoming public hearing scheduled for December 2nd, 2024, regarding the
   descheduling of cannabis.

   As an advocate for drug policy reform, Medical Marijuana patient, and a proponent of evidence-based
   approaches to drug regulation, I am eager to be present for the discussion on this important issue.
   The potential deschedullng of cannabis presents a critical opportunity to reassess and potentially
   reform our national drug policies, and I look forward to engaging in a constructive dialogue with other
   stakeholders.

   Please provide any additional information or instructions needed for my participation. If there are
   specific guidelines or procedures that I need to follow, kindly let me know at your earliest convenience.

   Thank you for considering my participation in this significant public hearing. I look forward to
   contributing to the conversation and working towards informed policy changes.

   Sincerely,

   Shane Gallichio




                                                                                               App.612
USCA Case #24-1365                  Document #2100970                               Filed: 02/17/2025                  Page 136 of 214



         Outlook


    [EXTERNAL] Re: "Docket No. DEA-1362 "

    From Brian Austin <brianraustin@ icloud.com>
    Date Thu 8/29/2024 5:32 PM
    To   NPRM <NPRM@dea.gov>



   My mailing address is 1955 Upton Talley Road Upton KY 42784. My phone number again is 270-268-
   8671 . This is t he logistic confirmation to send me anything frorn rny first email regard ing the same
   topic.
   Brian Austin
   Warrior quest


          On Aug 29, 2024, at 5:41 PM, Brian Austin <brlanraustin@idoud .cotn> wrote:



         ··Docket No. DEA-1362"
          l am requesting to be a participant in the upcoming DEA doclcet 1362 any infonnation or process that I need w follow other
         than this written emall request Plesse Jct me ktlow. I can q]so be reached by phone at 270268-867 1.
         I look forward to th~ opportunity to provide my test imony in person thank you very much. Have a nice


          Brian Austin
          Warrior quest




                                                                                                                           App.613
   USCA Case #24-1365          Document #2100970               Filed: 02/17/2025        Page 137 of 214


From:                         Ms. Cris <crisericson7@gmail.com>
Sent:                         Thursday, August 29, 2024 11:51 PM
To:                           al taylor; admin@legalmarijuananowmn.org; shereekrider@usmjparty.com; NPRM
Subject:                      [EXTERNAL] To: nprm@dea.gov I would like to participate in the Hearing on
                              Rescheduling Cannabis
Attachments:                  Screenshot 2024-08-30 12.22.20 AM.png; Screenshot 2024-08-28 8.29.25 PM.png;
                              MyCard (1).png; CRISd.jpeg; Crisc.jpeg; Crisb.jpeg; CrisCSpan.webp; dna.jpg



I would like to participate in the Hearing on the
rescheduling of marijuana marihuana cannabis.
I have been interested in the subject starting with a visit
to the Hemp Lawn Farm on the Benson Pike in
Shelbyville, Kentucky where my grandfather was born.
Scroll down below my art and music to documents and letters
from the farm at https://crisericson2022.wordpress.com
I have been a perennial political candidate advocating
marijuana legalization starting 2002 in Vermont.
This year, I am a write-in candidate, at age 72,
because I now have bi-lateral arthritis and do not walk well enough
to go out and collect ballot access petition signatures.
My current primary care doctor knows I have arthritis from the
x-rays and visual inspection of my body, but refuses to
prescribe any pain relief medication.
I do not use or grow marijuana cannabis. I am patiently
waiting for it to become entirely legal so I don't have to
be insulted by any doctor anymore.
I told the current primary care doctor that I did my research
on Google, and he said,
 "google! Dr. Google! I've been to medical school for 12 years!"
He failed to recognize that I am a senior citizen adult
and I have every right to be interested in researching
my body and medical issues for a person my age on
the internet. For him to be upset that I have the
intelligence to research medical issues just shows that
he is suffering from low self esteem because he feels
so angry at me and "Dr. Google". After he said that
he had been to medical school for 12 years, I said,
 "I know, I researched you, too."
Then he glared at me in fury and started telling me
about the cold winter winds where he used to live about a year ago
 and that the cold winds sliced the body like a "machete".
 This behaviour of this doctor is not the only intimidating behaviour
of doctors I have been exposed to.
If my experience is common, or if even a fraction of
people over age 70 have felt threatened by their medical
                                                      1




                                                                                          App.614
USCA Case #24-1365         Document #2100970                Filed: 02/17/2025     Page 138 of 214
     doctors just because they do their own research and have
     concluded that half the senior citizen prescription drugs
     are doing us more harm than good, if my experience is
     at all similar to other senior citizens, then this must be known and shared.




                                                          2




                                                                                 App.615
USCA Case #24-1365     Document #2100970     Filed: 02/17/2025   Page 139 of 214




   Vote for Write-in Candidate
   Cris Ericson on Nov. 5, 2024
  Write-in Candidate for US Senate Vermont


  http://vt2024.com
  ru18vote@gmail.com

    VERMONT
   Endorsed by the
   Legal Marijuana Now Party of MN
   LegalMa.rijuana owParty.com




                                                                   App.616
           USCA Case #24-1365                                Document #2100970                                        Filed: 02/17/2025                   Page 140 of 214




0     *   DEA Adminl•trator Announce<   X     0 2024-19370.pdf                  X        +
                   <c.   p,ublic--inspection. federalregister_gov/2024-1 9370.pdf
                                                                                                                                                                                *

                                                                                ACTION: Notice of hearing on proposed rulcmaking,

                                                                                SUMMARY: This is notice ihat the Drug Enforcement Administration will bold a hC'dring

                                                                                wltb respect to the proposed rescheduling of marijuana into schedule 0.1ofthe.Cootrolled

                                                                                Substances Aer_ The proposed rescheduling of marijuana was initially proposed in a Notice

                                                                                of Proposed Rulemaking published in the Federal Regis ter on May11, 2024.

                                                                                DA TES: Interested persons desiring to participate in th.is hearing must provide wrincn

                                                                                nnticc nf dc~ired par1icipmio11 "-~ ~et nllf helnw. on nr hefnrc flNSERT OA TF. 'lO f)A VS

                                                                                AJ:TER OATE OF PUBLICATION].

                                                                                    The hearing will commence on December 2. 2024. at 9 a.m. ET at 700 Anny Navy Drive.

                                                                                Arlington., VA 22202. The hearing may be moved to a different place and may be continued

                                                                                from day to day or recessed to a later date without notice other than announcement thereof by

                                                                                the. presiding officer at the hearing. 2 1 CFR 1316.53.

                                                                                ADDRESSES: To ensure proper handling of notification. please reference ·'Docket No.
12
22
                                                                                DEA-1362" on a ll corrc-spondencc.
•
Ill                                                                                  •       Elec1roilic iwt/(icaria11 should be sent to nprh,@lea.gov.




                                                                                                                                                            App.617
                  USCA Case #24-1365                                Document #2100970           Filed: 02/17/2025   Page 141 of 214




0           G eris eriCSOn scott m llne - Goo,   X   a   Vermont Senate Debale I C-SP   X   +
      t--   ➔      C       ':;   c-span.orgNideo/?416993-1 /Vermont-senate-debate
                                                                                                                                      *




D




='I




 8
29

•
Ill




                                                                                                                      App.618
USCA Case #24-1365   Document #2100970   Filed: 02/17/2025   Page 142 of 214




                                                               App.619
USCA Case #24-1365   Document #2100970   Filed: 02/17/2025   Page 143 of 214




                                                               App.620
USCA Case #24-1365   Document #2100970   Filed: 02/17/2025   Page 144 of 214




                                                               App.621
USCA Case #24-1365   Document #2100970         Filed: 02/17/2025   Page 145 of 214


            Genomelink                        HOME v          TRAITS      v



    s 1s your ethnicity estimate result


                            •     Northwestern Europe                72.3%
                            Ill Other European                       12.8%
                            •     East European                      ll.3%
                                1 Asian                               1.5%
                                  Native People of Americas           0.1%
                            4D Oceanian                               00%
                            1r11~ African                            0.4%
                            •     Other




                                Northv11estern Europe
                                8 • s~ Fren !'I Ge•m     sr
                                ~ 1d




        <                              1




                                                                     App.622
USCA Case #24-1365             Document #2100970                   Filed: 02/17/2025         Page 146 of 214

                                      NOTICE OF APPEARANCE
                                    INTENTION TO PARTICIPATE




August 29, 2024

Drug Enforcement Administration
Attn: Administrator
8701 Morrissette Drive,
Springfield, Virginia 22152.

VIA Email: nprm@dea.gov

Subject: Notice of Appearance | Intention to Participate | Docket No. DEA-1362

Dear Sir:

Please take notice that Ronald Lipof respectfully requests to appear in the matter of: Docket No. DEA-
1362, a hearing to consider differing opinions as it relates to the Justice Department’s proposal to federally
reschedule marijuana.

(A) (State with particularity the interest of the person in the proceeding.).

I am particularly interested in appearing at the proceeding to consider differing opinions on the Justice
Department’s proposal to federally reschedule marijuana due to my extensive experience in the legal
cannabis industry and my role as a strategic advisor to businesses navigating this complex regulatory
environment. As the President & CEO of Prince Lobel Strategic Advisors LLC, I have guided numerous
cannabis-related enterprises through critical growth phases, including compliance, licensing, and mergers
and acquisitions. My expertise has allowed me to witness firsthand the economic and social implications
of current cannabis regulations.

Rescheduling marijuana has the potential to significantly impact the industry by altering the legal and
financial landscape, affecting everything from federal taxation under IRS code 280E to access to capital
and market expansion opportunities. I believe my insights can contribute meaningfully to the discussion,
ensuring that the final decision is informed by practical considerations that will foster economic growth,
job creation, and social equity within the cannabis industry. My participation will provide a well-rounded
perspective that integrates both economic and practical considerations, crucial for understanding the
broader implications of rescheduling cannabis at the federal level.

(B) (State with particularity the objections or issues, if any, concerning which the person desires to
be heard.).

While most comments and testimony provided to the committee will likely focus on the scientific review
into marijuana that led to the reclassification recommendation, I request to be heard on the significant
positive economic impacts of rescheduling cannabis. Specifically, I wish to address:




                                                                                                App.623
USCA Case #24-1365             Document #2100970                  Filed: 02/17/2025         Page 147 of 214




The Economic Case for Rescheduling Cannabis: Rescheduling cannabis could unlock new economic
opportunities, including the potential for job creation, market expansion, and increased investment. The
cannabis industry is already a significant contributor to the U.S. economy, and rescheduling could further
accelerate growth by removing existing barriers.

The Tax Case for Rescheduling Cannabis: By reclassifying cannabis, businesses in the industry would no
longer be subject to the strict limitations of IRS code 280E, allowing them to take standard tax deductions
for ordinary business expenses. This change would increase the profitability of cannabis businesses, leading
to higher tax revenues at the local, state, and federal levels.

The Access to Capital Case for Rescheduling Cannabis: Rescheduling would likely increase access to
capital from both banks and private investors by reducing the perceived risk associated with investing in
cannabis businesses. This influx of capital would enable further growth, innovation, and job creation within
the industry.

These considerations are crucial for understanding the broader economic and financial implications of
rescheduling cannabis, and I believe they deserve thorough examination in the upcoming proceedings.

(C) (State briefly the position of the person with regard to the particular objections or issues.).

I am of the position that deciding not to reschedule cannabis at this time would hinder significant economic
opportunities, maintain an unfair tax burden on legal cannabis businesses due to IRS code 280E, and
continue to limit access to capital for an industry that could otherwise thrive under a more favorable
regulatory environment. The refusal to reschedule would perpetuate the existing challenges faced by the
legal cannabis market, slowing growth, innovation, and the potential for job creation and tax revenue
generation.

All notices to be sent pursuant to this appearance should be addressed to:

Ronald Lipof
10401 N 100th Street, #5
Scottsdale, AZ
(617) 716-6117
rlipof@princelobelstrategicadvisors.com

Respectfully yours,




                                                                                              App.624
    USCA Case #24-1365       Document #2100970             Filed: 02/17/2025     Page 148 of 214




•     Outlook


[EXTERNAL] Docket No. DEA-1362"

From Roneet Lev <roneetlev@gmail.com>
Date Fri 8/30/2024 9:08 AM
To    NPRM <NPRM@dea.gov>



I would like to testify in this hearing on rescheduling marijuana.
I am an emergency and addiction physician and Vice President of IASIC, the a international Academy
on the Science and Impact of Cannabis.

Roneet

Roneet Lev, Md

High Truths.com
IASIC1.org




                                                                                   App.625
USCA Case #24-1365                   Document #2100970                  Filed: 02/17/2025         Page 149 of 214
   National Transportation Safety Board
   Office of the Chair
   Washington, DC 20594



   August 30, 2024


   US Drug Enforcement Administration
   Attn: Hearing Clerk/OALJ
   8701 Morrissette Drive
   Springfield, VA 22152

   Subject: Notice of Appearance

   Dear Sir:

         Please take notice that Jennifer Homendy, Chair, National Transportation Safety
   Board (NTSB), will appear in the matter of: Schedules of Controlled Substances:
   Rescheduling of Marijuana (Docket Number DEA–1362).

                 (A) Interest

                     The NTSB is an independent federal agency charged by Congress with
                     investigating every civil aviation accident in the United States and significant
                     events in the other modes of transportation—railroad, transit, highway,
                     marine, pipeline, and commercial space. We determine the probable
                     causes of the accidents and events we investigate and issue safety
                     recommendations aimed at preventing future occurrences. The NTSB is a
                     public health authority for purposes of federal health information privacy
                     laws; we conduct public health activities intended to prevent or control
                     injury. 1

                     Through our accident and incident investigations and transportation safety
                     research, the NTSB has developed experience with marijuana use among
                     noncommercial and commercial vehicle operators and other transportation
                     safety-sensitive personnel. We recognize that marijuana is a prevalent drug
                     with performance-impairing effects, that human performance is critical to
                     the safe operation of transportation systems, and that most people interact
                     with transportation systems multiple times per day. Consequently, we
                     believe that interactions with transportation systems are among the most
                     important ways in which the public may be exposed to risk from marijuana’s
                     effects. This perspective has informed our related recommendations to
                     improve transportation safety.


           1
               See 79 Federal Register (FR) 28970 and Title 49 Code of Federal Regulations (CFR) 831.9(b)(2).


   73675




                                                                                                     App.626
USCA Case #24-1365            Document #2100970                Filed: 02/17/2025         Page 150 of 214
                                             2


             As chair of the NTSB, I affirm my interest in this hearing, and I respectfully
             request the opportunity to present our concerns about the potential
             transportation safety consequences of the proposed rule to transfer
             marijuana to Schedule III of the Controlled Substances Act.

         (B) Issues

             Well-established scientific evidence shows that marijuana impairs the
             abilities needed to safely operate a vehicle and to perform other
             safety-related tasks. Marijuana can adversely affect performance by slowing
             reaction time, altering perception, and impairing sustained attention,
             planning, decision-making, and risk assessment. 2 In our investigations, the
             NTSB has repeatedly identified toxicological findings indicative of
             marijuana use by noncommercial and commercial vehicle operators. 3 Our
             2022 safety research report, Alcohol, Other Drug, and Multiple Drug Use




      2
        Compton, R. 2017. Marijuana-Impaired Driving: A Report to Congress. DOT HS 812 440.
 Washington, DC: National Highway Traffic Safety Administration.
      3
        Some of the NTSB-investigated events that have occurred since 2022, for which dockets have
 been published, and for which at least one vehicle operator toxicology test was positive for the primary
 psychoactive substance in marijuana or one of its metabolites, include the following:
          • Aviation Investigation Final Report, Bay Minette, Alabama, March 11, 2022 (ERA22FA153)
          • Intersection Crash Between Passenger Car and Combination Vehicle, Tishomingo,
              Oklahoma, March 22, 2022, HIR-24-04 (HWY22FH008)
          • Aviation Investigation Final Report, Sausalito, California, May 6, 2022 (WPR22FA172)
          • Aviation Investigation Final Report, Valdez, Alaska, July 11, 2022 (ANC22FA053)
          • Collision between Amtrak Passenger Train and Union Pacific Railroad Roadway Maintenance
              Machine, Oakland, California, July 15, 2022, RIR-23-11 (RRD22FR011)
          • Aviation Investigation Final Report, Seguin, Texas, July 22, 2022 (WPR22FA264)
          • Collision between US Coast Guard Cutter Winslow Griesser and Center-console Boat
              Desakata, Atlantic Ocean, Near Dorado, Puerto Rico, August 8, 2022, MIR-23-14
              (DCA22PM034)
          •   Aviation  Investigation Final Report, Hanna City, Illinois, August 13, 2022 (CEN22FA383)
          • Aviation Investigation Final Report, Watsonville, California, August 18, 2022 (WPR22FA309)
          • Aviation Investigation Final Report, Scio, Oregon, August 21, 2022 (WPR22FA312)
          • Ongoing highway investigation, Goodyear, Arizona, February 25, 2023, see the “Medical
              Factual Report” (HWY23FH008)
          • Ongoing highway investigation, Woodlawn, Maryland, March 22, 2023, see the “Medical
              Factual Report” (HWY23FH010)
 The public dockets, and in some cases final reports, for these events can be viewed using the CAROL
 Query. This list is not intended to be comprehensive, nor were marijuana’s effects necessarily causal or
 contributory in the listed events. Cases in which the NTSB has cited marijuana’s effects in the probable
 cause can be found by using the CAROL Query Custom Search and searching the “probable cause”
 field for “marijuana,” “cannabis,” or “tetrahydrocannabinol.”




                                                                                           App.627
USCA Case #24-1365            Document #2100970                  Filed: 02/17/2025        Page 151 of 214
                                             3


             Among Drivers, found that marijuana was the second-most commonly
             detected potentially impairing drug among study drivers, after alcohol. 4

             In commercial transportation operations, the NTSB is concerned that the
             proposed rule would prevent continued testing for marijuana use by
             safety-sensitive employees who are subject either to the US Department of
             Transportation (DOT) drug testing under Title 49 Code of Federal
             Regulations (CFR) Part 40, or (as is the case for many air traffic controllers) to
             federal workplace drug testing under US Department of Health and Human
             Services (HHS) Mandatory Guidelines for Federal Workplace Drug Testing
             Programs using Urine and Oral Fluid (HHS Mandatory Guidelines). The
             Omnibus Transportation Employee Testing Act of 1991 requires the DOT to
             conform its drug testing procedures with HHS guidelines for federal
             workplace drug testing, including using HHS-certified laboratories. 5
             Executive Order 12564, which required federal executive agencies to
             develop drug-free workplace programs, including employee testing for
             illegal drug use, defines “illegal drugs” to include only Schedule I and II
             controlled substances. 6 The HHS Mandatory Guidelines authorize testing
             for Schedule I and II controlled substances only. 7 Therefore, the NTSB is
             concerned that marijuana testing under 49 CFR Part 40 and HHS Mandatory
             Guidelines would be prevented as an indirect effect of the proposed rule
             because the HHS-certified laboratories used for such testing are not
             authorized to test for Schedule III controlled substances. 8

             We also have broader concerns related to the transportation safety effects
             of marijuana rescheduling that are not limited to drug testing in commercial
             operations. Marijuana rescheduling has a potential to affect everyone who
             interacts with transportation systems and infrastructure, from vehicle
             operators and passengers to pedestrians and bystanders. Anticipating and


     4
       See NTSB. 2022. Alcohol, Other Drug, and Multiple Drug Use Among Drivers. SRR-22-02. The
 safety research included data from four laboratories, each of which provided data from specific
 populations of drivers (such as drivers arrested for impaired driving, crash-involved drivers arrested for
 impaired driving, crash-involved fatally injured drivers, and drivers suspected of impaired driving in a
 crash that involved a fatal or serious physical injury). The safety research did not distinguish between
 commercial and noncommercial drivers.
     5
       Omnibus Transportation Employee Testing Act of 1991, Public Law 102–143, 105 Stat. 952 (1991).
     6
       See 51 FR 32889.
     7
       See 88 FR 70768 and 88 FR 70814.
     8
       During testimony before the House Committee on Transportation and Infrastructure on
 June 27, 2024, the US Secretary of Transportation indicated the DOT did not believe the proposed
 rescheduling action would directly affect marijuana testing of safety-sensitive transportation employees
 who are subject to DOT regulation or employed by the DOT. The secretary stated that the DOT was
 continuing to evaluate indirect effects of the proposed rescheduling action. See the hearing titled
 Oversight of the Department of Transportation’s Policies and Programs and Fiscal Year 2025 Budget
 Request (statement of Pete Buttigieg, Secretary, DOT).




                                                                                             App.628
USCA Case #24-1365          Document #2100970               Filed: 02/17/2025       Page 152 of 214
                                           4


            mitigating the transportation safety risks of rescheduling marijuana will
            require diligent consideration of scientific evidence and expert insight.

        (C) Position

            The NTSB has made no recommendation concerning marijuana’s
            scheduling under the Controlled Substances Act. However, in our
            July 19, 2024, comments on the US Drug Enforcement Administration’s
            (DEA) notice of proposed rulemaking titled “Schedules of Controlled
            Substances: Rescheduling of Marijuana,” we urged the DEA to do the
            following: 9

                • Ensure that any final rule to reschedule marijuana does not
                   compromise marijuana testing under DOT and HHS procedures
                   applicable to safety-sensitive transportation employees.

                • Scrutinize how a DEA determination about marijuana having a
                   currently accepted medical use in treatment in the United States
                   might affect a safety-sensitive transportation employee’s ability to
                   present medical marijuana use as a legitimate medical explanation
                   for a positive marijuana result on a DOT or federal workplace drug
                   test.

                • Diligently examine the multifaceted transportation safety implications
                   of marijuana rescheduling.

                • Proactively educate the public that marijuana rescheduling does not
                   imply that driving or performing other safety-sensitive transportation
                   tasks under the influence of marijuana is safe or legal.

                • Seek specific expertise to avoid unintended consequences of
                   changes affecting 21 CFR Part 1308 definitions, including the
                   definitions of tetrahydrocannabinols, marijuana extract, and (as newly
                   proposed) naturally derived delta-9-tetrahydrocannabinols.

        The NTSB appreciates the opportunity to participate in the upcoming hearing.




    9
      NTSB. July 19, 2024, comments in response to the DEA’s notice of proposed rulemaking
 published at 89 FR 44597 on May 21, 2024.




                                                                                      App.629
USCA Case #24-1365      Document #2100970          Filed: 02/17/2025   Page 153 of 214




                                           5


        All notices to be sent pursuant to this appearance should be addressed to:

            The Honorable Jennifer Homendy
            Chair
            National Transportation Safety Board
            490 L’Enfant Plaza, SW
            Washington, DC 20594

  Respectfully yours,
   l


  Jennifer Homendy
  Chair




                                                                         App.630
USCA Case #24-1365                Document #2100970                     Filed: 02/17/2025            Page 154 of 214




September 3, 2024

Drug Enforcement Administration
Attn: Administrator
8701 Morrissette Drive
Springfield, VA 22152

Subject: Notice of Appearance

Dear Sir / Madam:

Please take notice that the International Association of Chiefs of Police (IACP) will appear in the matter of: Docket
No. DEA-1362

The IACP is strongly opposed to the Justice Department proposal to reclassify marijuana from a Schedule I
substance to a Schedule III substance under the federal Controlled Substances Act (CSA). This proposed change
represents a significant shift in federal drug policy with significant implications for public safety, public health and
the ability of police agencies to protect the public.

In particular, the IACP is concerned with the impact that the proposed change could have in the following areas:

    •   Public Safety Risks
    •   Youth and Health Impacts
    •   Workplace Safety
    •   Impaired Driving
    •   Legal Standards for Impairment
    •   Challenges in Implementation
    •   Policing Challenges
    •   Potential Impact on Current Firearms Regulations
    •   Diversion Potential




                                                                                                        App.631
USCA Case #24-1365          Document #2100970                Filed: 02/17/2025           Page 155 of 214




       All notices to be sent pursuant to this appearance should be addressed to:

       Gene Voegtlin
       Director, Policy and Governance
       International Association of Chiefs of Police
       44 Canal Center, Suite 200
       Alexandria, VA 22314
       voegtlin@theiacp.org


       Please let us know if you have any questions or require additional information.

       Thank you for your attention to this matter.

       Sincerely,




       Vincent Talucci
       Executive Director/Chief Executive Officer




                                                                                           App.632
USCA Case #24-1365   Document #2100970   Filed: 02/17/2025   Page 156 of 214




                                                               App.633
USCA Case #24-1365              Document #2100970                   Filed: 02/17/2025           Page 157 of 214



         Outlook


    [EXTERNAL] Hearing - marijuana re-Scheduling

    From Sandra <szrapke@gmail.com>
    Date Wed 9/4/2024 9:14 AM
    To   NPRM <NPRM@dea.gov>



   To whomever it rnay concern:

   I am Sandra Zundell Rapke and I live in CA.
   I have used cannabis for recreation for decades. I first tried it at 18 years old in 1969.
   I am 72 years old now and use cannabis regularly, In all its forms ( gummies, flower, vape) for chronic
   pain .due to inflammatory osteoarthritis and sleep.
   As of my last full physical in 2024, my heart. health is good. As many my age, I'm in a low dose BP med
   and a low dose statin. My other tests are also good.
    I do not consider myself addicted, per se. it's something that takes the edge off pain between med
   doses and helps me stay asleep.
   Making cannabis a schedule Ill drug will allow much needed medical research and allow US to become
   competitive in the market of research into a drug with such potential to improve lives. I have
   advocated for research for a long time and have SL!pported the UCLA Cannabis Research Project I
   would be honored to speak before the hearing panel at any t•ime.
   Thank you.

   Sandra Z Rapke
   310-617-0332




   Please do not forward




                                                                                                  App.634
USCA Case #24-1365                        Document #2100970                                       Filed: 02/17/2025                         Page 158 of 214


      GLOBAL            |     COLLABORATIVE                  |     INNOVATIVE               |     PASSIONATE               |     LEADER



      September 6, 2024

      Drug Enforcement Administration, Attn: Hearing Clerk/OALJ
      8701 Morrissette Drive, Springfield, VA 22152

      Subject: Notice of Appearance

      Dear Sir/Ma’am:

      As an interested party, I, Sue Thau, am submitting my request to speak at the hearing regarding the rescheduling
      of marijuana (Docket No. DEA-1362) and am letting you know of my intention to participate in such hearing. As
      the Public Policy Consultant representing CADCA, I have been selected by such organizations to speak on their
      behalf on the particular interests, objections and issues we have concerning Docket No. DEA-1362.

      CADCA is the premier substance use prevention association, both nationally and internationally. CADCA is a non-
      profit which represents over 7,000 community substance use prevention coalitions that involve multiple sectors
      of a community including schools, law enforcement, youth, parents, healthcare, media, tribal communities and
      others who are involved in comprehensively addressing locally identified substance use issues. CADCA has
      members in every U.S. state and territory and in 30 countries around the world. The CADCA coalition model
      emphasizes the power of community coalitions to prevent substance misuse through collaborative community
      efforts. CADCA believes that the prevention of substance use and misuse before it starts is the most effective and
      cost-efficient way to reduce substance use and its associated costs. CADCA opposes the recommendation to
      move marijuana (also called “botanical marijuana”) from Schedule I to Schedule III of the Controlled Substances
      Act (CSA).

      Our particularity of interest in the hearing is that rescheduling marijuana would greatly exacerbate the public
      health harms it causes, especially as they relate to youth. These harms include cognitive decline (i.e.,
      depression, issues with memory, attention, impaired learning performance, reduced IQ, and early onset of
      psychiatric disorders, such as schizophrenia) 1,2 fatal car crashes, 3 and risk for developing Cannabis Use
      Disorder. 4 Since the beginning of the “ medical marijuana” and legalization movement, marijuana products
      available today are far more potent and have much higher THC content that the “Woodstock weed” of the 1970s.
      Making these products more potent, more dangerous, and more readily available has resulted in an increase in
      the percentage of people who use marijuana meeting the DSM-V criteria for substance use disorder. 5 No
      research supports the use of wax, shatter, dabs, edibles, drinks or oils for any medicinal purposes. Since the
      beginning of the “medical” marijuana and legalization movement, perception of harm related to marijuana has
      plummeted among youth. 6 Rescheduling marijuana to Schedule III at the federal level will further exacerbate
      the belief that botanical marijuana is medicine and further reduce the perception of harm and risk associated
      with it among youth and adults. 7 Data from the 2023 Monitoring the Future (MTF) Study shows that adult past

      1 Blum, K., Khalsa, J., Cadet, J.L., Baron, D., Bowirrat, A., Boyett, B., Lott, L., Brewer, R., Gondre-Lewis, M., Bunt, G., Kazmi, S., Gold, M.S. (2021

      March 30). Cannabis-induced hypodopaminergic anhedonia and cognitive decline in humans: embracing putative induction of dopamine
      homeostasis. Frontiers in Psychiatry, Vol. 12. doi: 10.3389/fpsyt.623403
      2
        Office of the Surgeon General. (2019). U.S. Surgeon General’s advisory: Marijuana use and the developing brain. U.S. Department of Health
      and Human Services. https://www.hhs.gov/surgeongeneral/reports-and-publications/addiction-and-substance-misuse/advisory-on-
      marijuana-use-and-developing-brain/index.html
      3
        Asbridge, M., Hayden, JA, Cartwright, JL. Acute cannabis consumption and motor vehicle collision risk: systematic review of observational
      studies and meta-analysis. British Medical Journal, 2012; 344 (ePub): e536. PMID: 22323502.
      4
        Arterberry, B.J. et al. (2018 December 17). Higher average potency across the United States is associated with progression to first cannabis
      use disorder symptom. Drug and Alcohol Dependence. https://doi.org/10.1016/j.drugalcdep.2018.11.012
      5
        Hasin DS, et al. Prevalence and Correlates of DSM-5 Cannabis Use Disorder. The American Journal of Psychiatry. Dec 2015
      http://ajp.psychiatryonline.org/doi/abs/10.1176/appi.ajp.2015.15070907
      6
        University of Michigan, 2023 Monitoring the Future Study.
      7
        Ibid.
                 500 Montgomery Street, Suite 400 | Alexandria, VA 22314
                 1-800-54-CADCA | 703-706-0565




                                                                                                                                                App.635
USCA Case #24-1365                      Document #2100970                                  Filed: 02/17/2025                     Page 159 of 214


                GLOBAL      |     COLLABORATIVE                 |     INNOVATIVE             |     PASSIONATE              |     LEADER


    year and past month marijuana use remains historically high. 8 Marijuana edible-related poison control calls
    among children aged 0-12 increased 3,311% from 2016 to 2022. 9 Current research since the introduction of
    higher potency marijuana products finds that about 30% of those who use become addicted to it as opposed to
    approximately 14% previously and are at an increased risk for developing a psychotic disorder. 10

    Botanical marijuana does not meet the previous criteria for currently accepted medical use (CAMU), nor does it
    meet HHS’ new definition requiring “widespread current experience with medical use” and “some” credible
    scientific support for at least one medical use. 11 HHS is conflating isolated cannabinoids in FDA-approved
    medications with crude marijuana products. It does not follow that the marijuana products available
    commercially in many states (e.g., wax, shatter, dabs, edibles, oils, etc.), which have no proper dosage and may
    contain toxic contaminants, will have the same effect as medications with small, specified doses of a single
    active chemical. 12 Unlike other drugs in Schedule III, botanical marijuana is not FDA approved to treat or cure
    any disease and it is not available for prescription in any state.

    Based on the issues raised above, CADCA strongly objects to the effort to reschedule marijuana from Schedule I
    to Schedule III and hopes to be formally selected to participate in the hearing on this issue

    All notices pursuant to this appearance should be addressed to:

    CADCA
    C/o Sue Thau/Barrye L. Price
    500 Montgomery Street
    Suite 400
    Alexandria, VA 22314

    Respectfully yours,
                 ~
        [}:,a




                      (_
            t




    Sue Thau
    Public Policy Consultant, CADCA




    8
      NIDA. 2024, August 29. Cannabis and hallucinogen use among adults remained at historic highs in 2023. Retrieved from
    https://nida.nih.gov/news-events/news-releases/2024/08/cannabis-and-hallucinogen-use-among-adults-remained-at-historic-highs-in-
    2023 on 2024, September 4
    9
      America’s Poison Centers. https://poisoncenters.org/
    10
       Di Forti, M., Quattrone, D., Freeman, T.P, Tripoli, G., Gayer-Anderson, C., Quigley, H. (2019 May). The contribution of cannabis use to
    variation in the incidence of psychotic disorder across Europe (EU-GEI): a multicentre case-control study. The Lancet Psychiatry, Vol. 6(5). pp.
    427-436
    11
       International Academy on the Science and Impact of Cannabis. (June 1 2024).
    12
       Ibid.




                                                                                                                                     App.636
 USCA Case #24-1365   Document #2100970     Filed: 02/17/2025   Page 160 of 214


                                                           09/07/2024
                                                     Docket No. DEA-1362




     I, Mariah Ashley Magnuson, wish to take part in the hearing
scheduled on December 2nd, 2024, at 9:00AM ET, (6:00AM PST) at
700 Army Navy Dr. Arlington, VA 22202 for the proposed
rescheduling of marijuana into schedule III of the Controlled
Substances Act.

     I, Mariah Ashley Magnuson, am a person who would be
aggrieved by this rule issuable.

     I, Mariah Ashley Magnuson, object to rescheduling marijuana
or any cannabis products into schedule III of the Controlled
Substances Act.

     There are incredibly positive benefits associated with the use of
cannabis products in not only my life but also the lives of countless
other citizens of the United States of America and all over the world.
CBD for instance, a product of cannabis, helps my body with
reducing inflammation, pain, insomnia, and even PMS or
premenstrual dysphoric disorder, along with stress and anxiety.
Doctors prescribe THC to cancer patients to help them eat. THC and
cannabis products have helped my mother immensely with her
awful menopause symptoms.

      I administer the correct dosage of CBD to my mother’s beloved
adopted cat, Athena, who was rescued from the pound with her
brother Troy, for her severe case of cat herpes which was constantly
flaring up on her eyes until I administered the recommended dosage
according to her weight. After use of the CBD on Athena, it made
our beloved feline show 100% symptom remission. She no longer
has those flare ups on both of her eyes and is showing signs of
feeling much much better physically and psychologically, they have
completely cleared up which I have never seen before in the entirety
of her life after adoption from the animal shelter.




                                                                  App.637
USCA Case #24-1365   Document #2100970      Filed: 02/17/2025   Page 161 of 214


      The benefits of marijuana continue in not only the lives of
humans and animals but also for the environment; the hemp plant
can absorb carbon dioxide from the atmosphere more than twice as
effectively as trees. Industrial hemp has been scientifically proven to
absorb more CO2 per hectare and is therefore the ideal carbon sink.
In addition, the CO2 is permanently bonded within the fiber that is
used for anything from textiles to paper, and as a building material.
Well-planned cannabis cultivation sites can minimize habitat loss
and habitat fragmentation, avoid sensitive habitats, and protect fish
and wildlife. It helps the economy by increasing tax revenues, job
growth, and investment opportunities.

      People can abuse anything, and there can always be a negative
associated no matter what it is, processed foods for example. The
unnatural genetically modified chemicals and additives in our food
that is banned in Europe is terrible for our health and wellness as
well as the environment if you think about it. Along with the use of
pesticides and chemicals. That goes for the way we package
everything in the world with plastics and carbon emissions from
transportation and processing plants.

     We as humans need to rethink the way we are going about life
in the world today. An all-natural plant such as marijuana should
not be criminalized. We need to rethink the way that we are
producing, packaging, distributing, and using products. CBD that
comes in a tincture or in the form of a gummy does not produce air
pollution because you are not smoking it. We need to choose more
sustainable alternatives for packaging all the products we use in life
on the day to day. We need to ban plastic and carbon emissions
from the planet as well as deforestation and pollution of trash like
the use of plastics that end up in the ocean.

       As far as criminalization of cannabis goes, an all-natural plant,
just like an herb, is nothing compared to the nation’s fentanyl crisis
wiping out my generation and the ones to come along with the other
illicit drugs like heroin and meth which are the real threats to the
health and safety of everyone in society.




                                                                  App.638
USCA Case #24-1365   Document #2100970      Filed: 02/17/2025   Page 162 of 214

     And for those who think the use of cannabis is causing people
to have impaired decision making and slower reaction time, it can
be true if using the indica strain which has more sedative properties
and is great for nighttime like for me after a long day of work and
want to relax and for insomniacs and increases appetites for our
poor cancer patients who cannot eat… The sativa strains or sativa
dominant hybrid strains are better for daytime use- they help me
focus on what I am working on and have lots of fun studying new
things I like in my free time doing yoga and meditating surrounded
by nature; helps inspire creativity and enjoy what little time we have
on this Earth. Negativity blocks creativity and stress and anxiety
are negative things. I would hope the DEA would decide that
cannabis is not the issue here today. I would hope you can see that
when used responsibly as I do, and not abused, cannabis is a good
thing in this world. You would not drink and drive or use heavy
machinery under the influence of alcohol... Treat the indica strains
the same as you would alcohol. Stress and anxiety have a
     negative impact on memory, there is a lot of stress and anxiety
in the world today- too much going on in the world in every
direction and on our screens. Social media and the use of
technology like phones and computers for example was detrimental
to my mental health (as well as physical i.e., tech-neck, etc). I took a
two month break from social media and my stress and anxiety
decreased immensely.

      If you look at why someone would abuse cannabis, or anything
for that matter, substances or even food... there is a much deeper
issue than the substance or food itself. There is usually a reason a
person would abuse things like that to fill a void within themselves
or to self-medicate/cope with life. Look at children who have been
abused physically, verbally, or sexually… most of the time they do
end up developing some type of unhealthy coping mechanism such
as abusing substances or eating disorders or even self harming and
other behavioral issues later in life.

      We as human beings are on this planet we call home together,
there is no other planet Earth in our solar system. Please, let us
come together and make healthier life choices for ourselves and for
our irreplaceable beautiful blue planet. It takes self awareness, and




                                                                  App.639
USCA Case #24-1365   Document #2100970    Filed: 02/17/2025   Page 163 of 214

healing in body, mind, and spirit to become the best versions of
ourselves. Healing ourselves and our land is possible. We need to
come together as humanity to help support one another as well as
our beautiful blue planet and its amazing diverse ecosystems in our
forests and oceans to make a more positive healthier world for you
and I and generations to come. We have the power to change the
world for the better together.

      I love our beautiful blue planet and all of God’s amazing
creation. It breaks my heart to see when we as humans are affecting
it and eachother in negative ways- and usually all for the sake of
money or something else selfish or something that can be healed
within ourselves like unhealed trauma. If I could, I would cut all
carbon emissions from vehicles planes and power plants by using
renewable energy, drop every kind of pollution in our air land and
oceans such as banning the use of plastics and other non
biodegradable materials, reforest our land, conserving and
increasing our marine biodiversity and health of our ecosystems,
and heal every single persons unhealed childhood trauma wounds
that have branched off into numerous problems in the lives of
generation after generation and has been so deeply rooted that it
subsides within the subconscious in ways people often don’t even
realize. Unfortunately, in this world you need money to survive, and
the cost of living keeps going up. This is one of the biggest issues
here. Greed and consumerism combined is not helping the health of
humanity and our planet. Sadly, there are harmful chemicals being
pumped into our planet’s lungs and ultimately then our own from
major production of all kinds of stuff and carbon emissions. So
much polluted plastic that takes forever to break down and puts
marine life and the health of our oceans in danger; and chemicals
or bioengineered ingredients we really do not need in our food to
extend shelf life to make a few extra bucks causing all kinds of
illnesses physical and mental. If everybody (including major
corporations and companies) cared more about the health of our
irreplaceable planet and stoped caring so much about money-
which comes from trees- trees that grow on our planet and give us
oxygen to breathe and keep us alive; which then contributes to the
ever increasing deforestation and the collapse of biodiversity in our
ecosystems (when the bees are gone we’re all gonna be gone..) or




                                                                App.640
USCA Case #24-1365    Document #2100970         Filed: 02/17/2025   Page 164 of 214



whoever has the power to make a real change for the planet and
humanity as a whole- what’s the point of everything if we destroy
life on Earth as we know it with all of these silly human activities?

     So, you see my friends the problem is not with marijuana. We
need to take loving, kind, care of ourselves and much better care of
our planet altogether as a species sharing this place, we all call
home. One of the ways I take loving kind care of myself in this crazy
busy world is taking my CBD supplements which comes from the
happy grass and doing yoga or meditating in the forest and just
trying to be as decent of a person I can and help others any way I
can in my community on the day to day in life, being a productive
member of society always recycling and never ever littering and
trying to conserve energy any way I can.

     Thank you for allowing me to share this with you and thank
you for taking the time to read it.

     Godspeed.




                          Docket No. DEA-1362




                                                                      App.641
USCA Case #24-1365             Document #2100970                    Filed: 02/17/2025          Page 165 of 214



         Outlook


    [EXTERNAL] Fwd: ATT: Cannabis rescheduling urgency

    From K. Anderson; Mom, Support Staff. Peer Support Spec. <kellyjaninethequeen@gmail.com>
    Date Mon 9/9/202410:31 AM
    To   NPRM <NPRM@dea.gov>



   "Docket No. DEA-1362

   ----- --- Forwarded message --------
   From: K. Anderson; Mom. Support Staff. Peer Support Spec. <kellyjaninetheQ~gmail.com >
   Date: Mon, Sep 9, 2024, 8:15 AM
   Subject: ATT~Cannabis rescheduling urgency
   To: <nQrm@dea.gov >



   Greetings,

   I am writing today to ask for a link to be able to participate virtually in the DEA marijuana rescheduling
   hearing on December 2nd, but first & foremost, I am asking for your help in filing a motion for this
   hearing to be held much sooner. The Biden Administration instructed the DEA to perform an
   expeditious review back in May, & a quarter of a year away is too long of a wait for this review hearing,
   for homeless children who have transitioned out of foster care into homelessness. This is urgent My
   reunified family consists of 3 small children & I. .. we are depending on current federal marijuana
   restrictions to be reformed much more quickly, so that we may qualify for the rental assistance we
   were denied eligibility for, simply because of my honesty on my application about my status as a
   disabled, working, medical marijuana patient. Please help us! Thank you!

   Respectfully Yours,
   Kelly Anderson I Medi-Cal Peer Support Specialist
   Pronouns: She, her, hers
   San Diego County
   Kellyjaninetheg!E.fil!..@gmail.com
   (760) 556-9939 (call/ text)
   Family & Peer Support Helpline 1-800-523 -5933

   If you (or someone you know) are experiencing a mental health, substance use, and/or suicide related
   crisis, please call 988 to access the free and confidential Suicide & Crisis Lifeline and other crisis
   support. You can also reach the Lifeline through texting 988 or chatting on 988life!ine.org/chat. For
   other immediate emergencies, please call 911.



   My working day may not be your working day. Please do not feel obligated to reply to this email
   outside your normal working hours.




                                                                                                 App.642
USCA Case #24-1365          Document #2100970                    Filed: 02/17/2025          Page 166 of 214




       9-11-2024

       Drug Enforcement Administration, Attn: Hearing Clerk/OALJ

       (Mailing Address: 2061 Le Mans Dr. Carrollton, Tx 75006)

       Subject: Notice of Appearance f) D<ke r· /1.J, /)EA - /5 l L

       Dear Sir:

          Please take notice that _Robert Head, Dr. Corey Burchman, Dr. Darinia Douchi,
             Victor Bohm will appear in the matter of: Schedules of Controlled Substances:
             Rescheduling of Marijuana

          •   Robert Head: In November 2023, and in direct response to the President's
              October 2022 marijuana directive, I petitioned the DEA to initiate proceedings to
              (1) deschedule marijuana or, in the alternative, (2) reschedule marijuana to
              schedules Ill, IV, or V. In that petition, I raised novel statutory and constitutional
              challenges to marijuana's scheduling status and the laws and regulations that
              impede moving marijuana to a less-restrictive CSA schedule (IV or V) and to
              removing it from the CSA's schedules altogether. I explicitly requested that my
              petition be joined with any agency action initiated to take up the President's
              directive to reconsider marijuana's schedule I status.

          •   To this day, I have heard nothing from DEA with respect to my petition or my
              request that my petition be joined with the ongoing administrative process to
              reconsider marijuana's schedule I status. In addition to the arguments and
              evidence discussed further below, this procedural injury gives me a unique claim
              to have a right to participate in the upcoming ALJ hearing--one that, to my
              knowledge, no one else has. I attach my November 2023 rescheduling petition
              here as Exhibit "Alpha".

          •   As representative of the veteran community, we believe that moving marijuana to
              schedule 3 will significantly impact veterans in a positive way by helping with
              PTSD and Pain. I will be accompanied by three subject matter experts who will
              provide evidence of how cannabis is helping the veteran community:
                 a. Dr. Corey Burchman: A Navy veteran with fellowships focused in
                     Neuroanesthesiology, Obstetrical Anesthesiology and Ambulatory
                     Anesthesia from Harvard Medical School - Brigham and Women's and
                     Massachusetts General Hospital.
                 b. Dr Darina Douchi: A distinguished disabled veteran and Nebraska-
                     licensed pharmacist with an impressive 25-year tenure in Pharmacy and
                     Healthcare policies.




                                                                                               App.643
USCA Case #24-1365          Document #2100970                  Filed: 02/17/2025          Page 167 of 214




                  c. Victory Bohm: CEO of Balanced Veterans Network, testimonials from
                     veterans who use marijuana.
          •   Rates of suicide and overdose are much higher among veterans than the US
              population as a whole. Marijuana is used for pain and ptsd by many veterans.
              We also know that most of the overdoses are from opioids and other prescription
              pharmaceuticals that have led to side effects that require further medication
              (Attached: Exhibit Charlie). Veterans were polled and overwhelmingly agree
              marijuana should be legal. They find that marijuana reduces the medication they
              are currently on and find themselves more socially active. Studies have shown
              that daily opioid dosage has been reduced over 70% in some cases for patients
              and shows significantly improves quality of life. Currently, the VA cannot
              prescribe cannabis as an alternate to opioids. SCH3 would allow for research
              and development of pain medication from cannabis that is much safer to
              consume and the VA will be allow by law to prescribe it.

       SSRls are over prescribed in the veteran community. Marijuana can help reduce certain
       medication. SCH 3 will allow for some patients to use Marijuana and still keep their
       prescription if that prescription is on the SCH2 list. Reducing prescriptions, lowering the
       opioid dosage, and allowing for a more holistic approach by using cannabis will help
       reduce our current 22 a day suicide rate.

                 a. Dr. Burchman: Treating veterans with PTSD and pain with marijuana is a
                    much safer option than the current pharmacological approach.
                 b. Dr. Darina Douchi: Schedule one does not allow for the VA to prescribe
                    marijuana and makes some veterans who use marijuana ineligible to
                    continue schedule 2 prescriptions.
                 c. Victor Bohm: CEO of Balanced Veterans Network, who helps veterans
                    with cannabis education, and has testimonies from veteran on their
                    marijuana use and the benefits they have seen correlate with what our
                    SMEs on pain and PTSD have presented.

          •   Our Position: We believe that veterans should not be penalized or face
              discrimination for choosing to use marijuana over the prescriptions they receive
              from the VA. We believe that rescheduling to Schedule Ill, IV, V, or descheduling
              will help lower suicide and overdose rates in the veteran community by taking a
              more holistic approach with safer medicine, reducing medications, and improving
              overall wellness through the VA. This cannot be done under Schedule I.

              1. There is overwhelming data demonstrating the therapeutic efficacy of
                 cannabis as an analgesic and further evidence of cannabis as an agent of
                 harm reduction, and the substitution effect whereby use of cannabinoids can




                                                                                            App.644
USCA Case #24-1365         Document #2100970                  Filed: 02/17/2025         Page 168 of 214




                diminish the use of adjunctive agents, such as other analgesics, anti-
                depressants and anti-anxiety meds. (Attached; Exhibit Bravo)
             2. Rescheduling to Schedule Ill will allow veterans who test positive for
                marijuana to still maintain their prescriptions for Schedule II medications. With
                some form of marijuana being legal in over 35 states, the majority of the
                veteran population has legal access to marijuana. Most veterans who use
                marijuana do so for pain and PTSD, which affects 23% of veterans in the VA
                system.
             3. Better overall life improvement.
                   a. In a large prospective study on if Cannabis Significantly Reduces the
                       Use of Prescription Opioids and Improves Quality of Life in Authorized
                       Patients. It concluded that 'The high rate of cannabis use for chronic
                       pain and the subsequent reductions in opioid use suggest that
                       cannabis may play a harm reduction role in the opioid overdose crisis,
                       potentially improving the quality of life of patients and overall public
                       health."
                    b. Balanced Veterans Network is a 501 c3 nonprofit organization
                       consisting of over five thousand members that educates, advocates,
                       and supports access to alternative therapies for veterans and their
                       families. Operation 1620 is the medical cannabis initiative of Balanced
                       Veterans Network. Medical cannabis is a proven, safe, and effective
                       personal health management option for veterans. Medicinal cannabis
                       is an incredibly effective tool for veterans challenged with managing
                       the symptoms of their pain and PTSD as opposed to dangerous
                       narcotics such as opiates and other addictive prescription medications.
                       Over the past five years, Operation 1620 has provided hundreds of
                       veterans access to no cost Medical Marijuana certifications in 33 of the
                       states and territories where cannabis is medically legal. Additionally,
                       Operation 1620 provides Medical Marijuana card fee reimbursements
                       for veterans, as well as mentorship and educational courses.
                    c. American Legion Post 426 issued a resolution to their National
                       Headquarters titled "Support for FDA Breakthrough Therapies for
                       Veteran Suicide Prevention."



       All notices to be sent pursuant to this appearance should be addressed to:
       Robert Head
       2061 Le Mans Dr
       Carrollton, Texas
       Respectfully yours,




                                                                                           App.645
USCA Case #24-1365        Document #2100970   Filed: 02/17/2025   Page 169 of 214




       [81 FR 97041, Dec. 30, 2016]




                                                                    App.646
USCA Case #24-1365          Document #2100970                      Filed: 02/17/2025           Page 170 of 214




       November 15, 2023



       Anne Milgram, Administrator
       Drng Enforcement Administration
       Attn: Administrator
       8701 Morrissette Drive
       Springfield, VA 22152



              Re:     Petition to initiate rulemaking proceedings to deschedule marijuana or,
                      alternatively, to transfer marijuana from schedule I to schedule IIL IV, or V,
                      and forjoinder in pending rescheduling proceedings.


       Dear Administrator Milgram:

               The undersigned ("Petitioners") hereby petition to initiate fmmal rnlemaking proceedings
       for the issuance of an amendment of a rnle or regulation under Section 201 of the Controlled
       Substances Act ("CSA") and to repeal a rnle under 5 U.S.C. § 553(e). Specifically, Petitioners
       seek removal of "marihuana" from schedule I. Petitioners seek a rule removing marihuana from
       control or, in the alternative, transfening marihuana from schedule I to schedule III, IV, or V.

               Consistent with the CSA and U.S. Drug Enforcement Administration ("DEA") regulations,
       Petitioners attach the following exhibits and incorporate them as part of this petition:

              Exhibit Al: The proposed rnle in the form Petitioners propose.

              Exhibit A2: The alternate proposed rule in the form Petitioners propose.

              Exhibit A3: Repealing the definition of "medicinal cannabis" in the form Petitioners
              propose.

              Exhibit B: A statement of the grmmds on which Petitioners rely.

             Petitioners request that the Administrator promptly notify them of acceptance or
       nonacceptance of the petition and, if not accepted, the reasons therefor.

              Petitioners further request and move that they fonnally be joined as a party to any
       marijuana rescheduling proceeding currently pending before DEA, including the pending one




                                                                                                  App.647
USCA Case #24-1365           Document #2100970                       Filed: 02/17/2025            Page 171 of 214




                                                      -2-                            November 15, 2023


       publicly referenced by Secretary Becerra, 1 that their grounds and arguments herein be incorporated
       into such proceedings, they receive notification of joinder, and that they receive all appropriate
       notices from the agency regarding the progress of the proceedings.

               Finally, Petitioners petition and request repeal of21 C.F.R. § l318.02(b), to the extent the
       U.S. Department of Health and Human Services ("HHS") recommendation recently received by
       DEA concludes that marijuana has a "ctmently accepted medical use in treatment in the United
       States," for the reasons stated therein.

                                                  Introduction

               In more than two-thirds of states, millions use marijuana2 in treatment following a
       recommendation from a licensed physician. Most, if not all, these states have reticulated regimes
       governing and limiting medical-marijuana use. Every year since 2014, Congress has supported
       these regimes by approving a spending rider prohibiting the U.S. Department of Justice ("DOJ")
       from using appropriated funds to interfere with their enforcement. Indeed, no social issue unites
       more Americans than medical marijuana. Recent polls show that 91% of Americans support
       medical use under these state-law regimes. 3 This level of support holds true among our nations'
       veterans as well. 4

               And yet, DEA insists marijuana has "no currently accepted medical use in treatment in the
       United States." 5 Rather than apply the statutory text, DEA claims "currently accepted medical use
       in treatment in the United States" requires meeting a five-part test that it admits cannot be squared
       with the statute's plain meaning. Petitioners request that DEA do what the statute commands and
       remove marijuana from schedule I.

               DEA should remove marijuana from the schedules entirely. Across almost half the country,
       states have opted out of the federal government's failed prohibitionist regime. Millions of
       Americans, as a result, are using marijuana non-medically and responsibly under regulated
       regimes. With even more states opting out each year, marijuana and natural THC products have
       attained a cultural status akin to caffeine, alcohol, and tobacco. Can marijuana be abused?
       Absolutely. Should it be regulated? Definitely. Because a significant majority of Americans no



               See https://www.hhs.gov/sites/defau1t/fi1es/signed-ash-to-dea-letter-marijuana.pdf.
       2
               The statutory term for marijuana is "marihuana." In discussion, Petitioners use marihuana
               and marijuana interchangeably.
       3       See https://www .pewresearch.org/fact-tank/2021 /04/16/ americans-overwhelmingl y-say-
               marijuana-should-be-legal-for-recreational-or-medical-use/
       4       See, e.g., https://www.annytimes.com/veterans/2017 /11/02/poll-more-than-90-percent-of-
               vets-support-medical-marijuana-research/ (over 80% back allowing federal doctors to
               prescribe).
       5       See 21 U.S.C. § 812(b)(l)(B).




                                                                                                     App.648
USCA Case #24-1365            Document #2100970                      Filed: 02/17/2025             Page 172 of 214




                                                      -3-                             November 15, 2023


       longer consider marijuana a drug of abuse worthy ofDEA's attention, however, it no longer has a
       legitimate place on the CSA's schedules.

               Alternatively, DEA should transfer marijuana to schedule III, IV, or V based on scientific
       evidence related to its abuse potential and dependence risk. Placing it in schedule II alongside far
       more dangerous and addictive drugs like fentanyl would do nothing to make Americans safer. If
       anything, it would serve only to undermine the legitimacy of the federal scheduling regime,
       making it even harder for the federal government to address urgent national crises like opioid abuse
       effectively.


       Respectfully submitted,



        Matthew C. Zorn                                   Shane Pennington


       Cmmsel for Petitioners Hemp for Victory6 and Robert Head


       All notices to be sent regarding this petition should be addressed to:

       For Hemp for Victory and Robert Head:
       Matthew Zorn
       Yetter Coleman LLP
       811 Main St., Ste. 4100
       Houston, TX 77002
       mzorn@yettercoleman.com

       Shane Pennington
       Porter Wright Morris & Arthur LLP
       2020 K Street, NW, Suite 600
       Washington, D.C. 20006
       spennington@porterwright.com




       6 Hemp for Victory is a non-profit organization headquartered in Cauolton, TX that focuses on cannabis
       education and the positive impact            of   cannabis    on   the   veteran    community.    See
       https://hemp4victory.info/about-us/.




                                                                                                      App.649
USCA Case #24-1365           Document #2100970                      Filed: 02/17/2025           Page 173 of 214




                                                     -4-                            November 15, 2023


                                         Exhibit Al - Proposed Rule

              We propose the following: removing "marihuana" from schedule I [21 C.F.R.
       1308.11 (d)(23)].

       The following is the proposed rule:

       REMOVE: 21 C.F.R. 1308.ll(d)(23).

                                    Exhibit A2 - Alternate Proposed Rule

               We propose the following: removing "marihuana" from schedule I [21 C.F.R.
       1308.l l(d)(23)] and placing it in schedule [III, N, or V].


       The following is the proposed rule:

       REMOVE: 21 C.F.R. 1308.ll(d)(23).

       ADD: 21 C.F.R. 1308.[13, 14, 15] schedule [III, IV, VJ:" ... (f) Hallucinogenic substances. (1) ...
       (3) Marijuana."

                                         Exhibit A3 - Proposed Rule

       The following is the proposed rule:

       REMOVE: 21 C.F.R. 1318.02(b)




                                                                                                   App.650
USCA Case #24-1365                Document #2100970                      Filed: 02/17/2025             Page 174 of 214




                                                          -5-                             November 15, 2023


                                          Exhibit B - Statement of Grounds

      I.          The Schedule I Factors

                  a. Marijuana has a "currently accepted medical use in treatment in the United
                     States."

                   As of April 2023, at least 38 states, the District of Columbia, and 4 of 5 tenitories (Guam,
           Nmihem Mariana Islands, Puerto Rico, U.S. Virgin Islands) have legalized medical marijuana.
           According to the plain and ordinary meaning of "accepted medical use in treatment," marijuana
           has a cunently accepted medical use in treatment in the United States. In addition, because
           marijuana has an accepted medical use, the U.S. Pharmacopeia is currently in the process of
           establishing a monograph for cannabis (including marijuana) for medical use.

                  In the past, to determine whether a drug lacks a "cunently accepted medical use in
           treatment in the United States"-the second required finding for placement in schedule I, see 21
           U.S.C. § 812(b)(l)(B)-DEA has applied a five-part test of its own making:

                  1.   the drug's chemistry must be known and reproducible;
                  2.   there must be adequate safety studies;
                  3.   there must be adequate and well-controlled studies proving efficacy;
                  4.   the drug must be accepted by qualified experts; and
                  5.   the scientific evidence must be widely available.

           See 81 Fed. Reg. 53688, 53700 (Aug. 12, 2016) (citing Allianc(;jor Cannabis Therapeutics v.
           DEA, 15 F.3d 1131, 1135 (D.C. Cir. 1994)). See also, e.g., 86 Fed. Reg. 60,761 at 762 n.5 (Nov.
           4, 2021) ("[A] drug cannot be fmmd to have such medical use unless DEA concludes that it
           satisfies a five-pa.ii test[.]").

                   For at least the reasons stated by the petitioners in Sisley v. DEA (Ex. 1), which Petitioners
           incorporate here by reference, DEA's five-pa.ii test is unlawful. Most prominently, the test
           interprets § 812(b )(1 )(B) in way that renders § 812(b)(1 )(C) superfluous-a red flag that its
           interpretation cannot be right. See, e.g., Gustafson v. Alloyd Co., 513 U.S. 561,574 (1995) (courts
           avoid interpretations that "render[] some words altogether redundant"). This third requirement for
           placing a substance in schedule I expressly demands a finding regarding a substance's safety for
           use. See 21 U.S.C. § 812(b)(l )(C). Given all this, DEA's insistence that the second requirement (a
           lack of "cunently accepted medical use") must also hinge in part on proof of safety for use makes
           no sense.

                   As Judge Watford explained after reviewing petitioners' arguments in Sisley:

                          [I]n an appropriate case, the Drug Enforcement Administration may
                          well be obliged to initiate a reclassification proceeding for
                          marijuana, given the strength of petitioners' arguments that the
                          agency has misinterpreted the controlling statute by concluding that




                                                                                                          App.651
USCA Case #24-1365           Document #2100970                       Filed: 02/17/2025            Page 175 of 214




                                                      -6-                            November 15, 2023


                     marijuana "has no currently accepted medical use in treatment in the
                     United States." 21 U.S.C. § 812(b)(l)(B). 7

       Under any reasonable interpretation of "currently accepted medical use in treatment in the United
       States" based on the ordinary public meaning of those tenns, DEA must reschedule marijuana. 8

               First, in more than two-thirds of the country, according to state law, marijuana use in
       treatment is accepted medical practice. See, e.g., Conant v. McCaffrey, 2000 WL 1281174, at *14
       (N.D. Cal. Sept. 7, 2000) (court applying plain and ordinary meaning to conclude that marijuana
       is a medically acceptable form of treatment in California and seven other states). State law, not
       DEA preference, detennines what is legitimate medical practice in the United States, a reality DEA
       itself has acknowledged. In the opioid-prescription context, for example, DEA has emphasized
       that it

              does not act as the Federal equivalent of a State medical board overseeing the
              general practice of medicine. State laws and State licensing bodies ... collectively
              regulate the practice of medicine. In contrast, the scope of the CSA ( and therefore
              role of DEA) is much narrower.

       71 Fed. Reg. 52,716, 52,717 (Sept. 6, 2006). No doubt, the evidence will show that medical
       professionals have recommended marijuana for their patients under duly enacted state laws. 9 See
       also, e.g., United States v. Green, 222 F. Supp. 3d 267,275 (W.D.N.Y. 2016) ("no rational basis
       to conclude" that marijuana is not being currently used for medical purposes).

               United States v. Moore, 423 U.S. 122, 141 (1975) is instmctive. There, the Supreme Court
       explained that "provisions throughout the Act reflect the intent of Congress to confine authorized
       medical practice within accepted limits." Id. The terms of the CSA reflect a congressional intent
       to align "accepted medical use" with accepted standards of professional practice as determined by
       state law. Here, it is accepted medical practice for physicians to recommend marijuana use for
       treatment of certain conditions, such as ameliorating chemotherapy's side-effects.




       7      Judge Watford is not alone in flagging DEA's misinterpretation of the CSA. At oral
              argument in Washington v. Barr, 925 F.3d 109 (2d Cir. 2019), Judge Rakoff did as well.
              See https://ww3.ca2.uscourts.gov/decisions (oral argument recording).
       8
              Indeed, because the five-part test as it stands is unlawful, we also ask that it be repealed or
              amended. 5 U.S.C. § 553(e).
       9
              See,    e.g., https://www.cbsnews.com/news/survey-76-percent-of-doctors-approve-of-
              medical-marijuana-use/ (New England Journal of Medicine Poll: 76% of votes in favor of
              the         use       of        marijuana        for        medicinal       purposes);
              https://www.safeaccessnow.org/survey_majority_of_us_doctors_support_medical_mariju
              ana_legalization (citing polls); https://www.liebertpub.com/doi/10.1089/can.2020.0165
              (almost 70% of clinicians believe cannabis has medicinal uses).




                                                                                                      App.652
USCA Case #24-1365           Document #2100970                      Filed: 02/17/2025            Page 176 of 214




                                                     -7-                            November 15, 2023


             Second, recogmzmg that marijuana has a currently accepted medical use, the U.S.
       Phannacopeia in September 2022 published a proposed Cannabis Species Inflorescence
       monograph in the Herbal Medicines Compendium. The inclusion of cannabis in the U.S.
       Phannacopeia is imminent. 10

               These circumstances establish a currently accepted medical use beyond cavil. As discussed
       in Sisley, during congressional hearings, the CSA's drafters explained that "you don't have to be
       a doctor to find out whether or not it has an accepted medical use in the United States or not" and
       the issue "is not something that you are going to create research on." 11 An agency memo drafted
       shortly after the CSA's passage (Ex. 3) underscores the point:

              As the situation stands presently, there is no medical use for marihuana in the
              United States. The Food and Drug Administration has not granted a New Drug
              Application for its use in medicine; marihuana is not listed in the United States
              Pharmacopeia, the National Formulary, the American Drug Index, 1972, Drugs of
              Choice, 1972, or Physicians Desk Reference, 1972. In fact, both the United States
              Dispensatory and Remington's Phannaceutical Sciences conclude that there is no
              rational or indispensable therapeutic use for marihuana in modern medicine.

               This text, written around the time the CSA was enacted, focuses on the plain meaning of
       the relevant statut01y language and makes the proper§ 812(b)(l)(B) inqui1y unmistakably clear.
       See Bostock v. Clayton Cty., Georgia, 140 S. Ct. 1731, 1750 (2020) (the law's ordinary meaning
       at the time of enactment usually governs). And it does not suggest the five-part test. It instead
       accounts for evidence establishing acceptance among medical authorities.

               In short, the five-part test as an exclusive means to test accepted medical use is unlawful.
       While FDA approval or satisfying the five-prui test cleru·ly suffices to show a cunently accepted
       medical use in treatment, it cannot be the only way to make that showing. Here, when more than
       two-thirds of the states-the traditional and authoritative regulators of the medical practice--have
       adopted laws specifically allowing a drug to be used to treat specific conditions, DEA has no
       discretion to ignore the statute's plain text to conclude that marijuana lacks a "cmTently accepted
       medical use in treatment in the United States." 12



       10
              For substantially similar reasons, 21 C.F.R. § 1318.02(6) should be repealed.
       II
              Drug abuse control amendments-1970, Hearings, 91st Cong., 2d Sess., on H.R. 11701
              and R.R. 13743 (Part 1) at 165 (1970).
       12
              DEA's own arguments in In re: Marijuana Rescheduling (Ex. 2) further support
              Petitioners' position. There, DEA emphasized the fact that pru-ties disputed whether states
              had passed "research statutes" or "treatment statutes." DEA went on to explain that the
              reason it advocated for the same standards that FDA uses for medical acceptability was
              because those same standards "permeated themselves into the medical community and part
              of them have been incorporated into the standards that clinicians use to determine whether
              a drug has an accepted medical use." Id. at 36. In other words, DEA argued that FDA




                                                                                                    App.653
USCA Case #24-1365           Document #2100970                      Filed: 02/17/2025            Page 177 of 214




                                                     -8-                            November 15, 2023



               FDA has long recognized state-level use of a substance in treatment as a viable means of
       demonstrating "currently accepted medical use in treatment in the United States" for purposes of
       21 U.S,C. § 812(b)(l)(B). In 1982, for example, FDA concluded that drugs can "obtain[] 'accepted
       medical use"' for purposes of§ 812(b)(l)(B) "by virtue of totally intrastate production and use."
       47 Fed. Reg. 28,141, 28,150-51 (June 29, 1982). FDA's longstanding view is especially important
       in this context because the question of what constitutes "cwTently accepted medical use in
       treatment in the United States" implicates FDA's scientific and medical expertise as opposed to
       DEA' s law-enforcement expertise, meaning DEA is statutorily bound to accept its legitimacy. See
       21 U.S.C. § 81l(b) ("The recommendations of the Secretary [and their delegee, FDA] to the
       Attorney General [and their delegee, DEA] shall be binding on the Attorney General [and his
       delegee, DEA] as to such scientific and medical matters .... ").

               On this point, the Supreme Cami's decision in Gonzales v. Oregon is instmctive. 546 U.S.
       243, 258 (2006). There, the Court rejected the interpretation of the CSA as authorizing the Attorney
       General to "declar[ e] illegitimate a medical standard for care and treatment of patients that is
       specifically authorized under state law." Id. at 245. Because the CSA refutes the notion that
       Congress intended to delegate to the Attorney General any authority to make binding judgments
       regarding the practice of medicine or science, the Court held the Attorney General's views on what
       constitutes a "legitimate medical purpose" were not authoritative. Id.

              Addressing this question directly, the Supreme Court emphasized that "[i]n the scheduling
       context," the CSA requires DEA to yield to FDA's views on scientific and medical matters:

              The CSA allocates decision[ ]making powers among statutory actors so that
              medical judgments, if they are to be decided at the federal level and for the limited
              objects of the statute, are placed in the hands of the Secretary. In the scheduling
              context, for example, the Secretary's recommendations on scientific and medical
              matters bind the Attorney General. The Attorney General cannot control a
              substance if the Secretary disagrees. 21 U.S.C. § 81 l(b). See H.R.Rep. No. 91-
              1444, pt. 1, p. 33 (1970), U.S. Code Cong. & Admin. News 1970, pp. 4566, 4600
              (the section "is not intended to authorize the Attorney General to undertake or
              support medical and scientific research [for the purpose of scheduling], which is
              within the competence of the Department of Health, Education, and Welfare").

       Id. at 265. In fact, long before Oregon, DEA itself aclmowledged that it had no delegated authority
       to make medical judgments or to regulate the practice of medicine, 57 Fed. Reg. at 10,505:

              Clearly, the Controlled Substances Act does not authorize the Attorney General,
              nor by delegation the DEA Administrator, to make the ultimate medical and policy
              decision as to whether a drug should be used as medicine. Instead, he is limited to



              standards serve as a proxy or indirect evidence for what the medical community accepts as
              having medical use when direct evidence of accepted medical use is not available.




                                                                                                      App.654
USCA Case #24-1365           Document #2100970                      Filed: 02/17/2025            Page 178 of 214




                                                     -9-                            November 15, 2023


              determining whether others accept a drug for medical use. Any other construction
              would have the effect of reading the word "accepted" out of the statutory standard.

              b. There is an accepted safety for use of marijuana under medical supervision.
              For similar reasons, there is an accepted safety for use of marijuana under medical
       supervision. Contemporary evidence (including peer-reviewed clinical research) shows, for
       example, that marijuana use is generally safe. 13 Such research also does not associate medical-
       marijuana use with severe adverse events, even among those with mental disorders. 14

               Indeed, marijuana not only can be safely used under medical supervision, but in many
       instances, doctors recommend marijuana over approved phannaceuticals as a safer, less-addictive
       alternative. For example, there is "substantial evidence that cannabis is an effective treatment for
       chronic pain in adults." 15 Some states permit marijuana recommendations in lieu of opioid
       prescriptions. There is substantial evidence that medical marijuana can substitute for opioid-based
       pain medications. 16

              c. Marijuana does not have a high potential for abuse.

              In studies ranking the relative haimfulness of drugs, marijuana consistently ranks below
       drugs in schedules I and II.

              In a study by Bonnet, Udo et al. (2020) entitled "Ranking the Harm of Psychoactive Drugs
       Including Prescription Analgesics to Users and Others-A Perspective of German Addiction



       13     See, e.g., Bonn-Miller, Marcel O et al. "The short-tenn impact of 3 smoked cannabis
              preparations versus placebo on PTSD symptoms: A randomized cross-over clinical trial."
              PloS one vol. 16,3 e0246990. 17 Mar. 2021
       14
              See, e.g., Hoch E, Niemann D, von Keller R, Schneider M, Friemel CM, Preuss UW, Hasan
              A, Pogarell 0. How effective and safe is medical cmmabis as a treatment of mental
              disorders? A systematic review. Eur Arch Psychiatry Clin Neurosci. 2019 Feb;269(1):87-
              105. doi: 10.1007/s00406-019-00984-4. Epub 2019 Jan 31. Erratum in: Eur Arch
              Psychiatry Clin Neurosci. 2019 Apr 5;: PMID: 30706168; PM CID: PMC6595000.
       15
              National Academies of Sciences, Engineering, and Medicine, The Health Effects of
              Cannabis and Cannabinoids: The Current State of Evidence and Recommendations for
              Research at 87-90 (2017); Romero-Sandoval, E Alfonso et al. "Cannabis and Cannabinoids
              for Chronic Pain." Current rheumatologyreports vol. 19,11 67. (Oct. 5, 2017) (Exhibit C)
              (concluding that "scientific evidence presented demonstrates that inhaled cannabis is
              clinically useful for the treatment of chronic (neuropathic) pain, and seems to be safe and
              tolerable for long-tenn use under medical supervision").
       16
               E.g., Reiman A, Welty M, Solomon P. Cannabis as a Substitute for Opioid-Based Pain
               Medication: Patient Self-Report. Cannabis Cannabinoid Res. 2017 Jun 1;2(1):160-166.
               doi: 10.1089/can.2017.0012. PMID: 28861516; PMCID: PMC5569620.




                                                                                                    App.655
USCA Case #24-1365            Document #2100970                       Filed: 02/17/2025             Page 179 of 214




                                                      - 10 -                           November 15, 2023


       Medicine Experts," for example, 30 substances were ranked according to harm to users and
       others. 17 Cannabis ranked below schedule I and II drugs such as heroin and methamphetamine and
       alongside schedule III drugs such as benzodiazepines and ketamine. Common experience dictates
       that marijuana has fewer relative hanns than opioids. 18 Compared to benzodiazepines, marijuana
       also presents a lower potential for abuse and less risk of dependence. Indeed, research suggests
       medical marijuana can be used to discontinue benzodiazepine use. 19

               Other evidence underscores marijuana's low abuse potential. For example, Dr. Volkow
       recently stated that to her lmowledge, there's "no evidence" that occasional adult marijuana use
       has harmful effects. This DEA cannot ignore: Dr. Volkow currently directs the National Institute
       of Drug Abuse and is an expert in marijuana research having authored dozens of articles on
       marijuana use, including Zehra, Amna et al. (2018) entitled "Cannabis Addiction and the Brain: a
       Review"20 and Volkow, Nora D et al. (2016) entitled "Effects of Cannabis Use on Human
       Behavior, Including Cognition, Motivation, and Psychosis: A Review."21

               d. 21 U.S.C. § 81l(d){l) does not limit DEA's authority.

               For at least the reasons stated by the petitioners in Sisley v. DEA (Ex. 1), section 81 l(d)(l)
       is unconstitutional. Petitioners hereby incorporate Shane Pennington & Matthew Zorn, The
       Controlled Substances Act: An International Private Delegation That Goes Too Far, 100 Wash.
       U. L. Rev. (2023) (https://wustllawreview.org/2023/05/19/the-controlled-substances-act-an-
       international-private-delegation-that-goes-too-far/) by reference.

              Also, as noted by the agency, even if§ 81 l(d)(l) does apply, DEA has discretion to control
       marijuana in schedule III, IV, or V, and simultaneously amend its regulations to require a permit
       to import or export marijuana, as it did with Epidiolex. 83 Fed. Reg. 48,950 (Sept. 28, 2018).




       17
               Bonnet, Udo et al. "Ranking the Harm of Psychoactive Drugs Including Prescription
               Analgesics to Users and Others-A Perspective of German Addiction Medicine Experts."
               Frontiers in psychiatry vol. 11 592199. 26 Oct. 2020, doi: 10.3389/fpsyt.2020.592199.
       18
               Lake, Stephanie et al. "Evidence shows that cannabis has fewer relative harms than
               opioids." CMAJ : Canadian Medical Association journal = journal de !'Association
               medicate canadienne vol. 192,7 (2020): El66-E167.
       19
               Purcell, Chad et al. "Reduction of Benzodiazepine Use in Patients Prescribed Medical
               Cannabis." Cannabis and cannabinoid research vol. 4,3 214-218. 23 Sep. 2019.
       20
               Zehra, Amna et al. "Cannabis Addiction and the Brain: a Review." Journal of
               neuroimmune pharmacology: the official journal of the Society on Neurolmmune
               Pharmacology vol. 13,4 (2018): 438-452.
       21
               Volkow, Nora D et al. "Effects of Cannabis Use on Human Behavior, Including Cognition,
               Motivation, and Psychosis: A Review." JAMA psychiatry vol. 73,3 (2016): 292-7.
               doi: 10.100l/jamapsychiatry.2015.3278




                                                                                                       App.656
USCA Case #24-1365                Document #2100970                       Filed: 02/17/2025             Page 180 of 214




                                                          - 11 -                           November 15, 2023


     II.          DEA Should Deschedule Marijuana.

                    Section 81 l(b) provides that if the Attorney General detennincs that the eight-factors listed
           in 811 (c) and "all other relevant data" constitute "substantial evidence that the dmg or other
           substance should be removed entirely from the schedules," then the Attorney General "shall
           initiate proceedings for control or removal." In the case of marijuana, substantial evidence outside
           of the Section 81 l(c) factors shows that marijuana should be removed entirely from the schedules
           and regulated by the states.

                   Not all mugs of abuse--even addictive ones-are controlled. Caffeine has addictive
           properties that may lead to physical dependence. 22 Caffeine intoxication may result in tachycardia,
           vomiting, cardiac anhythmias, seizures, and in extreme doses, death. 23 Caffeine use disorder is a
           problematic pattern of caffeine consumption characterized by a persistent desire to cut down or
           control use of the substance along with unsuccessful efforts to do so despite problems caused or
           worsened by caffeine. 24 But caffeine is not scheduled because it is a commonly accepted mug.
           Most people who use caffeine do so safely every day. Many use caffeine socially, such as by
           drinking coffee in a cafe. Some use caffeine as a mug to start their day.

                   As of 2023, marijuana has achieved a cultural status similar to caffeine and tobacco.
           Almost 16% of Americans smoke marijuana25-more than the number ofAmericans that smoke
           tobacco cigarettes. 26 The vast majority of marijuana users use marijuana safely with no effects
           more serious than caffeine. Marijuana is used a social mug. In states where marijuana is legal,
           there are marijuana cafes or lounges. Marijuana can also be used as a mug before bedtime for
           sleep. For these reasons, nearly 60% of Americans believe marijuana should be removed from
           control. 27


           22
                   See, e.g., Gilliland K, Bullock W. Caffeine: a potential drug of abuse. Adv Alcohol Subst
                   Abuse. 1983-1984 Fall-Winter;3(1-2):53-73. PMID: 6391103.
           23
                   De Sanctis V, Soliman N, Soliman AT, Elsedfy H, Di Maio S, El !<.holy M, Fiscina B.
                   Caffeinated energy drink consumption among adolescents and potential health
                   consequences associated with their use: a significant public health hazard. Acta Biomed.
                   2017 Aug 23;88(2):222-231. doi: l0.23750/abm.v88i2.6664. PMID: 28845841; PMCID:
                   PMC6166148.
           24
                   Addicott MA. Caffeine Use Disorder: A Review of the Evidence and Future Implications.
                   Cun Addict Rep. 2014 Sep;l(3):186-192. doi: 10.l007/s40429-014-0024-9. PMID:
                   25089257; PMCID: PMC4115451.
           25
                   https://news.gallup.com/poll/284135/percentage-americans-smoke-marijuana.aspx.
           26
                   https ://www.cdc.gov/tobacco/data_statistics/fact_sheets/ adult_data/cig_smoking/
                   index.hon.
           27      https://www.pewresearch.org/fact-tank/2022/1 l/22/americans-overwhelmingly-say-
                   marijuana-should-be-legal-for-medical-or-recreational-use/ft_2022-11-
                   22_marijuana_01 a/.




                                                                                                           App.657
USCA Case #24-1365               Document #2100970                                                       Filed: 02/17/2025    Page 181 of 214




                                                                         - 12 -                                     November 15, 2023


                                          Just one-In-ten U.S. adults say marijuana
                                          should not be legal at all
                                          %of U.S. adults who say marjjuwia ...
                                           Shoul(INOT
                                             be/egal\




                                                       30




                                          So111c.e- Survey l1f LI.S. \J(ll!lts co11d11clP.d Oct. lO-lG. 2022.
                                          PEW RESEARCH CENTER




               Equally important, marijuana is treated differently from other drugs of abuse listed in the
        CSA. Every year Congress prohibits DOJ from spending funds to interfere with state medical
        marijuana programs. The Attorney General recently confirmed that marijuana enforcement
        continues to be a low priority for DOJ28-indeed, it is hard to see how DEA could summon the
        resources necessary to faithfully enforce the CSA as long as marijuana remains a controlled
        substance. And the President recently pardoned those convicted of simple marijuana possession.

                Removing marijuana from the CSA does not mean that the law no longer sees marijuana
        as a drug that can be abused. The absence of caffeine or tobacco from the CSA's schedules
        certainly does not mean those chugs cannot be and are not abused. Nor would descheduling
        marijuana mean that marijuana should not-or would not-be regulated. Rather, descheduling
        would simply align federal marijuana law with what is by now beyond manifest: for marijuana,
        the CSA is no longer the appropriate regulatory framework; and DEA is no longer an appropriate
        regulator. 29

     III.          Alternatively, Marijuana Should be Rescheduled.

                   Placement in schedule I "does not appear to flow inevitably from lack of a currently
            accepted medical use." See Nat'! Org. for Reform of Marijuana L. (NORML) v. DEA, 559 F.2d
            735, 748 (D.C. Cir. 1977). "[T]he structure of Section 202(b) contemplates balancing of medical
            usefulness along with several other considerations, including potential for abuse and danger of
            dependence." Id.


            28
                   https://www.judiciary.senate.gov/imo/media/doc/QFR%20Responses%202-28.pdf.
            29
                   Many other abused drugs are not scheduled, such as nutmeg (routinely used in cooking)
                   and nitrous oxide (routinely used as whipped cream chargers). Both have substantial non-
                   medical uses and are sold by non-medical providers. The disruption that would be caused
                   by scheduling these substances is "other relevant data" that weighs strongly against control.




                                                                                                                                App.658
USCA Case #24-1365              Document #2100970                     Filed: 02/17/2025           Page 182 of 214




                                                       - 13 -                         November 15, 2023



               As noted above, marijuana has a currently accepted medical use in treatment in the United
       States. But even if it did not, balancing of medical usefulness along with other considerations
       would justify downscheduling. In particular, marijuana has a low physical/psychological
       dependence risk compared to other drugs such as fentanyl.

                  a. Schedule V or IV

                A drug in schedule V has a low potential for abuse and limited physical dependence or
       psychological dependence relative to the drugs in schedule IV. Compared to benzodiazapenes in
       schedule IV, marijuana has a low potential for abuse and lower psychological dependence.
       Marijuana use may produce some level of dependence, and cessation of use may produce
       withdrawal symptoms. 30 But dependence associated with marijuana use and marijuana withdrawal
       is far less significant than benzodiazepine dependence and benzodiazepine withdrawal. 31

                  b. Schedule III

              A drug in schedule IV has a low potential for abuse and limited physical dependence or
       psychological dependence relative to the drugs in schedule III. As discussed above, marijuana does
       not have the same potential for abuse as mugs in schedule II such as methamphetamine, cocaine,
       and fentanyl. Indeed, some evidence suggests cannabis use is associated with a reduced risk of
       opioid exposure. 32

     IV.          Conclusion

                    The Administration has stated that "science will guide" the decision to reschedule
           marijuana. As important, the decision must be guided by law. Marijuana's current classification
           under the CSA as a schedule I substance is legally infum. For this reason, it must be descheduled
           or, alternatively, rescheduled.



           30
                  See, e.g., Connor JP, Stjepanovic D, Le Foll B, Hoch E, Budney AJ, Hall WD. Cannabis
                  use and cannabis use disorder. Nat Rev Dis Primers. 2021 Feb 25;7(1):16. doi:
                  10.1038/s41572-021-00247-4. PMID: 33627670; PMCID: PMC8655458.
           31
                  See Baandrup L, EbdJup BH, Rasmussen J0, Lindschou J, Gluud C, Glentlmj BY.
                  Pharmacological interventions for benzodiazepine discontinuation in chronic
                  benzodiazepine users. Cochrane Database Syst Rev. 2018 Mar 15;3(3):CD011481. doi:
                  10.1002/14651858.CD011481.pub2. PMID: 29543325; PMCID: PMC6513394.
           32
                  See, e.g., Sodas ME, Choi J, Lake S, Wood E, Valleriani J, Hayashi K, Kerr T, Milloy MJ.
                  Cannabis use is associated with reduced risk of exposure to fentanyl among people on
                  opioid agonist therapy during a community-wide overdose crisis. Drug Alcohol Depend.
                  2021 Feb 1;219:108420. doi: 10.1016/j.dJugalcdep.2020.108420. Epub 2020 Dec 17.
                  Erratum in: Drug Alcohol Depend. 2021 Apr 1;221: 108547. PMID: 33342591; PMCID:
                  PMC8006801.




                                                                                                     App.659
USCA Case #24-1365           Document #2100970                       Filed: 02/17/2025            Page 183 of 214




       Exhibit: Bravo

       Cannabis and Harm Reduction: Exploring Substitution Effects and the Decline in
       Therapeutics Use

       C Burchman, MD



       Cannabis, particularly its cannabinoids, has garnered attention for its therapeutic potential in
       recent years. As more jurisdictions decriminalize or legalize cannabis use, its role in harm
       reduction strategies has come into focus.· One of the most significant impacts of cannabis-based
       interventions is their substitution effect, where cannabis is used as an alternative to more
       harmful substances, including prescription medications such as analgesics (painkillers),
       anxiolytics (anti-anxiety medications), and antidepressants.



       Cannabis and Harm Reduction

       Harm reduction refers to strategies aimed at minimizing the negative consequences of
       substance use rather than insisting on complete abstinence. Cannabis fits into this framework
       by offering a less harmful alternative to more dangerous substances such as opioids, alcohol,
       and prescription medications with high addiction potential. In some contexts, particularly where
       opioid use is prevalent, cannabis has been seen as a tool to reduce the public health burden by
       helping individuals reduce or cease opioid use.

       Cannabinoids, the active compounds in cannabis, interact with the body's endocannabinoid
       system, which is involved in regulating pain, mood, and anxiety. Cannabidiol (CBD) and
       tetrahydrocannabinol (THC) are the most researched cannabinoids for these effects. These
       compounds have been shown to have analgesic, anxiolytic, and antidepressant-like effects,
       making them viable alternatives for patients who rely on pharmaceutical interventions for these
       issues.



       Substitution Effect of Cannabis

       The substitution effect refers to the phenomenon where one substance replaces another in an
       individual's consumption pattern. In the case of cannabis, its legalization or medical adoption
       can lead to a reduction in the use of other, often more harmful, substances. Several studies
       have pointed to the potential of cannabis as a substitute for prescription drugs, particularly in the
       areas of pain management, anxiety, and depression.

       1. Analgesics (Painkillers)

       Cannabis has been shown to be effective in managing chronic pain conditions, particularly in
       cases where traditional analgesics such as opioids are prescribed. With the opioid crisis
       continuing to devastate many regions, cannabis offers a safer alternative. Opioids are highly
       addictive and can lead to overdose, while cannabis has a much lower risk of dependency and
       no known cases of fatal overdose. Patients using medical cannabis for chronic pain have




                                                                                                     App.660
USCA Case #24-1365           Document #2100970                      Filed: 02/17/2025            Page 184 of 214




       reported decreased reliance on opioids, with some studies showing a significant drop in opioid
       prescriptions in states where medical cannabis is legal.



       2. Anxiolytics (Anti-Anxiety Medications):

       Benzodiazepines, such as Xanax and Valium, are commonly prescribed for anxiety disorders
       but come with high risks of dependence and withdrawal symptoms. Cannabidiol (CBD), a non-
       psychoactive cannabinoid, has been studied for its anxiolytic properties, with evidence
       suggesting it can reduce symptoms of generalized anxiety disorder and social anxiety without
       the risks associated with benzodiazepines. As a result, patients are increasingly substituting
       their anxiolytics with cannabis, particularly CBD-rich strains.



       3. Antidepressants:

       Cannabis has also been investigated for its potential in treating mood disorders. Depression is
       commonly treated with selective serotonin reuptake inhibitors (SSRls), which may have side
       effects such as weight gain, sexual dysfunction, and emotional blunting. Some users have
       turned to cannabis, reporting improvements in mood and a reduction in the use of
       antidepressants. While the research is still in its infancy, preliminary studies suggest that
       cannabinoids may help modulate mood through their interaction with the endocannabinoid
       system and serotonin receptors.



       Decline in Use of Other Therapeutics

       As cannabis becomes a more accepted form of treatment, the use of certain pharmaceuticals
       has declined. States and countries with medical cannabis programs have reported reductions in
       prescriptions for opioids, benzodiazepines, and antidepressants. For instance, a 2018 study
       published in *JAMA Internal Medicine* found that opioid prescriptions dropped significantly in
       U.S. states with medical cannabis laws. Similar trends have been noted with other psychotropic
       medications, suggesting that cannabis could serve as an effective harm reduction tool by
       reducing dependency on more harmful or addictive substances.



       Conclusion

       Cannabis holds significant promise as part of a harm reduction strategy, particularly through its
       substitution effect, where it replaces more harmful substances like opioids, benzodiazepines,
       and certain antidepressants. By providing a safer alternative to these medications, cannabis can
       reduce the risks associated with addiction, overdose, and dependency, while still offering
       therapeutic benefits. However, more research is needed to fully understand its efficacy across
       different populations and conditions, as well as to establish guidelines for safe and effective use.
       As the stigma around cannabis continues to fade and its medical potential becomes clearer, it
       may serve as a vital tool in reducing the public health burden of traditional pharmaceuticals.




                                                                                                    App.661
USCA Case #24-1365           Document #2100970                      Filed: 02/17/2025            Page 185 of 214




       Exhibit: Charlie

       Cannabis and Pain Control

       C Burchman, MD

       Cannabis, particularly its active compounds called cannabinoids, has gained increasing
       attention for its potential as an analgesic, or pain-relieving agent. Two of the most studied
       cannabinoids are tetrahydrocannabinol (THC) and cannabidiol (CBD), both of which interact
       with the body's endocannabinoid system (ECS) to modulate various physiological processes,
       including pain perception.



       Mechanism of Action

       The ECS plays a critical role in maintaining homeostasis, or balance, in the body. It consists of
       endocannabinoids (natural molecules similar to cannabinoids), receptors (CB1 and CB2), and
       enzymes that synthesize and degrade these molecules. When cannabis is consumed, THC
       binds primarily to CB1 receptors, which are abundant in the central nervous system, including
       the brain and spinal cord. This interaction helps modulate pain signaling and reduce the
       perception of pain.



       CBD, on the other hand, does not bind directly to CB1 or CB2 receptors but affects them
       indirectly. It also interacts with other pain-regulating systems, such as the serotonin receptors,
       contributing to pain relief without the psychoactive effects associated with THC. CBD may also
       reduce inflammation, a key contributor to chronic pain in conditions like arthritis and multiple
       sclerosis.



       Types of Pain Addressed by Cannabis

       Cannabis has shown promise in treating a variety of pain types:



       1. Chronic Pain: Long-term conditions such as fibromyalgia, arthritis, and neuropathic pain
       (nerve damage-related pain) often cause chronic discomfort. Traditional analgesics, like opioids,
       can be effective but come with significant side effects, including addiction. Cannabis, especially
       CBD-rich formulations, has been reported to reduce chronic pain without the risk of
       dependency.



       2. Neuropathic Pain: This type of pain results from damage to the nerves and is difficult to treat
       with standard pain medications. Neuropathic pain is common in conditions like diabetes,
       multiple sclerosis, and chemotherapy-induced neuropathy. Studies suggest that cannabis can
       reduce neuropathic pain by affecting both the CB1 and CB2 receptors, which regulate pain
       signaling pathways in the nervous system.




                                                                                                    App.662
USCA Case #24-1365           Document #2100970                      Filed: 02/17/2025            Page 186 of 214




       3. Inflammatory Pain: Inflammation is a common source of pain in conditions such as
       rheumatoid arthritis, Crohn's disease, and other autoimmune disorders. CBD has demonstrated
       significant anti-inflammatory properties, which contribute to its ability to reduce pain. By
       decreasing the production of inflammatory molecules like cytokines, cannabis helps alleviate the
       pain associated with inflammation.



       4. Cancer Pain: Cannabis is also increasingly used in cancer care to help manage pain,
       particularly when caused by the cancer itself or its treatments, such as chemotherapy. While not
       a cure, cannabis can help reduce pain and improve quality of life for cancer patients, without the
       risk of opioid addiction.



       Advantages Over Traditional Analgesics

       One of the key advantages of cannabis as an analgesic is its potential to reduce reliance on
       opioids, which are commonly prescribed for pain but have high addiction potential. In regions
       where medical cannabis is available, some studies have noted a decrease in opioid
       prescriptions and overdose deaths, suggesting that cannabis may serve as a safer alternative
       for pain management.



       Additionally, cannabis is generally well-tolerated, with fewer severe side effects compared to
       many pharmaceuticals. Side effects such as mild sedation, dry mouth, and short-term memory
       impairment are often dose-dependent and can be managed by adjusting the dose or choosing
       strains with higher CBD content.



       Conclusion

       Cannabis offers a multi-faceted approach to pain management through its interaction with the
       endocannabinoid system and its ability to modulate various neurotransmitters involved in pain
       perception. While more research is needed to fully understand its long-term efficacy and safety,
       current evidence supports its role as an effective analgesic, particularly for chronic, neuropathic,
       and inflammatory pain. Its potential to reduce dependence on opioids further strengthens the
       case for its use in pain management.




                                                                                                     App.663
USCA Case #24-1365           Document #2100970                   Filed: 02/17/2025          Page 187 of 214




      Jim Fricke
      2609 Leslie Dr NE
      Atlanta, Ga 30345
      JimFricke@JimFricke.com
      404.434.5473
      9.11.2024

      Administrator
      Drug Enforcement Administration



      Subject: Request to Speak at Hearing on Rescheduling Cannabis

      Dear Administrator,

      I am writing to request the opportunity to speak at the upcoming hearing on December 2,
      2024, regarding the rescheduling of cannabis from Schedule I to Schedule Ill. I have been
      actively involved in the legal cannabis industry for nearly a decade. Prior to this, I served as
      President of an oilfield company, built and sold a business, and completed a postgraduate
      degree. My career has evolved into a commitment to the cannabis industry, where I now focus
      on post-harvest chemovar expertise with the goal of using cannabis to heal the very
      communities it was once used to harm.

      My experience includes owning a dispensary and cultivation operation in Colorado, setting up
      solventless processing in Humboldt County, California with Frenchy Cannoli, and serving as
      Director of Cannabis Operations for the largest cannabis farm in the world. I am deeply
      invested in the potential of cannabis to drive community healing through social equity,
      particularly for Black, Brown, and Native communities that have been disproportionately
      impacted by the criminalization of cannabis.

      I strongly advocate for the release of all non-violent cannabis offenders from the justice
      system. Furthermore, I believe that legacy farmers and distributors should receive
      compensation for the impact of the War on Drugs through social equity grants and loans,
      ensuring they have the support needed to thrive in the legal market.

      I appreciate your consideration of my request to speak at this important hearing, and I look
      forward to contributing to this critical dialogue on the future of cannabis policy.

      Sincerely,

      Jim Fricke
      Owner
      The Plant Counsel




                                                                                              App.664
USCA Case #24-1365            Document #2100970                     Filed: 02/17/2025           Page 188 of 214




      (Date) Thursday, September 12, 2024

      Drug Enforcement Administration, Attn: nprm@dea.gov Hearing Clerk/OALJ

      (Mailing Address) 401 SE 18th Ave, Ontario Oregon, 97914

      Subject: Notice of Appearance

      Dear Sir:

      Please take notice that ___Daniel Kyle__________ (Name of person) will appear in the matter
      of: ____Rescheduling of cannabis _21 CFR Part 1301
      [Docket No. DEA-1362]
      RIN 1117-AB77
      ________ (Identification of the proceeding).

      (A) (State with particularity the interest of the person in the proceeding.).

      To bring to notice of the DEA Issues important to the constitutionality of cannabis regarding
      medicinal, spiritual and civil use.

      (B) (State with particularity the objections or issues, if any, concerning which the person desires
      to be heard.).

      The current scheduling of cannabis and it's conflict with both constitutional and scientific values.
      The subjugation of freedom of religion. The disastrous effects on society due to prohibition.

      (C) (State briefly the position of the person with regard to the particular objections or issues.).

      I am a medicinal cannabis card holder who works often in a state which upholds prohibition. I
      have first hand experienced both sides of the coin and dedicate my life to fight for freedom, as I
      have served this nation as a United States Marine. I affirm the proposal to move to Schedule 3
      but I stand for complete descheduling of cannabis as it is a matter of religious liberty, civil rights
      and freedom, and a very powerful medicine which could prevent thousands of deaths each year
      through direct and indirect access to legal cannabis.

      All notices to be sent pursuant to this appearance should be addressed to:

      (Name) Daniel Kyle

      (Street Address) 401 SE 18th Ave

      (City and State) Ontario, Oregon




                                                                                                    App.665
USCA Case #24-1365            Document #2100970   Filed: 02/17/2025   Page 189 of 214




      Respectfully yours,

      (Signature of Person)




      [81 FR 97041, Dec. 30, 2016]




                                                                        App.666
USCA Case #24-1365                 Document #2100970                          Filed: 02/17/2025                Page 190 of 214



         Outlook


    [EXTERNAL] Docket No. DEA-1362

    From Grayson Lichtenthaler <graysonlichtenthaler@gmail.com>
    Date Thu 9/12/2024 3:09 PM
    To    NPRM <NPRM@dea.gov>



   Ai, my name is Grayson Lichtenthaler, 1 am a cannabis worker and union representative for UPCW 770 in California, reaching
   out to inquif.e about the publjc .hearing regarding cannabis rescheduling set for December 2nd, 2024 per Docket No. DEA-
   i 362. J saw information oolioe on how to express interest in participating iu the public bearing and just had some additional
   questions as to what exact infonnation to submit. T've been in the cannabi, industry for nearly 6 years now:. and eeing as this
   resc.heduling will not only affect my livelihood, but also those of my Unfon Brothers, Sisters, and Siblings, I would love the
   opportunity lo provide insight from a cannabis worker's perspective to the pro and cons of a reclassifying to Schedu.le 3. Any
   additional information would be greatly appreciated. Thank you very much for your time and help.

   -Grayson Lichtentbaler
   he/him/his




                                                                                                                  App.667
USCA Case #24-1365             Document #2100970               Filed: 02/17/2025         Page 191 of 214



         Outlook


    [EXTERNAL]

    From Joshua Taylor <jtayt7@gmail.com>
    Date Thu 9/12/2024 11 :20 PM
    To   NPRM <NPRM@dea.gov>



   My name is Joshua taylor,

   I arn just a average Joe however I also have a story if addiction and one where if I had medical
   Marijuana J would have never gone through. This hearing is huge I need to be there ~o testify My
   story. Just a quick testimony is aH ask. My email is j!gyt_I_@.gmail.com




                                                                                            App.668
USCA Case #24-1365                  Document #2100970                            Filed: 02/17/2025                Page 192 of 214



    •     Outlook


   [EXTERNAL] A former LEO's interest in DEA-1362

    From vwjustin@ gmail.com <vwjustin@gmail.com>
    Date Thu 9/12/2024 7:40 AM
    To    NPRM <NPRM@dea.gov>



   To whom it may concern :

   1 would like to take a minute to thank you for taking the time to read this letter. l am reaching out in regards to Docket No.
   DEA-1362. I understand that the cut-off date has passed, but unfortunately I have only recently become aware of it. I am
   hoping that I could possibly be placed on a waitlist in case of any cancellations.

   1 am a former police officer whose career was ended due lO an injury. After undergorng stugery, I have been left with a
    ignificant amount of residual pain. Adclitionally, I suffer from a very painful djsabi lity known as Ankylosing Spondylitis,

   For many years, T believed that cannabis had no medical benefits. Rowever, faced with the prospect of using opioids for pain
   management, l refused to become another statistic in the opioid epidemic. I would like to discuss how law enforcement
   officers are often prescri bed opioids and can become addicted. According to multiple sources, LEO 's are 2 to 3 times more
   likely to develop an opioid addiction than civilians. Out of desperation, 1 registered for the medical cannabis program in my
   state. Despite having the legal ability to purchase cannabis I initially had reservations. After months of doubt, I reached a point
   where I could no longer endure the pain l was experiencing. Sadly, I had considered giving up on life. The pain was
   unbearable. Despjte undergoing several rounds of physfoal therapy for my injury and receiving trealJllent from the # 1 hospital
   in the country for rheurnatology, I still struggle to .get through each day. 1 use the term "suffer" because J have had to
   discontinue my cannl)bis use for employment purposes.

     othing that bas been tried for me bas been as effective as cannabis, and I would like to share my story, for wbat it's worth. I
   believe that bearing from someone who once enforced cannabis laws but, bas used it for medical purposes could provide
   valuable insight. l have found that through the use of cannabis I can continue to be a productive member of society. I am
   currently employed by the Baltimore Police D epartment and the Department of Defense as an engineer in training until, I
   complete my B.S. degree with the University of Maryland where I maintain a GPA of 3.5 or higher. T believe that my
   credentials, achievements and continued success demonstrate that THC use does not prevent one from being a valuable
   member of soc.icty.

   Thank you for your time and consideration.

   Justin J. Taylor




                                                                                                                      App.669
USCA Case #24-1365         Document #2100970               Filed: 02/17/2025      Page 193 of 214

 September 12, 2024


 Drug Enforcement Administration, Attn: Hearing Clerk/OALJ
 Administrator,
 8701 Morrissette Drive
 Springfield, Virginia 22152




 Dear Sir,


 Please take a notice that Wei He, Ph.D. will appear in the matter of Docket No. DEA-1362 on
 December 2nd, 2024.


    A. I have witnessed many harms caused by Marijuana firsthand.
    B. I object to the rescheduling of Marijuana from the Controlled Substance I to III.
    C. Today’s marijuana and marijuana-containing products are very different from the past,
        and have resulted in many mental health issues from psychosis, paranoid, and
        hallucination……Any benefit of Marijuana is anecdotal without rigorous scientific
        evaluation and without FDA-regulated clinical trials. Finally, Marijuana is a proven
        gateway drug!


 All notices to be sent pursuant to this appearance should be addressed to

 Wei He, Ph.D.
 2002 Kestral Circle
 Audubon, PA 19403

 Respectively yours




 Wei He, Ph.D.




                                                                                     App.670
USCA Case #24-1365                         Document #2100970                                  Filed: 02/17/2025     Page 194 of 214




                                                        CERTIFICATE OF FORMATION
                                                                        OF
                                                        WEICARES INNOVATION LLC


        ~ The name of the limited liability company is Weicares Innovation LLC.


        SECOND:. The address of its registered office in the State of Delaware is 1013 Centre Road, Suite 403S
        in the City of Wilmington, County of New Castle, 19801. The name of its Registered Agent at such
        address is Registered Agents Legal Services, LLC.

        THIRD: The purpose of the limited liability company shall be to engage in any lawful act or activity for
        which a limited liability company may be formed under the Limited Liability Company law of the State
        of Delaware.

        FOURTH: The limited liability company shall have perpetual existence.

        ~ Management of the limited liability company is vested in the member(s) in accordance with
        their ownership interests, unless this is varied by the operating agreement. A limited liability company
        member may not assign, either wholly or partially, the right to participate in management without the
        written consent of all limited liability company member(s) or as permitted by the operating agreement.
        From this day hence, the undersigned has fulfilled the duties of Organizer and relinquishes all further
        duties to the initial Member(s) ofWeicares Innovation LLC. The initial member(s) of the limited liability
        company shall be:

                                                               Wei He, Ph.D.
                                                               2002 Kestral Circle
                                                               Audubon, PA 19403


        SIXTH: The name and mailing address of the person forming this limited liability company at the
        instruction of its member(s) is as follows:

                                                               Laura Kash
                                                               1013 Centre Road, Suite 403S
                                                               Wilmington, DE 19801

        IN WITNESS WHEREOF, the undersigned has executed this Certificate of Formation of Weicares
        Innovation LLC on th.is twenty-second day of July, 2024.



                                                                              Wei He
                                                                              Organizer




        Certificates - Certificate of Formation - Mcmbc-r M (24)




                                                                                                                      App.671
USCA Case #24-1365   Document #2100970   Filed: 02/17/2025   Page 195 of 214




                 Wei He, Ph.D.




                                                               App.672
USCA Case #24-1365             Document #2100970                   Filed: 02/17/2025          Page 196 of 214



         Outlook


    [EXTERNAL] Cannabis Rescheduling Hearing DEA-1362

    From Jordan Zito <zito,jordan@yahoo.com>
    Date Sat 9/14/2024 11 :21 PM
    To   NPRM <NPRM@dea.gov>
    Cc   Senator Catherine Cortez Masto <casework@cortezmasto.senate.gov>; Lidia Stiglich
         <lidia.stiglich@gmail.com>; judgecadish@gmail.com <judgecadish@gmail.com>; Brett Barry
         <bbarry@washoeschools.net>; Senator Jacky Rosen <outgoing@rosen.senate.gov>; pio@supremecourt.gov
         <pio@supremecourt.gov>; Division, Criminal (CRM) <Criminal.Division@usdoj.gov>



   Pursuant to Docket No. DEA-1362 RIN 1118-AB77; I, Jordan Christopher Zito, would like to
   electronically submit an originally atJthored document pertaining to the matter because J cannot
   physically attend; and I do not know whether the hearing will be publicly available otherwise.
     I would like to address Definition making, along with rulemaking if I may, as well as Standards in
   cidals, metals, whether heavy or light, plasma in product; Lysol 's, CFC's, HFC's, propellants, un, and, or,
   non cured seed oils, Latex, Nitrile, Urethane, and other clear, though not Clear additives, as well as
   difficulty levels in Seal·ants, which I would prefer be prohibited and unlawful, though, Sealers and
   differentiating mandatory disclosures for pastes, glues, adhesives, though not adherents as well as
   Vaccination disclosures branded somehow.
      I will email the document prior to the end date posted on the Federal Register. I have 8 panels in my
   In-ground container Unit which all touch different parts of soils which carry about 2,000 metric
   tonnages of VOC solvency. It is not cheap, nor inexpensive to safely do Purely based upon available
   clearinghouse products in order to create a Schedule with material Facts which V2X cannot penetrate
   regardless of mass congregation.
   Because legalization, and lawful Statutory authorities does not equal total decriminalization nor
   immunity without specifics (National Specifications) adhered to.
   Yahoo Mail: Search, Organize, Con~uer




                                                                                                 App.673
USCA Case #24-1365             Document #2100970                Filed: 02/17/2025        Page 197 of 214
September 16, 2024

Drug Enforcement Administration,

Attn: Administrator- DEA Federal Register Representative/DPW- Hearing Clerk/OALJ

8701 Morrissette Drive, Springfield, Virginia 22152.

                                     Subject: Request for Hearing

Dear Sir:

The undersigned Panacea Plant Sciences C/O David Heldreth hereby requests a hearing in the matter of:
DEA rule proposal: Schedules of Controlled Substances: Rescheduling of Marijuana also
identified as Docket No. DEA-1362 and A.G. Order No. 5931-2024.

(1) state with particularity the interest of the person in the proceeding; (2) state with particularity
the objections or issues concerning which the person desires to be heard; and (3) state briefly the
position of the person with regard to the objections or issues.

Panacea Plant Sciences would like to verify standing in the rule-making by asserting that our
company:
   1.) is currently not licensed by the DEA.
   2.) has research, IP and patent filings that incorporate marijuana, cannabis, THC and related
       items which under the rule-making would be changed to a new schedule. This change in
       schedule has the possibility of lowering the valuation of patents and other IP which our
       company has. As such we will be heavily impacted by this process and rule-making.
   3.) PPS and David Heldreth are the only public parties with experience in all 3 of the drug
       scheduling hearings that have occurred since 2020, regarding DOI, DOC and the 5
       tryptamines. We have extensive knowledge and history with scheduling proceedings and
       are the most experienced group in the country in such hearings. PPS should likewise be
       selected for the hearing.
   4.) PPS will be harmed if marijuana is moved into Schedule 3 instead of being de-scheduled
       and will be disadvantaged compared to those companies and businesses that have schedule
       3 licensing. Rather than schedule 3, marijuana should be de-scheduled, in order to give PPS
       access.
Now in regards to the current rule-making, let us begin:
    A) To start there are apparent errors in the rulemaking process, in that the DEA did not
       consult with tribal governments as required under Executive Order 13175.
The rulemaking references active Executive Order 13175 - Consultation and Coordination with
Indian Tribal Governments – however, it asserts that no such consultation with tribal
governments is necessary, or as stated directly below:
“This proposed rule does not have tribal implications warranting the application of E.O. 13175.




                                                                                            App.674
USCA Case #24-1365           Document #2100970               Filed: 02/17/2025         Page 198 of 214
It does not have substantial direct effects on one or more Indian tribes, on the relationship
between the Federal Government and Indian tribes, or on the distribution of power and
responsibilities between the Federal Government and Indian tribes.”
This statement is incorrect as this rulemaking will change the status of a substance under federal
law from Schedule 1 to Schedule 3 it will then as such require changes to tribal law enforcement,
tribal health care via independent or Indian Health Services, and other programs. Reservations are
regulated as federal lands and many tribal law codes reference federal law and the Controlled
Substances Act. As such the current rulemaking will create a situation in which tribal
governments and law enforcement will be required to train law enforcement on the new laws and
this alone will impose direct costs on tribal entities and governments. Additionally, the costs of
any enforcement of these new laws incurred from arrests, testing, jailing, etc. which falls on tribal
governments again represent burdens and reasons for the DEA/Department of Justice to conduct
a tribal consultation prior to rulemaking as is required under EO 13175. From the text:
“To the extent practicable and permitted by law, no agency shall promulgate any regulation that
has tribal implications, that imposes substantial direct compliance costs on Indian tribal
governments, and that is not required by statute, unless:
(1) funds necessary to pay the direct costs incurred by the Indian tribal government or the tribe
    in complying with the regulation are provided by the Federal Government; or
(2) the agency, prior to the formal promulgation of the regulation,
(A) consulted with tribal officials early in the process of developing the proposed regulation;
 (B) in a separately identified portion of the preamble to the regulation as it is to be issued in the
     Federal Register, provides to the Director of OMB a tribal summary impact statement,
     which consists of a description of the extent of the agency's prior consultation with tribal
     officials, a summary of the nature of their concerns and the agency's position supporting
     the need to issue the regulation, and a statement of the extent to which the concerns of
     tribal officials have been met; and
 (C) makes available to the Director of OMB any written communications submitted to the
     agency by tribal officials.”
 Additionally, under the current DOJ tribal consultation policy, the DEA and DOJ are tasked to
 not narrowly define when it is necessary to consult tribal governments, but to do so in a way that
 is widely encompassing and to err on the side of consulting, rather than not. From the DOJ’s
 own tribal consultation policy:
 “The requirements of Executive Order 13175 and this Policy Statement generally will be
 construed liberally in favor of Consultation on any given policy as defined above with
 Tribal implications. Consultations may be organized in a variety of ways, from a single
 group discussion to a more iterative process involving a series of discussions. All
 decisions regarding whether and how to conduct a Consultation, or whether a given
 policy or topic has Tribal implications, will be coordinated with the Department's Office
 of Tribal Justice.”
 There are 574 federally recognized tribes and around 258 tribal law enforcement agencies.
 That is a large amount of affected tribal entities and a large impact. As such I ask that the DEA




                                                                                          App.675
USCA Case #24-1365         Document #2100970              Filed: 02/17/2025       Page 199 of 214
 withdraw the current rulemaking and begin the mandated tribal consultation process under EO
 13175 and DOJ’s own policy. The DOJ policy also requires notice at least 30 days before the
 date of consultation.

 Additionally, 3 Native American organizations have submitted comment to the DOJ/DEA
 asking for tribal consultations. These include the Ho Chunk Nation, the Association of
 American Indian Affairs, and the Indigenous Cannabis Industry Association.
 As such Panacea Plant Sciences requests the rulemaking at hand be:
    1. Withdrawn; and conduct tribal consultation which begins with a publication of notice
        seeking tribal input before rulemaking. The rule can be re-submitted for public comment
        and hearings after this is done.
    B) The next issue at hand that must be dealt with is, the DEA’s current rulemaking
       references the Regulatory Flexibility Act
 Panacea Plant Sciences itself is a small business that qualifies under the Regulatory Flexibility
 Act to have consultation. PPS researches cannabis, does not have a DEA license, and has had to
 keep focus on hemp due to federal law, except when working with groups in other countries.
 Moving marijuana into schedule 3 from schedule 1, instead of de-scheduling will hurt PPS and
 give preferential treatment to those with DEA schedule 3 or other licenses.
 There are hundreds to thousands of hemp farms that would qualify under similar circumstances.
 There are also universities and other entities which would qualify. As such there is ample reason
 to follow the Regulatory Flexibility Act.
 From the Regulatory Flexibility Act:
 “§ 602. Regulatory agenda


 (a) During the months of October and April of each year, each agency shall publish in the
     Federal Register a regulatory flexibility agenda which shall contain —

 (1) a brief description of the subject area of any rule which the agency expects to propose or
     promulgate which is likely to have a significant economic impact on a substantial number
     of small entities;

 (2) a summary of the nature of any such rule under consideration for each subject area listed in
     the agenda pursuant to paragraph (1), the objectives and legal basis for the issuance of the
     rule, and an approximate schedule for completing action on any rule for which the agency
     has issued a general notice of proposed rulemaking, and

 (3) the name and telephone number of an agency official knowledgeable concerning the items
     listed in paragraph (1).

 (b) Each regulatory flexibility agenda shall be transmitted to the Chief Counsel for Advocacy
     of the Small Business Administration for comment, if any.

 (c) Each agency shall endeavor to provide notice of each regulatory flexibility agenda to small
     entities or their representatives through direct notification or publication of the agenda in




                                                                                        App.676
USCA Case #24-1365        Document #2100970               Filed: 02/17/2025      Page 200 of 214




     publications likely to be obtained by such small entities and shall invite comments upon
     each subject area on the agenda.

  (d) Nothing in this section precludes an agency from considering or acting on any matter not
      included in a regulatory flexibility agenda, or requires an agency to consider or act on
      any matter listed in such agenda.”




                                                                                    App.677
USCA Case #24-1365         Document #2100970                Filed: 02/17/2025       Page 201 of 214

 We would like to let it be known that this rulemaking was not included on the DOJ or DEA
 Regulatory Flexibility Agenda. We would like the rulemaking withdrawn until this can be
 done.
 As such Panacea Plant Sciences requests the rulemaking at hand be:
        Withdrawn; and hold a small business and entity consultation which begins with a
        publication to that end prior to rulemaking in 2024 and potential final rulemaking in
        2025.

    C) Panacea Plant Sciences disagrees with the proposed placement of marijuana in
       Schedule 3, and instead finds that it should rather be removed from control completely
       and de-scheduled.
    Although, international treaties may tie the United States to controlling marijuana, THC
       and other compounds; it is unlikely that this treaty violation will lead to any negative
       outcome. Canada has similarly moved to make marijuana a medicine and even went
       further to make it a regulated recreational item. There has been no backlash to this
       move and no consequences for them. As such the UN and the treaty parties are in
       effect silently complicit.
    If marijuana is placed into a schedule, it should rather than schedule 3, be placed into
        schedule 5 due to its relative safety.
    Additionally, cocaine was allowed as an unapproved by the FDA drug for medical use
       until 2019, when it was approved under branded formulations by several companies.
    https://www.fda.gov/drugs/unapproved-drugs/fda-notification-regarding-cocaine-
        hydrochloride-solution-products
     However, the allowance as an unapproved drug use, was via grandfathering, but that was
       on the principal that the cocaine was pure and always an exact item in the
       grandfathered drug formulations from prior to 1938. Cocaine is and was derived from
       a plant source, Erythroxylaceae coca, which produces several tropane alkaloids and
       other compounds. In fact, most cocaine is not pure cocaine, but rather a mixture of
       compounds extracted from the plant, unless chemically purified in a modern lab. This
       is important because there have been attempts to have marijuana allowed as a drug for
       medical use via the same grandfathering mechanism that allowed cocaine as an FDA
       unapproved drug to be used for medical use. However, the DEA/HHS/FDA denied that
       petition saying that they cannot verify the contents of the pre-1938 drug compounds as
       they are only labeled as marijuana flower or extract and not by compound (ie THC,
       CBD) However, again cocaine was allowed with unknown variation, but due to this
       same type of variation, this medical marijuana grandfather petition was denied.
    https://www.regulations.gov/document/FDA-2011-P-0671-0001




                                                                                      App.678
USCA Case #24-1365         Document #2100970                Filed: 02/17/2025        Page 202 of 214

   This and the move to block wider access to cocaine for medical use, but instead only allow
      pharmaceutical branded approved versions, appear to be a move to consolidate the
      wider industry and supply of medicines into a small group of companies and people.
   We make these points to argue that raw dried marijuana flower and marijuana/marijuana
     extract and/or tinctures should be allowed to be manufactured by DEA-licensed
     marijuana cultivators, manufacturers and compound pharmacies. Marijuana should
     then be allowed to be prescribed by doctors nationwide and filled by pharmacies.
   Grandfathering (exempting from DEA/FDA regulation) state medical cannabis producers
      would also be a potential option.
   Additionally, patients should be allowed to seek a prescription and if granted to seek a
      DEA license as a manufacturer and distributor/dispensary to cultivate/dispense their
      own medical cannabis, or to do so in a collective with other patients. Patients could
      also import from Canada if allowed.
   The DEA is currently entering into agreements with religious organizations and churches
      to allow for their cultivation/importation and use of schedule 1 substances. If these
      smaller, non-commercial organizations are being allowed to have DEA licenses, then
      there is no reason why such a similar scheme could not be developed to provide access
      to the medical patients in the United States that wish to have immediate access, and to
      control their own supply of medication.
   https://www.marijuanamoment.net/federal-settlement-will-allow-arizona-church-to-
       import-process-and-use-ayahuasca-as-religious-sacrament/
   If the DEA, FDA, HHS and related agencies do not either, approve raw
        cannabis/extracts/tinctures as a FDA approved medication, provide a grandfather
        option via FDA/DEA as unapproved, but allowed medications, or allow state medical
        cannabis to be federally legal, then this rule-making does nothing to provide access to
        patients, and is effectively worthless except that providing 280E tax relief for federally
        illegal state medical cannabis businesses. There will be no reduction in costs or
        difficulty for research by this rule-making either, the only effective difference for
        research in schedule 1-3 is which box is checked on forms.
   However, although marijuana as a botanical product and medicine may be safe, there are
     risks from marijuana and cannabis derivatives and products which has been seen in the
     public via the EVali, lung injury vaping outbreak in 2020, 2,800 people were harmed
     and 68 died.
   https://www.yalemedicine.org/conditions/evali
   This outbreak primarily affected cannabis and hemp markets. One of the problems is the
      lack of regulations and the often lax regulations at the state levels. This leads to
      unregulated flavors/terpenes/cutting agents, from non-cannabis sources being added.
      For example vitamin e acetate, creating issues in the lungs with Evali was cited




                                                                                        App.679
USCA Case #24-1365          Document #2100970                Filed: 02/17/2025        Page 203 of 214

         primarily via the acetate. However, companies in the hemp industry are now creating
         products with THC-O-Acetate that are inhaled, creating similar dangers.
     https://www.ncbi.nlm.nih.gov/pmc/articles/PMC9813278/
     Squalane was another large problem in Oregon, and other states. Squalane was sold by
        companies as a diluent.
     https://mjbizdaily.com/oregon-cannabis-regulators-ban-additives-first-seen-in-vaping-
         crisis/
     Mold and pesticides are also common in the state marijuana industry, and often under or
       un-reported. Testing is not done at the appropriate frequency and intensity for product
       safety. For example, Washington State only does pesticide testing of marijuana on
       random testing that takes years for every company to be tested. As such it took years
       for the state’s marijuana regulator to find out that DDT derivative DDE had been
       identified in marijuana products, likely due to the farmland being used for other crops
       previously. A bulletin from the regulator on the issue can be found here:
       https://content.govdelivery.com/accounts/WALCB/bulletins/36473ba.
     As such, PPS asks the government to regulate cannabis, hemp and marijuana products for
        safety, and use this rule-making to also apply the deeming rule under tobacco
        inhalation product rules to require the products to be held to the same standards of
        safety at a minimum if unscheduled.
     However, if placed into Schedule 3, 4 or 5, due to the myriad problems with essentially,
       every state medical or recreational marijuana and hemp programs, PPS asks the
       government to regulate medical marijuana standards at a federal level so that the
       country has a consistent, fair, safe market for patients and business.
     D) The DEA ALJ we believe is unconstitutional as similar ALJ schemes have been found
        so by the supreme court. As such we believe that this rule-making should if hearings
        are held, be heard instead of the ALJ in federal court. Also there are Chevron
        deference issues. These all likely are being addressed, while indirectly, in the Supreme
        Court via the Jarkesy v SEC lawsuit. As such we hold that the currently rule-making
        should be stayed until the Jarkesy ruling is final.

 Further evidence and information will be presented in the future. All notices to be sent pursuant to
 the proceeding should be addressed to:

 Panacea Plant Sciences C/O David Heldreth

 14321 Se 49th St

 Bellevue WA 98006

 Respectfully yours, David Heldreth Jr. for PPS




                                                                                        App.680
USCA Case #24-1365             Document #2100970                Filed: 02/17/2025        Page 204 of 214
September 16, 2024

Drug Enforcement Administration,

Attn: Administrator- DEA Federal Register Representative/DPW- Hearing Clerk/OALJ

8701 Morrissette Drive, Springfield, Virginia 22152.

                                     Subject: Request for Hearing

Dear Sir:

The undersigned David Heldreth hereby requests a hearing in the matter of: DEA rule proposal:
Schedules of Controlled Substances: Rescheduling of Marijuana also identified as Docket No.
DEA-1362 and A.G. Order No. 5931-2024.

(1) state with particularity the interest of the person in the proceeding; (2) state with particularity
the objections or issues concerning which the person desires to be heard; and (3) state briefly the
position of the person with regard to the objections or issues.

I would like to verify standing in the rule-making by asserting that:
   1.) David Heldreth is currently not licensed by the DEA.
   2.) David Heldreth uses cannabis for nerve pain and related issues. Moving marijuana and
       related items to schedule 3 will not increase my access to the use of THC/marijuana and
       related items for medical use. Rather the government/HHS/FDA/DEA should have, based
       on the evidence found it should be de-scheduled. In fact moving to schedule 3 could lead to
       push to force state legal market buyers into federal legal system, which would cause
       crackdowns on state medical and recreational cannabis/marijuana which would lead to a
       reduction in availability and increase in cost or other detrimental effects.
   3.) David Heldreth has research, IP and patent filings that incorporate marijuana, cannabis,
       THC and related items. This change in schedule has the possibility of lowering the
       valuation of patents and other IP. As such I will be heavily impacted by this process and
       rule-making.
   4.) PPS and David Heldreth are the only public parties with experience in all 3 of the drug
       scheduling hearings that have occurred since 2020, regarding DOI, DOC and the 5
       tryptamines. We have extensive knowledge and history with scheduling proceedings and
       are the most experienced group in the country in such hearings. DH should likewise be
       selected for the hearing.
   5.) David Heldreth will be harmed if marijuana is moved into Schedule 3 instead of being de-
       scheduled and will be disadvantaged compared to those people and entities that have
       Schedule 3 licensing. Rather than schedule 3, marijuana should be de-scheduled.
Now in regards to the current rule-making, let us begin:
    A) To start there are apparent errors in the rulemaking process, in that the DEA did not
       consult with tribal governments as required under Executive Order 13175.




                                                                                            App.681
USCA Case #24-1365         Document #2100970               Filed: 02/17/2025        Page 205 of 214
The rulemaking references active Executive Order 13175 - Consultation and Coordination with
Indian Tribal Governments – however, it asserts that no such consultation with tribal
governments is necessary, or as stated directly below:
“This proposed rule does not have tribal implications warranting the application of E.O. 13175.
It does not have substantial direct effects on one or more Indian tribes, on the relationship
between the Federal Government and Indian tribes, or on the distribution of power and
responsibilities between the Federal Government and Indian tribes.”
This statement is incorrect as this rulemaking will change the status of a substance under federal
law from Schedule 1 to Schedule 3 it will then as such require changes to tribal law enforcement,
tribal health care via independent or Indian Health Services, and other programs. Reservations are
regulated as federal lands and many tribal law codes reference federal law and the Controlled
Substances Act. As such the current rulemaking will create a situation in which tribal
governments and law enforcement will be required to train law enforcement on the new laws and
this alone will impose direct costs on tribal entities and governments. Additionally, the costs of
any enforcement of these new laws incurred from arrests, testing, jailing, etc. which falls on tribal
governments again represent burdens and reasons for the DEA/Department of Justice to conduct
a tribal consultation prior to rulemaking as is required under EO 13175. From the text:
“To the extent practicable and permitted by law, no agency shall promulgate any regulation that
has tribal implications, that imposes substantial direct compliance costs on Indian tribal
governments, and that is not required by statute, unless:
(1) funds necessary to pay the direct costs incurred by the Indian tribal government or the tribe
    in complying with the regulation are provided by the Federal Government; or
(2) the agency, prior to the formal promulgation of the regulation,
(A) consulted with tribal officials early in the process of developing the proposed regulation;
 (B) in a separately identified portion of the preamble to the regulation as it is to be issued in the
     Federal Register , provides to the Director of OMB a tribal summary impact statement,
     which consists of a description of the extent of the agency's prior consultation with tribal
     officials, a summary of the nature of their concerns and the agency's position supporting
     the need to issue the regulation, and a statement of the extent to which the concerns of
     tribal officials have been met; and
 (C) makes available to the Director of OMB any written communications submitted to the
     agency by tribal officials.”
 Additionally, under the current DOJ tribal consultation policy, the DEA and DOJ are tasked to
 not narrowly define when it is necessary to consult tribal governments, but to do so in a way that
 is widely encompassing and to err on the side of consulting, rather than not. From the DOJ’s
 own tribal consultation policy:
 “The requirements of Executive Order 13175 and this Policy Statement generally will be
 construed liberally in favor of Consultation on any given policy as defined above with
 Tribal implications. Consultations may be organized in a variety of ways, from a single
 group discussion to a more iterative process involving a series of discussions. All
 decisions regarding whether and how to conduct a Consultation, or whether a given




                                                                                          App.682
USCA Case #24-1365            Document #2100970              Filed: 02/17/2025      Page 206 of 214
 policy or topic has Tribal implications, will be coordinated with the Department's Office
 of Tribal Justice.”

 There are 574 federally recognized tribes and around 258 tribal law enforcement agencies.
 That is a large amount of affected tribal entities and a large impact. As such I ask that the DEA
 withdraw the current rulemaking and begin the mandated tribal consultation process under EO
 13175 and DOJ’s own policy. The DOJ policy also requires notice at least 30 days before the
 date of consultation.

 Additionally, 3 Native American organizations have submitted comment to the DOJ/DEA
 asking for tribal consultations. These include the Ho Chunk Nation, the Association of
 American Indian Affairs, and the Indigenous Cannabis Industry Association.
 As such David Heldreth requests the rulemaking at hand be:
    1. Withdrawn; and conduct tribal consultation which begins with a publication of notice
        seeking tribal input before rulemaking. The rule can be re-submitted for public comment
        and hearings after this is done.
    B) The next issue at hand that must be dealt with is, the DEA’s current rulemaking
       references the Regulatory Flexibility Act
 David Heldreth is a shareholder in Panacea Plant Sciences, itself is a small business that qualifies
 under the Regulatory Flexibility Act to have consultation. PPS researches cannabis, does not
 have a DEA license, and has had to keep focus on hemp due to federal law, except when
 working with groups in other countries. Moving marijuana into schedule 3 from schedule 1,
 instead of de-scheduling will hurt PPS and give preferential treatment to those with DEA
 schedule 3 or other licenses.

 There are hundreds to thousands of hemp farms that would qualify under similar circumstances.
 There are also universities and other entities which would qualify. As such there is ample reason
 to follow the Regulatory Flexibility Act.
 From the Regulatory Flexibility Act:
 “§ 602. Regulatory agenda


 (a) During the months of October and April of each year, each agency shall publish in the
     Federal Register a regulatory flexibility agenda which shall contain —

 (1) a brief description of the subject area of any rule which the agency expects to propose or
     promulgate which is likely to have a significant economic impact on a substantial number
     of small entities;

 (2) a summary of the nature of any such rule under consideration for each subject area listed in
     the agenda pursuant to paragraph (1), the objectives and legal basis for the issuance of the
     rule, and an approximate schedule for completing action on any rule for which the agency
     has issued a general notice of proposed rulemaking, and

 (3) the name and telephone number of an agency official knowledgeable concerning the items
     listed in paragraph (1).




                                                                                        App.683
USCA Case #24-1365          Document #2100970               Filed: 02/17/2025       Page 207 of 214




  (b) Each regulatory flexibility agenda shall be transmitted to the Chief Counsel for Advocacy
      of the Small Business Administration for comment, if any.

  (c) Each agency shall endeavor to provide notice of each regulatory flexibility agenda to small
      entities or their representatives through direct notification or publication of the agenda in
      publications likely to be obtained by such small entities and shall invite comments upon
      each subject area on the agenda.

  (d) Nothing in this section precludes an agency from considering or acting on any matter not
      included in a regulatory flexibility agenda, or requires an agency to consider or act on
      any matter listed in such agenda.”




                                                                                       App.684
USCA Case #24-1365         Document #2100970                Filed: 02/17/2025       Page 208 of 214

 We would like to let it be known that this rulemaking was not included on the DOJ or DEA
 Regulatory Flexibility Agenda. We would like the rulemaking withdrawn until this can be
 done.
 As such David Heldreth requests the rulemaking at hand be:
        Withdrawn; and hold a small business and entity consultation which begins with a
        publication to that end prior to rulemaking in 2024 and potential final rulemaking in
        2025.

    C) David Heldreth disagrees with the proposed placement of marijuana in Schedule 3, and
       instead finds that it should rather be removed from control completely and de-
       scheduled.
    Although, international treaties may tie the United States to controlling marijuana, THC
       and other compounds; it is unlikely that this treaty violation will lead to any negative
       outcome. Canada has similarly moved to make marijuana a medicine and even went
       further to make it a regulated recreational item. There has been no backlash to this
       move and no consequences for them. As such the UN and the treaty parties are in
       effect silently complicit.
    If marijuana is placed into a schedule, it should rather than schedule 3, be placed into
        schedule 5 due to its relative safety.
    Additionally, cocaine was allowed as an unapproved by the FDA drug for medical use
       until 2019, when it was approved under branded formulations by several companies.
    https://www.fda.gov/drugs/unapproved-drugs/fda-notification-regarding-cocaine-
        hydrochloride-solution-products
     However, the allowance as an unapproved drug use, was via grandfathering, but that was
       on the principal that the cocaine was pure and always an exact item in the
       grandfathered drug formulations from prior to 1938. Cocaine is and was derived from
       a plant source, Erythroxylaceae coca, which produces several tropane alkaloids and
       other compounds. In fact, most cocaine is not pure cocaine, but rather a mixture of
       compounds extracted from the plant, unless chemically purified in a modern lab. This
       is important because there have been attempts to have marijuana allowed as a drug for
       medical use via the same grandfathering mechanism that allowed cocaine as an FDA-
       unapproved drug to be used for medical use. However, the DEA/HHS/FDA denied that
       petition saying that they cannot verify the contents of the pre-1938 drug compounds as
       they are only labeled as marijuana flower or extract and not by compound (ie THC,
       CBD) However, again cocaine was allowed with unknown variation, but due to this
       same type of variation, this medical marijuana grandfather petition was denied.
    https://www.regulations.gov/document/FDA-2011-P-0671-0001




                                                                                      App.685
USCA Case #24-1365         Document #2100970                Filed: 02/17/2025        Page 209 of 214

   This and the move to block wider access to cocaine for medical use, but instead only allow
      pharmaceutical branded approved versions, appear to be a move to consolidate the
      wider industry and supply of medicines into a small group of companies and people.
   I make these points to argue that raw dried marijuana flower and marijuana/marijuana
      extract and/or tinctures should be allowed to be manufactured by DEA-licensed
      marijuana cultivators, manufacturers and compound pharmacies. Marijuana should
      then be allowed to be prescribed by doctors nationwide and filled by pharmacies.
   Grandfathering (exempting from DEA/FDA regulation) state medical cannabis producers
      would also be a potential option.
   Additionally, patients should be allowed to seek a prescription and if granted to seek a
      DEA license as a manufacturer and distributor/dispensary to cultivate/dispense their
      own medical cannabis, or to do so in a collective with other patients. Patients could
      also import from Canada if allowed. The DEA is currently entering into agreements
      with religious organizations and churches to allow for their cultivation/importation and
      use of schedule 1 substances. If these smaller, non-commercial organizations are being
      allowed to have DEA licenses, then there is no reason why such a similar scheme
      could not be developed to provide access to the medical patients in the United States
      that wish to have immediate access, and to control their own supply of medication.
   https://www.marijuanamoment.net/federal-settlement-will-allow-arizona-church-to-
       import-process-and-use-ayahuasca-as-religious-sacrament/
   If the DEA, FDA, HHS and related agencies do not either, approve raw
        cannabis/extracts/tinctures as a FDA approved medication, provide a grandfather
        option via FDA/DEA as unapproved, but allowed medications, or allow state medical
        cannabis to be federally legal, then this rule-making does nothing to provide access to
        patients, and is effectively worthless except that providing 280E tax relief for federally
        illegal state medical cannabis businesses. There will be no reduction in costs or
        difficulty for research by this rule-making either, the only effective difference for
        research in schedule 1-3 is which box is checked on forms.
   However, although marijuana as a botanical product and medicine may be safe, there are
     risks from marijuana and cannabis derivatives and products which has been seen in the
     public via the EVali, lung injury vaping outbreak in 2020, 2,800 people were harmed
     and 68 died.
   https://www.yalemedicine.org/conditions/evali
   This outbreak primarily affected cannabis and hemp markets. One of the problems is the
      lack of regulations and the often lax regulations at the state levels. This leads to
      unregulated flavors/terpenes/cutting agents, from non-cannabis sources being added.
      For example vitamin e acetate, creating issues in the lungs with Evali was cited
      primarily via the acetate. However, companies in the hemp industry are now creating
      products with THC-O-Acetate that are inhaled, creating similar dangers.




                                                                                        App.686
USCA Case #24-1365           Document #2100970                Filed: 02/17/2025       Page 210 of 214

     https://www.ncbi.nlm.nih.gov/pmc/articles/PMC9813278/
     Squalane was another large problem in Oregon, and other states. Squalane was sold by
        companies as a diluent.
     https://mjbizdaily.com/oregon-cannabis-regulators-ban-additives-first-seen-in-vaping-
         crisis/
     Mold and pesticides are also common in the state marijuana industry, and often under or
       un-reported. Testing is not done at the appropriate frequency and intensity for product
       safety. For example, Washington State only does pesticide testing of marijuana on
       random testing that takes years for every company to be tested. As such it took years
       for the state’s marijuana regulator to find out that DDT derivative DDE had been
       identified in marijuana products, likely due to the farmland being used for other crops
       previously. A bulletin from the regulator on the issue can be found here:
       https://content.govdelivery.com/accounts/WALCB/bulletins/36473ba.
     As such, David Heldreth asks the government to regulate cannabis, hemp and marijuana
        products for safety, and use this rule-making to also apply the deeming rule under
        tobacco inhalation product rules to require the products to be held to the same
        standards of safety at a minimum if unscheduled.
     However, if placed into Schedule 3, 4 or 5, due to the myriad problems with essentially,
       every state medical or recreational marijuana and hemp programs, David Heldreth asks
       the government to regulate medical marijuana standards at a federal level so that the
       country has a consistent, fair, safe market for patients and business.
     D) The DEA ALJ we believe is unconstitutional as similar ALJ schemes have been found
        so by the Supreme Court. As such I believe that this rule-making should if hearings
        are held, be heard instead of the ALJ in federal court. Also there are Chevron
        deference issues. These all likely are being addressed, while indirectly, in the Supreme
        Court via the Jarkesy v SEC lawsuit. As such I hold that the currently rule-making
        should be stayed until the Jarkesy ruling is final.


 Further evidence and information will be presented in the future. All notices to be sent pursuant to
 the proceeding should be addressed to:

 David Heldreth

 14321 Se 49th St

 Bellevue WA 98006

 Respectfully yours,

 David Heldreth Jr.




                                                                                         App.687
USCA Case #24-1365             Document #2100970                    Filed: 02/17/2025         Page 211 of 214
 September 13, 2024


 Drug Enforcement Administration, Attn: Hearing Clerk/OALJ
 8701 Morrissette Drive, Springfield, VA 22152

 Subject: Notice of Appearance

 Dear Sir:

 Please take notice that Emily Fisher will appear in the matter of: Docket No DEA-1362; RIN 1117-AB77.

 (A) As CEO of Leafwell, I have a significant interest in the proceedings as Leafwell 's operations are directly
 impacted by DEA regulations governing the use and distribution of medical cannabis. Leafwell, a leading
 telehealth organization specializing in medical cannabis consultations and patient education, operates across
 multiple states, providing critical healthcare services to a diverse patient population of over 400,000, many of
 whom rely on medical cannabis for managing chronic conditions. Our interest in this proceeding stems from
 the need to ensure that DEA policies are informed by the most current and comprehensive data on medical
 cannabis efficacy and safety.

 (B) We wish to address several key issues: Recognition of Medical Cannabis Efficacy: There is substantial
 evidence supporting the efficacy of medical cannabis in treating chronic pain, chemotherapy-induced nausea
 and vomiting, and multiple sclerosis spasticity. These findings are crucial for shaping any policy or regulatory
 changes. Impact on Healthcare Utilization: Leafwell's internal data indicates a significant reduction in the use
 of prescription medications, including opioids, anti-anxiety medications, and sleep aids, among patients who
 utilize medical cannabis. This shift in healthcare utilization should be considered when assessing the broader
 implications of cannabis regulation. Public Health and Safety: The reduction in opioid-related hospitalizations
 in states with medical cannabis laws highlights the public health benefits of accessible cannabis treatments. We
 believe these benefits should be central to any regulatory discussion. Leafwell conducted the largest study of
 pediatric medical cannabis users to date, analyzing nearly 14,000 patient records of individuals under 21. The
 study aims to provide a comprehensive understanding of medical cannabis use among young patients,
 highlighting the need for pediatric-specific evidence, clinical guidelines, and safer regulatory frameworks.
 (Doucette, Mitchell L., et al. "Medical Cannabis Use in Youth Under 21: Leafwell Study." Health Economics
 and Outcomes Research Division, Leafwell.)

 (C) Leafwell advocates for a regulatory framework that recognizes the demonstrated benefits of medical
 cannabis as evidenced by both national studies and our own patient data. We support policies that expand
 access to medical cannabis and integrate its use into mainstream healthcare practices. We believe that any
 restrictions or changes to current cannabis regulations should be carefully weighed against the substantial
 evidence of its efficacy and the potential for improved patient outcomes and reduced reliance on more harmful
 medications.

 All notices to be sent pursuant to this appearance should be addressed to:
 Emily Fisher, CEO, Leafwell, Inc.
 9100 South Dadeland Avenue, Suite 1701
 Miami, Florida 33156




             r
 Respectfully yours,




                                                                                                 App.688
USCA Case #24-1365               Document #2100970                      Filed: 02/17/2025             Page 212 of 214



    •    Outlook


    [EXTERNAL] Hearing

    From Poeboys Salvage <august@poeboyssalvage.com>
    Date Tue 9/17/2024 2:37 PM
    To   NPRM <NPRM@dea.gov>; Adobe <august@poeboyssalvage.com>



   I want to address the issue of my person being arrested in Tel<as . The DEA authorizes me t o lawful possession of
   THC.

   August Wakat
   P.O. Box 700202
   Tulsa, OK 74170
   (918) 381-5907




                                                                                                         App.689
USCA Case #24-1365            Document #2100970                      Filed: 02/17/2025            Page 213 of 214




       •   Outlook


      [EXTERNAL] Marijuana Hearing

      From Karen Ferguson <kferguson@aacap.org>
      Date Wed 9/18/2024 3:57 PM
      To NPRM <NPRM@dea.gov>


      Good Afternoon,

      Will there be an option for a participant to speak virtually at this hearing on December 2? AACAP has a
      content expert who would like to participate in the hearing but would prefer not to travel to DC during
      this timeframe.

      Please let me know before the September 30 deadline to nominate participants. We appreciate that a
      hearing has been scheduled.

      Many thanks,
      -Karen

      Karen Ferguson
      Deputy Director of Clinical Practice
      American Academy of Child and Adolescent Psychiatry
      3615 Wisconsin Avenue, NW
      Washington, DC 20016
      202.587.9670

      www.aacaR.org




                                                                                                     App.690
USCA Case #24-1365      Document #2100970           Filed: 02/17/2025   Page 214 of 214



                           Certificate of Service

       I certify that this document was filed with the Court via the court’s electronic

 filing system, on the 17th day of February, 2025, and an electronic copy was served

 on all counsel of record via the CM/ECF system on the same date. I further certify

 that I have mailed the foregoing document via first class mail, postage paid, to those

 parties or their counsel who are not registered through the CM/ECF system.



                                            /s/Austin T. Brumbaugh
                                            Austin T. Brumbaugh
